 Case 2:18-cv-16509-MCA-AME Document 82-7 Filed 05/07/21 Page 1 of 144 PageID: 693


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                             Cohen v. Univ. of Med. & Dentistry of N.J.
                                      Superior Court of New Jersey, Appellate Division
                                  December 3, 2013, Argued; December 30, 2013, Decided
                                                DOCKET NO. A-1300-12T1

Reporter
2013 N.J. Super. Unpub. LEXIS 3054 *; 121 Fair Empl. Prac. Cas. (BNA) 674; 2013 WL 6839509


MARION COHEN, Plaintiff-Appellant, v. UNIVERSITY
OF MEDICINE AND DENTISTRY OF NEW JERSEY,
                                                                 Judges: Before Judges Fisher and Espinosa.
Defendant-Respondent.




Notice: NOT FOR PUBLICATION WITHOUT THE                          Opinion
APPROVAL OF THE APPELLATE DIVISION.

PLEASE CONSULT NEW JERSEY RULE 1:36-3 FOR                        PER CURIAM
CITATION OF UNPUBLISHED OPINIONS.
                                                                 In this appeal, we consider the propriety of a summary
Prior History: [*1] On appeal from the Superior Court            judgment entered in favor of defendant University of
of New Jersey, Law Division, Essex County, Docket No.            Medicine and Dentistry of New Jersey dismissing
L-5031-09.                                                       plaintiff Marion Cohen's complaint, which alleged age
                                                                 discrimination in violation of the Law Against
                                                                 Discrimination (LAD), N.J.S.A. 10:5-1 to -42, in
                                                                 defendant's failure to renew her contract. Because the
                                                                 trial judge took a too mechanical approach in
Core Terms                                                       determining whether plaintiff presented a prima facie
                                                                 case of discrimination, we reverse.
replaced, prima facie case, age discrimination, trial
                                                                 I
judge, renewed, summary judgment, discriminatory,
certification, employees, pretext, younger                       The record reveals that plaintiff was hired by defendant
                                                                 in 1994 as an associate [*2] professor of anatomy and
                                                                 cell biology and injury sciences; plaintiff's husband, Dr.
                                                                 Stanley Cohen, became the chair of the pathology
Counsel: Kevin Barber argued the cause for appellant             department at the same time. Plaintiff started on the
(Niedweske Barber Hager, LLC, attorneys; Mr. Barber,             tenure-track, but later switched to "coterminous-status,"
on the brief).                                                   meaning she was engaged for short "fixed period[s]."
                                                                 Plaintiff entered into a three-year contract with
M. Karen Thompson argued the cause for respondent                defendant in 1997; this was followed by five consecutive
(Norris, McLaughlin & Marcus, attorneys; Lewis A.                one-year contracts, a two-year contract in 2006, and
Scheindlin, Assistant Attorney General, of counsel;              another one-year contract in 2008.
Kathryn J.H. Boardman, Deputy Attorney General, on
                                                                 In November 2008, allegedly because of budgetary
the brief1).
                                                                 concerns,   defendant's    interim  dean  informed
                                                                 departments that all contract employees were to be
1 Norris,
       McLaughlin & Marcus was substituted as counsel for
respondent after original counsel, the Attorney General, filed   respondent's brief on the merits.

                                                       Pooja Bhutani
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considered non-renewed unless there existed "sufficient       also Texas Dep't of Community Affairs v. Burdine, 450
justification" for renewal. On February 24, 2009, a few       U.S. 248, 253, 101 S. Ct. 1089, 1093-94, 67 L. Ed. 2d
weeks after her sixty-ninth birthday, plaintiff was           207, 215 (1981).
informed her contract would not be renewed and her
employment terminated effective June 30, 2009.                Once the plaintiff establishes a prima facie case, the
                                                              burden shifts to the employer "to articulate a legitimate,
Plaintiff commenced this age discrimination suit in June      nondiscriminatory reason for [its] actions." Zive, supra,
2009. After a lengthy period of discovery, the trial judge    182 N.J. at 449. And, if the employer provides such a
granted defendant's summary judgment. Plaintiff               reason, the plaintiff must then demonstrate why the
appeals.                                                      articulated reason "was merely a pretext for
II                                                            discrimination." Ibid. Pretext may be demonstrated with
                                                              evidence that "(1) a discriminatory reason more likely
In this appeal, we apply the same standard the trial          motivated the employer [*5] than the employer's
judge was required to apply, W.J.A. v. D.A., 210 N.J.         proffered legitimate reason, or (2) the defendant's
229, 237-38, 43 A.3d 1148 (2012), and [*3] view the           proffered explanation is 'unworthy of credence.'"
facts in the record in the light most favorable to the non-   Reynolds, supra, 330 N.J. Super. at 168 (quoting
moving party — here plaintiff — to determine whether          Burdine, supra, 450 U.S. at 256, 101 S. Ct. at 1095, 67
"the competent evidential materials . . . are sufficient to   L. Ed. 2d at 217).
permit a rational factfinder to resolve the alleged
disputed issue in favor of the non-moving party," Brill v.    Here, the trial judge based her ruling on the fourth
Guardian Life Ins. Co. of Am., 142 N.J. 520, 540, 666         element of the McDonnell Douglas prima facie case,
A.2d 146 (1995). The propriety of summary judgment            concluding that plaintiff failed to present evidence that
must be considered in light of the familiar burden-           defendant sought to or in fact replaced plaintiff with
shifting standard pronounced in McDonnell Douglas             "someone younger, or that in deciding which employees
Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L. Ed.       should not be renewed [defendant] disproportionately
2d 668 (1973), which is applied in LAD actions, Zive v.       chose older people." Our review, thus, focuses on that
Stanley Roberts, Inc., 182 N.J. 436, 447, 867 A.2d 1133       fourth element, and we assume, as the trial judge
(2005).                                                       apparently assumed, that the other three elements were
                                                              satisfied.
McDonnell Douglas provides a method for proceeding
                                                              The fourth element, as explained in Bergen Commercial
where it is unlikely the aggrieved employee will have
                                                              Bank v. Sisler, 157 N.J. 188, 213, 723 A.2d 944 (1999)
access to or ever obtain direct evidence — let alone "the
                                                              (quoting Kelly v. Bally's Grand, Inc., 285 N.J. Super.
proverbial smoking gun" — of an employer's
                                                              422, 429, 667 A.2d 355 (App. Div. 1995)), may be
discriminatory intent. Zive, supra, 182 N.J. at 446-47
                                                              satisfied by a showing of the plaintiff's replacement by
(internal citation omitted). When utilized, the McDonnell
                                                              "a candidate sufficiently younger to permit an inference
Douglas framework first imposes on the plaintiff the
                                                              of age discrimination." For example, had the sixty-nine-
burden of presenting a prima facie case of age
                                                              year-old plaintiff been replaced by a thirty-year-old, this
discrimination with evidence of four elements: (1)
                                                              element would have been satisfied. But, as our
plaintiff was a member of a protected group; (2)
                                                               [*6] Supreme Court has made clear the fourth element,
plaintiff's job performance met the employer's
                                                              in an age discrimination case, is not governed by a
 [*4] legitimate expectations; (3) plaintiff was terminated
                                                              "mechanistic application" of the ages of the relevant
or not renewed; and (4) plaintiff was replaced or the
                                                              players because
employer sought a replacement. McDonnell Douglas,
                                                                   [s]eldom will a sixty-year-old be replaced by a
supra, 411 U.S. at 802, 93 S. Ct. at 1824, 36 L. Ed. 2d
                                                                   person in the twenties. Rather the sixty-year-old will
at 677-78; Zive, supra, 182 N.J. at 449-50. When
                                                                   be replaced by a fifty-five-year-old, who, in turn, is
established, such a prima facie case gives rise to a
                                                                   succeeded by a person in the forties, who also will
presumption of unlawful discrimination. Reynolds v.
                                                                   be replaced by a younger person.
Palnut Co., 330 N.J. Super. 162, 167-68, 748 A.2d 1216
(App. Div. 2000). This burden is not intended to be
                                                                  [Bergen Commercial Bank, supra, 157 N.J. at 212-
onerous, otherwise plaintiffs would be prevented from
                                                                  13 (quoting McCorstin v. United States Steel Corp.,
"accessing the tools . . . necessary to even begin to
assemble a case." Zive, supra, 182 N.J. at 448. See


                                                     Pooja Bhutani
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     621 F.2d 749, 754 (5th Cir. 1980)).2]                       certification    asserted    that      plaintiff's   teaching
                                                                 responsibilities were also assumed by faculty members
Here, the judge considered the fourth element by simply          who were forty-seven, fifty, fifty-three and fifty-four years
comparing the ages of plaintiff and her alleged                  of age.
replacements. In opposing summary judgment, plaintiff
had submitted her husband's two certifications. The first        The judge explained her consideration of these factual
asserted that plaintiff's "teaching responsibilities were        assertions in the following way:
performed     by   several      Pathology   Department
employees, including Dr. Raphael Mannino." Although                   The [c]ourt finds that plaintiff has failed to make a
Dr. Mannino's age was not revealed in the certification,              prima facie case for age discrimination because
the judge mentioned during oral argument that she                     she does not put forth any evidence suggesting that
believed he was likely about sixty-six years old at the               the non-renewal of her contract was motivated by a
time of the motion, which was heard more than three                   discriminatory     animus.       See     Mandel       v.
years after the complaint was filed.3 The second                      UBS/PaineWebber, Inc., 373 N.J. Super. 55, 76,
                                                                      860 A.2d 945 (App. Div. 2004) (affirming decision of
                                                                      summary judgment). Plaintiff points to no evidence,
                                                                      circumstantial    or   otherwise,      suggesting     a
2 The Supreme Court has, in fact, held that McDonnell                 discriminatory motive. There is no evidence
Douglas's fourth element has no proper application in actions         suggesting that plaintiff was replaced by someone
based on the Age Discrimination in Employment Act of 1967             younger, or that in deciding which employees
(ADEA), 29 U.S.C.A. § 621 to § 634, reasoning:
                                                                      should not be renewed UMDNJ disproportionately
     The fact that one person in the protected class has lost         chose [*10] older people. Plaintiff presents a
     out to another person in the protected class is thus             certification of Dr. Stanley Cohen (apparently
     irrelevant, so long as he lost out because of his age. Or        plaintiff's husband), which includes information
     to put the point more concretely, there can be no greater        about what a valuable employee plaintiff was and
     inference of age discrimination (as opposed to "40 or            how important her contribution was to UMDNJ. Dr.
     over" discrimination) when a 40-year-old is replaced by a        Stanley Cohen specifically points to a Dr. Mannino,
     39-year-old than when a 56-year-old is replaced by a 40-         who, Dr. Stanley Cohen certifies, received
     year-old. Because it lacks probative value, [*7] the fact        unsatisfactory evalua-tions and who took over at
     that an ADEA plaintiff was replaced by someone outside           least some of the plaintiff's teaching responsibilities.
     the protected class is not a proper element of the
                                                                      How-ever, as plaintiff does not disclose Dr.
     McDonnell Douglas prima facie case.
                                                                      Mannino's age, there is nothing in Dr. Cohen's
                                                                      certification to support a finding of age
     [O'Connor v. Consol. Coin Caterers Corp., 517 U.S. 308,
     312, 116 S. Ct. 1307, 1310, 134 L. Ed. 2d 433, 438               discrimination.
     (1996).]                                                         Plaintiff devotes much of her argument to
                                                                      identifying what she considers to be weaknesses in
3 During oral argument on August 6, 2012, the judge explained         the defendant's explanation for why the plaintiff was
that she had examined "UMDNJ's website," which apparently             not renewed, which plaintiff construes as
disclosed Dr. [*8] Mannino received his bachelor's degree in          demonstrating that the defendant's explanation of
1967. From this the judge extrapolated that Dr. Mannino               budget cuts was a pretext for age discrimination.
"would be about 66 years old today, so he's not significantly
younger than the plaintiff." The judge improperly obtained and
considered this "evidence." The factual record upon which        Heights, 213 N.J. Super. 376, 382, 517 A.2d 486 (App. Div.
summary judgment must rest is limited to the four corners of     1986) (finding permissible a judge's visit to a site of a
the parties' moving and opposing papers. See, e.g., Sellers v.   proposed nursing home, but concluding the judge "could not
Schonfeld, 270 N.J. Super. 424, 428-29, 637 A.2d 529 (App.       go outside the record and base his ruling on facts gleaned
Div. 1993). Judges are not permitted to use the product of       from a personal [*9] inspection"). The judge here was
their own independent factual research in disposing of a         obligated to consider whether there was or was not a triable
motion for summary judgment. Cf., Mazza v. Cavicchia, 15         factual issue by resorting to the record before her. That record
N.J. 498, 514, 105 A.2d 545 (1954) (recognizing that unless      actually provides the answer to the question that generated
"the basic principle of the exclusiveness of the record" is      the judge's independent investigation. The birth dates of both
observed, "the one who decides the case may stray at will        plaintiff (February 14, 1940) and Dr. Manninno (January 28,
from the record in reaching his decision" and, consequently,     1947) were revealed in defendant's answers to interrogatories.
"the right to present evidence and to argue its significance"    Accordingly, the record required an assumption there was a
becomes meaningless); Lazovitz v. Board of Adjust., Berkeley     seven-year difference in their ages.

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       Even if the court were to agree that there were            "flexible" and "can be satisfied differently in differing
       discrepancies, and that the discrepancies were             factual scenarios," including:
       relevant, they would be relevant to the issue of
       pretext, which is only addressed after plaintiff has               actions or remarks made by decisionmakers that
       presented a prima facie case. Plaintiff having failed              could be viewed as reflecting a discriminatory
       to make the prima facie case, the issue of pretext is              animus, preferential treat-ment given to employees
       beside the point.                                                  outside the protected class, and, in a corporate
                                                                          down-sizing, the systematic transfer of a
Even were [*11] we to agree the judge properly                            discharged employee's duties to other emp-loyees,
analyzed the fourth element by looking solely to the age                   [*13] or a pattern of recommending the plaintiff for
of the alleged replacements, we would be required to                      positions for which he or she is not qualified and
conclude that their ages were sufficiently disparate from                 failure to surface plaintiff's name for positions for
plaintiff's to permit a finding that the fourth element was               which he or she is well-qualified. A plaintiff might
satisfied. Our Supreme Court, in Bergen Community                         also rely upon the fact that the defendant, following
Bank, supra, 157 N.J. at 218, referred with approval to a                 plaintiff's termination, continued to seek applicants
decision of a federal court of appeals where it was held                  to fill the position, or, more generally, upon the
that to meet the fourth element the plaintiff                             timing or sequence of events leading to the
                                                                          plaintiff's termination.
       may point to a sufficient age difference between
       himself and his replacement such that a fact-finder                [Chertkova v. Connecticut Gen. Life Ins. Co., 92
       can reasonably conclude that the employment                        F.3d 81, 91 (2d Cir. 1996)(citations omitted).]
       decision was made on the basis of age. Nor is there
                                                                  III
       any particular age difference that must be shown.
       Different courts have held, for instance, that a five
                                                                  In reviewing the record the parties placed before the trial
       year difference can be sufficient, but that a one
                                                                  judge, we conclude that plaintiff submitted enough
       year difference cannot.
                                                                  evidence to survive summary judgment on the fourth
                                                                  element of the prima facie case - the only element the
       [Sempier v. Johnson & Higgins, 45 F.3d 724, 729
                                                                  trial judge found was in doubt - and, for that reason
       (3d Cir.) (emphasis added; citations omitted), cert.
                                                                  alone, reverse. This holding, however, should not be
       denied, 515 U.S. 1159, 115 S. Ct. 2611, 132 L. Ed.
                                                                  interpreted as preventing resolution of this action
       2d 854 (1995).4]
                                                                  through the summary judgment process upon a closer
Here, plaintiff asserted she was replaced by faculty              examination of the second and third stages of the
members anywhere from seven to twenty-two years                   McDonnell Douglas approach.
younger. As a result, even the mechanical approach
                                                                  Reversed and remanded. We do not retain jurisdiction.
applied by the trial judge required a [*12] finding that
plaintiff sustained the fourth element of her McDonnell
Douglas prima facie case.                                               End of Document

For future guidance, we would also observe that a
comparison of the plaintiff's age with her alleged
replacements' ages is not the sole means of generating
an inference of age discrimination. The fourth element is



4 As noted earlier, the Supreme Court has concluded that the
fourth element has no relevance in an ADEA case, O'Connor,
supra, 517 U.S. at 312, 116 S. Ct. at 1310, 134 L. Ed. 2d at
438, obviating the need for examining the relevant individuals'
ages. Plaintiff's action, however, is not based on the ADEA; in
this LAD case we are obligated to apply Bergen Community
Bank's binding requirement that plaintiff show she was
replaced by "a candidate sufficiently younger to permit an
inference of age discrimination." 157 N.J. at 213.

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                                     Chambers v. Heidelberg USA, Inc.
                                  United States District Court for the District of New Jersey
                                                    May 5, 2006, Decided
                                                 Civil No. 04-CV-583 (RBK)

Reporter
2006 U.S. Dist. LEXIS 32334 *; 2006 WL 1281308


RAYMOND CHAMBERS, Plaintiff, v. HEIDELBERG
                                                                Overview
USA, Inc., Defendant.
                                                                The employee alleged that the employer's actions
                                                                unreasonably interfered with the employee's work
                                                                performance and lead to an intimidating, hostile, and
                                                                offensive     work    environment     permeated      with
Subsequent History: Motion denied by Chambers v.
                                                                discriminatory intimidation so severe and pervasive as
Heidelberg USA, Inc., 2007 U.S. Dist. LEXIS 8349
                                                                to alter the terms and conditions of the employee's
(D.N.J., Feb. 5, 2007)
                                                                employment. The court found that the employee never
                                                                witnessed any manager or supervisor make any
                                                                negative or derogatory comments regarding his race or
                                                                any other employee's race during the period of his
Core Terms                                                      employment. The court also found that the employee
                                                                failed to present any competent evidence to show that
Declaration, complaints, alleges, paged, termination,           the allegations regarding his training, travel schedule,
harassment, training, summary judgment, customer,               and communication issues were in any way connected
severe, email, racial discrimination, travel                    to his race. Next, the employee alleged that he was
arrangements, prima facie case, pervasive,                      unlawfully discharged because of his race and that there
discriminatory discharge, retaliatory discharge,                was a causal connection between his complaints about
protected activity, training session, employees, job site,      his supervisor in 2001 and 2002 and his subsequent
discriminatory, hostile, service technician, work               termination in March 2003. The court found that
performance, no evidence, complaining, genuine,                 regardless of the reason why the employee did not
decision to terminate, travel                                   complain of racial discrimination prior to his discharge,
                                                                there could be no claim for retaliatory discharge when
                                                                the employee never engaged in a protected activity.

Case Summary

Procedural Posture
                                                                Outcome
Plaintiff former employee filed suit against defendant          The employer's motion was granted.
former employer alleging violations of Title VII of the
Civil Rights Act of 1964, 42 U.S.C.S. § 2000e et seq.,
and New Jersey's Law Against Discrimination, N.J. Stat.
Ann. § 10:5-1 et seq. The employer moved for summary
judgment.
                                                                LexisNexis® Headnotes



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                                                             In general, courts apply a similar analysis to
                                                             discrimination claims brought pursuant to Title VII of the
    Civil Procedure > ... > Summary                          Civil Rights Act of 1964, 42 U.S.C.S. § 2000e et seq.,
    Judgment > Entitlement as Matter of Law > General        and New Jersey's Law Against Discrimination (NJLAD),
    Overview                                                 N.J. Stat. Ann. § 10:5-1 et seq. Title VII and the NJLAD
                                                             both prohibit employment discrimination because of
HN1[ ] Summary Judgment, Entitlement as Matter               race, color, religion, sex, or national origin.
of Law

Summary judgment is appropriate where the court is
                                                                 Labor & Employment
satisfied that there is no genuine issue as to any
                                                                 Law > Discrimination > General Overview
material fact and that the moving party is entitled to a
judgment as a matter of law. Fed. R. Civ. P. 56(c). A
                                                             HN4[   ] Labor & Employment Law, Discrimination
genuine issue of material fact exists only if the evidence
is such that a reasonable jury could find for the
                                                             New Jersey's Law Against Discrimination prohibits
nonmoving party.
                                                             employment discrimination on additional grounds
                                                             including age, ancestry, marital status, and sexual
                                                             orientation, among others. N.J. Stat. Ann. § 10-5:12.
    Civil Procedure > ... > Summary
    Judgment > Entitlement as Matter of Law > General
    Overview
                                                                 Labor & Employment Law > ... > Racial
                                                                 Harassment > Burdens of Proof > Employee
    Civil Procedure > ... > Summary
                                                                 Burdens of Proof
    Judgment > Burdens of Proof > General Overview
                                                                 Labor & Employment
HN2[ ] Summary Judgment, Entitlement as Matter
                                                                 Law > ... > Harassment > Racial
of Law
                                                                 Harassment > Hostile Work Environment
On a motion for summary judgment, the burden of
                                                             HN5[ ] Burdens of Proof, Employee Burdens of
establishing the nonexistence of a genuine issue is on
                                                             Proof
the party moving for summary judgment. The moving
party may satisfy this burden by either (1) submitting
                                                             To state a hostile work environment claim under Title
affirmative evidence that negates an essential element
                                                             VII, the plaintiff must show that (1) he suffered
of the nonmoving party's claim; or (2) demonstrating to
                                                             intentional discrimination because of his race; (2) the
the court that the nonmoving party's evidence is
                                                             harassment was severe or pervasive; (3) the
insufficient to establish an essential element of the
                                                             harassment detrimentally affected him; (4) the
nonmoving party's case. Once the moving party satisfies
                                                             harassment would detrimentally affect a reasonable
this initial burden, the nonmoving party must set forth
                                                             person of the same race in that position; and (5) the
specific facts showing that there is a genuine issue for
                                                             existence of respondeat superior liability. Similarly,
trial. Fed. R. Civ. P. 56(e). To do so, the nonmoving
                                                             when a plaintiff alleges racial harassment under New
party must do more than simply show that there is some
                                                             Jersey's Law Against Discrimination, he must
metaphysical doubt as to material facts.
                                                             demonstrate that the defendant's conduct (1) would not
                                                             have occurred but for the employee's race, and the
                                                             conduct was (2) severe or pervasive enough to make a
    Labor & Employment                                       (3) reasonable African-American believe that (4) the
    Law > Discrimination > General Overview                  conditions of employment are altered and the working
                                                             environment is hostile or abusive. In analyzing a hostile
    Labor & Employment Law > Discrimination > Title          work environment claim, the court may consider the
    VII Discrimination > General Overview                    frequency of the discriminatory conduct; its severity;
                                                             whether it is physically threatening or humiliating, or a
HN3[   ] Labor & Employment Law, Discrimination              mere offensive utterance; and whether it unreasonably
                                                             interferes with an employee's work performance.

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                                                              presumption, the defendant must then set forth
                                                              admissible evidence of a legitimate, non-discriminatory
    Labor & Employment Law > ... > Racial                     reason for the employment decision at issue. If the
    Harassment > Burdens of Proof > Employee                  defendant produces evidence of a legitimate, non-
    Burdens of Proof                                          discriminatory reason for the employment decision, the
                                                              presumption of unlawfulness disappears. At that point,
    Labor & Employment                                        the plaintiff must prove by a preponderance of the
    Law > ... > Harassment > Racial                           evidence that the employer's articulated reason was not
    Harassment > Hostile Work Environment                     the real reason for the employment action, but rather
                                                              was a mere pretext for discrimination. The plaintiff may
HN6[ ] Burdens of Proof, Employee Burdens of                  prove pretext directly by demonstrating that a different
Proof                                                         reason more likely motivated the employer, or indirectly
                                                              by demonstrating that the employer's articulated reason
To establish the first prong of a hostile work                is not credible. In spite of these intermediate burden
environment based upon racial discrimination, a plaintiff     shifts within the discrimination standard, it is ultimately
must show that race is a substantial factor in the            the plaintiff's burden to persuade the fact finder that the
discrimination and that, if the plaintiff had been of         employer engaged in unlawful discrimination.
another race, he would not have been treated in the
same manner. Speculations, generalities, and gut
feelings, however genuine, do not allow for an inference
of discrimination to be drawn when they are not                   Labor & Employment
supported by specific facts.                                      Law > ... > Retaliation > Elements > General
                                                                  Overview

                                                              HN9[    ] Retaliation, Elements
    Civil Procedure > ... > Summary
    Judgment > Supporting Materials > General                 To establish a prima facie case of retaliatory discharge,
    Overview                                                  a plaintiff must show that (1) he was engaged in a
                                                              protected activity; (2) he was discharged subsequent to
HN7[   ] Summary Judgment, Supporting Materials               or contemporaneously with such activity; and (3) there is
                                                              a causal link between the protected activity and the
Unsubstantiated speculation is insufficient to withstand      discharge.
summary judgment.


                                                                  Labor & Employment
    Labor & Employment                                            Law > ... > Retaliation > Elements > Protected
    Law > ... > Evidence > Burdens of Proof > Burden              Activities
    Shifting
                                                              HN10[    ] Elements, Protected Activities
    Labor & Employment
    Law > Discrimination > Retaliation > Burdens of           With respect to the first element of a prima facie case of
    Proof                                                     retaliatory discharge, the language of Title VII of the
                                                              Civil Rights Act of 1964, and New Jersey's Law Against
HN8[   ] Burdens of Proof, Burden Shifting                    Discrimination (NJLAD) explains what constitutes a
                                                              "protected activity." Specifically, § 704(a) of Title VII
Where the plaintiff does not present direct evidence of       forbids an employer from discriminating against an
discrimination, courts apply the three-step, McDonnell        employee because he has opposed any practice made
Douglas burden-shifting standard to both discriminatory       an unlawful employment practice by this subchapter, or
discharge and retaliatory discharge claims. Under this        because he has made a charge, testified, assisted, or
burden shifting framework, a plaintiff must first establish   participated in any manner in an investigation,
a prima facie case of discrimination. A rebuttable            proceeding, or hearing under this subchapter. 42
presumption of unlawful discrimination arises if plaintiff    U.S.C.S. § 2000e-3(a). The phrase "this subchapter"
presents this prima facie case. To rebut this                 refers specifically to 42 U.S.C.S. §§ 2000e through

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2000e-17, which contain the provisions regarding an               HN13[   ] Burdens of Proof, Burden Shifting
employee's rights when an employer has discriminated
against him or her on the basis of race, color, sex,              The defendant bears a relatively light burden of
religion, or national origin. Consequently, a charge              production in rebutting a prima facie case of unlawful
"under this subchapter" is a charge that alleges                  discharge. Specifically, defendant must only introduce
discrimination on the basis of one or more of those               evidence which, taken as true, would permit the
prohibited grounds. The NJLAD prohibits employment                conclusion that there was a nondiscriminatory reason
discrimination and retaliation against an employee for            for the unfavorable employment decision. Furthermore,
opposing a discriminatory practice which is based upon            the employer need not prove that the proffered reason
race, color, sex, religion, national origin, or a number of       actually motivated its behavior because the plaintiff
other listed factors. N.J. Stat. Ann. § 10:5-12.                  always retains the ultimate burden of proving intentional
                                                                  discrimination.


    Labor & Employment
    Law > ... > Retaliation > Elements > Causation                    Labor & Employment
                                                                      Law > ... > Evidence > Burdens of Proof > Burden
HN11[    ] Elements, Causation                                        Shifting

In the context of a retaliation claim, the mere fact that a       HN14[   ] Burdens of Proof, Burden Shifting
discharge occurs subsequent to the lodging of a
complaint is ordinarily insufficient to satisfy the plaintiff's   To meet the burden of pretext, a plaintiff must establish
burden of demonstrating a causal link between the two             by a preponderance of the evidence that defendant's
events.                                                           articulated reason was a mere pretext for discrimination.
                                                                  In particular, plaintiff must demonstrate such
                                                                  weaknesses,         implausibilities,    inconsistencies,
                                                                  incoherencies, or contradictions in defendant's proffered
    Labor & Employment Law > ... > Disparate
                                                                  reasons for its termination decision that a reasonable
    Treatment > Evidence > Burdens of Proof
                                                                  fact finder could rationally find them unworthy of
                                                                  credence and hence infer that the employer did not act
    Labor & Employment Law > ... > Employment
                                                                  for the asserted non-discriminatory reasons. However, it
    Practices > Adverse Employment
                                                                  is insufficient for defendant to show merely that the
    Actions > Discharges & Failures to Hire
                                                                  employer's decision was wrong or mistaken because the
HN12[    ] Evidence, Burdens of Proof                             relevant issue is whether discriminatory animus
                                                                  motivated the defendant, not whether the defendant is
To establish a prima facie case of discriminatory                 wise, shrewd, prudent, or competent.
discharge under Title VII, a plaintiff must show (1) that
he is a member of a protected class; (2) that he is
qualified for the position; (3) that he was fired from that
position; and (4) that the circumstances of the case give
rise to an inference of unlawful discrimination such as           Counsel: [*1] For RAYMOND CHAMBERS, Plaintiff:
might occur when the position is filled by a person not of        WILLIAM B. HILDEBRAND, LAW OFFICES OF
the protected class. Under New Jersey's Law Against               WILLIAM B. HILDEBRAND, CHERRY HILL, NJ.
Discrimination, the elements are substantially the same
except that the fourth element requires a showing that            For HEIDELBERG U.S., Defendant: ROBERT B.
the employer sought someone to perform the same                   NUSSBAUM, SAIBER, SCHLESINGER, SATZ &
work after Plaintiff was fired.                                   GOLDSTEIN, LLC, NEWARK, NJ.



    Labor & Employment
    Law > ... > Evidence > Burdens of Proof > Burden              Judges: Robert B. Kugler, United States District Judge.
    Shifting


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Opinion by: Robert B. Kugler                                       his supervisor from October 2000 until approximately
                                                                   August 2002; and Geoffrey Adamson ("Adamson") was
                                                                   his supervisor from approximately August 2002 until
                                                                   March 2003. (Pl. Dep. 66-67, 82-85.)
Opinion                                                            Chambers asserts that he had many problems with
                                                                   Sucha during the time that Sucha supervised him, and
                                                                   he further claims that there have been similar
KUGLER, United States District Judge:                              disagreements between Sucha and a white service
                                                                   technician named Chuck Sowers. (Compl. P 17; Pl.
This matter comes before the Court on a motion for                 Dep. 189-193). Specifically, Chambers alleges that
summary judgment by Defendant Heidelberg USA, Inc.                 Sucha harassed and discriminated against him by (1)
on all claims in Plaintiff Raymond Chambers' Complaint.            denying him a cell phone, (2) excessively paging him,
The Complaint alleges that, during the course of                   (3) failing to send him to a training class, and (4)
Plaintiff's employment, the Defendant subjected him to             controlling some of his travel arrangements, which
racial discrimination and ultimately terminated his                Chambers asserts were purposely inconvenient.
employment in violation of both Title VII of the Civil             (Compl. PP 18-20).
Rights Act of 1964 ("Title VII"), 42 U.S.C. §§ 2000e et
seq., and New Jersey's Law Against Discrimination                  First, with regard to the training issues, Chambers'
("NJLAD"), N.J. Stat. Ann. § 10:5-1 et seq. In its motion          alleges that shortly after Sucha became his supervisor,
for summary judgment, Defendant asserts that Plaintiff             Chambers was the only individual in his group who was
has not provided any evidence of racial discrimination to          not sent to a training class dealing with the burner
support his claims. For the reasons set forth below, this          component of Heidelberg's dryers. (Compl. P 18). By
Court will grant Defendant's motion.                               contrast, Sucha claims that there were two other
                                                                   Service Technicians, both white males, who [*4] also
                                                                   never attended the training session. (Sucha Declaration,
I. BACKGROUND                                                      P 4.)

Defendant Heidelberg USA, [*2] Inc.("Heidelberg")                  Second, Chambers claims that Sucha made major
sells and services large commercial printing and graphic           changes to his already established travel arrangements,
arts equipment. (Def. Facts P 1.) 1 Plaintiff Raymond              which made traveling very inconvenient for Chambers.
Chambers is a black male who was employed by                       (Compl. P 20; Pl. Opp. at 12). Sucha, however, states
Heidelberg as a Field Service Dryer Technician from                that in an effort to control costs, Heidelberg requested
March 28, 1999 until March 31, 2003. (Compl. P 2.) As              that managers take a more active role in making travel
Heidelberg's employee, Chambers performed startup                  arrangements for employees in their various groups.
and service work on the dryer component of                         (Sucha Declaration, P 6). Moreover, Section 2B of the
Heidelberg's equipment at customer job sites. (Pl. Dep.            Heidelberg policy handbook grants managers the
62-66, 86-88.) He would travel from his home in New                authority to make travel arrangements by stating that,
Jersey to customer sites and then report back to a                 "The technician will make travel arrangements for each
service department located in Nashville, Tennessee. (Pl.           job assignment, unless the supervisor decides to
Dep. 64-66.)                                                       complete these himself/herself." (See Pl. Dep. 215).

Over the course of his employment, Chambers worked                 Third, Chambers alleges that Sucha paged him
under three direct supervisors in a group of                       excessively and that other employees received cell
approximately ten to twelve Field Service Technicians.             phones to replace their pagers before Chambers did. In
(Pl. Dep. 82-88.) Gary Mitchler ("Mitchler") was his               particular, Chambers states that he was paged four to
direct supervisor [*3]    from March 1999 until                    five times daily and, on information and belief, he claims
approximately October 2000; Eric Sucha ("Sucha") was               that most team members were only paged once.
                                                                   (Compl. P 24). In response, Sucha explains that he
                                                                   rolled out cell phones to replace pagers until every
1 Because  the Plaintiff failed to provide a proper statement of   Service Technician received [*5] a cell phone. (Sucha
material facts pursuant to Local Rule 56.1, the majority of        Declaration, P 5). Sucha also argues that he paged all
facts come from Defendant's statement of facts and the             of the Service Technicians who reported to him, and
corresponding exhibits.

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further, that he only paged Chambers when necessary        at Publication Printing, another Heidelberg customer.
to accomplish business purposes. (Sucha Declaration,       Cain noted that Publication Printing advised Cain that it
P 5.)                                                      did not want Chambers back at its plant under any
                                                           condition. (Adamson Declaration P 6; Exhibit 1 to
Based upon these issues, Chambers lodged complaints        Adamson Declaration.)
about Sucha to Heidelberg's human resources
department, but he never claimed that he was being         Chambers asserts that Sucha and his white co-workers
discriminated against based on his race. (See Pl. Dep.     were the persons responsible for leveling numerous
187-193). Chambers also admits that he never               charges against him. (Pl. Opp. P 13). He claims that he
witnessed any Heidelberg manager or supervisor make        was not allowed to review and defend himself against
any negative or derogatory comments about his race or      these charges and that Heidelberg was "building a
any other employee's race. (Pl. Dep. 219-220).             paper trail against him by ambush." (Pl. Opp. P 13.) In
Furthermore, on May 24, 2002, Chambers allegedly left      defense of his actions at the Quebecor job site,
a voice mail for human resources manager, Alicia           Chambers alleges that when he encountered a problem
Stignani, stating that he was not complaining that there   with the gas train assembly installation on the job site,
was any form of discrimination. (See Exhibit 27 to Pl.     he took it upon himself to rewire the gas train assembly,
Dep.) Plaintiff subsequently deposed that he did not use   which he claims demonstrated economical efficiency
the phrase "racial discrimination" because he feared       and problem solving skills. (Pl. Compl. PP 21, 22).
retaliation, even though he had never witnessed any
other person suffer retaliation. (Pl. Dep. 185-187).       Additionally, Chambers alleges that [*8] Adamson
Chambers also admitted that his interactions with Sucha    consulted with Sucha and/or Spencer Mieras ("Mieras"),
were minimal after August 2002 and that his alleged        the head of the Service Department, in making the
mistreatment ended [*6] after Sucha no longer served       decision to terminate Chambers. (Pl. Opp. PP 2-3).
as his supervisor. (Pl. Dep. 85, 163).                     Adamson, however, contends that Mieras and Sucha
                                                           were not involved in the decision-making process.
On March 31, 2003, Chambers' acting supervisor,            (Adamson Declaration, P 7). Adamson claims that he
Geoffrey Adamson, terminated Chambers. (See                only discussed his decision with his supervisor, Bill
Adamson Declaration, P 7; Pl Dep. 220-226). Adamson        Stack, and Heidelberg's human resources department.
stated that, in March 2003, he received a number of        (Adamson Declaration, P 7.) Adamson also asserts that
complaints regarding Chambers' performance and             race did not play any part in his decision to terminate
attitude at customer job sites. (Adamson Declaration, P    Chambers. (Adamson Declaration, P 7.)
7.) In particular, Adamson received a report from Bram
Thijseen, a Technical Support Coordinator with             After his termination, Chambers filed a Charge of
Quebecor, one of Heidelberg's customers. The report        Discrimination with the Equal Employment Opportunity
stated that Chambers left a Quebecor job site before the   Commission ("EEOC") on May 23, 2003. (Exhibit 19 to
equipment was operating properly and it further            Pl. Dep.) The EEOC dismissed the charge stating that,
explained that Quebecor was not satisfied with             based upon its investigation, it was unable to conclude
Chambers' work performance on the job. (Adamson            that the information obtained established any violation of
Declaration, P 6.) Adamson also received a report from     the relevant civil rights statutes. (Exhibit 29 to Pl. Dep.)
Sucha which indicated that Chambers told a customer        The dismissal notice also granted Chambers the right to
representative that a software upgrade recommended         file a lawsuit, under federal law, in federal or state court.
by Heidelberg was a "waste of time" and would be
                                                           Thereafter, on February 11, 2004, Chambers filed his
unhelpful to the customer. (Adamson Declaration, P 6.)
                                                           Complaint in this Court. Heidelberg then filed the
Finally, Adamson received an e-mail report on March
                                                           present motion for summary [*9] judgment on
26, 2003 from Heidelberg's manager of press
                                                           November 3, 2005. Chambers' filed an opposition brief
installations, Gene Cain. The email stated that
                                                           on December 5, 2005 and Heidelberg replied on
Chambers informed a representative of one of
                                                           December 12, 2005. 2 The Court will address the
Heidelberg's customers [*7] that a piece of Heidelberg
equipment was not properly engineered, even though
Chambers did not have the authority or expertise to
                                                           2 Defendant  requests that this Court dismiss Plaintiff's
make that kind of assessment. (Adamson Declaration, P
6; Exhibit 1 to Adamson Declaration.) Gene Cain also       opposition because it was filed out of time under Local Rule
                                                           7.1(d). After filing the late opposition, Plaintiff's attorney
reported similar problems with Chambers' performance
                                                           submitted a letter to this Court explaining that the opposition

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parties' arguments in turn.                                       Dentistry of New Jersey, 391 F. Supp. 2d 298, 311
                                                                  (D.N.J. 2005). Title VII and the NJLAD both prohibit
                                                                  employment discrimination because of race, color,
II. STANDARD OF REVIEW                                            religion, sex, or national origin. 3 Under both of these
                                                                  statutes, Chambers alleges that Heidelberg created a
HN1[ ] Summary judgment is appropriate where the                  hostile work environment and ultimately discharged him
Court is satisfied that "there is no genuine issue [*10]          for discriminatory and retaliatory purposes.
as to any material fact and that the moving party is
entitled to a judgment as a matter of law." Fed. R. Civ.
P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 330,            [*12] A. Hostile Work Environment Claim
106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). A genuine
issue of material fact exists only if "the evidence is such       The Complaint alleges that Defendant's actions
that a reasonable jury could find for the nonmoving               "unreasonably      interfered   with   plaintiff's    work
party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242,            performance and lead to an intimidating, hostile, and
248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986).                    offensive     work     environment   permeated         with
                                                                  discriminatory intimidation so severe and pervasive as
HN2[ ] The burden of establishing the nonexistence of             to alter the terms and conditions of plaintiff's
a "genuine issue" is on the party moving for summary              employment." (Compl. P 30.) HN5[ ] To state a hostile
judgment. Celotex, 477 U.S. at 330. The moving party              work environment claim under Title VII, the plaintiff must
may satisfy this burden by either (1) submitting                  show that (1) he suffered intentional discrimination
affirmative evidence that negates an essential element            because of his race; (2) the harassment was severe or
of the nonmoving party's claim; or (2) demonstrating to           pervasive; 4 (3) the harassment detrimentally affected
the Court that the nonmoving party's evidence is                  him; (4) the harassment would detrimentally affect a
insufficient to establish an essential element of the             reasonable person of the same race in that position; and
nonmoving party's case. Id. at 331. Once the moving               (5) the existence of respondeat superior liability. Jensen
party satisfies this initial burden, the nonmoving party          v. Potter, 435 F.3d 444, 449 (3d Cir. 2006). Similarly,
"must set forth specific facts showing that there is a            when a plaintiff alleges racial harassment under the
genuine issue for trial." Fed. R. Civ. P. 56(e). To do so,        NJLAD, he must demonstrate that the defendant's
the nonmoving party must "do more than simply                     conduct (1) would not have occurred but for the
show [*11] that there is some metaphysical doubt as to            employee's race, and the conduct was (2) severe or
material facts." Matsushita Elec. Indus. Co. v. Zenith
Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 89 L.
Ed. 2d 538 (1986).                                                3 HN4[    ]   The    NJLAD     also     prohibits employment
                                                                  discrimination on additional grounds including age, ancestry,
                                                                  marital status, and sexual orientation, among others. See N.J.
III. DISCUSSION                                                   Stat. Ann. § 10-5:12.

                                                                  4 The Third Circuit has previously stated that the discrimination
HN3[ ] In general, courts apply a similar analysis to
                                                                  must be "pervasive and regular." See e.g., Cardenas v.
discrimination claims brought pursuant to Title VII and
                                                                  Massey, 269 F.3d 251, 260 (3d Cir. 2001); West v.
the NJLAD. Abramson v. William Paterson College of
                                                                  Philadelphia Elec. Co., 45 F.3d 744, 753 (3d Cir. 1995);
New Jersey, 260 F.3d 265, 277 n.7 (3d Cir. 2001)                  Andrews v. City of Philadelphia, 895 F.2d 1469, 1482 (3d Cir.
(observing that "any plaintiff who has fulfilled a Title VII      1990). However, in Jensen, the Third Circuit recognized that
prima facie case will have also shown the elements                the United States Supreme Court's test requires only that the
required by the NJLAD."); Cortes v. Univ. Of Med. &               harassment be "severe or pervasive" not "pervasive and
                                                                  regular." Jensen, 435 F.3d at 449 n.3 (citing Pa. State Police
                                                                  v. Suders, 542 U.S. 129, 133, 124 S. Ct. 2342, 159 L. Ed. 2d
was filed late because her father was hospitalized in Jackson,    204 (2004); Nat'l R.R. Passenger Corp. v. Morgan, 536 U.S.
Mississippi and she needed to make several trips to Jackson       101, 116, 122 S. Ct. 2061, 153 L. Ed. 2d 106 (2002); Harris v.
to see him. Chambers could have received an automatic 14          Forklift Systems, Inc., 510 U.S. 17, 21, 114 S. Ct. 367, 126 L.
day extension to file the opposition if Chambers' attorney        Ed. 2d 295 (1993); Meritor Sav. Bank, FSB v. Vinson, 477
would have submitted a timely letter to the Court as well as to   U.S. 57, 67, 106 S. Ct. 2399, 91 L. Ed. 2d 49 (1986)).
Defendant. See L. Civ. R. 7.1(d)(5). Despite her failure to do    Because the distinction is significant and the Supreme Court's
so, this Court will, in the interest of completeness, consider    determination controls, this Court will use the "severe or
Plaintiff's untimely opposition.                                  pervasive" test. See id.

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pervasive enough to make a (3) reasonable African-            "in order to constitute racial harassment, the subject
American believe that (4) the conditions of employment        comments or behavior need not be overtly racial in
are altered and the working environment is hostile [*13]      nature").
or abusive. Caver v. City of Trenton, 420 F.3d 243, 262-
63 (3d Cir. 2005) (citing Taylor v. Metzger, 152 N.J. 490,    Nevertheless, even considering the alleged instances of
706 A.2d 685, 688-89 (N..J. 1998)). In analyzing a            facially neutral mistreatment, Chambers has not
hostile work environment claim, the Court may consider        demonstrated that race was a factor in the way that he
"the frequency of the discriminatory conduct; its severity;   was treated. The Plaintiff has utterly failed to present
whether it is physically threatening or humiliating, or a     any competent evidence to show that the allegations
mere offensive utterance; and whether it unreasonably         regarding his [*16] training, travel schedule, and
interferes with an employee's work performance." Harris       communication issues are in any way connected to his
v. Forklift Systems, Inc., 510 U.S. 17, 23, 114 S. Ct.        race.
367, 126 L. Ed. 2d 295 (1993).
                                                              First, with respect to the allegation that Chambers was
[*14] 1. Discrimination Because of Race                       the only member of his group not sent to the Eclipse
                                                              training session, Chambers sets forth no evidence
Chambers alleges that Heidelberg harassed him                 whatsoever to demonstrate the truth of that assertion.
because he is black. HN6[ ] To establish the first            During his deposition, Chambers admitted that he had
prong of a hostile work environment based upon racial         no personal knowledge of whether any other technicians
discrimination, a plaintiff must show that race is a          in his group did not go to the training. (See Pl. Dep. 174-
substantial factor in the discrimination and that, if the     179.) Rather than investigating the issue, Chambers
plaintiff had been of another race, he would not have         chose not to conduct any discovery on this issue or any
been treated in the same manner. See Aman v. Cort             other issue raised in the Complaint. (See Def. Mem. at
Furniture Rental Corp., 85 F.3d 1074, 1083 (3d Cir.           13-14.) By contrast, Heidelberg presented evidence
1996). Speculations, generalities, and gut feelings,          which shows that white technicians were likewise not
however genuine, do not allow for an inference of             sent to that same training session. (See Sucha
discrimination to be drawn when they are not supported        Declaration, P 4.) Bill Ellis and James Carroll, both white
by specific facts. Little v. State of New York, 1998 U.S.     males in Chambers' group, never attended an Eclipse
Dist. LEXIS 21797, No. 96 CV 5132, 1998 WL 306545,            training session. (Id.) In his declaration, 5 Sucha
at *6 (E.D.N.Y. June 8, 1998); see Hargrave v. County         explains that Ray Gitzendanner, an employee who
of Atlantic, 262 F. Supp. 2d 393, 419 (D.N.J. 2003)           reported to Sucha, made arrangements for Service
(noting that despite plaintiff's conclusory allegation of     Technician Training at Eclipse Combustion in Rockford,
racial harassment, there was nothing about the alleged        Illinois. (Id.) Gitzendanner, and two other Service
misconduct that would support an inference of racial          Technicians attended the [*17] initial training session at
animus or hostility toward the plaintiff).                    Rockford. Those two technicians who attended along
                                                              with Gitzendanner had more seniority than Chambers
As a preliminary matter, the Court notes that Chambers        and lived within driving distances of the training location.
never witnessed any Heidelberg manager or supervisor          (Id.) Because there was negative feedback regarding
make any negative or derogatory comments [*15]                the effectiveness of the initial training session, no further
regarding his race or any other employee's race during        Eclipse training was ever conducted. (Id.) On these
the period of his employment. (See Pl. Dep. 219-220.)         facts, there is nothing to suggest that the decision not to
In other words, although Chambers does not allege any         send Chambers to the Eclipse training was motivated by
overt acts of racial animus, the Court must still evaluate    racial animus or hostility.
whether the Defendant created a hostile work
environment (because of Plaintiff's race) through facially    Second, Chambers claims that his white co-workers did
neutral mistreatment of the Plaintiff. See Cardenas v.        not experience the inconvenient travel arrangements
Massey, 269 F.3d 251, 262 (3d Cir. 2001) (recognizing         that he experienced under Sucha's supervision;
that "the advent of more sophisticated and subtle forms
of discrimination requires that we analyze the aggregate
                                                              5 The  Defendant presented sworn declarations of several
effect of all evidence and inferences therefrom,
including those concerning incidents of facially neutral      individuals named in the Complaint. Because the Plaintiff
                                                              never sought to depose anyone (or otherwise obtain discovery
mistreatment, in evaluating a hostile work environment
                                                              from these individuals), the Defendant could not elicit the
claim"); Hargrave, 262 F. Supp. 2d at 412 (noting that
                                                              same information via cross-examination during a deposition.

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however, Chambers presents nothing more than an              achieve a business purpose, and further, that Sucha
allegation "on information [*18] and belief" to support      often paged all of the employees under his supervision
that claim. (See Pl. Opp. at 12.) Such HN7[ ]                as part of his job. (Sucha Declaration, P 5.) Therefore,
unsubstantiated speculation is insufficient to withstand     based on the relevant evidence before the Court, the
summary judgment. Podobnik v. U.S. Postal Serv., 409         Plaintiff has failed to present a genuine issue of material
F.3d 584, 594 (3d Cir. 2005) (citing Celotex, 477 U.S. at    fact regarding whether he was excessively paged, and if
325). Conversely, Heidelberg presented Sucha's sworn         so, whether the reason for that excess was Plaintiff's
declaration, which explains that, in an effort to curb       race.
costs, the company requested that he and other
managers take a more active role in making travel            In addition, the Court notes that Chambers never
arrangements for the employees in their groups, and          alleged racial discrimination when he lodged complaints
that Sucha, therefore, became more involved in making        about Sucha to Heidelberg's human resources
travel arrangements for Chambers and other white             department. In fact, Chambers apparently left a voice
technicians under his supervision. (Sucha Declaration,       mail for human resources manager, Alicia Stignani,
P 6.) Because there is absolutely no record evidence to      specifically stating that he was not complaining of any
refute Sucha's explanation, Chambers has failed to           form of discrimination. (See Exhibit 21 to Pl. Dep.)
raise a genuine issue of fact regarding the motivation       Moreover, in his complaints to human resources,
behind Sucha's involvement in Chambers' travel               Chambers provided information identifying white
schedule.                                                    employees who allegedly had similar problems with
                                                             Sucha. For instance, [*21] in a January 10, 2002 email
Third, with regard to Chambers' assertion that Sucha         to human resources, Chambers states "There have
excessively paged him and did not promptly provide him       been disagreement [sic] with Mr. Sucha and other
with a cell phone, the evidence Chambers presents on         service Techs." (See Exhibit 21 to Pl. Dep.) Later,
these issues does not support a finding of discrimination    Chambers deposed that the "other service Techs"
based on race. Chambers' opposition states that in the       mentioned in the email referred to a white employee
spring of 2001, Sucha's [*19] supervisor allegedly           named Chuck Sowers, who allegedly was also "very
directed Sucha to "cease the excessive paging." (Pl.         unhappy" with Sucha. (Pl. Dep. 189-93.) Similarly, in an
Opp. at 13.) Chambers goes on to allege that although        April 21, 2002 email to human resources, Chambers
Sucha did temporarily stop the purportedly excessive         forwarded a work report regarding a white Service
paging, Sucha allegedly resumed the practice after he        Technician and stated that it was "an example of what is
received a new supervisor. (Pl. Opp. at 13.) In support      going on with this group." (See Exhibit 23 to Pl. Dep.) In
of these contentions, Chambers cites to his own              other words, Chambers' own complaints tend to show
affirmation, which merely states that Sucha excessively      that he would not have been treated differently if he had
paged Chambers and that "based on information and            been white.
belief, Mr. Sucha never paged any of [his] coworkers
excessively." (Pl. Declaration, attached as Exhibit 6 to     Overall, aside from his mere speculation and conclusory
Pl. Opp.) Again, the Court notes that at this stage in the   allegations, Chambers has not provided any competent
proceedings, it is insufficient to rely merely upon          evidence that might lead a reasonable fact finder to
"information and belief" to prove a claim or preclude        believe that race was a factor in the treatment he
summary judgment. In addition, Chambers cites to an          received from the Defendant. Even considering the
email that he drafted in the spring of 2001 to support the   allegations regarding Plaintiff's travel, training, and
claim that Sucha excessively paged him even after            communications issues as a whole, the record is devoid
Sucha's supervisor allegedly directed Sucha to stop the      of any evidence to show that the treatment Chambers
excessive paging in the spring of 2001. (See Pl. Opp. at     received was due to his race. As a result, [*22] the
13; Email attached to Pl. Opp. at Exhibit 6.) However,       Court will grant Defendant's motion for summary
that email lists a series of events related to Chambers'     judgment on Plaintiff's hostile work environment claims
job assignments in March 2001, but it does not in any        under the NJLAD and Title VII. However, as an
clear way indicate that Sucha had [*20] been                 alternative basis for this holding, the Court will also
excessively paging the Plaintiff. Not only that, but an      analyze whether the alleged harassment was severe or
email written in the spring of 2001 is not evidence that     pervasive enough to constitute an actionable hostile
Sucha excessively paged Chambers after the spring of         work environment claim.
2001. Moreover, Heidelberg presented evidence that
                                                             2. Severe or Pervasive Harassment
Sucha only paged Chambers when necessary to

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To be actionable under Title VII and the NJLAD, any           co-workers constantly traveled and did not all physically
alleged harassment must be so severe or pervasive that        report to a central location on a regular basis,
it alters the conditions of the victim's employment and       communication by way of pager or telephone appears to
creates an abusive environment. Weston v.                     be an integral part of Chambers' employment. In other
Pennsylvania, 251 F. 3d 420, 426 (3d Cir. 2001). The          words, not only does Chambers fail to present any
requirement contains both a subjective and objective          evidence that Sucha's paging and involvement in his
component. Jensen, 435 F.3d at 451 (citing Faragher v.        travel arrangements was severe or pervasive, but even
City of Boca Raton, 524 U.S. 775, 787, 118 S. Ct. 2275,       if it did occur on a regular basis, there is no evidence to
141 L. Ed. 2d 662 (1998)). That is, the alleged               suggest that, in the context of Plaintiff's [*25]
harassment must be so severe or pervasive that it not         employment, he suffered any detrimental effect, or that
only detrimentally affects the plaintiff, but would also      a reasonable black employee in his position would have
detrimentally affect a reasonable person of plaintiff's       been detrimentally affected.
race in the same position. Id. As mentioned above, the
factors to be considered include "the frequency of the        In his opposition papers, Chambers also alleges that
discriminatory conduct; its severity; whether it is           Defendant harassed him by not providing him with
physically [*23] threatening or humiliating, or a mere        copies of a letter and an email, written by other
offensive utterance; and whether it unreasonably              Heidelberg employees, which complained of Chambers'
interferes with an employee's work performance." Id.          job performance. (See Pl. Opp. at 12.) Paul Northrup
(quoting Harris v. Forklift Systems, Inc., 510 U.S. 17, 23,   wrote the letter in question on July 10, 2001, and in it he
114 S. Ct. 367, 126 L. Ed. 2d 295 (1993)). No single          explained that Chambers had been purposely unhelpful
factor is dispositive as the inquiry must focus on the        and withheld information at a customer job site. (See
totality of the circumstances. Id. at 451-52.                 Exhibit 13 to Pl. Dep.) Gene Cain wrote the email at
                                                              issue on March 26, 2003, and in it he (1) complained
In this case, Chambers' complaints do not amount to           that Chambers told a customer that a piece of
severe or pervasive harassment. The alleged                   Heidelberg equipment was incorrectly designed, and (2)
harassment consists of the following: (1) Sucha's failure     explained that a different customer told Cain that it did
to send Chambers to a training session held in Illinois,      not want Chambers back at its job site under any
(2) Sucha's alleged "excessive" paging of Chambers,           conditions. (See Exhibit 2 to Adamson Declaration.)
and (3) Sucha's intervention in Chambers' work-related        Chambers alleges that he should have been provided a
travel arrangements. With respect to the training issue,      copy of these documents so that he could "review,
the record shows that two local employees who lived in        address, or defend" himself with respect to the
Illinois were sent to that training session and reported      complaints in those documents. (Pl. Opp. at 12.)
back to Heidelberg that the training was not particularly     However, Chambers was given an opportunity to defend
useful. (See Sucha Declaration, P 4.) Other Service           himself [*26] with respect to the incident discussed in
Technicians in Chambers' group, including white               the July 10, 2001 letter during a disciplinary meeting
employees, were similarly not sent to this one-time           held on September 5, 2001. (See Def. Facts PP 14-19.)
training session. (Id.) There is no evidence that             Moreover, in June 2002, Chambers received a copy of a
Chambers was not sent to any other training sessions,         final warning regarding his disciplinary issues, after a
nor is there any evidence that this one failure [*24] to      meeting with Sucha and Mieras on June 12, 2002. (Def.
attend the Eclipse training had any effect whatsoever on      Facts P 20; Exhibit 17 to Pl. Dep.; Exhibit 2 to Adamson
Chambers' employment. Likewise, although Chambers             Declaration.) The written warning clearly states that ". . .
alleges that Sucha excessively paged him and                  this is your final warning. If management receives
intervened in his travel arrangements on a regular basis,     additional complaints about your performance during an
there is no evidence to support the alleged severity or       installation or from others in the organization about your
regularity of that conduct. Rather, the evidence              ability and willingness to work and get along with other
demonstrates that Sucha occasionally intervened in the        personnel, your employment with Heidelberg will be
travel arrangements of all of his subordinates pursuant       terminated." (Exhibit 17 to Pl. Dep.; Exhibit 2 to
to a company directive requesting that he do so to            Adamson         Declaration.)(emphasis     in      original).
control expenses. (See Sucha Declaration, P 6.)               Thereafter, Chambers' supervisor received the March
Moreover, Sucha declared that he paged all of the             26, 2003 email from Gene Cain, as well as other
employees in his group as that was the main form of           complaints       regarding     Chambers'      performance.
communication he had with his traveling employees.            (Adamson Declaration, PP 6-7.) As a result, Chambers
(Sucha Declaration, P 5.) Because Chambers and his            was terminated. (Id.) Based on these undisputed facts,

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there is no evidence to suggest that (1) Chambers was        the three-step, burden-shifting standard, outlined in
not on notice after June 2002 that any further               McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S.
complaints about him would [*27] result in termination       Ct. 1817, 36 L. Ed. 2d 668 (1973), [*29] to both
without further consultation, or (2) that Defendant          discriminatory discharge and retaliatory discharge
suffered "pervasive harassment" merely because he did        claims. See Woodson v. Scott Paper Co., 109 F.3d 913,
not receive a copy of the July 11, 2001 letter or the        920 (3d Cir. 1997). Under this burden shifting
March 26, 2003 email. (See Pl. Opp. at 12.)                  framework, a plaintiff must first establish a prima facie
                                                             case of discrimination. Reeves v. Sanderson Plumbing
Overall, in examining the totality of the circumstances, a   Prods., Inc., 530 U.S. 133, 142, 120 S. Ct. 2097, 147 L.
reasonable fact finder could not conclude that               Ed. 2d 105 (2000) (citing St. Mary's Center v. Hicks, 509
Chambers was subject to any racially-motivated               U.S. 502, 506, 113 S. Ct. 2742, 125 L. Ed. 2d 407
harassment that was severe or pervasive enough to            (1993)). A rebuttable presumption of unlawful
alter the conditions of his employment or create an          discrimination arises if plaintiff presents this prima facie
abusive environment. Because Chambers' opposition            case. Bergen Commercial Bank v. Sisler, 157 N.J. 188,
does little more than re-allege the factually unsupported    723 A. 2d 944, 955 (N.J. 1999) (citing Texas Dep't. of
allegations contained in his pleadings, Chambers has         Cmty. Affairs v. Burdine, 450 U.S. 248, 253, 101 S. Ct.
not established the existence of a genuine issue of          1089, 67 L. Ed. 2d 207 (1981)). To rebut this
material fact that would defeat Defendant's motion for       presumption, the defendant must then set forth
summary judgment on his hostile working environment          admissible evidence of a legitimate, non-discriminatory
claims under Title VII and the NJLAD. Accordingly, as        reason for the employment decision at issue. Id. If the
an alternative to the grounds analyzed above in section      defendant produces evidence of a legitimate, non-
III.A., the Court will grant Defendant's motion for          discriminatory reason for the employment decision, the
summary judgment as to the hostile working                   presumption of unlawfulness disappears. Id. (citing
environment claims on the basis that Chambers has not        Hicks, 509 U.S. at 507-08). At that point, the plaintiff
presented any evidence to suggest that the alleged           must prove by a preponderance of the evidence that the
misconduct constituted severe or pervasive harassment        employer's articulated reason [*30] was not the real
sufficient to maintain an actionable [*28] claim.            reason for the employment action, but rather was a
                                                             mere pretext for discrimination. Id. The plaintiff may
                                                             prove pretext directly by demonstrating that a different
B. Retaliatory/Discriminatory Discharge Claims               reason more likely motivated the employer, or indirectly
                                                             by demonstrating that the employer's articulated reason
Chambers alleges that he was unlawfully discharged
                                                             is not credible. Id. In spite of these intermediate burden
because of his race and that there is a causal
                                                             shifts within the discrimination standard, it is ultimately
connection between his complaints about Sucha in 2001
                                                             the plaintiff's burden to persuade the fact finder that the
and 2002 and his subsequent termination in March
                                                             employer engaged in unlawful discrimination. Id.;
2003. In response, Heidelberg claims that Chambers'
                                                             Reeves, 530 U.S. at 143; Burdine, 450 U.S. at 253.
discriminatory and retaliatory discharge claims both fail
as a matter of law. First, Heidelberg contends that          1. Retaliatory Discharge
Chambers has not provided any direct or circumstantial
evidence to demonstrate that Adamson harbored any            HN9[ ] To establish a prima facie case of retaliatory
racial animus to support his discriminatory discharge        discharge, Chambers must show that (1) he was
claim. Second, Heidelberg argues that Chambers did           engaged in a protected activity; (2) he was discharged
not engage in any protected activity before his              subsequent to or contemporaneously with such activity;
discharge because he never lodged any complaint of           and (3) there is a causal link between the protected
race discrimination against Sucha or anyone else prior       activity and the discharge. Woodson, 109 F.3d at 920
to filing his charge with the EEOC. Third, Heidelberg        (citing Quiroga v. Hasbro, Inc., 934 F. 2d 497, 501 (3d
claims that there is no evidence of a causal connection      Cir. 1991); Jalil v. Avdel Corp., 873 F.2d 701, 708 (3d
between the work-related complaints that Chambers did        Cir. 1989)); Reyes v. McDonald Pontiac GMC Truck,
lodge against Sucha and his later discharge by               Inc., 997 F. Supp. 614, 619 (D.N.J. 1998). [*31]
Adamson.
                                                             HN10[ ] With respect to the first element of a prima
In cases like these, HN8[ ] where the plaintiff does not     facie case of retaliatory discharge, the language of Title
present direct evidence of discrimination, courts apply      VII and the NJLAD explains what constitutes a


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"protected activity." Specifically, § 704(a) of Title VII      this fear does not obviate the requirement for protected
forbids an employer from discriminating against an             activity under Title VII and the NJLAD. In other words,
employee "because he has opposed any practice made             regardless of the reason why Chambers did not
an unlawful employment practice by this subchapter, or         complain of racial discrimination prior to his discharge,
because he has made a charge, testified, assisted, or          there can be no claim for retaliatory discharge when
participated in any manner in an investigation,                Chambers never engaged in a protected activity. See
proceeding, or hearing under this subchapter." 42              Reyes, 997 F. Supp. at 619 ("[P]laintiff is unable to show
U.S.C. § 2000e-3(a). The phrase "this subchapter"              that she was engaged in a protected activity, and she
refers specifically to 42 U.S.C. §§ 2000e through 2000e-       can not satisfy the prima facie elements of a retaliatory
17, which contain the provisions regarding an                  discharge claim."). Chambers cannot claim he was
employee's rights when an employer has discriminated           discharged in retaliation for complaining of racial
against him or her on the basis of race, color, sex,           discrimination when the record shows that Chambers
religion, or national origin. See Slagle v. County of          never made any such complaints of racial discrimination
Clarion, 435 F. 3d 262, 267 (3d Cir. 2006).                    prior to his termination. See Vilchock v. Proctor &
Consequently, a charge "under this subchapter" is a            Gamble Paper Products Co., 868 F. Supp. 659, 667
charge that alleges discrimination on the basis of one or      (M.D. Pa. 1993) ("As the Plaintiff admittedly did not file
more of those prohibited grounds. Id. Similarly, the           or complain of any discriminatory [*34] practices prior
NJLAD prohibits employment discrimination and                  to his discharge, Plaintiff can in no way claim the
retaliation against an [*32] employee for opposing a           Defendant retaliated against him for something he did
discriminatory practice which is based upon race, color,       not do."). As a result, Chambers cannot demonstrate
sex, religion, national origin, or a number of other listed    that he engaged in a protected activity, which is the first
factors. See N.J. Stat. Ann. § 10:5-12. Therefore, in          element of a prima facie case of retaliatory discharge.
order to have engaged in a protected activity under Title
VII or the NJLAD, Chambers must show that his                  Moreover, Chambers has also failed to present any
complaints about Sucha's conduct amounted to                   evidence to support the second and third elements of a
allegations of discrimination on the basis of race, color,     retaliatory discharge claim. That is, Chambers has
sex, religion, national origin, or some other statutorily      provided no evidence indicating a causal link between
enumerated basis.                                              Adamson's decision to terminate Chambers and
                                                               Chambers' complaints against Sucha. By contrast,
Chambers now complains that the Defendant                      Adamson's sworn declaration indicates that (1) he did
discriminated against him based on his race; however,          not consult Sucha at all regarding his decision to
Chambers never once alleged racial discrimination while        terminate Chambers, and that (2) Chambers' race
he was employed by Heidelberg. None of Chambers'               played no part whatsoever in [*35] Adamson's decision
complaints to human resources regarding Sucha                  to terminate his employment. Rather, Adamson
mentions or even insinuates that Chambers was                  terminated Chambers because of a series of complaints
complaining of racial discrimination. (See Def. Exhibits       regarding Chambers' work performance in March 2003.
20-23.) In fact, Chambers apparently made a point of           (Adamson Declaration, PP 6, 7.) HN11[ ] The mere
calling the human resources department to clarify              fact that a discharge occurs subsequent to the lodging
specifically that he was not alleging any form of              of a complaint is ordinarily insufficient to satisfy the
discrimination in his complaints against Sucha. (See           plaintiff's burden of demonstrating a causal link between
Def. Exhibit 27.) Moreover, Chambers deposed that he           the two events. 7 Christman v. Cigas Machine Shop,
did not at any time mention to the human resources             Inc., 293 F. Supp. 2d 538, 544 (E.D. Pa. 2003) (citing
department or Heidelberg's [*33] management that he            Robinson v. City of Pittsburgh, 120 F.3d 1286, 1302 (3d
considered the complaints he lodged against Sucha to           Cir. 1997)). Therefore, even if Chambers had presented
be based on his race. (Pl. Dep. 185-86, 188.) Now,             evidence that he engaged in a protected activity, he has
Chambers argues that the reason he did not complain of         still failed to present any evidence to establish a causal
racial discrimination while he was employed by
Heidelberg is because he feared retaliation. 6 However,
                                                               of Heidelberg's no harassment policy. (See Pl. Dep. 71-72,
                                                               184-186.)

6 Although
         Chambers now claims that he feared retaliation, he    7 Inthis case, over a year had passed from the time Plaintiff
deposed that he never saw or heard of any Heidelberg           lodged complaints about Sucha until his subsequent
employee who was retaliated against and further that he knew   termination. (See Def. Facts. PP 6, 22.)

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connection between any protected activity and the              protected class, nor has he presented evidence to show
alleged retaliatory termination.                               that the claims against him were baseless or that his
                                                               complaints against Sucha had anything to do with his
Altogether, Chambers has failed [*36] to present               discharge. Although the Court is doubtful that Plaintiff
sufficient evidence to support any of the elements of a        has demonstrated a prima facie case of discriminatory
prima facie case of retaliatory discharge. Therefore, the      discharge on these facts, the Court will nevertheless
Court need not examine the next steps under the                continue with the McDonnell Douglas burden-shifting
McDonnell Douglas burden-shifting test. Rather, the            analysis because the Plaintiff's burden at this stage is
Court will grant the Defendant's motion for summary            not an onerous one. See Marzano v. Computer Science
judgment as to Plaintiff's retaliatory discharge claims        Corp., 91 F.3d 497, 508 (3d Cir. 1996) (noting that "the
under Title VII and the NJLAD.                                 initial burden is not intended to be onerous").

2. Discriminatory Discharge                                    Likewise, HN13[ ] the Defendant bears a relatively
                                                               light burden of production in rebutting a prima facie case
HN12[ ] To establish a prima facie case of
                                                               of unlawful discharge. Fuentes v. Perskie, 32 F. 3d 759,
discriminatory discharge under Title VII, Chambers must
                                                               763 (3d Cir. 1994). Specifically, Defendant must only
show (1) that he is a member of a protected class; (2)
                                                               introduce evidence "which, taken as true, would permit
that he is qualified for the position; (3) that he was fired
                                                               the conclusion that there was a nondiscriminatory
from that position; and (4) that the circumstances of the
                                                               reason for the unfavorable employment decision." Id.
case give rise to an inference of unlawful discrimination
                                                               (citing Hicks, 509 U.S. at 509.) Furthermore, the
such as might occur when the position is filled by a
                                                               employer need not prove that the proffered reason
person not of the protected class. See Jones v. School
                                                               actually motivated its behavior because the
Dist. of Philadelphia, 198 F.3d 403, 411 (3d Cir. 1999);
                                                               plaintiff [*39] always retains the ultimate burden of
Waldron v. SL Indus., Inc., 56 F.3d 491, 494 (3d Cir.
                                                               proving intentional discrimination. Id. (citing Burdine,
1995). Under the NJLAD, the elements are substantially
                                                               450 U.S. at 253, 254, 256).
the same except that the fourth element requires a
showing that "the employer sought someone to perform           In this case, Heidelberg has met its burden of
the same work" after Plaintiff was fired. See Zive v.          production      in  rebutting    Chambers'   claim     of
Stanley Roberts, Inc., 182 N.J. 436, 867 A.2d 1133,            discriminatory discharge by providing evidence that
 [*37] (N.J. 2005). Neither party disputes that                Adamson terminated Chambers because he received
Chambers is a member of a protected class, was                 several     complaints     regarding   Chambers'     job
qualified for his position, and was fired from his position.   performance and uncooperative attitude at customer job
Therefore, the analysis of Chambers' discriminatory            sites. (See Adamson Declaration, PP 6, 7.) Because
discharge claim will focus on the fourth element of a          poor       work    performance      is  a    legitimate,
prima facie case.                                              nondiscriminatory reason for terminating Chambers'
                                                               employment, the burden of production shifts back to the
Chambers has not established the fourth prong of a             Plaintiff.
prima facie case of discriminatory discharge because he
has not shown circumstances that give rise to an               HN14[ ] To meet that burden, Chambers must
inference of unlawful discrimination, nor has he shown         establish by a preponderance of the evidence that
that Heidelberg sought to replace him with someone             Defendant's articulated reason was a mere pretext for
else after his termination. See Jones, 198 F.3d at 411;        discrimination. Fuentes, 32 F.2d at 763. In particular,
Waldron, 56 F.3d at 494; Zive, 867 A.2d at 1145. Here,         Chambers must demonstrate "such weaknesses,
Chambers alleges that the charges that were made               implausibilities, inconsistencies, incoherencies, or
against him regarding his work performance were                contradictions" in Heidelberg's proffered reasons for its
baseless. (Pl. Opp. at 9.) Chambers appears to argue           termination decision that "a reasonable fact finder could
that these allegedly baseless charges coupled with his         rationally find them unworthy of credence and hence
complaints about his former supervisor, Sucha, would           infer that the employer did not act for the asserted non-
lead a reasonable person to infer that he suffered             discriminatory reasons. [*40] " Id. at 766 (citations
unlawful discrimination when Defendant terminated his          omitted). However, it is insufficient for Chambers to
employment. (See Pl. Opp. 9-10, 16.) Notably, Plaintiff        show merely that the employer's decision was wrong or
has not demonstrated that Heidelberg sought anyone to          mistaken because the relevant issue is "whether
fill his position, much less [*38] a person outside of the     discriminatory animus motivated the defendant, not

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whether the defendant is wise, shrewd, prudent, or            United States District Judge
competent." Id. (citing Ezold v. Wolf, Block, Schorr &
Solis-Cohen, 983 F.2d 509, 531, 533 (3d Cir. 1992);
Villanueva v. Wellesley College, 930 F.2d 124, 131 (1st       ORDER
Cir. 1991)).
                                                              THIS MATTER having come before the Court upon
Chambers appears to make two arguments to show                motion by Defendant Heidelberg USA, Inc. for summary
pretext; however, he has provided virtually no evidence       judgment on all claims in Plaintiff's Complaint; and the
to support his contention that Heidelberg's termination       Court having considered the moving papers, the
decision was motivated by discriminatory animus. First,       opposition thereto; and for the reasons expressed in this
Chambers alleges that his work performance was                Opinion issued this date;
satisfactory and that the charges made against him
were baseless. (See Pl. Opp. at 9, 16.) Although he           IT IS HEREBY ORDERED that Defendant's motion is
presents minimal evidence to support that assertion, the      GRANTED.
inquiry itself is irrelevant to the Court's analysis.
                                                              Dated: 5-05-06
Whether Heidelberg's decision to terminate Chambers
was correct, wise, or prudent is beyond the scope of the      s/ Robert B. Kugler
Court's inquiry because the relevant question is whether
the termination decision was motivated by [*41] racial        United States District Judge
animus. See Fuentes, 32 F.2d at 766. Second,
Chambers argues that an email from a customer to
Adamson and Sucha, which expresses dissatisfaction              End of Document
with Heidelberg's service on a software upgrade and
requests that Chambers return to the customer job site
to set up a motor, somehow demonstrates that
Adamson's reason for terminating Chambers was a
pretext for racial discrimination. 8 (See Pl. Opp. at 15-
16.) Again, even if Adamson had been incorrect in
assessing Chambers' job performance, that error alone
would not mean that Chambers should prevail on a
discriminatory discharge claim. Without any specific
evidence tending to show that race played any part in
Adamson's decision to terminate Chambers, the Plaintiff
cannot demonstrate that the proffered reason for his
termination was a pretense for unlawful discrimination.
Accordingly, the Court will grant the Defendant's motion
for summary judgment as to Chambers' discriminatory
discharge claims under Title VII and the NJLAD.


[*42] IV. CONCLUSION

For the foregoing reasons, the Court will grant
Defendant's motion for summary judgment as to all
claims in Plaintiff's Complaint. The accompanying Order
shall issue today.

Dated: 5-05-06

s/ Robert B. Kugler


8 The   Court notes that the copy of this email attached to
Plaintiff's Opposition is not authenticated in any way.

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                                                Hoist v. New Jersey
                                  United States District Court for the District of New Jersey
                                     August 13, 2015, Decided; August 13, 2015, Filed
                                            Civil Action No. 12-5370 (FLW)(LHG)

Reporter
2015 U.S. Dist. LEXIS 106527 *; 2015 WL 4773275
                                                                ENVIRONMENTAL OF PROTECTION AGENCY,
                                                                DEBRA EWALT, ROSANNE ROSSI, VERONICA
DONIELLE T. HOIST, Plaintiff, v. STATE OF NEW
                                                                KIRKHAM, KAREN SONDEJ, MATTHEW COEFER,
JERSEY, et al., Defendants.
                                                                WAYNE GRENNIER, DOES, Defendants: KATHRYN
                                                                ELIZABETH DURAN, LEAD ATTORNEY, STATE OF
                                                                NEW JERSEY, OFFICE OF THE ATTORNEY
                                                                GENERAL, TRENTON, NJ.
Notice: NOT FOR PUBLICATION



                                                                Judges: FREDA L. WOLFSON, United States District
                                                                Judge.
Subsequent History: Affirmed by Hoist v. New Jersey,
2016 U.S. App. LEXIS 2777 (3d Cir. N.J., Feb. 18,
2016)
                                                                Opinion by: FREDA L. WOLFSON


Prior History: Hoist v. New Jersey, 2013 U.S. Dist.
LEXIS 140164 (D.N.J., Sept. 30, 2013)
                                                                Opinion


Core Terms                                                      WOLFSON, District Judge:

                                                                Pro se Plaintiff Donielle Hoist ("Plaintiff" or "Hoist") was
co-workers, altercation, termination, workplace,
                                                                employed by Defendant the New Jersey Department of
workplace violence, adverse employment action, yelling,
                                                                Environmental Protection ("DEP," or, with the State of
complaints, disciplined, retaliation, discriminatory,
                                                                New Jersey, "Defendants") until April 2011, at which
employees, hostile work environment, REMOVAL,
                                                                time she was allegedly terminated for "conduct
Notice, prima facie case, summary judgment motion,
                                                                unbecoming an employee" after an altercation involving
summary judgment, allegations, union representative,
                                                                a coworker. Plaintiff instituted this suit against
race discrimination, harassment, asserts, genuine, staff,
                                                                Defendants, alleging that her termination was based
electronic communication, gender discrimination,
                                                                upon race and gender discrimination, and retaliation for
protected activity, hearing officer, circumstances
                                                                engaging in protected employment activity, in violation
                                                                of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
                                                                2000e, et. seq. Before the Court are motions for
                                                                summary judgment brought by Defendants and
Counsel: [*1] DONIELLE T. HOIST, Plaintiff, Pro se,
                                                                Plaintiff.1 Also before the Court are three motions to
MORRISVILLE, PA.

                                                                1 Plaintiff
                                                                       has also moved for an extension of time to file her
For STATE OF NEW JERSEY, DEPT. OF
                                                                summary judgment motion. [ECF No. 71.] This motion is

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compel certain documents from Defendants. For the                  who advised Coefer to fill out the form after Coefer
reasons [*2] set forth herein, the Court DENIES the                informed them that he was collectively approached by
motions to compel, GRANTS Defendants' motion in its                the staff members regarding Hoist and [*4] the alleged
entirety and DENIES Plaintiff's motion for summary                 hostile work environment created by Hoist. Duran Cert.
judgment.                                                          Ex. E at HOIST.COEFER 0189.

                                                                   Ms. Clayton, a Caucasian female and co-worker of
I. Background                                                      Hoist, also filed a Workplace Violence Complaint
                                                                   against Hoist on March 4, 2010. Ms. Clayton alleged
The following facts are undisputed unless otherwise                that Hoist addressed the OPRA staff with "nasty verbal
noted. Hoist is an African American female who, at all             and written correspondence, mannerisms and body
times relevant to this action, was employed by the DEP             language." Duran Cert. Ex. F at HOIST.WPV.CPMP
as a Senior Clerk Typist in the Office of Record Access            0069-70. The OLR found that the incident did not
("OPRA"). See Defendants' Statement of Uncontested                 constitute violence in the workplace, but served Hoist
Material Facts ("DSUMF") ¶ 8. Hoist was directly                   with a written warning reminding her that she must
supervised by Evelyn Molder, an African American                   conduct herself "in a courteous and professional manner
female who formerly was the Supervisor of Operations               at all times with both co-workers and [her] manager."
at OPRA, and Wayne Grennier, a Caucasian male who                  Duran Cert. Ex. G at HOIST.LR.REMOVAL 0041. The
is the Supervisor of Operations at OPRA. Molder and                OLR warned Hoist that future incidents of inappropriate
Grennier were supervised by Matthew Coefer                         behavior may result in disciplinary action. Id.
("Coefer"), a Caucasian male who is the Chief Records
Custodian at OPRA. Id. at ¶ 9.                                     On March 23, 2010, Hoist verbally complained to Coefer
                                                                   about several incidents where Ms. Clayton was
                                                                   allegedly    making      rude     gestures  and     acting
Plaintiff Hoist's Workplace Violence Complaints                    unprofessionally towards Hoist. See Duran Cert. Ex. H
                                                                   at HOIST.WPV.COMP 0028; Deposition of Donielle
On March 3, 2007, Sandra Remboske filed a Workplace                Hoist ("Hoist Dep.") at 39-41, 51:9-19. Hoist alleges that
Violence Complaint against Hoist alleging that Hoist got           Coefer did not take action in response to these
very close to her, pointed [*3] a finger in her face, and          complaints, and instead filed a Workplace [*5] Violence
began yelling profanity. See Certification of Kathryn E.           Complaint on behalf of Ms. Clayton against Hoist. On
Duran ("Duran Cert.") Ex. C at HOIST.LR.REMOVAL                    May 4, 2010, Hoist filed a Counter-Workplace Violence
0047-52. Ms. Remboske's Workplace Violence                         Complaint against Ms. Clayton alleging the same
Complaint was substantiated and Plaintiff was issued a             incidents she verbally reported to Coefer, and against
record of counseling on March 30, 2007. Id. at 0045.               Coefer for failing to take any action based on her verbal
                                                                   complaint to him on March 23, 2010. See Duran Cert.
On March 4, 2010, Coefer filed a Workplace Violence                Ex. H. Hoist testified that this Complaint was a Counter-
Complaint against Hoist on behalf of the "Office of the            Workplace Violence Complaint to the ones previously
Records Access Staff," which consisted of Kristina                 made against her on March 4, 2010, by Ms. Clayton and
Clayton, Trisha Bibji, Ms. Remboske, Mike Williams,                Coefer on behalf of certain OPRA staff members. See
Evelyn Molder, Anne Hartnagel, and Maria Cantres. The              Hoist Dep. 42:7-25.
Complaint describes Hoist's allegedly poor treatment of
the other members of the OPRA staff, including "nasty              After an investigation into Hoist's Workplace Violence
verbal & written correspondence, mannerisms, and                   Complaint against Ms. Clayton and Coefer, the OLR
body language." Duran Cert. Ex. D at HOIST.COEFER                  determined that the incidents relating to Ms. Clayton
0064. In general, Coefer was told by the other members             alleged by Hoist did not constitute violence in the
of the staff that Hoist was "nasty to staff, disrespectful,        workplace, but did create a hostile work environment.
does not take ownership of mistakes, not approachable,             The OLR served Ms. Clayton with a written warning,
and sometimes blames others for work errors." Id. at               and reminded Ms. Clayton to conduct herself in a
0062, 0063, 0064. Coefer filed this Complaint upon the             courteous and professional manner in the future or else
instruction of the Office of Labor Relations (the "OLR"),          she may be subject to disciplinary action. Duran Cert.
                                                                   Ex. I at HOIST.WPV.COMP 0001. The findings,
                                                                   therefore, in both Ms. Clayton's and Hoist's Workplace
granted, and Plaintiff's later-filed motion for summary judgment   Violence Complaints were the same, and thus, the
will be considered timely.

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action taken [*6] in regard to both Hoist and Ms.             and refused to return to the office when Coefer
Clayton was the same. Compare Duran Cert. Ex. I, with         requested she do so. See id. at Ex. K. Hoist confirmed
Duran Cert. Ex. G.                                            that this was the substance [*8] of the encounter. Hoist
                                                              Dep. 58:8-29. Hoist was disciplined for insubordination
The determination letter sent to Coefer reminded him          and received a one-day suspension. Duran Cert. Ex. K.
that as a manager he needed to better address these           Hoist testified that she appealed this discipline but the
types of incidents with staff and that his meeting with the   appeal was still pending when she was terminated.
OLR would serve as counseling. See id. at                     Hoist Dep. 56:19-57:4.
HOIST.WPV.COMP 0022. Coefer disputed the
determination letter findings, and responded that he did      Hoist believes that this constitutes "disparate treatment"
address the incident with both Hoist and Ms. Clayton          because on March 18, 2010, Doug Daniels and Coefer
individually, as he believed a meeting between the three      were having a closed-door meeting when Mr. Daniels
of them would be inappropriate while OLR was still            threw open the door and stormed out of the office,
investigating the Workplace Violence Complaint against        yelling. Mr. Coefer asked him to come back but he
Hoist. See Duran Cert. Ex. J.                                 refused. Hoist does not believe that Mr. Daniels was
                                                              ever disciplined. Id. at 54-55. Mr. Daniels is an African-
                                                              American male, who worked for site remediation, whom
Record of Counseling in September 2010                        Coefer supervised at the time of the incident. Id. at
                                                              52:13-55:14. Coefer affirms that he did not treat Hoist
On September 15, 2010, Hoist arrived at work at 9:30          differently from Mr. Daniels or any other individual. See
a.m. and, after learning that she would be the only           Certification of Matthew Coefer ("Coefer Cert.") ¶ 3,
employee working the first desk that day, used                located at Duran Cert. Ex. L.
"inappropriate, obscene, and offensive language" and
slammed objects on her desk. See Duran Cert. Ex. M.
Ms. Clayton relayed her observation of the incident to        Other Incidents with No Record of Discipline
Coefer in an electronic communication on September
20, 2011. According to Ms. Clayton, Hoist stated, "Fuck       In November 2010, Hoist was the safe-keeper and in
this why am [sic] always left alone, I am tired of this,      charge of logging all the money and checks that were
People always wondering what Donielle [*7] doing [sic]        received in the OPRA office. The safe was located in
but no one else is checked, I am considerate to               Hoist's cubicle area. See Hoist Dep. 34:20-23. On
everyone I even came in today even though I was sick,         November 5, 2010, Hoist [*9] arrived at the office to
think I am playing I am leaving early today." Id. at Ex. N,   find that the safe in her cubicle was opened and that the
at HOIST.LR.REMOVAL 0077. Hoist was issued a                  contents of the safe had been removed. Hoist was
Record of Counseling for this incident on September 21,       concerned that the contents had been stolen and that
2010. Id. at Ex. M. Hoist confirmed that she "reacted         she would be blamed. See id. at 35. She testified that,
poorly" and did in fact have a negative reaction and          at the time of the incident, only she and Coefer had keys
slammed items on her desk. Hoist denies, however, that        to the safe. See id. at 34: 23-25. She further testified
she used offensive language. Hoist Dep. 78:15-23.             that she saw Coefer in the office for a short period that
Other emails from co-workers present during the               morning, despite the fact that he was scheduled to be
incident confirm both the incident and assert that Hoist      on vacation. Id. at 35:7-10. She then learned that the
used offensive language. Duran Cert. Ex. N, at                contents of the safe were fine and in the possession of
HOIST.LR.REMOVAL 0077-79.                                     her supervisor, Mr. Grennier. Id. at 35:11-13. She was
                                                              never blamed for anything being missing from the safe
                                                              and was never disciplined regarding the contents
One-Day Suspension in November 2010                           allegedly being removed from the safe on November 5,
                                                              2010. Id. at 37:14-25. Following this incident, Hoist
On November 29, 2010, Coefer assigned Hoist a priority        asked to be removed from safe duty. This request was
task to take checks down to the mail room. Hoist walked       approved. See id. at 34:2-8.
into Coefer's office and informed him that she would not
take the checks down until "all the processes are             On November 16, 2010, Coefer called Hoist into this
completed." When questioned what additional steps             office to speak with her about a visitor who was left
were needed, Hoist told Coefer that he should know,           unattended in the lobby. Hoist testified that she
said she was taking a break, walked out of his office,        attempted to assist the individual and followed


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procedure. She further testified that she was unable to       services. Initially, she was offered a meeting to discuss
help the visitor because he "was [*10] not of a concern       the workplace issues with OLR, her union
to the office." Hoist Dep. 94-98. Because Hoist feared        representative, and Coefer. Plaintiff, however, refused
that Coefer was going to discipline her for her failure to    to attend such a meeting, [*12] explaining that "things
assist the visitor, she terminated the meeting and called     have arisen that [have] brought on more stressors."
her union representative. Id. at 95-98:4. Hoist's union       Duran Cert. Ex. T. The OLR, therefore, offered to
sent an electronic communication to Coefer regarding          schedule an appointment for Hoist to see a
the incident and Coefer explained that he did not intend      psychologist, Dr. Lawrence Straus, as an alternative
to discipline Hoist for the incident, but merely wanted to    supportive service. See id.
talk to her about it and discuss how such a situation
should be handled. Duran Cert. Ex. O. While Hoist             Plaintiff eventually met with Dr. Straus on October 5,
testified that she had been disciplined for the incident,     2010. During her consultation with Dr. Straus, Hoist
see Hoist Dep. 98:5-7, there is no record of Plaintiff        stated that she feels that Coefer "shows favoritism to
being disciplined, and the OLR and Coefer affirmed that       others and that he picks on her." Duran Cert. Ex. U, at
she had not been disciplined. See Certification of Jason      HOIST.LR.REMOVAL 0096. Hoist also stated that she
Strapp ("Strapp Cert.") ¶ 2, located at Duran Cert. Ex. L;    feels Coefer is inconsistent with his approach with her,
Coefer Cert. ¶ 2                                              and that she needs Coefer "to be more understanding . .
                                                              . I'm different." Id. She stated that she is not sociable at
On December 7, 2010, Hoist alleges that she was called        work, and that Coefer should accept that she can be
into Coefer's office regarding her failure to respond to an   withdrawn. She told Dr. Straus that she gets emotional
inquiry Coefer had previously made of her regarding a         easily, and that she finds it "hard to talk civilized when
"requestor." When she pulled up the request in the            I'm upset," which is why she avoided meeting with
system, she found that the request was still being            Coefer. Id. She also stated that she was afraid of getting
processed so she determined that it was a program             angry in the workplace, which is why she avoids
technician's job to address and contact the requestor.        discussions. See id.
Because Hoist believed [*11] it was not in her job
description to contact the requestor, she did not do so.      Dr. Straus reported that their discussion "looked at her
See Hoist Dep. 105:21-106:12. Coefer, however,                personal issues and what causes her to become
informed Hoist that he only wanted to know the specific       emotional and then shut down," as well as "how she can
documents the requestor was looking for from their            build tolerance [*13] for emotional situations; cope with
office. Id. at 106:13-20. Hoist was never disciplined for     'feeling boxed in,' and how not to 'run' from situations."
this incident. Id. at 108:9-17.                               Id. at 0097. Dr. Straus recommended that Hoist seek
                                                              counseling to deal with these issues, and that Hoist
                                                              agreed to meet with Coefer, but that she wants them to
Request to Change Working Hours                               be more understanding of her. Id. With regard to Coefer,
                                                              Dr. Straus stated that "it would help if Coefer could be
On June 3, 2010, Hoist requested to change her                more understanding of her triggers, more patient, and
working hours. See Hoist Dep. 69:24-70:11. She                more sensitive. And if there is any kind of double
testified that her request was denied, but that she           standard in his managing style (rather than this is
believed a Caucasian female co-worker was permitted           Hoist's sensitivity and misperception here), then that
to change her hours on the same day she requested a           should be addressed." Id. Dr. Straus also reported that
change. See Id. 69:13-21, 70:23-25, 71:1-24. An               he believed Coefer would benefit from a discussion with
electronic communication between Hoist and Grennier           him regarding how to work with Plaintiff. Id. Dr. Straus
on June 3, 2010, however, shows Hoist's request to            then met with Coefer on December 1, 2010, to discuss
change her hours was actually approved. See Duran             how to better work with Hoist and understand her
Cert. Ex. X.                                                  triggers. See Duran Cert. at Ex. V.


Plaintiff's Engagement in Supportive Services                 Plaintiff's Attempts to Transfer

As a result of the OLR's investigation and findings           Around the time that Hoist filed her Workplace Violence
regarding the Workplace Violence Complaints that Hoist        Complaint against Ms. Clayton and Coefer, she applied
had filed in May 2010, the OLR offered Hoist supportive       for a lateral transfer out of OPRA, but the transfer was


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never completed. Hoist Dep. 112-14. Specifically, Hoist        unprofessionalism" in the office, and have the office
applied for a transfer in the "lateral mobility process,"      instead focus on getting their jobs done. Id. at 115:5-
and was given [*14] equal consideration with all other         116:22; see also Duran Cert. Ex. R.
employees requesting a transfer. Id.; see also Duran
Cert. Ex. Q. During this time, Hoist's union also              After Hoist sent this letter, she was contacted on April
requested that Hoist be transferred out of OPRA due to         13, 2011, via electronic correspondence from Veronica
the environment of the workplace. See Hoist Dep.               Kirkham, an employee of the OLR, who attempted to set
112:24-113. This was not the first time Hoist had tried to     up a meeting with Hoist and her union representative to
tried to transfer; rather, Hoist testified that she had been   discuss reducing the pending one-day suspension from
attempting to transfer out of OPRA since 2009. See             the November 29, 2010 incident to an official reprimand.
Second Deposition of Donielle Hoist ("Hoist Second             See Duran Cert. Ex. S, at HOIST 299-300. While Hoist
Dep.") 29:3-18.                                                initially agreed to this meet, she later changed her mind
                                                               and cancelled the meeting. Id. at 299.
Coefer tried to help Hoist in her request to transfer. He
sent an electronic communication to Magdelena Padilla,
a Human Resources employee, on September 21,                   2010 Performance Evaluation
2010, requesting information regarding how to help
Hoist transfer from the OPRA office because Hoist was          In 2010, Hoist received her performance evaluation
unhappy in the office "for quite some time." Duran Cert.       ("PES"), which evaluated her performance as a senior
Ex. Q at HOIST.GRENNIER 0150. In November 2010,                clerk typist. As part of the PES, she received an interim
Coefer sent an electronic communication to Debra               evaluation and a final evaluation. Hoist was rated by her
Ewalt, the Director of Human Resources, requesting             immediate supervisor, Evelyn Molder, an African-
that Hoist receive expedited consideration for her             American female. See Duran Cert. Ex. W; see also
request for a lateral transfer to another office. Coefer       Hoist Dep. 85:2-12. Coefer reviewed the PES. See
explained that he believed expedited consideration to be       Duran Cert. Ex. W, at HOIST LR. PES. 11-1-10-000007.
necessary because Hoist was extremely unhappy in               Overall, Hoist [*17] received a "Satisfactory" evaluation.
OPRA, and her unhappiness was "appearing [*15]                 Duran Cert. Ex. W, at HOIST LR. PES. 11-1-10-000008,
more and more in her daily behaviors and affecting her         0000014. In her PES, however, Hoist received a failing
moods and the moods of her coworkers." Id. at                  grade in "Organizational Citizenship," which relates to
HOIST.GRENNIER 0148. Coefer expressed that he was              the "[e]xtent to which employee contributes to a
"worried that there will be disciplinary issues or the         productive and harmonious working environment by
creation of a hostile work environment if she continues        acting in a respectful manner towards people in the
to remain in the office." Id. In her response, Ms. Ewalt       workplace." Id. at 000006. In the section of the interim
explained that she had no authority to expedite the            PES relating to justifications for the PES evaluation, the
process, but that Hoist's request for a transfer would be      report explained: "Donielle is an efficient worker who
given "equal consideration." Id. Neither management            completes her assigned tasks. She supports the
nor Hoist's union ever told Hoist that she would be            Department with being compliant with OPRA. Donielle
transferred; rather, Hoist had simply made the request.        must be more respective and courteous to fellow co-
                                                               workers and staff when dealing with them on different
On January 20, 2011, Hoist was removed from work by            issues or 'bad days.'" Id. at 000008.
her private psychiatrist, Dr. Wyoming Ye, due to major
depressive disorder and "unfavorable working                   On April 30, 2010, after receiving her PES interim
environment." Hoist Dep. 119:16-21; Hoist Second Dep.          report, Hoist wrote an addendum to the PES. In this
31-33. Hoist testified that she was scheduled to return to     addendum, she states that the "comments and
work on February 22, 2010, but Dr. Ye took her out of          accusations" about her in the PES relate to her
work again because she had not been transferred. See           personality, which is different from others in her work
Hoist Dep. 111:5-20. Hoist testified that she returned to      area. Id. at 000010. She states that she is more private
work against her doctor's orders on March 22, 2011,            than her co-workers, and "may seem withdrawn to them
because she could no longer afford to be out of work           at times." Id. She states that others "going through a
without pay. Id. at 111:21-112:8. In March 2011, Hoist         lesser ordeal than [she] . . . will get a more favorable
sent a letter to Coefer [*16] asking to "reset the clock"      and understanding [*18] treatment." Id. She states that
so that they could all work together again. Hoist              she believes "in respect to get respect," and that she
conveyed that she wished to "eliminate all the                 has not been respected by her colleagues, and that her


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supervisors have not helped with their intervention. Id.      electronic communication at 4:00 p.m., and then
at 000011. Hoist states that it "seems that there is an       immediately left for the day. Hoist Dep. 62:4-16. In doing
attack on me from my supervisor, as well as a                 so, Hoist was in violation of DEP's Policy and Procedure
demeaning of character continually on my [PES]," which        No. 2.20, Section V, paragraph 2(d) & 2(f), which
she thinks could hurt other job opportunities for her. Id.    mandates that that an employee may not modify his or
She states that her supervisor has filed a complaint          her work schedule without supervisor approval. See
against her based on comments from her coworkers              Duran Cert. Ex. Y, at HOIST LR 00001. On January 4,
about "said disrespect," but that the OLR found that she      2011, Hoist received a Record of Counseling for leaving
did not act "in violation of the any said or unjust reasons   work early the day before without prior approval. See id.
made by my immediate supervisor...or the respected
persons involved." Id. She states that her supervisor still
makes comments about her behavior. Id.                        Incident on April 21, 2011

On May 3, 2010, Coefer responded to her addendum,             On April 20, 2011, Hoist left work early. Her supervisor,
and explained that he decided to give Hoist an                Grennier, approved her leaving early. See id. at 120:25-
unsatisfactory score in "Organizational Citizenship," and     121:6. The next day, on April 21, 2011, Hoist received
the "Justification for Interim Evaluation" because of "the    an electronic communication from a co-worker, which
episode this period where 37% of the Office of Record         stated that Ms. Clayton had inquired about Hoist's
Access employees were tired of the treatment they             whereabouts after Hoist had left early the day before.
receive from [Hoist]" and that he was required to submit      See id. at 120-21. Hoist went over to Ms. Clayton's
a complaint to the OLR "[b]ased on their expression of a      cubicle area to question her about her inquiry. Hoist
'Hostile [*19] Work Environment.'" Id. at 000013. On          testified that she asked Ms. Clayton, "Are you Matthew
November 15, 2010, Coefer redacted his response to            J. Coefer or Wayne Grennier?" Id. at 122:7-10. She
Hoist's addendum to remove the language referencing           states that Ms. Clayton replied [*21] that Hoist
the Workplace Violence Complaint that he submitted. Id.       documented what she did with her day. Hoist then
at HOIST.PERS. 0193.                                          testified that she told Ms. Clayton that if she kept "this
                                                              up" she would file another hostile work environment
On December 13, 2010, Hoist filed a Union Grievance           claim against her. Id. at 122:11-20. According to Hoist,
against Grennier, alleging a violation of the Union           Ms. Clayton then called her a "bitch," to which Hoist
contract because of her 2010 PES. While some of the           responded, "If you see a bitch, slap a bitch." Id. at
language that she disagreed with was taken out—               122:21-123:20. Hoist testified that she repeated this
specifically, the language referencing the hostile work       several times. Id. Hoist testified, "People just don't call
environment—Hoist still disagreed with some of the            people bitches and just — it's just too derogatory, so it's
wording in the PES. See Hoist Dep. 102:23-103:11.             a slang term that we use . . . ." Id. at 127:7-11. She
Hoist had a meeting with her union representative and         explained that the term "means that if you see a bitch,
Grennier on or about November 23, 2010, at which she          you smack a bitch, meaning you just don't say that
felt Grennier did not treat her "with respect and common      unless you're going to maybe get physical . . . ." Id. at
dignity" as required under the union contract. Id. at         128:8-11.
103:22-25. Hoist filed the grievance against Grennier
because of "his manner in which he handled and                Due to the altercation, security was called. Hoist and
addressed me and my union representative" in this             Ms. Clayton both gave statements to the police. In her
meeting, and that she felt like he was "challenging" her      written statement, Ms. Clayton asserts that Hoist
and her union representative during the meeting. See id.      questioned her about her inquiry regarding Hoist's early
at 101:17-23; 104:14-22.                                      departure from work the day prior. Ms. Clayton
                                                              confirmed that she did so, and states that Hoist then
                                                              threatened to have her social security card erased and
Record of Counseling in January 2011                          called her a "snitch." Ms. Clayton states that she then
                                                              told Hoist that she was "nothing [*22] but a bitch," at
On January 3, 2011, Hoist sent an electronic                  which point Hoist screamed in Ms. Clayton's face, "If
communication       to   Grennier,     her    immediate       you see a bitch, slap a bitch." Ms. Clayton screamed
supervisor, [*20] informing him that she would be taking      back at Hoist to "get out of my face," at which point they
her half-hour lunch break at 4:00 p.m. and leaving for        were separated. See Duran Cert. Ex. Z, at
the day. See Duran Cert. Ex. Y. Hoist sent this               HOIST.LR.REMOVAL 0061.

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Numerous witnesses confirmed that Hoist yelled at Ms.        took place: (1) Hoist initiated the exchange by
Clayton. See Duran Cert. Ex. AA. One co-worker stated        approaching Ms. Clayton; (2) Hoist called Ms. Clayton a
that Hoist approached Ms. Clayton, and that she heard        "snitch" and threatened to "erase" her social security
Hoist mention Ms. Clayton's social security card, that       card; (3) Ms. Clayton asked Hoist if she was threatening
Ms. Clayton then called Hoist "the B... word," and that      her, to which Hoist replied she was. At that point, Ms.
Hoist then "got in [Ms. Clayton's] face, they were yelling   Clayton first used the term "bitch" while referring to Ms.
at each other." This coworker stated that she believed it    Hoist; (4) Hoist leaned in to Ms. Clayton's personal
would have escalated into a physical altercation if they     space and yelled, "If you see a bitch, smack a bitch"
were not separated. See Duran Cert. Ex. Z, at                several times, essentially inviting her to physically
HOIST.LR.REMOVAL 0064. Another co-worker stated              retaliate; (5) Ms. Clayton yelled several times for Hoist
that Ms. Clayton called Hoist a "bitch," that Hoist then     to get out of her face; (6) several co-workers and
kept yelling, "If you see a bitch, slap a bitch," that Ms.   outside venders witnessed the exchange; (7) the state
Clayton was sitting and Hoist was standing and yelling       police were called because it was feared that the
in her fact. Id. at 0066-67. Another co-worker stated that   altercation would progress to physical [*25] violence;
she was bringing a visitor to their area when she heard      and (8) they were separated and Ms. Hoist was told to
both women yelling, and that Hoist was leaning in            go home. Id. at HOIST.LR.REMOVAL 0005. Based on
towards Ms. Clayton. Id. at 0068. A visitor to the office    these findings, the hearing office decided to uphold the
that morning stated that Hoist "appeared very [*23]          Department's request to immediately suspend Hoist
aggressive and invasive of the personal space of [Ms.        without pay, pending her disciplinary hearing, because
Clayton (at one point she was approximately six inches       "the level of tension remains very high between Ms.
away)," and that she expected the situation to get           Hoist and Ms. Clayton, and it is possible that Ms. Hoist
physical. Id. at HOIST.LR.DISCOVERY.REMOVAL                  may again react/behave in a threatening and
000003. Grennier reported that he heard Hoist and Ms.        unacceptable manner towards Ms. Clayton." Id.
Clayton yelling back and forth from his cubicle, and that
Hoist was leaning in towards Ms. Clayton, who was            Hoist's disciplinary hearing was held on July 6, 2011,
yelling to "get out of my face." Id. at                      and her removal was upheld. See Duran Cert. Ex. BB.
HOIST.LR.REMOVAL 0069-70.                                    Upon the conclusion of the hearing, the hearing office
                                                             determined, based on the testimony and evidence
Criminal charges were not filed as both declined to          presented, that Hoist's conduct had violated N.J.A.C.
press charges. See Hoist Dep. 124:16-125:4. Mr.              4A:2-2.3(a)(6), for conduct unbecoming of a public
Grennier advised both Hoist and Ms. Clayton that they        employee, and recommended that Hoist be terminated.
could go home if they so wished. See Hoist Dep. 124:6-       See id. at HOIST.LR.REMOVAL 0124-25. Specifically,
9; see also Duran Cert. Ex. Z at HOIST.LR.REMOVAL            the hearing officer found that there was no evidence that
0069. Later, Deborah Figueroa, a representative of the       Ms. Clayton had made an issue of Hoist leaving early
OLR who was handling the incident, advised Grennier          the day prior, and that Ms. Clayton's inquiry as to Hoist's
that Hoist may leave and Ms. Clayton should stay             whereabouts was not inappropriate. The hearing officer
unless she wanted to leave. See Duran Cert. Ex. Z at         found that Hoist instigated the altercation by walking
HOIST.LR.REMOVAL 0069. Hoist went home and Ms.               over to Ms. Clayton and calling her a "snitch" as
Clayton stayed at the office. According to Hoist, before     she [*26] approached her. Id. at 0125. While the
she was able to leave, Ms. Figueroa approached Hoist         hearing officer found that Ms. Clayton's conduct was
and told Hoist to come with her. Hoist refused to go         also inappropriate, the officer concluded that Hoist
without her union representative. Hoist then called her      should have reported the incident to OLR and walked
union representative, who told her not [*24] to go with      away. Rather, the hearing officer found that Hoist
Ms. Figueroa and to go home like Mr. Grennier                approached Ms. Clayton while she was sitting, and then
suggested. See Hoist Dep. 124:14-126:13.                     proceeded to repeatedly yell, within inches of Ms.
                                                             Clayton's ear, "see a bitch, slap a bitch," which could
On April 29, 2011, Hoist received an Amended                 have potentially provoked Ms. Clayton into a physical
Preliminary Notice of Disciplinary Action and the            confrontation. Id. The hearing officer concluded: "Ms.
Hearing Officer's Pre-Suspension Hearing Report,             Hoist tends to blame others for her behavior and needs
informing her that she was suspended immediately             to take responsibility [for] the consequences of her
without pay because of the April 21 incident with Ms.        actions." Id.
Clayton. See Duran Cert. Ex. AA. At the pre-suspension
hearing, the hearing officer determined that the following   By correspondence dated July 28, 2011, Debra Ewalt,

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the Director of Human Resources, informed Hoist that             III. Discussion
the hearing officer's report was upheld, and she was
officially terminated as of April 27, 2011. See id. at           Both Hoist and Defendants have moved for summary
0131. As a result of the April 21, 2011 incident, Ms.            judgment on Plaintiff's claims. In her Third Amended
Clayton received a written warning for her use of                Complaint ("TAC"),2 Plaintiff brings six counts:
language during the altercation. See Strapp Cert. ¶ 3.           "race/gender discrimination"; "wrongful termination";
                                                                 "retaliation"; "hostile work environment"; "harassment";
                                                                 and "disparate treatment." Because Hoist clearly states
II. Standard of Review                                           in her TAC that these claims are being brought under
                                                                 Title VII, see TAC at 2, the Court analyzes them as such
Federal Rule of Civil Procedure 56(a) provides that "a           when considering these summary judgment motions.
court shall grant summary judgment if the movant
shows that there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a        A. Motions to Compel
matter of law." [*27] Fed. R. Civ. P. 56(a). The
substantive law identifies which facts are material. "Only       Before turning to the pending motions for summary
disputes over facts that might affect the outcome of the         judgment, the Court take a moment to address Plaintiff's
suit under the governing law will properly preclude the          pending motions to compel. [See ECF Nos. 72, 73, and
entry of summary judgment." Anderson v. Liberty Lobby,           79.] Two of the documents [*29] that Plaintiff moves to
Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d           compel as part of her Motions, a memorandum
202 (1986). A material fact raises a "genuine" issue "if         prepared by Matthew J. Coefer ("the Coefer Memo")
the evidence is such that a reasonable jury could return         and a letter prepared by Rosanne Rossi ("the Rossi
a verdict" for the non-moving party. Williams v. Borough         Letter"), see Pl's Br. 1-2, ECF No. 72; Pl.'s Br. 1-2, ECF
of West Chester, 891 F.2d 458, 459-60 (3d Cir. 1989)             No. 73, appear to have been produced. Defendants
                                                                 concede they inadvertently withheld the Coefer Memo
The Court must consider all facts and their logical              from production and they committed to immediately
inferences in the light most favorable to the non-moving         provide it. See Defs.' Opp. Br. 2, ECF No. 74.
party. Pollock v. Am. Tel. & Tel. Long Lines, 794 F.2d           Defendants assert that the Rossi Letter was already
860, 864 (3d Cir. 1986). The Court will not "weigh the           produced, and was in fact attached as an exhibit to their
evidence and determine the truth of the matter" but will         Motion for Summary Judgment. Id. Plaintiff's request for
determine whether a genuine issue necessitates a trial.          relief as to both the Coefer Memo and the Rossi Letter
Anderson, 477 U.S. at 249. While the moving party                is therefore denied as moot.
bears the initial burden of showing the absence of a
                                                                 Plaintiff also seeks an email from Dr. Lawrence Straus
genuine issue of material fact, meeting this obligation
                                                                 ("Straus Email") insofar as it pertains to her. See Pl.'s
shifts the burden to the non-moving party to "set forth
                                                                 Br. 1, ECF No. 72. Defendants object that the Straus
specific facts showing that there is a genuine issue for
                                                                 Email is confidential and does not relate to Plaintiff, but
trial." Id. at 250. If the nonmoving party has failed "to
                                                                 rather deals with treatment of Matthew Coeffer. See
make a showing sufficient to establish the existence of
                                                                 Defs.' Opp. 2, ECF No. 74. The Court finds that the
an element essential to that party's case, and on which
                                                                 Stauffer Email has been properly withheld based on
that party will bear the burden of proof at trial, . . . there
                                                                 confidentiality and lack of relevance, and denies this
can be no genuine issue of material fact, since a
                                                                 request.
complete failure of proof concerning an essential
element of the nonmoving [*28]              party's case         Plaintiff's Third Motion to Compel seeks certain
necessarily renders all other facts immaterial." Katz v.         communications regarding Plaintiff's [*30] complaints
Aetna Cas. & Sur. Co., 972 F.2d 53, 55 n.5 (3d Cir.              between the various offices of the DEP and a senator.
1992) (internal quotation marks omitted). If the non-            See Pl.'s Br. 2, ECF No.79. Defendants confirm there
moving party fails to demonstrate proof beyond a "mere
scintilla" of evidence that a genuine issue of material
fact exists, then the Court must grant summary                   2 WhilePlaintiff's initial Complaint was against the State of
judgment. Big Apple BMW v. BMW of N. Am., 974 F.2d
                                                                 New Jersey, the DEP, Debra Ewalt, Rosanne Rossi, Veronica
1358, 1363 (3d Cir. 1992).
                                                                 Kirkham, Karen Sondej, Matthew Coefer, and Wayne
                                                                 Grennier, her TAC names only the State of New Jersey and
                                                                 the DEP.

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are no responsive documents. See Defs.' Opp. Br. 2,            law, Hoist was required to file a Notice of Claim. [*32]
ECF No. 81. Accordingly, the Court denies Plaintiff's          See, e.g., Velez v. City of Jersey City, 180 N.J. 284,
request.                                                       293, 850 A.2d 1238 (2004) (holding that the Tort Claims
                                                               Act's notice requirements apply to both negligent and
Finally, Plaintiff seeks documents related to employee         intentional torts). Hoist does not deny that she failed to
complaints as to various DEP personnel. Defendants             file a TCA notice; rather, she requests the Court to allow
oppose this application on a number of grounds,                her to "make that appropriate correction." See Pl.'s
including that the request was not made during the             Reply Br. at 3. The Court, however, lacks jurisdiction to
discovery period or raised during the parties' meet and        permit Hoist to file an untimely Notice of Claim. All of the
confer process, that the documents are not relevant,           alleged events concluded by July 28, 2011, when Hoist
and that they include privileged and confidential records.     was given official notice of her termination as of April 27,
Id. Despite nearly seven months for discovery and a            2011. Therefore, at the latest, Hoist was required to file
direct order to meet and confer, Plaintiff failed to request   her Notice within 90 days of July 28, 2011—a period
this information. At this point it is simply too late; the     that expired nearly four years ago. Likewise expired is
Court denies Plaintiff's request for employee complaints.      the one-year period to seek leave to file a late notice of
Accordingly, Plaintiffs' three motions are denied.             claim. Therefore, Hoist's failure to satisfy the notice
                                                               requirements of the Tort Claims Act bars any of her
                                                               alleged tort claims against Defendants. Accordingly, to
B. Alleged Tort Claims                                         the extent that Hoist intended to bring such claims, they
                                                               must be dismissed.
In her moving papers, Plaintiff indicates the possibility of
causes of action other than those arising under Title VII;
in particular, she makes mention of various other tort         C. Race and Gender Discriminations Claims under
claims, including intentional infliction of emotional          Title VII
distress and defamation. Even if Plaintiff did intend to
bring such [*31] tort claims—which are not alleged in          Title VII prohibits employment discrimination on the
her TAC—such claims must be dismissed because                  basis of race, color, religion, sex, or national origin. See
Hoist has not complied with the New Jersey Tort Claims         42 U.S.C. § 2000e-2. A claim of race or gender
Act, N.J. Stat. Ann. § 59:1-1, et seq. Under New Jersey        discrimination under Title VII uses [*33] the burden
law, tort actions against public entities and public           shifting framework established in McDonnell Douglas
employees are governed by the Tort Claims Act, which           Corp. v. Green, 411 U.S. 792, 803-05, 93 S. Ct. 1817,
requires persons who have claims against public entities       36 L. Ed. 2d 668 (1974). Under that framework, a
or their employees to provide notice to the parties within     plaintiff has the burden of establishing a prima facie
ninety days of accrual of such claims. See N.J. Stat.          case of discrimination by proving (1) that he or she is a
Ann. § 59:8-8. Leave to file a late Notice of Claim may        member of a protected class; (2) that he or she suffered
be obtained only by motion and for good cause shown            some form of adverse employment action; (3) under
within one year of the date of the accrual of the claim.       circumstances giving rise to an inference of unlawful
See id. § 59:8-9. After this one year period has expired,      discrimination. Carter v. Midway Slots & Simulcast, 511
the court lacks jurisdiction to permit the filing of an        F. App'x 125, 128 (3d Cir. 2013) (citing Goosby v.
untimely Notice of Claim. See Iaconianni v. New Jersey         Johnson & Johnson Med., 228 F.3d 313, 318 (3d Cir.
Turnpike Authority, 236 N.J. Super. 294, 298, 565 A.2d         2000); Jones v. Sch. Dist. of Phila., 198 F.3d 403, 410
1084 (App. Div. 1989). The filing of a civil complaint is      (3d Cir. 1999)). "However, the prima facie test remains
not a substitute for filing a Notice of Claim, even if the     flexible and must be tailored to fit the specific context in
complaint was filed within the 90-day or one-year              which it is applied." Sarullo v. United States Postal
period. See Guzman v. City of Perth Amboy, 214 N.J.            Serv., 352 F.3d 789, 797-98 (3d Cir. 2003) (citing
Super. 167, 171-72, 518 A.2d 758 (App. Div. 1986). In          Geraci v. Moody-Tottrup, Int'l, Inc., 82 F.3d 578, 581 (3d
other words, failure to satisfy the notice requirements of     Cir. 1996)).
the Tort Claim Act is an absolute bar to recover against
a public entity or its employees. See N.J. Stat. Ann. §        If the plaintiff succeeds in establishing a prima facie
59:8-9.                                                        case, then the burden of production shifts to the
                                                               defendant        to   "articulate   some     legitimate,
Here, because Hoist's references to intentional infliction     nondiscriminatory reason" for the adverse employment
of emotional distress and defamation sound in state tort       action. Fuentes v. Perskie, 32 F.3d 759, 763 (3d Cir.

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1994). If the defendant makes such a showing, the                 investigation would reveal that the plaintiff is a member
plaintiff must then demonstrate by a preponderance of             of both of those classes. Antol, 82 F.3d at 1296.
the evidence that the stated nondiscriminatory rationale
was "merely a pretext for discrimination, and not the real        Interpreting Hoist's EEOC charge liberally, her gender
motivation for the unfavorable job action." Sarullo, 352          discrimination claim was not within the scope of the
F.3d at 797 (citing Tex. Dep't of Cmty. Affairs v. Burdine,       charge.3 Plaintiff's charge provides no hint that her
450 U.S. 248, 255, 101 S. Ct. 1089, 67 L. Ed. 2d 207              termination, or any other adverse employment action,
(1981)).                                                          was the result of her gender. When viewed generously,
                                                                  the Form 5 Charge of Discrimination identifies only
1. Gender Discrimination Claim
                                                                  allegations of race discrimination, retaliation, and hostile
                                                                  work environment. Hoist provided no facts that suggest
Before the Court turns to the merits of Hoist's gender
                                                                  gender discrimination and, while not determinative, did
discrimination claim under Title VII, it must ensure that
                                                                  not check the box indicating her charge was based on
Hoist exhausted all required administrative remedies
                                                                  her sex. There is nothing within the descriptive
before bringing her [*34] claim. See Robinson v.
                                                                  paragraphs that would lead the EEOC to assume that
Dalton, 107 F.3d 1018, 1020 (3d Cir. 1997) ("It is a
                                                                  there was a gender claim, particularly [*36] since two of
basic tenet of administrative law that a plaintiff must
                                                                  the four people that Hoist names as subjecting her to
exhaust all required administrative remedies before
                                                                  discrimination are females. Hoist specifically and
bringing a claim for judicial relief."). With regard to
                                                                  repeatedly states that her discrimination is based on
employment discrimination claims, 42 U.S.C. § 2000e-5
                                                                  "bullying, harassment, favoritism by race and
provides that a plaintiff must file a timely Charge of
                                                                  retaliation," and that she has "been discriminated
Discrimination with the EEOC before filing a lawsuit. A
                                                                  against because of my race (Black) and retaliation . . . ."
plaintiff must then wait for the EEOC to complete its
                                                                  Duran Cert. Ex. A at HOIST.EEO.0008. There is no
investigation of the charge and issue a right-to-sue letter
                                                                  language within the Charge that could be construed as
before the complainant can initiate a private action. See
                                                                  being analogous to a claim for gender discrimination.
Burgh v. Borough Council, 251 F.3d 465, 470 (3d
                                                                  Compare Anjelino v. New York Times Co., 200 F.3d 73,
Cir.2001) (describing the administrative process for
                                                                  94-95 (3d Cir. 1999) (finding that a hostile work
discrimination claims).
                                                                  environment claim could proceed where the initial
After the discrimination charge is filed, "the scope of a         EEOC charge alleged that the plaintiff was subject to an
resulting private civil action in the district court is defined   "abusive atmosphere," because such a phrase is
by the scope of the EEOC investigation which can                  interchangeable with "hostile work environment").
reasonably be expected to grow out of the charge of               Accordingly, it is not reasonable to expect an
discrimination . . . ." Barzanty v. Verizon PA, Inc., 361 F.      investigation into her charge to cover such a claim, nor
App'x 411, 414 (3d Cir. 2010) (quoting Hicks v. ABT               could Defendants reasonably expect to be sued for such
Assoc., Inc., 572 F.2d 960, 966 (3d Cir.1978)); see also          a claim. Therefore, Hoist did not exhaust her
Antol v. Perry, 82 F.3d 1291, 1296 (3d Cir. 1996)                 administrative remedies with respect to her gender
(dismissing gender discrimination claim where it did not
fall within the scope of the initial administrative charge
filed with the EEOC). This liberal construction helps
ensure that potentially aggrieved plaintiffs are not              3 Plaintiff's   charge included the following language:
foreclosed from bringing a claim due to unreasonable or
incomplete investigation by the EEOC. Hicks, 572 F.2d                   I began my employment in October 2004, in the position
at 966. The Third Circuit has explained that this [*35]                 of Clerk Typist. Sometime later I was placed in the
scope is not necessarily limited by a complainant's                     position of [*37] Clerk Typist.
"failure to check a box on an EEOC Charge Form," but
                                                                        During the court of my employment[,] I have complained
rather works to "prevent a plaintiff from 'greatly                      about harassment from certain supervisory and
expanding an investigation simply by alleging new and                   managerial employees. In April 2011, I was suspended
different facts when she is contacted by the Commission                 without pay. On July 28, 2011, I was discharged.
following her charge.'" Barzanty, 361 F. App'x at 414
                                                                        I believe that I have been discriminated against because
(quoting Hicks, 572 F.2d at 967). In particular, a charge
                                                                        of my race (Black) and retaliation in violation of Title VII of
based on discrimination against one protected class
                                                                        the Civil Rights Act of 1964, as amended.
does not encompass other classes merely because the
                                                                  Duran Cert. Ex. A.

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discrimination claim,4 and it must be dismissed.                    employees, or direct evidence of discrimination from
                                                                    statements or actions by her supervisors suggesting
2. Race Discrimination Claim
                                                                    racial animus." Golod v. Bank of Am. Corp., 403 F.
The Court, therefore, turns towards Hoist's racial                  App'x 699, 703 (3d Cir. 2010) (citing Swierkiewicz v.
discrimination claim under Title VII. Defendants have               Sorema N.A., 534 U.S. 506, 511-12, 122 S. Ct. 992, 152
moved for summary judgment on her claims, arguing                   L. Ed. 2d 1 (2002)). "More specifically, when presenting
that she has failed to establish a prima facie case for             comparator evidence, on summary judgment, a plaintiff
race discrimination; alternatively, Defendants have                 must prove that she is 'similarly situated' to her
asserted that, even if Plaintiff has established a prima            comparators and that these employees have been
facie [*38] case of racial discrimination, she has failed           treated differently or favorably by their employer."
to establish that their nondiscriminatory reason for the            Houston v. Dialysis Clinic, Inc., Civ. Action No.: 13-
unfavorable employment decision was pretextual.                     4461(FLW), 2015 U.S. Dist. LEXIS 83151, at *12
                                                                    (D.N.J. June 26, 2015) (citing Williams v. Morton, 343
a. Prima Facie Case                                                 F.3d 212, 221 (3d Cir. 2003); Andy v. UPS, 2003 U.S.
                                                                    Dist. LEXIS 25193, at *33 (E.D. Pa. Oct. 28, 2003);
It is undisputed that Hoist, an African-American, has
                                                                    Simpson v. Kay Jewelers, 142 F.3d 639, 645 (3d Cir.
established the first prong of the prima facie case for
                                                                    1998)). To be "similarly situated," a comparator must be
race discrimination. Defendants, however, contest the
                                                                    "similar in all relevant respects," including with regards
next two prongs for the majority of the allegedly
                                                                    to "the requirements, duties and responsibilities of the
discriminatory incidents asserted by Hoist, arguing that
                                                                    respective jobs." Id. at *12 (internal quotation marks and
Hoist has either failed to establish that she suffered an
                                                                    citations omitted). Importantly, "the acts of non-minority
adverse employment action from these incidents and
                                                                    employees must be of 'comparable seriousness' if the
that any actual adverse employment action that
                                                                    failure to discharge those employees is being proffered
occurred fails to raise an inference of discriminatory
                                                                    as proof of discriminatory intent." Taylor v. Procter &
animus. The Court now turns to these arguments.
                                                                    Gamble Dover Wipes, 184 F. Supp. 2d 402, 410 (D.
                                                                    Del. 2002), aff'd, 53 F. App'x 649 (3d Cir. 2002) (citing
In order to establish to a claim of racial discrimination,
                                                                    McDonnell Douglas, 411 U.S. at 804); see also
an adverse employment action must be "sufficiently
                                                                    Houston, 2015 U.S. Dist. LEXIS 83151, at *13
severe as to alter the employee's 'compensation, terms,
                                                                    (explaining that a plaintiff must demonstrate that "the
conditions, or privileges of employment,' or to 'deprive or
                                                                    acts of the similarly situated employees were of a
tend to deprive [him or her] of employment opportunities
                                                                    'comparable [*40] seriousness'" in order to raise an
or otherwise adversely affect his [or her] status as an
                                                                    inference of discrimination based on comparator
employee.'" Robinson v. City of Pittsburgh, 120 F.3d
                                                                    evidence); Dill v. Runyon, Civil Action No. 96-3584,
1286, 1296-97 (3d Cir. 1997), abrogated on other
                                                                    1997 U.S. Dist. LEXIS 4355, at *12 (E.D. Pa. Apr. 2,
grounds by Burlington N. & Santa Fe Ry. Co. v. White,
                                                                    1997) ("To be deemed 'similarly situated,' the individuals
548 U.S. 53, 126 S. Ct. 2405, 165 L. Ed. 2d 345 (2006)
                                                                    with whom a plaintiff seeks to be compared must 'have
(quoting 42 U.S.C. § 2000e-2(a)(1) and (2)). Not every
                                                                    engaged in the same conduct without such
"insult, slight, or unpleasantness gives rise to a valid
                                                                    differentiating or mitigating circumstances that would
Title VII claim." Id. at 1297.
                                                                    distinguish their conduct or the employer's treatment of
As to the    third [*39] factor, a plaintiff may establish an       them for it.'") (quoting Anderson v. Haverford College,
inference     of discrimination "in a number of ways,               868 F. Supp. 741, 745 (E.D. Pa. 1994) (quoting Mitchell
including,    but not limited to, comparator evidence,              v. Toledo Hosp., 964 F.2d 577, 583 (6th Cir. 1992)).
evidence      of similar racial discrimination of other
                                                                    In her TAC, and throughout her moving papers, Hoist
                                                                    has pointed to a series of events which she asserts
                                                                    substantiates her claims for race discrimination. Hoist,
4 This  claim appears to relate in large part to the incident       however, has failed to provide sufficient evidence to
where Plaintiff received a one-day suspension for                   establish a prima facie case for the majority of these
insubordination after she refused to complete a priority task for   incidences. It is not disputed that Hoist's termination
Coefer in November 2010. Plaintiff asserts that she was
                                                                    constituted an adverse employment action; however,
unfairly punished because a male co-worker, Mr. Daniels,
                                                                    other than this termination, the incidents that Hoist is
acted insubordinately in March 2010 and was not, to her
                                                                    relying on largely fail to qualify as adverse employment
knowledge, punished. The Court, however, lacks jurisdiction to
hear this claim for the above-mentioned reasons.                    actions under the law. For example, there are several

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incidences where there was no action taken by the                    (finding that written reprimands did not constitute an
Defendants with regard to Plaintiff at all, and certainly            adverse employment action where the plaintiff failed to
no action that could constitute a significant change in              show "that these written reprimands affected the terms
Hoist's employment status. Specifically, with regard to              or conditions of his employment"); Heuschkel v.
the November 5, 2010 safe deposit box incident [*41]                 McCulley, Civil Action No. 05-5312(NLH), 2008 U.S.
and the November 16, 2010 lobby incident involving a                 Dist. LEXIS 22143, at *12 (D.N.J. Mar. 19, 2008)
visitor Hoist failed to assist, Hoist was never                      (finding that a written reprimand did not constitute an
disciplined—either formally or informally—for these                  adverse employment action on the basis that such
events. Rather, Hoist testified that she was just                    reprimand "could" be used in future progressive
concerned that something could have happened; this                   discipline because it did not actually materially change
concern, however, does not constitute an adverse                     her employment terms or conditions).
employment action. Similarly, Hoist has asserted that
her request to change her working hours was denied                   Similarly, Plaintiff's 2010 PES report does not constitute
while a Caucasian female co-worker's request was                     an adverse employment action. Plaintiff asserts that a
approved, indicating a disparate impact. Hoist's request,            comment within the PES, in which Coefer justified why
however, was approved; even if it had been denied,                   Hoist did not pass the "Organizational Citizenship"
such a denial would not constitute an adverse                        category, to be discriminatory. She also asserts that
employment action as it would not materially change her              Coefer's reference to the Workplace Violence
working conditions.                                                  Complaints filed against Hoist in his addendum was
                                                                     improper because the Complaint had been found
There are also several incidences in which Plaintiff was             unsupported.6 Hoist, however, received an overall rating
reprimanded or disciplined, but the resulting effect did             of "Satisfactory" on her PES, and the comment did not
not change Hoist's employment status or condition in                 deprive Hoist of any employment opportunities, or
such a way to appropriately be considered an adverse                 otherwise affect her status as an employee. Hoist has
employment action. For example, with regard to the                   only made the unsupported statement that the PES,
Workplace Violence Complaints filed against her in                   which states that Plaintiff is an efficient worker but
March 2010, the OLR's investigation determined that                  should be "more respective [sic] and courteous to fellow
Plaintiff failed to conduct herself appropriately in the             co-workers and staff," could have been used to hurt her
workplace and therefore proceeded to give her a written              chances of getting other job opportunities. There is no
warning, reminding Hoist to [*42] conduct herself in a               claim or evidence that it [*44] did affect her chances of
"courteous and professional manner." Likewise, Hoist                 being promoted or receiving a raise, and Hoist does not
received a Record of Counseling for leaving work early               claim that the PES was used as a basis for progressive
without prior approval on January 4, 2011.5 These                    discipline. Therefore, the PES does not constitute an
reprimands, however, did not result in Hoist having her              adverse employment action. See Heuschkel, 2008 U.S.
hours or type of work changed, or result in Hoist either             Dist. LEXIS 22143, at *12. Correspondingly, Hoist's
receiving a decrease in wages or being denied a pay                  allegations that she was bullied during her meeting with
raise or promotion. Accordingly, they "did not effect a              Grennier and her union representative to discuss the
material change in the terms and conditions of her                   PES does not constitute an adverse employment action.
employment," and do not qualify as adverse                           Hoist's claims, in which her supervisor "challenged" the
employment actions. Urey v. Grove City College, 94 F.
App'x 79, 81 (3d Cir. 2004); see also Weston v.
Pennsylvania, 251 F.3d 420, 431 (3d Cir. Pa. 2001)                   6 It should also be noted that Coefer's addendum was a
                                                                     response to Hoist's response to her Interim PES, as it was
                                                                     Hoist herself that initially references the Workplace Violence
                                                                     Complaints filed in the OLA. Coefer merely states that he filed
5 Hoist does not dispute this incident, but rather asserts that it   the Complaint on behalf of his staff, who had approached him
was disparate impact because she and the rest of her office          about Hoist's treatment. It is illogical to claim that Coefer was
had, on prior occasions, been allowed to utilize their lunch         being discriminatory by responding to the Complaints that
period at 4:00 p.m. This Record of Counseling [*43] was              Hoist herself first referenced. Further, Coefer later redacted
based on Plaintiff's violation of a DEP policy, as she did not       the portion of his addendum that referenced the Workplace
wait for supervisory approval before leaving early. Therefore,       Violence Complaints, [*45] meaning that the offending
there was a valid and legitimate business reason for this            comments were removed and never made part of Plaintiff's
Record of Counseling, even if it could be considered an              official personnel file. These comments, therefore, could not
adverse employment action.                                           affect the terms, conditions, or status of Plaintiff's employment.

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allegations of Hoist and her union representative during        session regarding a new process for handling money in
the meeting, fail to indicate any change to her                 the office by Coefer. Rather, she alleges that Coefer
employment terms or conditions as a result of this              invited three other employees, two of whom are
meeting.                                                        Caucasian and one of whom is Hispanic. This event,
                                                                however, occurred after Hoist had requested to be
More troublesome for Plaintiff, however, is the lack of         removed of her safe-keeper responsibilities—a request
evidence purporting to establish an inference of race           which was granted by management. Accordingly, there
discrimination. "The central focus of the prima facie           can be no causal connection between Hoist's race and
case is always whether the employer is treating some            her exclusion from this training session.
people less favorably than others because of their race,
color, religion, sex, or national origin." Sarullo, 352 F.3d    Plaintiff's sole remaining basis for her race
at 798 (quotation and citation omitted). For example,           discrimination claim is her suspension and ultimate
Plaintiff has asserted that management's failure to             termination.7 As these are clearly adverse employment
transfer her out of OPRA constituted discrimination.            actions, the only real issue of contention relates to
Plaintiff, however, has failed to produce any evidence          whether they raise an inference of discriminatory
indicating that her denial of transfer had anything to do       animus. In that regard, Plaintiff attempts to establish an
with her race. Rather, Plaintiff applied for a transfer in      inference of discrimination through purportedly favorable
the "lateral mobility process," and was given equal             treatment of a similarly situated employee, to wit, Ms.
consideration with all other employees who requested a          Clayton. Specifically, Plaintiff asserts that Ms. Clayton
transfer. Additionally, Coefer attempted to help Plaintiff      was a female Caucasian co-worker of hers, who was
in her request to transfer by reaching out twice to             also [*48] supervised by Coefer and Grennier. After the
Human Resources. The second time he reached out to              altercation between Ms. Clayton and herself on April 21,
Human        Resources,       he    sent    an     electronic   2011, Hoist asserts that the non-termination of Ms.
communication to Ms. Ewalt, who is the [*46] Director           Clayton shows discriminatory intent on the part of
of the Office of Human Resources, requesting that Hoist         Defendants.
receive expedited consideration for her request for a
lateral transfer. He was told, however, that Hoist's            After reviewing the evidence as it relates to the
request would be given "equal consideration" with the           "comparator" raised by Plaintiff, the Court concludes
other employees. It is also notable that Plaintiff had          that Ms. Clayton's circumstances are not sufficiently
been trying to transfer out of OPRA since 2009, before          similar to Plaintiff's circumstances so as to create an
the incidences of purported discrimination occurred.            inference that Plaintiff was terminated as a result of
Plaintiff, therefore, has failed to establish that the denial   racial discrimination. Notably, while Ms. Clayton was
of her transfer had any connection with her race.               obviously an active participant in the April 21 altercation,
                                                                she was accused of misconduct that is not of
Hoist has also pointed to the 2010 Workplace Violence           comparable seriousness to the misconduct attributed to
Complaints as examples of disparate impact, because             Plaintiff in this case. With regard to the April 21
she, an African-American, was disciplined, while Ms.            altercation, Hoist was determined to have been the
Clayton, a Caucasian, was not disciplined. However, the         instigator in the altercation and that she could have
record shows that the findings in both Ms. Clayton's and        provoked a physical confrontation by yelling, "If you see
Hoist's    Workplace     Violence    Complaints     were        a bitch, slap a bitch," within inches of Ms. Clayton's
substantially the same. After conducting an                     face. Eye witnesses to the incident, [*49] including a
investigation, the OLR found neither Complaint to be            visitor to the office, corroborated that Hoist was the
substantiated, reminded both Hoist and Ms. Clayton to           aggressor, that she leaned into Ms. Clayton's personal
conduct themselves in a "courteous and professional             space, and that she repeatedly kept yelling, "If you see
manner," and stated that the letter served as a written         a bitch, slap a bitch" at Ms. Clayton. Hoist herself
warning for both. Therefore, the same exact remedial
action was taken in regard to both Workplace Violence
Complaints; accordingly, [*47] Hoist has failed to
                                                                7 Because  the suspension was without pay, it is an adverse
establish she was treated any differently from Ms.
Clayton because of her race.                                    employment action. See Jones v. SEPTA, No. 14-3814, 796
                                                                F.3d 323, 2015 U.S. App. LEXIS 14094, at *8-9 (3d Cir. Aug.
Likewise, Hoist has alleged that she was discriminated          12, 2015) (explaining that, while a paid suspension cannot
against because she was not asked to join a training            constitute an adverse employment action, a suspension
                                                                without pay does).

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testified that she yelling the aforementioned phrase          considered an adverse employment action occurred
repeatedly, and that she initiated the altercation by         under circumstances that allow for an inference of
confronting Ms. Clayton in her cubicle, and that she          discrimination. While Plaintiff has attempted to show an
stood over Ms. Clayton yelling while Ms. Clayton              inference of racial discrimination with regard to the
remained seated. While Ms. Clayton clearly played a           circumstances giving rise to her termination through
role in the altercation—specifically, Ms. Clayton called      comparator evidence, the co-worker that Plaintiff has
Hoist a "bitch" and kept yelling at Hoist to get out of her   compared herself to is not sufficiently situated to Plaintiff
face—the differences in Hoist's conduct and Ms.               to treat her as a comparator and raise an inference of
Clayton's conduct in the altercation distinguishes            discrimination. Nonetheless, even assuming Hoist could
Defendant's treatment of them for it. See Jones, 796          establish a prima facie case of discrimination, she has
F.3d 323, 2015 U.S. App. LEXIS 14094, at *9-10                failed to rebut Defendants' legitimate business reason
(finding that a "materially different" distinction between    for her termination.
the misconduct of an employee in a protected class and
                                                              b. Burden Shifting
an employee outside that class precludes an inference
that the treatment of the employee in the protected class
                                                              As discussed, if a plaintiff succeeds in establishing a
was motivated by discrimination).
                                                              prima facie case for race discrimination, the burden of
                                                              production then shifts to the employer to articulate a
Because of Hoist's role as the aggressor of the incident
                                                              legitimate, nondiscriminatory reason for the employee's
and because Hoist could have provoked Ms. Clayton
                                                              termination. If a plaintiff succeeds in establishing a
into a physical confrontation by yelling in her face,
                                                              prima facie case, the burden then shifts to the employer
Defendants determined that Hoist [*50] had violated the
                                                              to articulate a legitimate, nondiscriminatory [*52]
Employee Code of Conduct by engaging in conduct
                                                              reason for the employee's termination. See Sarullo, 352
unbecoming of a public employee, and decided
                                                              F.3d at 799. As the Third Circuit has noted, this burden
termination was appropriate. Ms. Clayton was likewise
                                                              is "relatively light" and does not oblige the employer to
disciplined, but because of her lesser role, was given a
                                                              prove that it was actually motivated by the tendered
written warning for her use of language. Therefore,
                                                              reason. Fuentes, 32 F.3d at 763.
based on these circumstances, Ms. Clayton is not
similarly situated to Plaintiff, because her conduct and
                                                              Here, Defendants proffer that they terminated Plaintiff
involvement in the altercation were clearly different than
                                                              based on a legitimate business reason; specifically, they
that of Hoist. These differences are what ultimately
                                                              terminated Plaintiff following the April 21, 2011
justify the different penalties that the DEP ultimately
                                                              altercation with Ms. Clayton because they determined
imposed on the two women. See Opsatnik v. Norfolk             that Hoist instigated the altercation, was the aggressor
Southern Corp., 335 F. App'x 220, 223 (3d Cir. Pa.            in the altercation, and could have provoked Ms. Clayton
2009) (explaining that a similarly situated employee          into a physical altercation by yelling, "If you see a bitch,
must be shown to have "engaged in similar conduct             slap a bitch," several times within inches of Ms.
without such differentiating or mitigating circumstances      Clayton's face. Such conduct was found to violate N.J.
as would distinguish their conduct or the employer's          A.C. 4A:2-2.3(a)(6), as it qualified as conduct
treatment of them" (quoting Radue v. Kimberly-Clark           unbecoming of a public employee. Based on this
Corp., 219 F.3d 612, 617-18 (7th Cir. 2000)). In other        violation of the DEP Employee Code of Conduct, the
words, because the acts of Ms. Clayton, the non-              DEP decided to terminate Plaintiff. As Defendants have
minority employee, were not of "comparable                    satisfied their burden of establishing a legitimate, non-
seriousness" to Plaintiff's conduct, the failure to           discriminatory reason for Plaintiff, the burden now shifts
discharge Ms. Clayton does not establish proof of             to Plaintiff to show that Defendants' proffered
discriminatory intent by Defendants. McDonnell                nondiscriminatory reasons are, in actuality, a pretext for
Douglas, 411 U.S. at 804; see also Opsatnik, 335 F.           invidious race discrimination.
App'x at 223.
                                                              At the summary judgment stage, there are two ways in
In sum, Plaintiff has failed to establish a prima facie
                                                              which a plaintiff [*53] may demonstrate pretext. "First,
case of discrimination. The majority of the asserted
                                                              the plaintiff may point to evidence in the record that
incidents do not constitute [*51] adverse employment
                                                              would cause a reasonable juror to disbelieve the
action for the purposes of a Title VII discrimination
                                                              employer's articulated legitimate non-discriminatory
analysis. Plaintiff has failed to proffer any evidence that
                                                              reason, thereby creating a genuine dispute of material
establishes that the few incidents that could be

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fact as to the credibility of that reason." Burton v.              the front desk of the OPRA office had to be manned at
Teleflex Inc., 707 F.3d 417, 430 (3d Cir. 2013).                   all times. Once management relayed that Hoist was
Alternatively, the plaintiff may survive summary                   given permission to leave, there is no evidence that Ms.
judgment by tendering evidence that "allows the                    Clayton made an issue about it. It was, rather, Plaintiff
factfinder to infer that discrimination was more likely            who initiated the altercation by deciding to confront Ms.
than not a motivating or determinative cause of the                Clayton the next day about her inquiry, and then
adverse employment action." Fuentes, 32 F.3d at 762;               proceeded to escalate the altercation by standing over
Burton, 707 F.3d at 430-31 ("[T]he plaintiff may also              Ms. Clayton and yelling at her in a way that could
defeat summary judgment by pointing to evidence that               provoke a physical confrontation. Plaintiff not only
indicates that the employer acted with discriminatory              engaged in this action in front of her coworkers, but also
animus."). It is not enough for the plaintiff to "simply           did this in front of visitors to the office.
show that the employer's decision was wrong or
mistaken"; rather, the plaintiff "must demonstrate such            While Plaintiff asserts that Ms. Clayton was unpunished
'weaknesses,        implausibilities,    inconsistencies,          for this incident, this is not true. Ms. Clayton received a
incoherences, or contradictions in the employer's                  written warning for her use of language during this
proffered legitimate reason for its action that a                  altercation. And while Ms. Clayton was clearly involved
reasonable factfinder could rationally find them                   in the altercation, her behavior is not comparable to
unworthy of credence, and hence infer that the                     Plaintiff's conduct during the altercation, as discussed
employer did not act for [the asserted] nondiscriminatory          earlier. Ms. Clayton did not approach Hoist with the
reasons.'" Ross v. Gilhuly, 755 F.3d 185, 194 n.13 (3d             intention [*56] to start a verbal or physical altercation,
Cir. 2014) (alteration in original) (quoting Brewer v.             she remained seated at all times during the altercation,
Quaker State Oil Ref. Corp., 72 F.3d 326, 331 (3d Cir.             and she never threated Hoist.
1995)).
                                                                   Overall, without proof that someone similarly situated
In order to establish pretext, Plaintiff [*54] alleges that        was treated more favorably, Hoist is left only with her
Ms. Clayton was the instigator, and that Ms. Clayton               subjective belief that race played a role in the DEP's
called Plaintiff a "bitch" during the altercation. Plaintiff, it   employment decisions. She presents no discriminatory
appears, hopes to show that Defendants inconsistently              statements by Defendants, or evidence of discriminatory
apportioned punishments by giving her, a minority, a               motive to support her allegations. She has offered no
much harsher punishment than Ms. Clayton, a non-                   rebuttal to DEP's proffered (conduct-related) reason for
minority co-worker. The record, however, fails to support          terminating her employment, other than her feeling that
this argument. The hearing officers at both Plaintiff's            she was treated unfairly. Hoist, however, has
pre-suspension hearing and her disciplinary hearing                corroborated the essence of the incident that led to her
determined that Hoist was the instigator of the                    termination, and the Court will not second guess DEP's
altercation, and that she was the more aggressive party.           intolerance for Hoist's actions, which were clearly
Both hearing officers also found that Hoist essentially            inappropriate for the office place. Plaintiff has offered no
invited Ms. Clayton to physically retaliate against her by         other evidence that could plausibly establish pretext, nor
invading her personal space and yelling, "If you see a             did the Court find any such evidence in its review of the
bitch, smack a bitch" several times. These                         record. Overall, Hoist's "subjective belief that race
determinations were based on significant evidence that             played a role in these employment decisions . . . is not
was corroborated by numerous witnesses to the                      sufficient to establish an inference of discrimination."
incident, including some outside parties. Hoist herself            Groeber v. Friedman & Schuman, P.C., 555 F. App'x
has admitted that she went into Ms. Clayton's cubicle to           133, 135 (3d Cir. 2014). Accordingly, Plaintiff has failed
confront her regarding her alleged inquiries into                  to show there is any genuine issue of [*57] material fact
Plaintiff's whereabouts the prior day. She also admits             that Defendants' proffered reason for terminating
that she stood over Ms. Clayton, yelling the                       Plaintiff was a pretext for a racially discriminatory
aforementioned phrase at her.                                      purpose. Thus, summary judgment is granted in favor of
                                                                   Defendants on Plaintiff's Title VII race discrimination
It appears that Hoist feels that, because [*55] Ms.                claim.
Clayton allegedly inquired about her whereabouts, Ms.
Clayton instigated the altercation. The hearing officer,
however, found that Ms. Clayton's inquiry about                    D. Retaliation Claim Under Title VII
Plaintiff's whereabouts was not inappropriate because

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In her TAC, Plaintiff claims that she was retaliated            the employee engaged in "protected activity" under Title
against for making complaints about her work                    VII. See Ferra v. Potter, 324 F. App'x 189, 192 (3d Cir.
environment. To establish a prima facie case of                 2009).
retaliation under Title VII, a plaintiff must show that: "(1)
she engaged in a protected activity under Title VII; (2)        In support of her claim, Plaintiff has failed to offer any
the employer took an adverse action against her; and            evidence or proof that she engaged in protected activity
(3) there was a causal connection between the                   that caused DEP to retaliate against her. In her TAC
employee's participation in the protected activity and the      and moving papers, Plaintiff has offered up a series of
adverse employment action." Wilkerson v. New Media              events that she asserts establishes retaliation under
Tech. Charter Sch., Inc., 522 F.3d 315, 320 (3d Cir.            Title VII. For example, she states that her co-workers
2008). Critically for this case, the first element of a Title   and supervisors made defamatory statements against
VII retaliation claim protects only "those who oppose           her and harassed her, that her supervisors punished her
discrimination made unlawful by Title VII." Moore v. City       more severely than her co-workers, that Coefer
of Philadelphia, 461 F.3d 331, 341 (3d Cir.2006); see           inappropriately referenced the Workplace Violence
also Curay-Cramer v. Ursuline Acad. of Wilmington,              Complaint filed against her in the 2010 PES, and that
Del., Inc., 450 F.3d 130, 134 (3d Cir. 2006) ("Title VII's      she was denied a transfer despite the "unhealthy work
anti-retaliation provisions protect employees who               environment."8 See Pl.'s Br. at 11-12. These allegations,
participate in Title VII's statutory processes or who           however, do not relate to any protected activity that
otherwise oppose employment practices made illegal by           Plaintiff engaged in, for which the DEP retaliated against
Title VII."). Accordingly, "[n]ot every complaint or report     her.
entitles its author to protection from retaliation under
                                                                After reviewing the record, the Court cannot find a single
Title VII." Davis v. City of Newark, 417 Fed. Appx. 201,
                                                                complaint Plaintiff made—whether informal or formal—
202-03 (3d Cir. 2011) (citing Burlington N. & Santa Fe
                                                                concerning an employment practice that she found to be
Ry. v. White, 548 U.S. 53, 68, 126 S. Ct. 2405, 165 L.
                                                                discriminatory towards her because of her race. Rather,
Ed. 2d 345 (2006) (noting [*58] that Title VII does not
                                                                even viewing the record in the most favorable light to
"set forth a general civility code for the American
                                                                Hoist, Plaintiff's complaints to her supervisors and to
workplace" (internal quotation marks omitted))). Rather,
                                                                management only show a general feeling of unfair
"only complaints about discrimination prohibited by Title
                                                                treatment by her supervisors and her co-workers. As in
VII - that is, discrimination on the basis of race, color,
                                                                Barber, there is no explicit or implicit allegation that this
religion, sex, or national origin, 42 U.S.C. § 2000e-2-
                                                                unfairness stems from a discriminatory animus. It is not
constitute 'protected activity.' Thus, for a complaint to
                                                                enough that Plaintiff complained about a history of
amount to 'protected activity,' it must implicate an
                                                                differential treatment by her supervisors and an uncivil
employment practice made illegal by Title VII." Id.
                                                                work environment, see Davis, 417 Fed. Appx. at 203;
(internal citation omitted) (citing Curay-Cramer, 450
                                                                Ferra, 324 F. App'x at 192; unless Hoist linked these
F.3d at 135). Because Title VII is not a code for general
                                                                complaints to an employment practice prohibited under
civility, "a general complaint of unfair treatment does not
                                                                Title VII, [*61] she did not engage in protected activity
translate into a charge of [retaliation]." Barber v. CSX
                                                                for the purposes of retaliation. Even when construing all
Distrib. Servs., 68 F.3d 694, 702 (3d Cir. 1995); see
                                                                facts and logical inferences in favor of Plaintiff, she has
also Burlington N. & Santa Fe Ry., 548 U.S. at 68.
                                                                failed to show any issue of material fact as to her
Accordingly, the Third Circuit has held that an employee
did not engage in protected activity under Title VII where
the employee wrote a letter to the human resources
                                                                8 Plaintiff
                                                                          has alleged elsewhere that Coefer filed the March
department "complain[ing] about unfair treatment in
general and express[ing] his dissatisfaction about the          2010 Workplace Violence Complaint against her as retaliation
fact that someone else was awarded the position"                after she verbally complained about the environment in the
because the employee did not "explicitly or implicitly          workplace, particularly as it [*60] related to Ms. Clayton's
                                                                behavior towards her. The record, however, does not support
allege" that the alleged unfairness was due to his
                                                                this contention. The March 2010 Workplace Violence
membership in a protected category under Title VII. See
                                                                Complaint had already been filed by Coefer before Hoist
Barber, 68 F.3d at 702. Likewise, the Third Circuit has
                                                                verbally complained to him, so his Complaint could not have
found that an employee who alleges "a long history              been retaliatory. Further, and significantly for Title VII
of [*59] what he perceives to be differential treatment         purposes, Plaintiff's verbal complaints do not reference any
by his supervisors" does not sufficiently establish that        conduct that reflects a discriminatory animus.

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retaliation claim.9 Accordingly, judgment must be                   hostile work environment. If the workplace is
entered for Defendants on Plaintiff's Title VII retaliation         unpleasant, or even revolting, for any reason other than
claim.                                                              hostility generated because on account of an
                                                                    employee's membership in a protected class under Title
                                                                    VII, then the hostile environment fails to implicate a
E. Hostile Work Environment Claim under Title VII                   federal claim. "In short, personality conflicts between
                                                                    employees are not [*63] the business of the federal
Finally, Plaintiff has brought a claim for hostile work             courts." Id. (quoting Vore v. Indiana Bell Tel. Co., Inc.,
environment under Title VII. In order to establish a                32 F.3d 1161, 1162 (7th Cir. 1994)); see also Fichter v.
hostile work environment claim under Title VII, Plaintiff           AMG Res. Corp., 528 F. App'x 225, 231 (3d Cir. 2013)
must show that (1) she suffered intentional                         ("Title VII does not guarantee a utopian workplace."
discrimination because of her race; (2) the                         (internal quotation marks omitted)).
discrimination was pervasive and regular; (3) it
detrimentally affected her; (4) it would have                       Upon examination of Hoist's list of complaints, the Court
detrimentally affected a reasonable person of [*62] the             must conclude that, while the incidents Hoist
same protected class in her position; and (5) there is a            experienced may have been personally upsetting or
basis for vicarious liability. See Cardenas v. Massey,              offensive to her, Hoist has failed to demonstrate a
269 F.3d 251, 260 (3d Cir. 2001) (citing Aman v. Cort               discriminatory animus. Plaintiff's complaints concern
Furniture Rental Corp., 85 F.3d 1074, 1081 (3d Cir.                 allegations that she started receiving poor evaluations;
1996)).                                                             that she started to be disciplined for things while her co-
                                                                    workers were "merely overlooked" for doing similar
"The threshold issue in a Title VII hostile work                    things; that her co-workers and supervisors treated her
environment claim is whether the plaintiff has 'produced            inconsiderately and/or disrespectfully and said
evidence of intentional discrimination based on' her                "defamatory" things about her; that her supervisors did
race." Sanchez v. Tricorp Amusements, Inc., Civil Action            not take her seriously and/or did not address her
No. 08-4554 (FLW), 2010 U.S. Dist. LEXIS 125287, at                 complaints; and that she was not transferred. After
*34 (D.N.J. Nov. 29, 2010) (quoting Waite v. Blair, Inc.,           reviewing the record, there is simply no evidence of
937 F. Supp. 460, 468 (W.D.Pa.1995)). It is well-                   discriminatory treatment in these assertions aside from
established that Title VII does not mandate a "general              the fact that Hoist happens to be African-American.
civility code" in the workplace, and ordinary tribulations          Plaintiff has not provided any evidence that anyone in
of the workplace do not, by themselves, support a                   the workplace mentioned her race, called her
hostile work environment claim. See Faragher v. City of             derogatory names based on her race, or even
Boca Raton, 524 U.S. 775, 788, 118 S. Ct. 2275, 141 L.              referenced her race. See Watkins v. Nabisco Biscuit
Ed. 2d 662 (1998). Indeed, "[t]he mere fact that a work             Co., 224 F. Supp. 2d 852, 865 (D.N.J. 2002) (dismissing
environment may prove to be intolerable to a particular             claim based upon [*64] failure to produce any evidence
employee does not necessarily implicate Title VII, since            "that the facially neutral conduct of [plaintiff's]
the civil rights laws do not guarantee a working                    supervisors and co-workers masked a discriminatory
environment free of stress." Waite, 937 F. Supp. at 468             intent"). In her own complaints, she only references her
(citing T. Bristow v. Daily Press, Inc., 770 F.2d 1251,             frustrations with her workplace because of personality
1255 (4th Cir. 1985), cert. denied, 475 U.S. 1082, 106              conflicts she was having with her co-workers and her
S. Ct. 1461, 89 L. Ed. 2d 718 (1986)). Rather, Title VII            supervisors. Indeed, when Plaintiff met with Dr. Straus
protects an employee from racial discrimination in the              about her issues in the workplace, she only spoke of
workplace, which includes freedom from a racially-                  certain personality issues she had with Coefer, and how
                                                                    she felt he was not understanding of her because she
                                                                    behaves socially differently from her fellow co-workers.
                                                                    She never once mentioned any feelings that this alleged
9A   retaliation claim is subject to the same burden-shifting       conflict was based on any sort of discrimination.
analysis applied in Title VII discrimination claims. See Moore,
461 F.3d at 342. Accordingly, judgment would still be entered       Plaintiff has cited to the results of the investigation into
in favor of Defendants even had Plaintiff established that she      her May 2010 Workplace Violence Complaint, in which
engaged in a protected activity because, as discussed in
                                                                    the OLR concluded that, while the incidents within the
Section III.C, Plaintiff has failed to establish that Defendants'
                                                                    Complaint did not constitute workplace violence, they
proferred, non-discriminatory reason for her termination was
                                                                    did create a hostile work environment. Plaintiff argues
actually a pretext.

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that this shows that this letter shows that her claim has          Title VII does not mandate the existence of a copasetic
merit, because the OLR "admitted" that she was a victim            workplace, evidence of "[o]ccasional insults, teasing, or
of a hostile work environment. See Pl.'s Br. at 15. This           episodic instances of ridicule are not enough [because]
argument,     however,      misconstrues     the    OLR's          they do not [*67] 'permeate' the workplace and change
investigation and resulting determination. [*65] Plaintiff,        the very nature of the plaintiff's employment." Jensen,
in her Workplace Violence Complaint, complained of                 435 F.3d at 451. In determining whether harassment is
generalized workplace violence, relating to her issues             sufficiently severe or pervasive to give rise to a Title VII
with Ms. Clayton and her impression that Coefer was                action, the Court is mindful that it must look at all the
not addressing her complaints. There is no reference,              surrounding circumstances, "include the frequency of
either implicitly or explicitly, to any discriminatory             the discriminatory conduct; its severity; whether it is
animus in her complaint, or in the OLR's findings.10               physically threatening or humiliating, or a mere offensive
While the OLR found that there was a hostile work                  utterance; and whether it unreasonably interferes with
environment, this finding only dealt with the personality          an employee's work performance." See Harris, 510 U.S.
conflicts occurring in the office of which Plaintiff               at 23.
complained. Title VII simply is not implicated by such
complaints of personality conflicts between employees,             When applying these principles here, the Court is
or by an unhappy working environment for an employee.              compelled to conclude that no reasonable jury could find
See Jensen v. Potter, 435 F.3d 444, 451 (3d Cir. 2006)             that Hoist experienced racial harassment so severe or
("The statute prohibits severe or pervasive harassment;            pervasive that it "alter[ed] the conditions of [her]
it does not mandate a happy workplace."). Accordingly,             employment and create[d] an abusive environment."
the OLR's determination of a hostile work environment              Jensen, 435 F.3d at 451. While Hoist may have been
based on its investigation into Plaintiff's Workplace              offended by the way she was treated by her co-workers
Violence Complaint fails to create an issue of material            and frustrated by the way management treated her, the
fact as to Plaintiff's Title VII claim for hostile work            harassment she asserts she feels was not particularly
environment.                                                       frequent, and certainly was not physically threatening or
                                                                   humiliating. Rather, it appears that Hoist's sometimes
Moreover, even assuming Hoist could establish that she             extreme reactions to incidences in the workplace were,
suffered intentional discrimination because of her race,           at times, unreasonable and a result of her (self-
her hostile work environment claim would still fail                described) tendency to become emotional and [*68]
because it is clear that the incidents she has identified          angry in the workplace. Indeed, it is hard to conceive
do not constitute the kind of severe or pervasive                  how the alleged harassment could have had any real
harassment required by Title VII. See Harris, 510 U.S.             interference with her work performance. In short, all of
at 21-22. Such harassment exists when the workplace is             the alleged incidents, taken together and viewed in the
"permeated with discriminatory intimidation, ridicule, and         light most favorable to Hoist, fail to establish that the
insult that is sufficiently severe or pervasive to alter the       workplace at OPRA was "permeated with discriminatory
conditions of the victim's employment and create an                intimidation, ridicule, and insult" such that the nature of
abusive working environment." Nat'l R.R. Passenger                 Hoist's employment was changed. Morgan, 536 U.S. at
Corp. v. Morgan, 536 U.S. 101, 116, 122 S. Ct. 2061,               116.
153 L. Ed. 2d 106 (2002) (internal quotation marks and
citation omitted). This conduct must be so severe or               Overall, Title VII is violated "[w]hen the workplace is
pervasive as to create an objectively hostile work                 permeated with discriminatory intimidation, ridicule, and
environment. See Weston, 251 F.3d at 426. Because                  insult that is sufficiently severe or pervasive to alter the
                                                                   conditions of the victim's employment and create an
                                                                   abusive working environment." Harris v. Forklift Sys.,
                                                                   510 U.S. 17, 21, 114 S. Ct. 367, 126 L. Ed. 2d 295
10 It
    is also notable that the OLR does not investigate claims of    (1993). Plaintiff has failed to show a single incident of
discrimination based on an individual's status in a protected      such discriminatory conduct. Therefore, the Court finds
category. Rather, such investigations are within the province      insufficient evidence on this record to create a genuine
of DEP's Equal [*66] Employment Office ("EEO"). If, during
                                                                   issue as to whether Plaintiff suffered intentionally
the court of the OLR's investigation, Plaintiff had alleged that
                                                                   discriminatory treatment, much less discrimination which
the conduct she was experiencing from her co-workers was
                                                                   was pervasive and regular. Given these crucial
due to her race and/or gender, the matter would have been
referred to the EEO. See Certification of Melanie L. Armstrong     deficiencies, Hoist's hostile environment claim cannot
("Armstrong Cert.") ¶¶ 2, 4.                                       survive summary judgment. Accordingly, the Court will

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enter judgment for Defendants on this claim.                judgment shall be entered in Defendants' favor and this
                                                            matter is closed.

IV. Conclusion                                              /s/ Freda L. Wolfson

For the aforementioned reasons, Plaintiff's [*69] three     FREDA L. WOLFSON, U.S.D.J.
Motions to Compel are denied. Plaintiff's Motion for an
Extension of Time to file a summary judgment motion is
                                                              End of Document
granted, and Plaintiff's Motion for Summary Judgment is
denied in its entirety. Defendants' Motion for Summary
Judgment is granted. An appropriate order accompanies
this Opinion.

/s/ Freda L. Wolfson

FREDA L. WOLFSON, U.S.D.J.

Dated: August 13, 2015


ORDER

WOLFSON, District Judge.

THIS MATTER having been opened to the Court by
Kathryn Elizabeth Duran, Esq., counsel for Defendants
New Jersey Department of Environmental Protection
and the State of New Jersey (collectively, the
"Defendants"), on a motion for summary judgment; it
appearing that pro se Plaintiff Donielle T. Hoist
("Plaintiff"), has moved for an extension of time to file
her summary judgment motion, has opposed the motion
by way of filing a motion for summary judgment on all
claims, and has moved the Court to compel Defendants
to produce certain documents; it appearing that
Defendants have opposed Plaintiff's three motions to
compel; the Court having considered the parties'
submissions in connection with the motion pursuant to
Fed. R. Civ. P. 78, for the reasons set forth in the
Opinion filed on even date, and for good cause
shown, [*70]

IT IS, on this 13th day of August, 2015,

ORDERED that Plaintiff's Motion for an Extension of
Time [ECF No. 71] is GRANTED; and it is further

ORDERED that Plaintiff's Motions to Compel [ECF Nos.
72, 73, 79] are DENIED; and it is further

ORDERED that Plaintiff's Motion for Summary
Judgment is DENIED in its entirety; and it is finally

ORDERED that Defendants' Motion for Summary
Judgment is GRANTED in its entirety. Accordingly,


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                                       Delbridge v. Acme Food Corp.
                                  United States District Court for the District of New Jersey
                                    January 13, 2010, Decided; January 14, 2010, Filed
                                                  Civil Action No. 08-4821

Reporter
2010 U.S. Dist. LEXIS 2789 *; 2010 WL 148803


Re: Delbridge v. Acme Food Corp. and Robert George
                                                                LETTER OPINION

                                                                Dear Litigants:

Prior History: Delbridge v. Acme Food Corp., 2008               This matter comes before the Court on Defendants'
U.S. Dist. LEXIS 101151 (D.N.J., Dec. 15, 2008)                 Motion for Summary Judgment seeking dismissal of the
                                                                Amended Complaint, pursuant to Fed. R. Civ. P. 56.
                                                                There was no oral argument. Fed. R. Civ. P. 78. For the
                                                                reasons set forth below, Defendants' Motion for
Core Terms                                                      Summary Judgment is GRANTED and the Amended
                                                                Complaint is dismissed.
terminated, coupon, alleges, arbitrator, employees,
amended complaint, interview, transactions, register,
summary judgment motion, arbitral decision, summary             I. BACKGROUND
judgment, pretext, rights, facie, card, tape
                                                                Defendant Acme Food Corp. ("Acme") operates retail
                                                                grocery stores in several U.S. states including New
                                                                Jersey. (Declaration of Jennifer Schwarz ("Schwarz
                                                                Decl.") P 2). Defendant Robert George ("George") is
Counsel: [*1] MOSES DELBRIDGE, Plaintiff, Pro se,
                                                                Acme's Manager of Loss Prevention. (Declaration of
BAYONNE, NJ.
                                                                Joseph Mastalski ("Mastalski Decl." P 2)). Pro se
                                                                plaintiff Moses Delbridge ("Plaintiff" or "Delbridge"), who
For ACME FOOD CORP., ROBERT GEORGE,                             is African-American and was 18 years old at the start of
Defendants: KELLY LYNN BANNISTER, LEAD                          this litigation, was employed at Acme's grocery store in
ATTORNEY, BUCHANAN INGERSOLL & ROONEY                           Jersey City, New Jersey, from July 2004 until he was
PC, PHILADELPHIA, PA.                                           terminated in late September 2006. He was employed
                                                                 [*2] first as a clerk, performing bagging and checking
                                                                duties, and was eventually promoted to a customer
                                                                service representative position. (Schwarz Decl. Exs. F-
Judges: WILLIAM J. MARTINI, UNITED STATES                       G; Declaration of Carl Luthke ("Luthke Decl.") P 3;
DISTRICT JUDGE.                                                 Delbridge Dep. Tr. 14:10-24, 26:25-29:5). During the
                                                                entirety of his employment with Acme, Plaintiff was a
                                                                member of the United Food and Commercial Workers
                                                                Local 1245 (the "Union"). (Schwarz Decl. P 4; Delbridge
Opinion by: WILLIAM J. MARTINI                                  Dep. Tr. 25:2-19).

                                                                Acme maintains an "Honesty and Accuracy" policy, to
                                                                which all employees are subject. (Luthke Decl. P 4, Ex.
                                                                A., at D00148). The policy prohibits coupon fraud and
Opinion                                                         conspiring with any other employee to commit coupon


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fraud or otherwise violate company policy. Coupon fraud       doctored the date on promissory note. (Pl. Opp. Br. at
includes using the same coupon more than once.                12, 23-24). He does not convincingly explain how the
(Luthke Decl. P 4, Ex. A., at D00148). Plaintiff was          alleged altering of the date furthered the coupon fraud
aware of the policy and received training in which he         allegations against him. After the interview, Plaintiff was
learned that it was improper to use a coupon more than        suspended. (Delbridge Dep. Tr. 40:25-41:2).
once. (Delbridge Dep. Tr. 21:13-21, 23:2-24:5, 60:25-
61:3).                                                        The results of the investigation were reviewed by
                                                              Joseph Mastalski and Carl Luthke ("Luthke"),
In September 2006, Acme employees initiated an                 [*5] Acme's Associate Relations Manager. (Mastalski
investigation into coupon fraud at the Jersey City store.     Decl. P 12, Luthke Decl. P 6). Based upon the review,
(Mastalski Decl. PP 4-5). On September 26, 2006,              Luthke made the decision to terminate Plaintiff. (Luthke
Defendant George viewed surveillance tapes in                 Decl. PP 8-9). Additional employees who were also
connection with the investigation. [*3] A tape from           allegedly involved in the coupon fraud and policy
September 3, 2006 showed Plaintiff engaging in several        violation were terminated at the same time. (Delbridge
register transactions at a cash register assigned to          Decl. 48:19-49:2; Luthke Decl. P 12; Schwarz Decl. P
employee Ashley Thomas ("Thomas"). (Mastalski Decl.           10, Ex. E). These additional terminated employees had
P 5; Delbridge Dep. Tr. 38:9-14, 39:17-21). Recording         previously self-identified themselves in personnel
technology used by Acme and installed on all registers        documents as black, white, and Hispanic. (Schwarz
confirms that the employee card used for these                Decl. P 12, Ex. E; Luthke Decl. P 10).
transactions belonged to Plaintiff and that the same
coupon was used more than once for these                      After his involuntary termination, Plaintiff filed a
transactions, in violation of company policy. (Delbridge      grievance with the Union. (Delbridge Dep. Tr. 68:24-
Dep. Tr. 35:18-36:6; Mastalski Decl. P6, Exs. A-D).           69:1). On April 20, 2007, a grievance meeting was held
Plaintiff concedes that his employee card was used for        and attended by Plaintiff, Union officials, George, and
these transactions, and that it was used with his             other Acme employees. (Delbridge Dep. Tr. 70:14-
knowledge and consent. (Delbridge Dep. Tr. 38:3-8,            71:10; Luthke Decl. P 14, Ex. E). The grievance was
39:13-40:4, 44:19-45:4.) However, Plaintiff asserts that      denied. (Delbridge Dep. Tr. 70:14-71:10; Luthke Decl. P
it was Thomas who committed the coupon fraud, without         14, Ex. E). The Union then appealed the denial of the
his knowledge. (Pl. Opp. Br. at 21). Indeed, he argues        grievance to arbitration. The arbitration hearing took
that the surveillance tape shows that he was standing         place on April 22, 2008. (Delbridge Dep. Tr. 77:25-
next to Thomas and her register while she used his            78:22; Declaration of Kelly L. Bannister ("Bannister
card, but that he was staring out the window and not          Declaration") Ex. E). The arbitrator subsequently issued
paying attention to Thomas or what she was doing with          [*6] an opinion, finding that Plaintiff was not credible
his card at her register. (Id.). The tape was not provided    and that there existed just cause to terminate Plaintiff.
during discovery and is not available. Defendants assert      (Delbridge Dep. Tr. 104:25-105:16; Bannister Decl. Ex.
that it was not preserved [*4] due to a technological         E).
glitch; Plaintiff alleges that Defendants deliberately
                                                              On August 6, 2008, Plaintiff filed a Complaint against
destroyed it because it vindicated Plaintiff. (Pl. Opp. Br.
                                                              Acme and George in New Jersey Superior Court,
at 25).
                                                              Hudson County. (Docket Entry No. 1). Defendants
After viewing the tapes, George interviewed Plaintiff with    removed the case to federal court. (Docket Entry No. 1).
respect to the September 3 transactions. Although             Defendant George filed a motion to dismiss in October
Plaintiff alleges that he requested to have a union           2008, which was granted in part, but Plaintiff was given
representative attend his interview, no representative        the opportunity to file an amended complaint. (Docket
was made available or provided to him. (Delbridge Dep.        Entry No. 18). Plaintiff filed the Amended Complaint on
Tr. 41:13-42:3). During the interview, Plaintiff was          January 17, 2009. (Docket Entry No. 21). The Amended
shown the surveillance video. (Delbridge Dep. Tr. 36:11-      Complaint does not appear to contain some of the
17). Plaintiff also wrote out a statement acknowledging       allegations from the original complaint that were not
responsibility for the misuse of the coupons and signed       dismissed, so given Plaintiff's pro se status, the Court
a promissory note agreeing to repay $ 14.00 to the            will consider the Amended Complaint to incorporate the
store. (Delbridge Dep. Tr. 40:5-41:2, 64:4-17; Mastalski      portions of the first Complaint that were not dismissed.
Decl. P 11, Ex. G). Plaintiff now states that he was
coerced into writing the statement and that George            Plaintiff's Amended Complaint alleges that Acme


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terminated his employment, not because of the coupon          Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48,
fraud, but because Plaintiff is black and Acme wanted to      106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). The
terminate as many black employees as possible before          substantive law determines which facts are material. Id.
the statutory minimum wage increased in October 2006.         at 248. "Only disputes over facts that might affect the
(Amended Complaint [*7] PP 3-4). Plaintiff alleges that       outcome of the suit under the governing law will properly
Defendants violated his rights pursuant to NLRB v.            preclude the entry of summary judgment." Id.
Weingarten, 420 U.S. 251, 95 S. Ct. 959, 43 L. Ed. 2d
171 (1974) and the Fourth, Fifth, and Fourteenth              B. Plaintiff's Claim Pursuant to NLRB v. Weingarten
Amendments to the U.S. Constitution, that he was
wrongfully terminated, that he was discriminated against      Plaintiff alleges that Defendants violated his [*9] "civil
on the basis of his race in violation of the New Jersey       rights pursuant to the Weingarten rights." The Supreme
Law Against Discrimination, N.J.S.A. § 10:5-1 et seq.         Court's decision in NLRB v. Weingarten, 420 U.S. 251,
("NJLAD"), and Title VII of the Civil Rights Act of 1964,     95 S. Ct. 959, 43 L. Ed. 2d 171 (1974), entitles
42 U.S.C. § 2000e et seq. ("Title VII"), and that the         employees who are union members to union
arbitration decision upholding his termination should be      representation during investigatory interviews. NLRB v.
vacated. Presently before the Court is Defendants'            Weingarten, 420 U.S. 251, 95 S. Ct. 959, 43 L. Ed. 2d
Motion for Summary Judgment or, in the alternative, for       171. However, it is well settled that the National Labor
dismissal pursuant to Fed. R. Civ. P. 12(b)(6) for failure    Relations Board ("NLRB") has exclusive jurisdiction over
to state a claim for which relief can be granted.             all actions pertaining to alleged unfair labor practices.
                                                              See Voilas v. Gen Motors Corp., 170 F.3d 367, 378 (3d
                                                              Cir. 1999) (finding that causes of action related to
II. ANALYSIS                                                  prohibited and unfair labor practices are preempted by
                                                              the NLRB's exclusive jurisdiction). Therefore, this claim
                                                              is preempted and not properly before this Court. It must
                                                              be dismissed as a matter of law.
A. Standard of Review

Summary judgment eliminates unfounded claims                  C. Plaintiff's Constitutional Claims
without resorting to a costly and lengthy trial. See
Celotex Corp. v. Catrett, 477 U.S. 317, 327, 106 S. Ct.       Plaintiff next alleges that Defendants' conduct violated
2548, 91 L. Ed. 2d 265 (1986). However, a court should        his civil rights with respect to the Fourth, Fifth, and
grant summary judgment only "if the pleadings,                Fourteenth Amendments to the U.S. Constitution.
depositions, answers to interrogatories, and admissions       However, to state a valid claim for damages pursuant to
on file, together with the affidavits, if any, show that      the Fifth and Fourteenth Amendments, the alleged
there is no genuine issue as to any material fact and         misconduct must have been committed by a party acting
that the moving party is entitled [*8] to judgment as a       under color of state law. See Rendell-Baker v. Kohn,
matter of law." Fed. R. Civ. P. 56(c). The burden of          457 U.S. 830, 837, 102 S. Ct. 2764, 73 L. Ed. 2d 418
showing that no genuine issue of material fact exists         (stating that the "Fourteenth Amendment. . [*10] .
rests initially on the moving party. See Celotex Corp.,       applies to acts of the states, not to acts of private
477 U.S. at 323. A litigant may discharge this burden by      persons or entities"); see also Balazinski v. Webster
exposing "the absence of evidence to support the              Lines, 2009 U.S. Dist. LEXIS 23809, 2009 WL 799285,
nonmoving party's case." Id. at 325. In evaluating a          *3 (finding that there is no cause of action for alleged
summary judgment motion, a court must view all                violations of the Fifth or Fourteenth Amendments
evidence in the light most favorable to the nonmoving         committed by private actors, "no matter how
party. See Matsushita Elec. Indus. Co., Ltd. v. Zenith        discriminatory or wrongful" the conduct). Similarly,
Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 89 L.        claims brought under the Fourth Amendment are not
Ed. 2d 538 (1986); Goodman v. Mead Johnson & Co.,             sustainable where the alleged violator is not a state
534 F.2d 566, 573 (3d Cir. 1976).                             actor. See Jevic v. Coca Cola Bottling Co. of N.Y., Inc.
                                                              (finding that the Fourth Amendment only covers the
Once the moving party has made a properly supported           conduct of state actors). Simply stated, there is no
motion for summary judgment, the burden shifts to the         cause of action for alleged violations of these
nonmoving party to "set forth specific facts showing that     Amendments by private actors.
there is a genuine issue for trial." Fed. R. Civ. P. 56(e);

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Here, Defendant Acme is an operator of retail grocery         101, 105 (3d Cir. 2000). If the defendant employer
stores and Defendant George is Acme's employee.               meets this burden, the plaintiff must then demonstrate
Plaintiff has made no allegations that either Acme or         by a preponderance of the evidence that the legitimate
George are state actors or that they engaged in any of        reasons offered by the defendants are mere pretext for
the alleged misconduct while acting under color of state      discrimination. McDonnell Douglas, 411 U.S. at 804-
law. Nor is there any record evidence to this effect.         805; Buchanan v. Pennsylvania, 47 Fed. Appx. 117, 118
Therefore, these claims must be dismissed as a matter         (3d Cir. 2002).
of law.
                                                              Here, Plaintiff may well have established a prima facie
                                                              case of racial discrimination. However, establishing a
D. Plaintiff's Wrongful Termination Claim                     prima facie case is not difficult, and in this situation has
                                                              little bearing on the ultimate disposition of Plaintiff's
Plaintiff alleges that he was wrongfully terminated on the    claims. See Ezold v. Wolf, Block, Schorr & Solis-Cohen,
basis of his race and because Defendant [*11] Acme            983 F.2d 509, 523 (3d Cir. 1993) (finding that because
wanted to discharge black employees before the                 [*13] "the prima facie case is easily made out, it is
minimum wage increased in October 2006. This claim            rarely the focus of the ultimate disagreement").
therefore appears to allege wrongful discharge in             Defendants have articulated a legitimate and non-
violation of public policy. However, New Jersey courts        discriminatory reason for the termination, namely
have routinely held that common law claims for wrongful       Plaintiff's violation of Acme's honesty policy with respect
discharge in violation of public policy are preempted         to coupon fraud. Plaintiff has not provided any evidence
when a statutory remedy exists under the NJLAD.               showing that the coupon fraud accusations were a mere
Santiago v. City of Vineland, 107 F. Supp. 2d 512, 567        pretext for discharging him based upon racial animus.
(D.N.J. 2000). Therefore, Plaintiff's wrongful termination    Moreover, of the other employees fired for coupon
claims based on race must be asserted exclusively             fraud, at least one was Hispanic and at least one was
pursuant to the NJLAD. The duplicative common law             white. In addition, of the employees hired to replace
claim must be dismissed.                                      Plaintiff and the others fired for coupon fraud, at least
                                                              some were black. (Schwarz Decl. P 9, Ex. E.)

E. Plaintiff's Statutory Race Discrimination Claims           In his opposition brief, Plaintiff makes much of his
(NJLAD and Title VII)                                         allegations that the coupon fraud investigation and
                                                              subsequent investigatory interview process were not
Plaintiff alleges race discrimination under both Title VII    conducted in an entirely thorough or organized manner.
and the NJLAD. Both claims can be addressed together,         Specifically, in support of his claim of racial
as the standard framework for analyzing such claims is        discrimination, he alleges that Defendants destroyed the
the same under both the federal and the state statute.        videotape that would have vindicated him, improperly
Hood v. Pfizer, Inc., 2009 U.S. App. LEXIS 8062, 2009         denied his request to have union representation during
WL 1019993, *2 (3d Cir.); Zive v. Stanley Roberts, Inc.,      his interview, and forced him to write a statement with
182 N.J. 436, 447, 867 A.2d 1133 (2005).                      which he did not agree. While these allegations, [*14] if
                                                              substantiated, may be regrettable or indicative of poor
In order for Plaintiff to establish a prima facie claim of    management on Acme's part, Plaintiff provides no
racial discrimination, he must demonstrate that (1) he is     evidence to support them.
a member of a protected group, (2) he was reasonably
                                                              More importantly, even if these allegations were true,
performing his job, (3) [*12] he suffered an adverse
                                                              they are irrelevant. The Third Circuit has routinely held
employment action such as termination, and (4)
                                                              that "pretext is not shown by evidence that the
defendant employer sought someone else to perform
                                                              employer's decision was wrong or mistaken, since the
his job. See Jones v. School Dist. of Philadelphia, 198
                                                              factual dispute at issue is whether discriminatory animus
F.3d 403, 410-411(3d Cir. 1999); Zive, 182 N.J. at 450.
                                                              motivated the employer, not whether the employer is
After the plaintiff successfully demonstrates a prima
                                                              wise, shrewd, prudent, or competent." Kautz v. Met-Pro
facie case, the burden shifts to the defendant employer
                                                              Corp., 412 F.3d 463, 467 (3d Cir. 2005). To overcome
to articulate a "legitimate, non-discriminatory reason" for
                                                              Defendants' proffered legitimate and non-discriminatory
the adverse employment action. McDonnell Douglas
                                                              reason for the termination, Plaintiff would have to
Corp. v. Green, 411 U.S. 792, 802, 93 S. Ct. 1817, 36 L.
                                                              demonstrate not only that the reason was wrong but that
Ed. 2d 668 (1973); Stanziale v. Jargowsky, 200 F.3d

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it was so plainly wrong it could not have possibly been        decision, namely the documentary evidence of the
the employer's real reason. Keller v. Orix Credit              register transactions. The arbitrator also explored
Alliance, Inc., 130 F.3d 1101, 1109 (3d Cir. 1997). Here,      whether Plaintiff had actually requested a union
Defendants conducted a legitimate investigation into           representative at the interview and the circumstances
Plaintiff's participation in coupon fraud. The investigation   under which his statement came to be written. The
yielded uncontroverted evidence that Plaintiff's               arbitrator found that Plaintiff was not credible. Moreover,
employee card had been used in transactions during             Plaintiff has provided no evidence at all supporting
which coupons had been used more than once, among              vacatur of the arbitration decision. Therefore, Plaintiff
other findings. Defendants based their decision [*15] to       cannot meet his burden for vacatur and [*17] this claim
terminate Plaintiff on these findings. Even if their           fails as well.
decision was wrong, mistaken, or hastily made, they
had a good faith basis for making it.
                                                               III. CONCLUSION
In addition, whether or not Plaintiff was terminated for
just cause was the central question at issue during the        For the reasons stated above, the Court finds that there
arbitration. In that proceeding, the arbitrator concluded      are no genuinely disputed material facts that would
that Plaintiff's termination was for just cause.               preclude entry of summary judgment in favor of
Specifically, the arbitrator found that there was "nothing     Defendants. Therefore, Defendants' Motion for
in this record indicating that the Employer's investigation    Summary Judgment is GRANTED and Plaintiff's
was tainted or unfair in any material respect or that his      Amended Complaint is DISMISSED.
treatment of [Plaintiff] was discriminatory or selective."
                                                               /s/ William J. Martini
New Jersey courts have held that an arbitrator's
decision that a party was discharged for just cause            WILLIAM J. MARTINI, U.S.D.J.
weighs against finding that a proffered legitimate reason
was mere pretext. Mersmann v. Continental Airlines,
Inc., 2006 N.J. Super. Unpub. LEXIS 393, 2006 WL                 End of Document
507842, *4 (N.J. Super. App. Div.). With nothing in the
record to suggest that Defendants' proffered legitimate
reason for the employment decision was pretext, these
claims must be dismissed as well.


F. Plaintiff's Argument that the Arbitration Decision
Should be Vacated

District courts give tremendous discretion to an
arbitrator's decision in a labor dispute, in large part
 [*16] because the decision to use arbitration for dispute
resolution was made in advance by the parties when
they entered into heavily negotiated collective
bargaining agreements. Citgo Asphalt Refining Co. v.
Paper, Allied-Indus., Chem. and Energy Workers Int'l
Union Local No. 2-991, 385 F.3d 809, 815 (3d Cir.
2004). To give district courts full blown powers of judicial
review would thus be substituting the courts' views for
the bargained-upon views of the arbitrator. Id.
Therefore, for a court to deny enforcement of an award,
there must be absolutely no record support whatsoever.
United Food & Commercial Workers Union, Local 464A
v. Foodtown, Inc., 2006 U.S. Dist. LEXIS 21091, 2006
WL 932061, *2 (D.N.J.).

Here, the arbitrator had ample evidence to support its

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                                                    Solis v. Sher
                                      Superior Court of New Jersey, Appellate Division
                                  October 31, 2011, Submitted; December 5, 2011, Decided
                                                DOCKET NO. A-3251-10T3

Reporter
2011 N.J. Super. Unpub. LEXIS 2939 *; 114 Fair Empl. Prac. Cas. (BNA) 20

                                                               PER CURIAM
ROSE SOLIS, Plaintiff-Appellant, vs. JAY SHER, DDS,
Defendant-Respondent.                                          Plaintiff Rose Solis appeals the summary judgment
                                                               dismissal of her adverse employment action based on
                                                               pregnancy discrimination. We affirm.

Notice: NOT FOR PUBLICATION WITHOUT THE                        The facts viewed most favorably to plaintiff, Brill v.
APPROVAL OF THE APPELLATE DIVISION.                            Guardian Life Ins. Co. of Am., 142 N.J. 520, 540, 666
                                                               A.2d 146 (1995), are as follows. For a twenty-one month
PLEASE CONSULT NEW JERSEY RULE 1:36-3 FOR                      period beginning February 10, 2006 and ending
CITATION OF UNPUBLISHED OPINIONS.                              November 9, 2007, plaintiff was employed as a dental
                                                               hygienist by Jay Sher, DDS, LLC, a dental practice
Prior History: [*1] On appeal from Superior Court of           solely owned by defendant Jay Sher. Plaintiff married
New Jersey, Law Division, Essex County, Docket No. L-          shortly after commencement of her employment and
7032-09.                                                       around May 2007, learned she had become pregnant.
                                                               At the time of her discharge, she was in her eighth
                                                               month of pregnancy.

                                                               On the day she was terminated, two patients
Core Terms                                                     complained about plaintiff's work performance and,
                                                               according to defendant, these complaints were the "last
patient, termination, pregnancy, pregnant, maternity           straw" leading to his decision to fire her. Two days
leave, proffered, dental hygienist                             earlier, on November 5, 2007, [*2] defendant was
                                                               obliged to re-treat another patient at no charge "due to
                                                               plaintiff's inferior work[,]" as he had done only one
                                                               month before. These re-treatments followed a number
                                                               of other patient complaints expressing dissatisfaction
Counsel: Joseph H. Neiman, attorney for appellant.
                                                               with plaintiff's demeanor and her teeth cleaning
                                                               services. Among the deficiencies cited by defendant
Javerbaum, Wurgaft, Hicks, Kahn, Wikstrom and Sinins,          were plaintiff's "failing to give oral hygiene instruction to
attorneys for respondent (Gary E. Roth, of counsel and         patients, leaving teenagers and children alone in the
on the brief).                                                 chair, [and] failing to sharpen her instruments . . . ."

                                                               In addition to patient complaints, staff members
                                                               criticized plaintiff's general lack of professionalism.
Judges: Before Judges Parrillo and Skillman.                   According to defendant's financial coordinator:
                                                                     [Plaintiff] would bring patients to my desk after
                                                                     completing her treatment and 'slap' the patient's
                                                                     chart on my desk, turn to the patient and say 'see
                                                                     ya' in the most unprofessional way. . . .
Opinion                                                              [Plaintiff] was trained to pass the patient off to me
                                                                     and to explain the importance of the next visit, but

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    this was rarely if ever done.                            According to plaintiff, however, these experiences made
                                                             defendant less tolerant of pregnant employees. When
    One Saturday morning I had a mild altercation with       defendant first met her husband in May 2006, shortly
    [plaintiff]. While walking away from me and about to     after their marriage, defendant remarked, "remember no
    enter her operatory with a patient waiting in her        babies, children are overrated." Also, upon learning
    chair, [plaintiff] called me a 'bitch' loud enough so    plaintiff was pregnant sometime in May 2007,
    that I [*3] heard it while sitting at my desk            defendant's wife supposedly [*5] said "congratulations
    approximately 20 feet away.                              Mom, now I'm going to kill you." And when scheduling
    ....                                                     plaintiff's maternity leave, defendant and his wife
    I observed that our cancellation rate for hygiene        mentioned to plaintiff previous problems with hygienists
    appointments during [plaintiff's] employment tenure      on maternity leave who never returned to work despite
    was quite high.                                          assurances to the contrary.
    ....
    Several of our patients spoke to me directly and         A few months after plaintiff's termination, defendant
    threatened to leave the practice solely because          hired a new dental hygienist in February 2008. On
    they were unhappy with [plaintiff].                      August 25, 2009, plaintiff filed the instant complaint
                                                             against defendant alleging wrongful termination
Defendant discussed her job performance with plaintiff       because of pregnancy discrimination in violation of the
in a series of meetings and informal discussions             New Jersey Law against Discrimination, N.J.S.A. 10-5-1
wherein he attempted to explain what was expected of         to -42 (LAD). Following defendant's answer and
her. Although plaintiff characterizes these reviews as       discovery, defendant moved for summary judgment,
favorable, defendant's contemporaneous handwritten           which the trial judge granted, reasoning:
notes of these meetings documented some of the
problems he claims persisted throughout her                      Perhaps the most telling proofs that Solis'
employment. These problems became serious enough                 termination was the unfortunately timed culmination
that in January 2007, four months before he learned of           of what Sher perceived to be poor job performance
plaintiff's pregnancy, defendant ran an on-line                  were that (a) Sher ran an online advertisement on
advertisement with NJJobs.com for a dental hygienist to          NJJOBS.com for a dental hygienist to replace Solis
replace plaintiff, but no one responded.                         before she became pregnant and (b) the
                                                                 termination occurred one month after Sher had to
Despite concerns over plaintiff's attitude and work              re-treat a patient at no charge due to Solis' inferior
performance, defendant nevertheless hoped she would              work, two days after Sher had to re-treat a second
improve and actually expected her to return to work              patient at no charge due to Solis' work, [*6] and the
after her maternity leave of absence. In fact, when              same day as two patients complained of Solis'
plaintiff first advised defendant she was pregnant in May
                                                                 work. It is simply not possible for Solis to raise an
2007, defendant [*4] and his wife Geri, who was also             inference that Sher's legitimate and non-
his office manager, suggested that in scheduling                 discriminatory reasons were fabricated or that he
maternity leave, plaintiff accumulate her vacation time in       terminated her because of her pregnancy.
the event she needed to take days off should the baby            Summary judgment is mandated.
get sick. This expectation on the part of defendant
appeared consistent with his treatment of other staff        We agree and affirm substantially for the reasons stated
members who had become pregnant during their tenure          by the motion judge in his written decision of February
with his dental practice. One employee, Marcia Rigillo,      15, 2011. We add only the following comments.
had two pregnancy leaves while employed with
defendant, and her position was held for her each time.      Under the framework articulated in McDonnell Douglas
Rigillo ultimately resigned toward the end of her second     Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L. Ed.
maternity leave to accept a significantly higher paying      2d 668 (1973), which has been adopted in New Jersey
job after defendant declined to match her other offer.       to prove disparate treatment under the LAD, Viscik v.
Olga Stack decided not to return to work after giving        Fowler Equip. Co., 173 N.J. 1, 13-14, 800 A.2d 826
birth; however, defendant made it clear to her that she      (2002), plaintiff, by all accounts, established a prima
was welcomed back and that her job was available if          facie case of discrimination. Equally undisputed,
she wanted to return.                                        defendant proffered a legitimate non-discriminatory
                                                             reason for plaintiff's termination, namely poor job


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performance. See Clowes v. Terminix Int'l, Inc., 109 N.J.    Here, plaintiff has failed to meet that burden. Her proofs,
575, 600, 538 A.2d 794 (1988). The issue, therefore,         quite simply, amount to no more than [*9] her own self-
comes down to whether or not there is sufficient             serving perception that her performance was
evidence in the record from which a reasonable               satisfactory. Yet such assertions, without supporting
factfinder could conclude that the proffered reason for      evidence, are "clearly insufficient to create a question of
termination was a pretext for discrimination and not the     material fact for purposes of a summary judgment
true [*7] reason for the employment decision. See Zive       motion." Martin v. Rutgers Cas. Ins. Co., 346 N.J.
v. Stanley Roberts, Inc., 182 N.J. 436, 449, 867 A.2d        Super. 320, 323, 787 A.2d 948 (App. Div. 2002); see
1133 (2005); see also Nini v. Mercer County Community        also Brae Asset Fund, L.P. v. Newman, 327 N.J. Super.
College, 406 N.J. Super. 547, 555, 968 A.2d 739 (App.        129, 134, 742 A.2d 986 (App. Div. 1999). Nor can
Div. 2009), aff'd, 202 N.J. 98, 995 A.2d 1094 (2010). In     satisfactory performance be reasonably inferred from
other words, we must decide whether, viewing the             any delay in her termination, such as plaintiff suggests,
evidential materials most favorably to plaintiff, together   since defendant's forbearance in firing plaintiff has been
with all reasonable inferences favoring plaintiff, a         otherwise credibly explained and remains unchallenged.
rational factfinder could find that defendant's proffered
reason for terminating plaintiff (poor job performance)      It is by now well-settled that the LAD "does not prevent
was a pretext for the alleged true reason, intentional       the termination or change of employment of any person
discrimination because plaintiff was pregnant, Bergen        who 'is unable to perform adequately the duties of
Commercial Bank v. Sisler, 157 N.J. 188, 211, 723 A.2d       employment, nor [does it] preclude discrimination
944 (1999), and thus whether the wrongful motive "'was       among individuals on the basis of competence,
more likely than not a motivating or determinative cause     performance, conduct or any other reasonable
of the employer's action.'" Zive, supra, 182 N.J. at 455-    standards.'" Zive, supra, 182 N.J. at 446 (quoting
56 (quoting Fuentes v. Perskie, 32 F.3d 759, 764 (3d         N.J.S.A. 10:5-2.1); see also Viscik, supra, 173 N.J. at
Cir. 1994)). In short, is the employer's proffered non-      13. That is, the LAD "acknowledges the authority of
discriminatory reason unworthy of belief? Bergen             employers to manage their own businesses." Ibid. Here,
Commercial Bank, supra, 157 N.J. at 211.                     affording plaintiff all favorable inferences, there is simply
                                                              [*10] no evidence from which a reasonable jury could
Plaintiff has offered nothing to discredit defendant's       conclude that defendant's non-discriminatory reason for
proffered reason for her discharge by demonstrating          terminating plaintiff is unworthy of belief or that her
either "weakness, implausibilities, inconsistencies,         pregnancy was the motivating factor in defendant's
incoherences, or contradictions" in [*8] defendant's         employment decision.
proofs, including the many certifications of patients and
staff consistently attesting to plaintiff's poor work        Affirmed.
performance. DeWees v. RCN Corp., 380 N.J. Super.
511, 528, 883 A.2d 387 (App. Div. 2005). Nor is there
                                                               End of Document
any proof of disparate treatment or that prior dental
hygienists who became pregnant while in defendant's
employ were terminated, let alone because of their
pregnancy. Just the opposite, the only other hygienists
who became pregnant while so employed were asked to
return, one of whom actually took two maternity leaves
during the course of her employment. Moreover, the
comments ascribed to defendant and his wife about
plaintiff's pregnancy were, as properly found by the
motion judge, "jocular in nature" and, in any event,
insufficient to establish a genuinely disputed material
fact as to defendant's true motivation.

A plaintiff is required to do more than merely "challenge"
a defendant's articulated reason for the discharge; she
must satisfy her burden of presenting competent
evidence that would permit a rational fact-finder to
conclude the proffered reason for discharge was false.

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     Neutral
As of: April 29, 2021 6:31 PM Z


                                  Attanasio v. Plainfield Country Club
                                    Superior Court of New Jersey, Appellate Division
                                  November 17, 2008, Argued; June 18, 2009, Decided
                                              DOCKET NO. A-1629-07T3

Reporter
2009 N.J. Super. Unpub. LEXIS 1592 *; 2009 WL 1686527

                                                             William T. Connell argued the cause for respondent,
FRANCINE ATTANASIO and MARIE STONE, Plaintiffs-              Plainfield Country Club (Dwyer Connell & Lisbona,
Appellants, v. PLAINFIELD COUNTRY CLUB and                   attorneys; Mr. Connell, on the brief).
MANNY F. GUGLIUZZA, Manager and Individually,
Defendants-Respondents.
                                                             Marion B. Johnson argued the cause for respondent,
                                                             Manny F. Gugliuzza (Drinker Biddle & Reath, L.L.P.,
                                                             attorneys; Ms. Johnson, on the brief).

Notice: NOT FOR PUBLICATION WITHOUT THE
APPROVAL OF THE APPELLATE DIVISION.

PLEASE CONSULT NEW JERSEY RULE 1:36-3 FOR                    Judges: Before Judges Carchman, R. B. Coleman and
CITATION OF UNPUBLISHED OPINIONS.                            Simonelli.

Prior History: [*1] On appeal from Superior Court of
New Jersey, Law Division, Civil Part, Middlesex County,
L-5815-05.                                                   Opinion


                                                             PER CURIAM

Core Terms                                                   Plaintiffs Francine Attanasio (Attanasio) and Marie
                                                             Stone (Stone) appeal from the summary judgment
Banquet, elimination, employees, termination, positions,     dismissal of their age discrimination complaint against
pretext, reasons, infer, discriminatory intent, non-         defendants Plainfield Country Club (PCC) and Manny F.
discriminatory, recommended, food and beverage,              Gugliuzza (Gugliuzza). We affirm.
severance package, insubordination, circumstantial,
plaintiffs', age discrimination, summary judgment,           The facts are derived from evidence submitted by the
motivating, proffered, typing, staff, summary judgment       parties in support of, and in opposition to, the summary
motion, proffered reason, rational jury, defendants',        judgment motion, viewed in a light most favorable to
factfinder, retire, salary, hire                             plaintiffs. Brill v. Guardian Life Ins. Co. of Am., 142 N.J.
                                                             520, 540, 666 A.2d 146 (1995). PCC is a private golf
                                                             and country club located in Edison. Attanasio, [*2] born
                                                             December 22, 1946, and Stone, born November 17,
                                                             1928, were at-will employees for many years.
Counsel: Patricia Breuninger argued the cause for
appellant (Breuninger & Fellman and Bramnick,                Attanasio, was the Assistant Manager from 2002 until
Rodriguez, Mitterhoff, Grabas & Woodruff, attorneys;         June 20, 2005. 1 Her duties included booking and
Ms. Breuninger, and Stephanie A. Mitterhoff, of counsel
and on the briefs).
                                                             1 Attanasio began her employment with PCC in 1988 as a
                                                             waitress. She received promotions and eventually became the

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running banquets, parties and events, hiring and training    banquet functions, which the Food and Beverage
staff, supervising food and beverage operations, and         Manager would assume. Gugliuzza would also assume
acting as a liaison with the kitchen staff. Attanasio        some of the former Assistant Manager duties.
earned approximately $ 82,000 per year at the time her
employment terminated.                                       After a lengthy review spanning several months, which
                                                             included numerous meetings with the Board's Executive
Stone was PCC's Executive Secretary from 1976 until          Committee, Gugliuzza recommended the following:
April 13, 2005. Her duties included the General                   1. eliminate the Assistant Manager and Executive
Manager's correspondence and typing, typing for the               Secretary positions;
Board of Directors (Board) and committee members,                 2. eliminate other positions and offer employees
and typing of banquet documents and contracts. She                alternative, lower-paying positions.
was also responsible for general office duties and filing.        3. reduce the overall head count in the kitchen;
She earned approximately $ 47,000 at the time her                 4. eliminate kitchen positions by attrition;
employment terminated.                                            5. reduce the hours assigned to the wait staff;
                                                                  6. close the club for longer periods of time;
At all times relevant to this matter, Gugliuzza was PCC's         7. examine the overall full-time equivalents
General Manager and plaintiffs' direct supervisor. He             employed as wait staff;
was responsible for PCC's overall management and                  8. carefully monitor the costs of greens and greens
day-to-day operations. All department heads reported to           staff;
him.                                                              9. lease certain pieces of equipment rather than
                                                                  purchasing them; and
There is no dispute [*3] that throughout the 2003 golf
season, PCC experienced a substantial loss of                Gugliuzza recommended eliminating Stone's position
operating income due to inclement weather and a              because PCC could function without an Executive
general economic downturn in the golf club industry.         Secretary. [*5] Evidence indicated that over the course
Also, from December 2003 to December 2004, PCC               of her employment, Stone's ability to perform her job
experienced a substantial loss in banquet revenues, for      duties became limited. Although PCC provided her
which Attanasio was responsible. Facing an economic          specific training to become adept at computer and e-
crisis in 2004, the Board directed Gugliuzza to develop      mail use, she allegedly was unable to acquire the
a proposal to restructure the club's organization and to     requisite skills. As a result, in 2001, PCC hired an
reduce operating expenses. In connection with that           Administrative Assistant, Dina Werb-Picchione (Werb-
undertaking, the Board ordered Gugliuzza to review           Picchione), to assume some of Stone's typing duties
personnel, salaries, expenses and general costs in all       and other functions. After initially assuming Stone's
departments       and     to     submit      cost-cutting    typing duties, Werb-Picchione eventually assumed work
recommendations. Also, the Board decided to                  from every department. By 2005, many employees gave
substantially increase dues and annual membership            all their typing work to Werb-Picchione, who was then
fees, locker room and locker fees, and driving and           forty years old.
practice range fees.
                                                             The Board approved Gugliuzza's recommendations,
Gugliuzza examined PCC's organizational structure and        recognizing that they were the "result of an
determined, among other things, that banquet revenues        accumulation of study and investigation and the input of
had to be increased. Thus, he determined that the            various members and committees throughout [PCC.]"
Assistant Manager position would be eliminated and the       As for Stone, because PCC did not need two
duties of that position would be divided among two           secretaries, the Board decided to retain Werb-Picchione
employees: a Banquet Manager and a Food and                  as Administrative Assistant because she was qualified
Beverage Manager. This division of duties would enable       to do the job, and gave her a hourly salary increase to $
the Banquet Manager to focus solely [*4] on increasing       21.75. The Board eliminated Stone's position "for cost
banquet revenues. The Banquet Manager's duties               reduction purposes and not for performance reasons[,]"
would include some of the former Assistant Manager's         and "because [her position] was no longer economically
banquet duties, except a la carte functions (meaning          [*6] feasible." It offered Stone a severance package or
general member dining), supervising the ordering of          a demotion to part-time phone receptionist, a position
food and beverages, and assigning personnel to               PCC would create for her at a salary of $ 10 per hour.

Assistant Manager in 2002.

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Gugliuzza     recommended      eliminating    Attanasio's        follows, in relevant part:
position because other employees could assume that                    You have made it clear that you are upset
position's duties and responsibilities. He also                       regarding management's decision to eliminate your
recommended Attanasio's termination because he                        job. I informed you that this was not a personal
believed that she would become insubordinate if offered               issue; it was a part of a business decision we had
a lower-paying position. However, instead of terminating              to make. The Board of Trustees made cost
Attanasio, in recognition of her years of service, the                discipline one of our primary objectives for 2005,
Board offered her a severance package or the Banquet                  and we could not continue to experience the
Manager position, with a $ 56,000 yearly salary. PCC                  shortfall of previous years. We set the expectation
would promote Matt Tolomeo, then age twenty-six, from                 for management to reduce our overall G & A costs
Snack Bar Manager to Food and Beverage Manager,                       to the benchmark levels of other country clubs,
with a yearly salary increase to $ 54,000. 2 The Board                while maintaining a high level of membership
concluded that the combination of Tolomeo's degree in                 services.
restaurant and hotel management from Johnson and                      [Gugliuzza] is responsible for managing the costs
Wales University, his country club management skills,                 and making decisions how best to achieve our
and his stellar performance at PCC, along with                        budget objectives. As a result, your job as Assistant
Attanasio's practical knowledge and experience, would                 Manager was eliminated. Even so, given your long
serve as a good concentration of efforts. Tolomeo would               service to the club, we wanted to provide you with
concentrate on food and beverages, and Attanasio                      an employment option, and accordingly we offered
would concentrate on banquets.                                        you the position of Banquet Manager.

In her new position, Attanasio would now have to punch               You had a choice, to take the position we had made
a time clock and report to Tolomeo about staffing needs              available to you, or leave, at which time you
for banquets. She also was no longer permitted to go                  [*9] would receive a severance package that was
home during working hours to feed her dog, which she                 additional to our established benefit program,
had done for many years.                                             again, in consideration of your service to the club.
                                                                     You chose to take the position of Banquet
On or about April 12 and 13, 2005, Gugliuzza met                     Manager, and we were happy you chose to stay at
separately with Attanasio and Stone and advised them                 [PCC].
that PCC was eliminating their respective positions for              Since you have returned there have been several
financial reasons. Attanasio was offered the Banquet                 instances in which you have demonstrated behavior
Manager position; Stone was offered the phone                        that we cannot tolerate. These include not working
receptionist position; both were offered the alternative             together with other members of the staff, and
severance package. In response, Attanasio said, "This                making       inappropriate      comments         about
is not business. This is personal." She then expressed               management. This is unacceptable behavior. At our
her disapproval to the Board's Vice President. After                 meeting I told you I was not going to go back and
deliberating extensively, the Board concluded that the               investigate the incidents, rather I wanted to make
offers to Attanasio and Stone were fair.                             clear our expectations moving forward, so you
                                                                     understood what was expected of you.
Attanasio accepted the Banquet Manager position. The
                                                                     We expect you to work together with other
Board understood that she did so voluntarily and would
                                                                     employees, and not make inappropriate comments
properly and professionally perform her job. However,
                                                                     about employees, management, members, or
problems with Attanasio's job performance and
                                                                     board members. Any future incidents will result in
treatment of other employees, including Gugliuzza and
                                                                     your termination.
Tolomeo, began almost immediately thereafter. A co-
                                                                     ....
worker described her conduct as "venomous." As [*8] a
                                                                     [PCC] has always maintained a positive work
result, on April 28, 2005, PCC's President, Stan
                                                                     environment for our employees, and we hold to our
Kosierowski, met with Attanasio and warned her that her
                                                                     culture of being fair to everyone. Eliminating your
conduct would not be tolerated. Kosierowski confirmed
                                                                     former position was a difficult business decision,
this warning in a May 6, 2005 letter to Attanasio as
                                                                     but it was one that had to be made.

                                                                 Also, in a May 18, 2005 e-mail, Gugliuzza advised
2 Tolomeo
                                                                 Attanasio that [*10] he needed to see immediate and
            earned an hourly [*7] wage prior to his promotion.

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major improvement in her job performance.                         Stone's resignation, PCC continued operating without
                                                                  an Executive Secretary. Stone filed a complaint alleging
PCC held its Annual Member-Guest tournament in June               age discrimination based, in part, on Gugliuzza asking
2005. By tradition, PCC provided a buffet upon                    her several times when she was going to retire.
completion of the Thursday practice round. Attanasio
knew that PCC's policy permitted members to eat                   Plaintiffs alleged in their complaint that they were
wherever they preferred. However, when a member                   among the three oldest employees whose positions
asked her if he could eat in the men's grill room, she            were eliminated 5 and that after plaintiffs' terminations
responded, "I'm really sorry. If it was up to me, I would         much younger employees assumed their job duties.
let you but [Gugliuzza] is a fucking asshole and he said          Stone also claimed that Gugliuzza asked her several
nobody can eat back here[.]" The member became irate              times when she was going to retire. Plaintiffs also
and began screaming, cursing and yelling. Kathy Eskin,            alleged that Gugliuzza was an aider and abettor
a floor supervisor, overheard Attanasio's comment and             because he recommended eliminating their positions,
told the member, "that's not true. You absolutely can eat         which the Board accepted, and because he knew that
back here. That's always been policy here[.]" Attanasio           plaintiffs were PCC's oldest employees when he made
said to Eskin, "Please don't say anything to [Gugliuzza].         the recommendations.
Don't tell anybody what I said[.]" Eskin warned Attanasio
that she would lose her job if she continued this                 Defendants filed summary judgment motions. The
behavior. Eskin reported the incident to Gugliuzza and            motion judge granted Gugliuzza's motion, finding that he
told him to "[g]o back there and calm them down."                 did not violate the LAD. The judge also granted
Gugliuzza did so and informed the member that he                  summary judgment to defendants as to Stone, finding
could eat in the men's grill.                                     that she failed to show that PCC's reasons for
                                                                  eliminating her position were pretext and that age was
During this same event, Attanasio allegedly told two              more     [*13] likely than not the motivation or
newly hired waitresses that if they [*11] wanted to               determinative cause.
make large tips in a particular room of the club, they
needed to "[j]ust prance . . . around like a piece of             The judge also granted summary judgment as to
meat[.]" The two waitresses complained to Tolomeo and             Attanasio's gender discrimination claim but denied it as
told him what Attanasio had said. Tolomeo then                    to her age discrimination claim, finding sufficient indirect
informed Gugliuzza, who determined that Attanasio was             evidence indicating age discrimination. However, after
insubordinate and had used unacceptable language. 3               reconsideration, the judge granted summary judgment
                                                                  as to Attanasio's age discrimination claim. In a written
On June 10, 2005, Attanasio was suspended indefinitely            opinion, the judge concluded that:
without pay. She was terminated for insubordination on                 There is no [direct or indirect] evidence here that
or about June 20, 2005. Nevertheless, PCC offered her                  Ms. Attanasio's age played any role in elimination of
another severance package, which she declined.                         the Assistant Manager position, her hire as Banquet
Instead, she filed a complaint, alleging age and gender                Manager, or her termination of employment. That
discrimination. 4 After Attanasio's termination, PCC                   ultimate termination is justified by defendant's
continued to operate without an Assistant Manager.                     reasonably held belief that Ms. Attanasio was
Tolomeo continued as Food and Beverage Manager.                        being, at best, inefficient and, at worst
                                                                       insubordinate.
As for Stone, she declined the phone receptionist
position and the severance package and resigned. After                The question is not whether the reasonably held
she left PCC, other employees assumed some of her                     belief was right or wrong, but whether any
duties, and PCC implemented [*12] an automated                        evidence, direct or circumstantial, shows that the
telephone system to cover her phone duties. After                     reason offered was a pretext for Ms. Attanasio's
                                                                      termination based on age. See Ezold v. Wolf,
                                                                      Block, Shorr and Solis-Cohen, 983 F.2d 509 (3d
                                                                      Cir. 1992). Nothing presented to the court shows
3 Attanasio claims that one of the waitresses denied making
                                                                      either that the economic reasons articulated by the
the statement and would testify at trial. However, Rule 1:6-6
and Rule 4:46-5(a) required Attanasio to submit a certification
from this witness, which she did not do.                          5 PCC  also terminated Duke DeCarlo, an eighty-year-old, long-
4 Attanasio   has abandoned her gender discrimination claim.      time greens worker.

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    defendant were untrue or exaggerated, on the                     [N.J.S.A. 10:5-12a.]
     [*14] one hand, or that Ms. Attanasio's age was
    more likely than not a motivating or determinative           Generally, "an employer can legally discharge an
    factor in defendant's decision. Cf. El-Sioufi [v. St.        employee         without      violating      employment
    Peter's University Hospital, 382 N.J. Super. 145,             [*16] discrimination statutes 'for good reason, bad
    173, 887 A.2d 1170 (App. Div. 1995)]; Josey v.               reason, or no reason at all,' as long as there is no
    John R. Hollingsworth Co., 996 F.2d 632, 638 (3d             intentional discrimination." Maiorino v. Schering-Plough
    Cir. 1993).                                                  Corp., 302 N.J. Super. 323, 345, 695 A.2d 353 (App.
    ...                                                          Div.) (quoting Walker v. A T & T Techs., 995 F.2d 846,
                                                                 850 (8th Cir. 1993)), certif. denied, 152 N.J. 189, 704
    This court is not satisfied that Ms. Attanasio has           A.2d 19 (1997). Employers thus may generally manage
    shown that the reasons offered by defendant . . .            their business as they see fit, and "are entitled to
    are merely a pretext for discrimination. El-Sioufi,          consider the long-term potential of employees when
    supra, [382 N.J. Super.] at 171.                             making business decisions." Young v. Hobart W. Group,
                                                                 385 N.J. Super. 448, 463, 897 A.2d 1063 (2005); see
We use the same standard as the trial court when                 also Viscik v. Fowler Equip. Co., 173 N.J. 1, 13, 800
reviewing a summary judgment motion. Jolley v.                   A.2d 826 (2002). "Hence, '[t]here is no princip[le] of law
Marquess, 393 N.J. Super. 255, 267, 923 A.2d 264                 that requires that a business' decision be popular with
(App. Div. 2007); Prudential Prop. & Cas. Ins. Co. v.            employees. As long as the decision is not based on
Boylan, 307 N.J. Super. 162, 167, 704 A.2d 597 (App.             unlawful age discrimination, 'the courts have no
Div.), certif. denied, 154 N.J. 608, 713 A.2d 499 (1998).        business telling [companies] . . . how to make personnel
The motion judge must determine whether the evidence,            decisions, which may be objectively or subjectively
"when viewed in the light most favorable to the non-             based.'" Maiorino, supra, 302 N.J. Super. at 345-46
moving party," is "sufficient to permit a rational factfinder    (quoting Walker v. AT&T Technologies, 995 F.2d 846,
to resolve the alleged disputed issue in favor of the non-       850 (8th Cir. 1993)).
moving party." Brill v. Guardian Life Ins. Co. of Am., 142
N.J. 520, 540, 666 A.2d 146 (1995). Rule 4:46-2(c)               An employee alleging discrimination must first establish
requires a court to grant summary judgment "if the               a prima facie case. Zive v. Stanley Roberts, Inc., 182
pleadings, depositions, answers to interrogatories and           N.J. 436, 447-50, 867 A.2d 1133 (2005). In the absence
admissions on file, together [*15] with affidavits, if any,      of direct evidence of [*17] discrimination, the plaintiff's
show that there is no genuine issue as to any material           claims must be analyzed under the burden shifting
fact challenged and that the moving party is entitled to a       paradigm established in McDonnell Douglas Corp. v.
judgment as a matter of law." R. 4:46-2(c); Brill, supra,        Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L. Ed. 2d 668
142 N.J. at 528-29. If there is no genuine issue of fact,        (1973). See also Zive, supra, 182 N.J. at 447; Bergen
we must then decide whether the lower court's ruling on          Commercial Bank v. Sisler, 157 N.J. 188, 209-10, 723
the law was correct. See Prudential, supra, 307 N.J.             A.2d 944 (1999).
Super. at 167. Applying these standards, we continue
our analysis.                                                        Where there is no direct evidence of discrimination,
                                                                     the plaintiff-employee must first establish a prima
In New Jersey, "[a]ll persons shall have the opportunity             facie case by showing that: (1) she was in a
to obtain employment . . . without discrimination                    protected class; (2) she was performing her job at a
because of . . . age . . . subject only to conditions and            level that met the employer's legitimate
limitations applicable alike to all persons. This                    expectations; (3) she was nevertheless discharged;
opportunity is recognized as and declared to be a civil              and (4) the employer sought someone else to
right." N.J.S.A. 10:5-4. Furthermore:                                perform the same work after she left.
     It shall be an unlawful employment practice, or . . .
     an unlawful discrimination: a. For an employer,                 [DeWees v. RCN Corp., 380 N.J. Super. 511, 523,
     because of . . . age . . . to refuse to hire or employ          883 A.2d 387 (App. Div. 2005) (citing Mogull v. CB
     or to bar or to discharge or require to retire . . . from       Commercial Real Estate Group, Inc., 162 N.J. 449,
     employment such individual or to discriminate                   462, 744 A.2d 1186 (2000)).]
     against such individual in compensation or in terms,
     conditions or privileges of employment[.]                   See also Zive, supra, 182 N.J. at 450; Young, supra,
                                                                 385 N.J. Super. at 458.


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In an age discrimination case, "[t]he focal question is not   Pepe v. Rival Co., 85 F. Supp. 2d 349, 379 (D.N.J.
necessarily how old or young the claimant or [her]            1999), aff'd, 254 F.3d 1078 (3d. Cir. 2001); Retter v.
replacement was, but rather whether the claimant's age,       Georgia Gulf Corp., 755 F. Supp. 637 (D.N.J. 1991),
in any significant way, 'made a difference' in the             [*20] aff'd, 975 F.2d 1551 (3d Cir. 1992); Swider v. HA-
treatment [s]he was accorded by his employer."                LO Indus., 134 F. Supp. 2d 607 (D.N.J. 2001). "The
Petrusky v. Maxfli Dunlop Sports Corp., 342 N.J. Super.       ultimate burden of proof always remains with the
77, 82, 775 A.2d 723 (App. Div. 2001). [*18] Under the        plaintiff." DeWees, supra, 380 N.J. Super. at 524 (citing
LAD, the plaintiff must "'show that the prohibited            St. Mary's, supra, 509 U.S. at 518, 113 S. Ct. at 2753,
consideration[, age,] played a role in the decision           125 L. Ed. 2d at 423).
making process and that it had a determinative
influence on the outcome of that process.'" Bergen            "'[T]o prove pretext . . . a plaintiff must do more than
Commercial, supra, 157 N.J. at 207 (quoting Maiorino,         simply show that the employer's [proffered legitimate,
302 N.J. Super. at 344).                                      non-discriminatory] reason was false; he or she must
                                                              also demonstrate that the employer was motivated by
If the plaintiff can establish a prima facie case, that       discriminatory intent.'" El-Sioufi, supra, 382 N.J. Super.
"creates a presumption of discrimination. The burden          at 173 (quoting Viscik, supra, 173 N.J. at 14 (2002)).
then shifts to the employer to produce evidence of a          The plaintiff
legitimate, nondiscriminatory reason for plaintiff's                must submit evidence that either casts sufficient
discharge." DeWees, supra, 380 N.J. Super. at 523                   doubt upon the employer's proffered legitimate
(citing Mogull, supra, 162 N.J. at 462; Bergen                      reason so that a factfinder could reasonably
Commercial Bank, supra, 157 N.J. at 210); see also                  conclude it was fabricated, or that allows the
Zive, supra, 182 N.J. at 449. "[T]he defendant's burden             factfinder to infer that discrimination was more likely
is only to introduce sufficient evidence to create a                than not the motivating or determinative cause of
genuine factual issue concerning the existence of a                 the termination decision.
legitimate justification for the action." Massarsky v. Gen.
Motors Corp., 706 F.2d 111, 118 (3d Cir.) (citing Croker          [Ibid. (quoting Svarnas v. AT&T Commc'ns, 326
v. Boeing Co., 662 F.2d 975, 991 (3d Cir. 1981)), cert.           N.J. Super. 59, 82, 740 A.2d 662 (App. Div. 1999)).]
denied, 464 U.S. 937, 104 S. Ct. 348, 78 L. Ed. 2d 314
(1983). The defendant-employer is not required to prove       "To discredit the employer's proffered reason . . . the
that the non-discriminatory reason it produces actually       plaintiff cannot simply show that the employer's decision
motivated its behavior because throughout the burden-         was wrong or mistaken, since the factual dispute at
shifting    [*19] analysis, the ultimate burden of             [*21] issue is whether discriminatory animus motivated
persuasion to prove intentional disparate treatment lies      the employer, not whether the employer is wise, shrewd,
with the plaintiff-employee. Maiorino, supra, 302 N.J.        prudent, or competent." Fuentes v. Perskie, 32 F.3d
Super. at 347. The employer's burden is one of                759, 765 (3d Cir. 1994). Rather, the plaintiff must submit
production, not of persuasion. Greenberg v. Camden            evidence to "allow a factfinder to reasonably infer" that
County Vocational & Tech. Schools, 310 N.J. Super.            the employer's articulated, nondiscriminatory reason
189, 199, 708 A.2d 460 (App. Div. 1998).                      "was either a post hoc fabrication or otherwise did not
                                                              actually motivate the employment action (that is, the
"Once the employer produces evidence of a legitimate          proffered reason is a pretext)." Id. at 764.
reason for the discharge, the presumption of
discrimination disappears, and the burden shifts back to      Here, plaintiffs contend that age was the reason PCC
plaintiff to prove that the employer's reasons were a         eliminated their positions. Defendants counter that
pretext for discrimination." DeWees, supra, 380 N.J.          economic necessity was the reason, and that PCC
Super. at 523-24 (citing St. Mary's Honor Ctr. v. Hicks,      terminated Attanasio for insubordination. Citing Murray
509 U.S. 502, 515, 113 S. Ct. 2742, 2751-52, 125 L. Ed.       v. Newark Housing Authority, 311 N.J. Super. 163, 709
2d 407, 422 (1993)); see also Zive, supra, 182 N.J. at        A.2d 340 (Law Div. 1998), plaintiffs respond that even if
449. It is important to note that the employee's personal     economic necessity was the reason, defendants failed
disagreement with the employer's determination of its         to meet the additional requirement that they proffer a
needs or assessment of the employee's performance is          legitimate, nondiscriminatory reasons for selecting them
insufficient to prove pretext, as is the employee's           instead of Tolomeo and Werb-Picchione, who assumed
subjective disagreement (or conclusory statement) in          their duties.
raising an issue regarding the employer's credibility.

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Plaintiffs   misapply      Murray.    There,     budgetary    Even affording plaintiffs all favorable inferences, and
considerations required the lay-off of provisional            considering their circumstantial evidence, based upon
employees. Id. at 176. The employer randomly selected         our careful review of the record we are satisfied that no
plaintiffs, who were three out of [*22] six provisional       rational juror could possibly infer discriminatory intent in
employees, without explaining the means by which it           the elimination [*24] of their positions. For instance,
made the selection. Ibid. Here, PCC did not randomly          plaintiffs rely heavily on the fact that they were two of
select plaintiffs' positions for elimination. It made the     PCC's oldest employees when PCC eliminated their
selection only after reviewing and accepting Gugliuzza's      positions and were each replaced by persons
long-term reorganization and cost-cutting study. Also,        significantly younger. Furthermore, Stone contends that
PCC fully explained the means by which it made its            questions about when she planned to retire
decision to eliminate plaintiffs' positions and to retain     circumstantially permit one to infer discriminatory intent
Tolomeo and Werb-Picchione. Accordingly, we are               and that management was looking to eventually
satisfied that defendants have met the additional             terminate her for a younger employee. Also, plaintiffs
requirement Murray imposed.                                   believe that defendants' denial that the elimination of
                                                              their positions was in any way related to job
The question then is whether plaintiffs have created a        performance, and failure to undertake any comparison
genuine issue of material facts that defendants'              of job skills between Attanasio and Tolomeo, permit a
proffered reason for eliminating their positions was          jury to infer discriminatory intent.
pretext, and that age discrimination was more likely than
not a motivating or determinative cause. Plaintiffs           These facts and plaintiffs' arguments would be
contend that their circumstantial evidence permits an         persuasive had there been any indication of
inference that age motivated the decision to eliminate        discriminatory intent prior to the elimination of their
their positions. We disagree.                                 positions. However, in the absence of such facts, and in
                                                              light of the overwhelming evidence of PCC's struggling
"The Third Circuit . . . established the standard, on a       business, conceded even by plaintiffs, combined with
motion for summary judgment, for determining whether          evidence of Attanasio's insubordination and Stone's
a plaintiff alleging discrimination has produced sufficient   inability to adequately perform her job duties, no rational
evidence to rebut the employer's alleged legitimate           juror could infer that plaintiffs were unfairly targeted
reason for its adverse action[,]" which New Jersey            simply because of their age. The [*25] inquiry "must
 [*23] has "adopted and consistently applied[.]"              concern pretext, and is not an independent assessment
DeWees, supra, 380 N.J. Super. at 527-28 (citing              of how we might evaluate and treat a loyal employee."
Fuentes, 32 F.3d 761-62). The Fuentes court held that a       Healy v. N.Y. Life Ins. Co., 860 F.2d 1209, 1216 (3d Cir.
plaintiff may defeat a summary judgment motion "by            1988) (citing Thornbrough v. Columbus and Greenville
either (1) discrediting the proffered reasons, either         R.R. Co., 760 F.2d 633, 647 (5th Cir. 1985)), cert.
circumstantially or directly, or (2) adducing evidence,       denied, 490 U.S. 1098, 109 S. Ct. 2449, 104 L. Ed. 2d
whether circumstantial or direct, that discrimination was     1004 (1989).
more likely than not a motivating or determinative cause
of the adverse employment action." Fuentes, 32 F.3d at        Further, even if it could be inferred that Gugliuzza was
764.                                                          "grooming" Tolomeo to advance in the organization and
                                                              to eventually take Attanasio's job, there is no evidence
As to the first means of proof, the Fuentes court             that he did so because of Attanasio's age. Rather,
explained that:                                               Gugliuzza was focusing on the position, not the person,
                                                              in his decision to eliminate Attanasio's position, and on
    the non-moving plaintiff must demonstrate such            PCC's organizational and cost-cutting needs. If PCC
    weaknesses,      implausibilities,   inconsistencies,     truly sought to terminate Attanasio because of her age,
    incoherences, or contradictions in the employer's         it would have simply done so initially rather than offer
    proffered legitimate reasons for its action that a        her a new position.
    reasonable factfinder could rationally find them
    'unworthy of credence,' . . . and hence infer 'that the   Contrary to plaintiffs' belief, the trial judge did not
    employer did not act for [the asserted] non-              "weigh" any evidence presented on the motion. Rather,
    discriminatory reasons.'                                  he correctly determined that viewing the evidence in a
                                                              light most favorable to them, no rational jury could infer
    [Id. at 765 (internal citations omitted).]                discriminatory intent in light of the evidence presented.


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Other than Gugliuzza's comments made to Stone about
 [*26] when she planned to retire, she has proffered no
evidence from which a rational juror could reasonably
infer that defendants' proffered reason was pretext and
that more likely than not age was a motivating factor
behind the elimination of her position. Conversely, it is
undisputed that PCC's serious financial crisis forced
cost reductions.

Likewise, Attanasio has proffered no evidence of
discriminatory intent prior to being offered the Banquet
Manager position or the severance package. There is
no evidence demonstrating discriminatory intent or
animus relating to age on PCC's or Gugliuzza's part. At
most, Attanasio has alleged circumstantial evidence of
age discrimination because a significantly younger
employee, Tolomeo, assumed some of her Assistant
Manager duties. However, this is a weak inference in
light of Tolomeo's background and experience in food
and restaurant management and in light of defendants'
initial decision to split Attanasio's duties between her
and Tolomeo rather than terminate her. Evidence shows
that prior to her the elimination of her Assistant manager
position, Attanasio could not increase banquet
revenues, for which she was responsible'.

Finally, evidence of [*27] Attanasio's conduct following
her acceptance of the Banquet Manager position could
reasonably be viewed by a rational jury as
insubordination, and thus, nondiscriminatory grounds
upon which PCC terminated her. Plaintiffs have the
burden to cast doubt on defendants' legitimate non-
discriminatory reasons, and without having put forth
some evidence to do so, we will not disturb an otherwise
valid business decision. Ezold, supra, 983 F.2d at 527.

Having concluded that summary judgment was properly
granted, we need not address plaintiffs' remaining
contention that the judge erroneously dismissed
Gugliuzza as an aider and abettor under N.J.S.A. 10:5-
12(e). R. 2:11-3(e)(1)(E).

Affirmed.


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                                     Ali v. Woodbridge Twp. Sch. Dist.
                                  United States District Court for the District of New Jersey
                                        April 30, 2019, Decided; April 30, 2019, Filed
                                                  Civil Action No. 17-2210

Reporter
2019 U.S. Dist. LEXIS 72877 *; 2019 WL 1930754
                                                                capacity as Superintendent of Schools, Defendants: ARI
                                                                D. SCHNEIDER, LEAD ATTORNEY, The Busch Law
JASON MOSTAFA ALI, Plaintiff, v. WOODBRIDGE
                                                                Group LLC, Metuchen, NJ; ERIC L. HARRISON, LEAD
TOWNSHIP SCHOOL DISTRICT, et al., Defendants.
                                                                ATTORNEY, METHFESSEL & WERBEL, ESQS.,
                                                                EDISON, NJ; LESLIE ANNE KOCH, LEAD ATTORNEY,
                                                                METHFESSEL & WERBEL, EDISON, NJ.

Notice: NOT FOR PUBLICATION


                                                                Judges: Hon. Madeline Cox Arleo, UNITED STATES
                                                                DISTRICT JUDGE.

Subsequent History: Affirmed by Ali v. Woodbridge
Twp. Sch. Dist., 2020 U.S. App. LEXIS 12906 (3d Cir.,
Apr. 22, 2020)
                                                                Opinion by: Madeline Cox Arleo




Core Terms                                                      Opinion
termination, alleges, teacher, comments, links,
classroom, reasons, hostile work environment,
defamation, Holocaust, articles, entitled to summary            ARLEO, UNITED STATES DISTRICT JUDGE
judgment, summary judgment motion, posting, Counts,
                                                                THIS MATTER comes before the Court by way of a
notice, rights, false light, remarks, agrees, work
                                                                Motion for Summary Judgment filed by Defendants
environment, anti-Semitic, meetings, religion,
                                                                Woodbridge Township Board of Education, Woodbridge
defamatory statement, non-discriminatory, articulated,
                                                                Township School District (collectively, "Woodbridge" or
Deposition, defamatory, hostile
                                                                the "District"), Superintendent Robert Zega ("Zega"),
                                                                and Principal Glenn Lottman ("Lottman" or when
                                                                referenced collectively with Woodbridge and Zega,
                                                                "Defendants"), against Plaintiff Jason Mostafa Ali ("Ali"
Counsel: [*1] For JASON MOSTAFA ALI, Plaintiff:
                                                                or "Plaintiff"). ECF No. 25. Plaintiff opposes [*2] the
DAYNA R. KATZ, LEAD ATTORNEY, DiFrancesco,
                                                                Motion. ECF No. 28. For the reasons set forth below,
Bateman, Coley, Yospin, Kunzman, Davis, Lehrer,
                                                                the Motion is GRANTED IN PART and DENIED IN
Warren, NJ; NICHOLAS F. POMPELIO,
                                                                PART. The sole surviving claim is remanded to the New
DIFRANCESCO BATEMAN, WARREN, NJ.
                                                                Jersey Superior Court for lack of subject-matter
                                                                jurisdiction.
For WOODBRIDGE TOWNSHIP SCHOOL DISTRICT,
WOODBRIDGE BOARD OF EDUCATION, GLENN
LOTTMAN, individually and in his official capacity as           I. BACKGROUND
Principal, ROBERT ZEGA, individually and in his official

                                                        Pooja Bhutani
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This employment dispute raises the question of whether          56-57).2 Zega provided a letter of recommendation in
a teacher can be terminated for allowing access to              support of Plaintiff's application for employment with the
repugnant, anti-Semitic, and inflammatory media as part         Keansburg School District, where Plaintiff ultimately
of a high school history lesson on the terrorist attacks        worked as a tenured high school teacher. Id. at 21:12-
that occurred on September 11, 2001. Plaintiff alleges          22:1 (ECF No. 25.6 at 56-57); SOMF ¶ 18. He was
that Defendants unlawfully terminated his employment            employed by Keansburg from 2011 to 2015. Ali Dep.,
because of his race and religion. Plaintiff further alleges     Day 1 at 23:10-18 (ECF No. 25.6 at 58).
that Defendants failed to provide him with sufficient
notice of his rights in connection with his termination         After Plaintiff applied for a full-time teaching position at
under the Open Public Meetings Act and the                      Woodbridge High School, he interviewed with Principal
Consolidated Omnibus Budget Reconciliation Act.                 Lottman [*4] and History Department Supervisor
                                                                Matthew Connelly ("Connelly"). SOMF ¶ 15.
Plaintiff also alleges that Defendants made defamatory          Superintendent Zega subsequently recommended
statements in violation of the common law and Plaintiff's       Plaintiff for hire to the Board of Education. Id. ¶ 17.
due process rights, and asserts claims for violation of         Plaintiff believes—and Woodbridge acknowledges—that
his First Amendment rights to Freedom of Speech and             both Lottman and Zega knew Plaintiff was Egyptian
Academic Freedom.                                               before he was hired by the District. Id. ¶ 13; Defs.' Br. at
                                                                5 (ECF No. 25.3 at 12).

A. Facts
                                                                2. Plaintiff's Holocaust Instruction

                                                                During Plaintiff's first year of employment at
1. Plaintiff's Employment at Woodbridge                         Woodbridge, Connelly received internal complaints
                                                                about Plaintiff's instruction on the Holocaust. SOMF ¶¶
Plaintiff was employed as a non-tenured history teacher         21, 24. One English teacher advised Connelly that "her
at Woodbridge High School from September 2015 to                students were questioning historical accounts of the
September [*3] 2016. Defendants' Local Rule 56.1                Holocaust, opining that 'Hitler didn't hate the Jews,'
Statement of Material Facts ("SOMF")1 at ¶¶ 2, 6, 58,           [and] that statistics on the death counts were
69. Plaintiff is of Egyptian descent. Id. ¶ 7. He identifies    'exaggerated.'" Id. ¶ 24. The English teacher advised
as a nonpracticing Muslim. Id.                                  Connelly that the students received this information from
                                                                Plaintiff. Id.
Defendant Glenn Lottman is the principal of Woodbridge
High School. Id. ¶ 4. Defendant Robert Zega is the              Discovery revealed that many of Plaintiff's students
Superintendent of Schools for the Woodbridge                    submitted written assignments embracing theories of
Township School District. Id. ¶ 5. Plaintiff knew both          Holocaust denial. In a vocabulary assignment, one
Lottman and Zega prior to his employment with the               student wrote: "Adolf Hitler was the leader of Germany.
Woodbridge Township School District. See id. ¶¶ 9-12,           He is looked at as a bad guy but in reality brought
14. Plaintiff had previously worked as a substitute             Germany out of its great depression." Id. ¶ 29. In [*5]
teacher at a Woodbridge elementary school where Zega            an essay, another student expressed the following
worked as the principal. Deposition of Jason Ali, Jan. 9,       beliefs:
2018 ("Ali Dep., Day 1") at 21:12-22:7 (ECF No. 25.6 at              I think that what they claim happened in the
                                                                     concentration camps did not really happen. I highly
                                                                     doubt that everyday [sic] Jews were burned. I doubt
                                                                     that they were whipped and beat for nothing at all.
                                                                     What I do believe however is that they had a much
1 Facts  derived from the SOMF are undisputed unless                 easier and more enjoyable life in the camps. Even
otherwise noted. Moreover, where facts in a party's statement        though they were not at home, they felt like they
are supported by evidence in the record and denied by the            were.
opposing party without citation to conflicting evidence, the
Court deems such facts undisputed. See Fed. R. Civ. P.
56(e)(2)-(3); Carita v. Mon Cheri Bridals, LLC, 10-2517, 2012   2 The   Court notes that the exhibits contained in Defendants'
U.S. Dist. LEXIS 87472, 2012 WL 2401985, at *3 (D.N.J. June     submission are nearly illegible and directs counsel to screen
25, 2012).                                                      all future submissions for clarity and legibility.

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Id. ¶ 33. When asked whether this was an "appropriate        Id. at ¶ 30; id. at Exhibit Q, WBOE 633 (ECF No. 25.6 at
conclusion" for a student to reach, Plaintiff answered,      537). Plaintiff permitted the student author to read that
"Yes." Deposition of Jason Ali, Feb. 2, 2018 ("Ali Dep.,     paper aloud in class. Id. ¶ 31. When asked whether he
Day 2") 117:2-13 (ECF No. 25.6 at 308). Counsel then         "t[aught] [his students] to question the facts as to
asked whether it was "okay for 14-year-old girls to think    whether Hitler chose to brutally abuse, take advantage,
that the camps were a jolly place and they were better       starve and murder Jews for absolutely no reason at all,"
off there than being at home." Id. at 119:23-25 (ECF No.     Plaintiff responded that he "t[aught] [his] students to
25.6 at 308). Plaintiff responded, "It's appropriate for a   question everything." Ali Dep., Day 2 98:3-8 (ECF No.
14-year-old girl to do her research on her own and form      25.6 at 303). When asked whether he "encouraged" his
opinions." Id. at 120:6-8 (ECF No. 25.6 at 308). An          students to "come to different views than the traditional
excerpt from a class assignment that a student had           understanding of what World War II and the Holocaust
submitted to Plaintiff provided:                             and Hitler were about," Plaintiff responded "Yeah, it's
                                                             called debate." Id. at 102:17-103:1 (ECF No. 25.6 at
    Hitler had the plan that saved Germany, which does       304).
    not make any sense as to why everyone still labels
    him as this monster. They tell you that Hitler [*6]
    invaded countries for no reason. They will never tell    3. 9/11 Lesson Plan
    you, however, that those countries like Poland that
    he invaded for no reason had been controlling            In accordance with instructions from [*8] the High
    Germany and slaughtering innocent Germans.               School's History Department, Plaintiff prepared and
                                                             presented a lesson on the terrorist attacks that occurred
Id. at 114:9-21 (ECF No. 25.6 at 307). When asked            on September 11, 2001 ("9/11"). SOMF ¶¶ 36-37.
whether he was "proud that [the student] came to these       Plaintiff's September 2016 lesson plan directed the
conclusions," Plaintiff testified, "Yes, absolutely,         students to: "Analyze the abstract of official 9/11
because that means she would have spent a lot of time        commission. Analyze the recently released 28 pages of
doing research to come up with these inferences based        the 9/11 commission report as well as the Saudi
on the information she was given." Id. at 115:9-14 (ECF      Intelligence Report translated by MEMRI. [Middle
No. 25.6 at 307).                                            Eastern Media Research Institute]." Id. ¶ 39.3 History
                                                             Department Supervisor Connelly approved the lesson
Another student wrote an essay entitled, "A Gas
                                                             plan and attached a note that read: "As previously
Chamber Full of Lies" about the film "Adolf Hitler: The
                                                             discussed, please be certain to provide nonpartisan
Greatest Story Never Told." SOMF ¶ 30. The student
                                                             view of 9/11 with equal weight given to conventional
wrote:
                                                             accounts." Id. ¶ 40. In connection with the lesson,
    I have been taught that the Holocaust was a time         Plaintiff also posted links to outside articles from the
    were [sic] Hitler chose to brutally abuse, take          MEMRI website on a school-sponsored website. Id. ¶
    advantage of, and murder Jews, for absolutely no         41. The articles were entitled, "Article in Saudi Daily:
    reason at all. We have all been taught that the
    Holocaust was a time of hate, and that Hitler used
    the gifts he possessed for absolute evil, but is that    3 In connection with an earlier assignment involving the 9/11
    really the case? Did the Jews not crash Germany's        terrorist attacks, one of Plaintiff's students sent Plaintiff an e-
    economy on more than one occasion? Did they not          mail articulating the following "personal conclusion[s]:" "that jet
    criticize Christianity because it was not what they      fuel does not burn at a high enough temperature to melt steel,"
    believed? Did the Jewish Zionists themselves not         Ali Dep., Day 2 at 51:10-15 (ECF No. 25.6 at 291), and that
    introduce [*7] a whole world of people to                the planning of 9/11 "[h]ad to do with the gathering of
    pornography? Did they not allow even the people of       government officials and terrorists," id. at 51:18-52:3 (ECF No.
                                                             25.6 at 291). The student's e-mail to Plaintiff expressed her
    youngest ages to take up drugs and alcohol
                                                             belief that "the story of 9/11 is completely different than the
    causing addictions that led to nothing but they did
                                                             one we've been told." Id. at 54:12-14. When asked whether
    as they ripped away what they were providing the
                                                             Plaintiff took steps to correct or to clarify the student's
    people with in the first place? Is the death of the      understanding of the events that occurred on September 11,
    Jews completely justified? No, because nobody            2001, he testified that he did not recall discussing what her
    deserves to die, regardless what they've done. But       feelings were, but, "if [he] would say anything, [he] would say
    are their deaths really completely unjustified either?   to continue doing research." Id. at 55:10-56:3 (ECF No. 25.6 at
                                                             292).

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U.S. Planned, Carried Out 9/11 Attacks—But Blames                Plaintiff's responses during the meeting gave him "no
Others for Them" and "Egyptian Daily: U.S. Planning              reason . . . to believe that if [Plaintiff] went back to the
9/11 Style Attack Using ISIS in Early 2015—Like it Did           classroom he wouldn't continue to do it." Id. at 65:1-3
Using Al-Qaeda in 2001." Id. ¶¶ 42-43. The MEMRI                 (ECF No. 25.6 at 351). Plaintiff concedes that he did not
articles that were linked to Plaintiff's school webpage          apologize for posting the links at issue, Ali Dep., Day 1
contained links to other articles and video [*9] clips,          at 195:8-196:15 [*11] (ECF No. 25.6 at 230-31), and
including one link that read: "Saudi Scholar Abdailah Al-        has expressed that he had "no reason to apologize" for
Yahya: The Jews are Like a Cancer, Woe to the World if           posting materials that linked to the article entitled "Jews
they Become Strong." Id. ¶ 45.                                   are Like a Cancer," id. at 196:9-15 (ECF No. 256 at
                                                                 231).5 To a lesser extent, Zega also considered the
On September 28, 2016, a television reporter                     complaints made by other teachers about his students
questioned Plaintiff Lottman about the MEMRI links               embrace of Holocaust denial, which the students
Plaintiff posted in connection with his September 2016           attributed to his classroom instruction. See Zega Dep. at
lesson plan on 9/11. Id. ¶ 46. When the same news                79:4-83:15 (ECF No. 25.6 at 355-56).
station questioned Superintendent Zega about the
articles, he advised that "swift action" had been taken to       Plaintiff was given a letter at the end of the meeting,
remove the links. Id. ¶ 61. He further indicated that the        which advised that his employment was terminated
District would undertake an investigation and that, if           effective that day—September 29, 2016.6 Id. ¶¶ 51, 58.
warranted based on the outcome of the investigation,             The Board of Education approved Plaintiff's termination
"the teacher [would] be disciplined severely." Id. With          at its next meeting. Id. ¶ 69. On October 28, 2016, the
respect to the links, Zega also opined: "It's upsetting . . .    District's Employee Benefits Insurance Specialist mailed
that somebody would do this. It's upsetting that                 a letter to Plaintiff's home address, which indicated that
somebody would, especially a teacher, would distribute           Plaintiff's health benefits had been extended through
this message. It is . . . absolutely not something that the      November 30, 2016 and provided information relating to
District agrees with in any way." Id. ¶ 62.                      Plaintiff's right to COBRA continuation coverage. Id. ¶
                                                                 70. Plaintiff claims that he never received the letter.
                                                                 Plaintiff's Response to Defendants' Statement of
4. Termination of Plaintiff's Employment                         Undisputed Material Facts ("RSOMF") ¶ 70.

On September 28, 2016, Lottman called Plaintiff to his
office. Id. ¶ 47. He directed Plaintiff to remove the            5. Alleged Discriminatory Remarks
MEMRI links from the school website. Id. Lottman
further instructed Plaintiff to go home for [*10] the day        Plaintiff alleges that Defendant Lottman made
and to report to Superintendent Zega's office the                disparaging comments about Plaintiff's ethnicity
following morning. Id. ¶ 48.                                     throughout the duration of his employment with

The next morning, Defendant Zega questioned Plaintiff
                                                                 92.
about the articles in the presence of Defendant Lottman
and History Department Supervisor Connelly. Id. ¶ 49.            5 Plaintiff's
                                                                             account of the meeting was also consistent with
Based on the information obtained at that meeting, Zega          Zega's insofar as he testified that he attempted to explain the
made the decision to terminate plaintiff's employment.           legitimacy of the articles he posted on the school's website. Id.
Zega's decision rested primarily on the MEMRI link that          at 198:20-199:13 (ECF No. 25.6 at 234).
appeared in Plaintiff's lesson plan materials entitled:          6 Plaintiff's   termination letter states:
"Jews are Like a Cancer, Woe to the World if they
Become Strong." See Deposition of Robert Zega, April                   As a summary of this morning's meeting between you,
18, 2018 ("Zega Dep.") at 63:16-65:3 (ECF No. 25.6 at                  the [*12] Principal of Woodbridge High School, Glenn
351); 66:25-70:3 (ECF No. 25.6 at 352-53); 88:24-90:25                 Lottman, and the Vice Principal of Woodbridge High
(ECF No. 25.6 at 357-58). Zega also considered the fact                School, Matthew Connelly, and myself, certain
that Plaintiff "never apologized," "never said it was a                allegations of a serious nature have been made against
                                                                       you and ultimately corroborated. Therefore, you are
mistake," and "never said he wouldn't do it again." Id. at
                                                                       hereby terminated from your position as a teacher for the
914:19-23 (ECF No. 25.6 at 358). Zega testified that
                                                                       Woodbridge Township School District, effective today,
                                                                       Thursday, September 29, 2016.
4 Page   91 is mislabeled in the deposition transcript as page   Termination letter (ECF No. 25.6 at 366).

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Woodbridge. Plaintiff alleges that Lottman referred to       Public Meetings Act, N.J.S.A. § 10:4-6, et seq.
Plaintiff as "Mufasa" or "Mufasa Ali" on multiple            ("OPMA"), id. ¶¶ 95-99; (8) common law defamation, id.
occasions, which Plaintiff believes to be a satirical        ¶¶ 100-107; (9) common law libel, id. ¶¶ 108-113; (10)
reference to his middle name, Mostafa, and to a              common law false light and invasion of privacy, id. ¶¶
character from the Lion King. SOMF ¶ 63. Plaintiff also      114-121; (11) 42 U.S.C. § 1983 for defamatory
alleges that Lottman once asked "whether they had            statements made in violation of the Fourteenth
computers in Egypt" when Plaintiff was having a              Amendment of the U.S. Constitution, id. ¶¶ 122-131;
problem with the technology in his classroom, id. ¶ 64,      (12) 42 U.S.C. § 1983 for retaliation in violation of
and that he greeted Plaintiff on two occasions by saying,    Plaintiff's Right to Freedom of Speech pursuant to the
"Hey Arabia Nights," Ali Dep., Day 1 at 88:5-8 (ECF No.      First Amendment of the U.S. Constitution, id. ¶¶ 132-
25.6 at 123), and "Hey, Big Egypt," id. at 94:7-14 (ECF      140; (13) 42 U.S.C. § 1983 for retaliation in violation of
No. 25.6 at 129). Plaintiff further alleges that he [*13]    Plaintiff's Right to Academic Freedom pursuant to the
heard rumors about other teachers characterizing him         First Amendment of the U.S. Constitution, id. ¶¶141-
as "anti-Semitic," "unpatriotic," and a "conspiracy          149; (14) 42 U.S.C. § 1981 for discrimination on the
theorist." Id. at 124:11-16 (ECF No. 25.6 at 159);           basis of Plaintiff's race, id. ¶¶ 150-157; (15) the
133:15-134:4 (ECF No. 25.6 at 168-69)                        Consolidated Omnibus Budget Reconciliation Act, 19
                                                             U.S.C. § 1161, et seq. ("COBRA"), [*15] id. ¶¶ 158-162.
Plaintiff also claims that school officials made
disparaging comments about his ethnicity during the          On April 3, 2017, Defendants removed the action to
meetings that occurred on September 28 and 29 of             federal court. ECF No. 1. Defendants subsequently
2016, the date of Plaintiff's termination and the day        moved to dismiss Counts Six and Fifteen of Plaintiff's
before. He alleges that, when addressing the MEMRI           Complaint. ECF No. 3. This Court granted Defendants'
articles, Defendant Lottman said, "Figures, the Arab." Id.   Motion as to Count Six, and denied the Motion as to
at 175:21-24 (ECF No. 25.6 at 210). Plaintiff further        Count Fifteen. ECF No. 11. Currently pending before
claims that Defendant Zega asked Plaintiff if he could       the Court is Defendants' Motion for Summary Judgment
"see how someone with [his] Arab . . . and . . . Muslim      as to all remaining claims. ECF No. 25.
[background] who puts up [these] links on a [school-
sponsored website] can be considered offensive." Id. at
197:2-6 (ECF No. 25.6 at 232). Plaintiff alleges that        II. LEGAL STANDARD
Zega also asked Plaintiff if he was "harboring terrorism"
in his classroom, id. at 197:14-17 (ECF No. 25.6 at          Pursuant to Fed. R. Civ. P. 56(c), a motion for summary
232), and told Plaintiff that the District does not need a   judgment will be granted if the pleadings, depositions,
"Middle Eastern perspective," id. at 204:4-8 (ECF No.        answers to interrogatories, and admissions on file,
25.6 at 239). Defendants deny that they made these           together with available affidavits, show that there is no
statements.                                                  genuine dispute as to any material fact and that the
                                                             moving party is entitled to judgment as a matter of law.
                                                             See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247,
B. Procedural History                                        106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986); Celotex Corp.
                                                             v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed.
On March 13, 2017, Plaintiff filed a fifteen-count           2d 265 (1986). "[S]ummary judgment may be granted
Complaint [*14] against Defendants in New Jersey             only if there exists no genuine issue of material fact that
Superior Court. Complaint (ECF No. 1.1). Plaintiff's         would permit a reasonable jury to find for the nonmoving
Complaint alleged violations of: (1) the New Jersey Law      party." Miller v. Ind. Hosp., 843 F.2d 139, 143 (3d Cir.
Against Discrimination, N.J.S.A. § 10:5-1, et seq.,          1988). All facts and inferences must be construed in the
("NJLAD") on the basis of race, id. ¶¶ 64-69; (2) NJLAD      light most favorable to the non-moving party. Peters v.
on the basis of religion and creed, id. ¶¶ 70-75; (3)        Del. River Port Auth., 16 F.3d 1346, 1349 (3d Cir.
NJLAD on the basis of perceived religion, id. ¶¶ 76-81;      1994).
(4) NJLAD on the basis of aiding and abetting other
violations of NJLAD, id. ¶¶ 82-86; (5) NJLAD on the
basis of creating a hostile work environment, id. ¶¶ 87-     III. ANALYSIS
90; (6) Plaintiff's Weingarten rights, NLRB v.
Weingarten, 420 U.S. 251, 95 S. Ct. 959, 43 L. Ed. 2d
171 (1975), id. ¶¶ 91-94; (7) the New Jersey Open

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A. Discrimination Claims                                        discriminatory reasons for its employment decision. St.
                                                                Mary's Honor Ctr. v. Hicks, 509 U.S. 502, 526, 113 S.
                                                                Ct. 2742, 125 L. Ed. 2d 407 (1993); Makky v. Chertoff,
                                                                541 F.3d 205, 214 (3d Cir. 2008). Once the employer
1. NJLAD (Counts One, Two, and Three) and 42                    meets its burden of articulating a legitimate, non-
U.S.C. § 1981 (Count Fourteen)                                  discriminatory reason, the burden again shifts to the
                                                                employee to present evidence from which a factfinder
Plaintiff argues that Defendants violated the NJLAD             could infer that the proffered reasons were pretextual.
and/or 42 U.S.C. § 1981 by terminating his                      Jones v. Sch. Dist. of Phila., 198 F.3d 403, 410 (3d Cir.
employment [*16] on the basis of his race, religion, or         1999).
perceived religion. Defendants submit that they are
entitled to summary judgment on these claims because            Assuming Plaintiff can establish a prima facie case,7 the
Plaintiff fails to establish that Defendants' legitimate,       Court turns to the second inquiry of the McDonnell
non-discriminatory reasons for the District's employment        Douglas        burden-shifting    framework:     whether
decision were pretextual. The Court agrees.                     Defendants have articulated a legitimate, non-
                                                                discriminatory reason for the termination of Plaintiff's
The NJLAD prohibits employers from discriminating               employment. The Court finds that they have. Plaintiff
against their employees on the basis of race, creed,            was terminated on the immediate heels of his posting
color, and national origin, among other things. N.J.S.A.        links on a school-sponsored webpage which contained
§ 10:5-12(a). 42 U.S.C. § 1981 likewise prohibits               content that was disparaging and hateful toward
employment discrimination on the basis of "race,                members [*18] of the Jewish faith. One article Plaintiff
ancestry, and ethnic characteristics." Wesley v. Palace         posted contained a link entitled, "The Jews are Like a
Rehab. & Care Ctr., L.L.C., 3 F. Supp. 3d 221, 228              Cancer, Woe to the World if they Become Strong."
(D.N.J. 2014) (internal quotation marks omitted). Claims        Although the anti-Semitic article was not directly linked
asserted under both the NJLAD and 42 U.S.C. § 1981              to Plaintiff's school-sponsored webpage, it was visible
are subject to the McDonnell Douglas burden-shifting            and accessible through the materials Plaintiff provided
framework. See Battaglia v. United Parcel Serv., Inc.,          to his students. To make matters worse, when
214 N.J. 518, 546, 70 A.3d 602 (2013) ("All [NJLAD]             confronted at the September 29, 2016 meeting, Plaintiff
claims are evaluated in accordance with the United              did not apologize, but instead attempted to defend the
State Supreme Court's burden-shifting mechanism.")              legitimacy of the source. Zega concluded that he could
(citing McDonnell Douglas Corp. v. Green, 411 U.S.              not return Plaintiff to a classroom with confidence that
792, 93 S. Ct. 1817, 36 L. Ed. 2d 668 (1973)); accord           the conduct would not be repeated. These were serious,
Wesley, 3. F. Supp. 3d at 230-31 ("Claims brought               corroborated allegations which required termination.
under § 1981 and the NJLAD are analyzed using the               The Court is satisfied that Defendants have presented a
same evidentiary schemes."). Under this framework, a            legitimate, non-discriminatory reason for Plaintiff's
plaintiff must first establish a prima facie case of            termination.
unlawful action by the employer, McDonnell Douglas,
411 U.S. at 802, by establishing: (1) that he is a              To withstand summary judgment, Plaintiff must
member of a protected class; (2) that he was qualified          demonstrate pretext by "point[ing] to some evidence,
for the position in question; (3) that he suffered [*17] an     direct or circumstantial, from which a factfinder could
adverse employment action; and (4) that adverse                 reasonably either (1) disbelieve [Defendants'] . . .
employment action gives rise to an inference of unlawful        articulated legitimate reasons; or (2) believe that an
discrimination. Houston v. Dialysis Clinic, Inc., 13-4461,      invidious discriminatory reason was more likely than not
2015 U.S. Dist. LEXIS 83151, 2015 WL 3935104                    a motivating or determinative cause of the . . . action."
(D.N.J. June 26, 2015) (addressing prima facie                  Fuentes v. Perskie, 32 F.3d 759, 764 (3d Cir. 1994); see
elements of race discrimination claims under NJLAD              also [*19] St. Mary's Honor Ctr., 509 U.S. at 519 ("It is
and § 1981); see Tisby v. Camden Cty. Corr. Facility,           not enough . . . to dis believe the employer; the
448 N.J. Super. 241, 248, 152 A.3d 975 (App. Div.               factfinder must believe the plaintiff's explanation of
2017) (addressing prima facie elements of religious             intentional discrimination."). A plaintiff bears the burden
discrimination claim under the NJLAD).
                                                                7 Although    Defendants dispute whether Plaintiff has
If the plaintiff meets this initial burden, the burden shifts
                                                                established a prima facie case, the Court will assume
to the defendant, who must articulate legitimate, non-
                                                                satisfaction of all four elements for the purpose of this Motion.

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of proving pretext by a preponderance of the evidence.           denial theories to permeate his classroom—are
Wesley, 3 F. Sup. 3d at 231. Here, Plaintiff submits that        legitimate, non-discriminatory reasons supporting the
"Defendants['] . . . various and contradictory reasons" for      District's adverse employment decision. Plaintiff fails to
Plaintiff's termination support the conclusion that their        cast doubt on those reasons. Thus, Plaintiff has not
proffered reasons were pretext for discrimination. Pl.'s         presented any evidence [*21] that could persuade a
Br. at 14 (ECF No. 28 at 21). Plaintiff argues that              reasonable jury that Defendants' rationale was merely
Defendants' refusal to consider his explanation, or to           pretext and that racial or religious discrimination more
conduct their own research, about the qualifications and         likely than not played a role in the District's employment
legitimacy of the MEMRI organization further supports            decision. Accordingly, Defendants are entitled to
that the reasons proffered for Plaintiff's termination were      summary judgment as to Counts One, Two, Three, and
pretextual. Id. at 15 (ECF No. 28 at 22). The Court              Fourteen.
disagrees.

Plaintiff has failed to point to any evidence upon which         2. NJLAD—Hostile Work Environment (Count Five)
to disbelieve Defendants' articulated reason. The reason
is consistent and clear. Plaintiff provided students             Plaintiff contends that Defendants also violated the
access to a repugnant, hateful, and inflammatory                 NJLAD by subjecting him to a hostile work environment.
resource, without any sense of regret or apology. This is        Defendants maintain that they are entitled to summary
a legitimate ground for termination. The law does not            judgment on this claim because Plaintiff has failed to
require the school board to "conduct their own research"         establish that he was subjected to pervasive
about such an offensively-titled link before doing [*20]         harassment due to his race, religion, or perceived
so. And Zega's decision to terminate based on his                religion. The Court agrees.
concern that Plaintiff might repeat his error was
reasonable and legitimate, especially given previous             To establish a hostile work environment claim, the
complaints by other teachers. These were serious                 plaintiff must show that: (1) he suffered intentional
concerns about students advancing theories of                    discrimination because of his membership in a protected
Holocaust denial based on what they learned in                   class; (2) the discrimination was severe or pervasive; (3)
Plaintiff's classroom—a point plaintiff did not deny later       the discrimination detrimentally affected the plaintiff; (4)
in discovery. And although Plaintiff points to disparaging       the discrimination would detrimentally affect a
comments made by Lottman and Zega, these                         reasonable person in like circumstances; and (5) the
comments are insufficient to demonstrate that                    existence of respondeat superior liability. Mandel v. M &
discrimination was a motivating cause for his                    Q Packaging Corp., 706 F.3d 157, 167 (3d Cir. 2013);
termination when viewed against the fact that both               see also Sgro v. Bloomberg L.P., 331 F. App'x 932, 941
Lottman and Zega were aware of his national origin and           (3d Cir. 2009) ("New Jersey courts treat hostile work
religious affiliation before hiring him just one year            environment claims under the NJLAD [*22] the same
earlier.                                                         as the Supreme Court treats hostile work environment
                                                                 claims under Title VII."). In determining whether a work
In sum, the Court finds that Defendants' proffered               environment is hostile, courts must "consider the totality
reasons—dissemination,     through     official  school          of the circumstances, including 'the frequency of the
channels, of materials containing links to anti-Semitic          discriminatory conduct; its severity; whether it is
media, coupled with an undisputed lack of remorse for            physically threatening or humiliating, or a mere offensive
same conduct8, and a history of allowing holocaust               utterance; and whether it unreasonably interferes with
                                                                 an employee's work performance." Mandel, 706 F.3d at
                                                                 168 (quoting Harris v. Forklift Sys., Inc., 510 U.S. 17,
8 Plaintiff argues, in part, that summary judgment is            23, 114 S. Ct. 367, 126 L. Ed. 2d 295 (1993)).
inappropriate because he disputes certain facts underlying the   Significantly, "offhanded comments, and isolated
District's termination decision, i.e., whether Connelly had      incidents (unless extremely serious) are not sufficient to
previously warned Plaintiff about "teaching an unconventional    sustain a hostile work environment claim." Caver v. City
view of 'sensitive content.'" See SOMF ¶ 25; RSOMF ¶ 25;         of Trenton, 420 F.3d 243, 262 (3d Cir. 2005) (internal
Pl.'s Br. at 17 (ECF No. 28 at 24). However, the District's
primary reasons for terminating Plaintiff's employment—the
action of posting links that contained anti-Semitic references   reasons sufficient to defeat Plaintiff's discrimination claim, and
and Plaintiff's response when confronted with that allegation—   accordingly deems any factual disputes concerning ancillary
are undisputed, as noted above. The Court finds these            reasons for the District's termination decision to be immaterial.

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quotation marks omitted).                                         terrorism" in his classroom. Id. at 197:14-17 (ECF No.
                                                                  25.6 at 232). He told Plaintiff, "we don't want your kind
Here, Plaintiff alleges that comments made by Lottman             in this district." Id. at 209:15-19 (ECF No. 25.6 at 244).
while Plaintiff was employed by Woodbridge created a              Zega called Plaintiff "an obvious racist, bigoted
hostile work environment. In support of his claim,                conspiracy theorist." Id. at 210:9-10 (ECF No. 25.6 at
Plaintiff alleges that Lottman made the following five9           245).
remarks prior to the events surrounding Plaintiff's
termination. Pl.'s Br. at 25 (ECF No. 18 at 32). On one           Based on the allegations summarized above, no
occasion, Lottman greeted Plaintiff by saying, "Hey,              reasonable factfinder could conclude that the alleged
Arabia Nights." Ali Dep., Day 1 at 87:12-88:8 (ECF No.            discrimination was severe, pervasive, or regular. Plaintiff
25.6 at 122-23). One another single occasion, Lottman             points to just five remarks over the course of an entire
greeted Plaintiff by saying, "Hey, Big Egypt." Id. at 94:7-       year to support the conclusion that he was subjected to
24 (ECF No. 25.6 at 129). During [*23] an in-class                a hostile work environment. While Lottman's comments
evaluation, Lottman once asked Plaintiff whether they             are inappropriate if true, they fail to rise to the level
"have computers in Egypt" when Plaintiff was                      necessary to establish a hostile work environment.
experiencing technological difficulty in his classroom. Id.       Because Plaintiff alleges only a few isolated remarks
at 97:8-22 (ECF No. 25.6 at 132). When another                    rather than a pattern of discriminatory [*25] comments,
teacher watched Plaintiff's students while he used the            he must demonstrate that the remarks were "extremely
restroom, Lottman told that teacher, "you can't trust             derogatory." See Nuness v. Simon & Schuster, Inc., 325
anybody with the last name Ali these days." Deposition            F. Supp. 3d 535, 550 (D.N.J. 2018) (internal quotation
of Patricia Pascucci, December 12, 2017 ("Pascucci                marks omitted). Plaintiff has failed to do so.
Dep.) at 38:9-25 (ECF No. 28.11 at 12). Lottman "often
times" referred to Plaintiff as "Mufasa" or "Mufasa Ali."         None of Lottman's comments were physically
Ali Dep., Day 1 at 88:20-89:2 (ECF No. 25.6 at 123-24).           threatening. Lottman's greetings, "Hey, Big Egypt" and
All of these alleged remarks, with the exception of               "Hey, Arabia Nights," his inquiry about whether they
Lottman referring to Plaintiff as "Mufasa," are alleged to        "had computers in Egypt," and his comment that "you
have been isolated occurrences. Plaintiff never                   can't trust anyone with the last name Ali these days,"
complained to his superiors or to any union                       while inappropriate, do not rise to the level of
representative about these comments. SOMF ¶ 67.                   unreasonably interfering with an employee's work
When asked at his deposition why he did not complain,             environment. Cf. Ahmed v. Interstate Mgmt. Co., 11-
he responded, "I'm a big boy. As long as I'm getting my           683, 2012 U.S. Dist. LEXIS 103512, 2012 WL 3038523,
paycheck every two weeks, I could deal with words." Id.           at *17 (D.N.J. July 25, 2012) (finding co-workers' use of
¶ 68.                                                             ethnic epithets, including references to Plaintiff as
                                                                  "Indian," "terrorist," and "Arab," while certainly "offensive
Plaintiff also alleges that Lottman and Zega's comments           and inappropriate," did not form basis for hostile work
during the meetings that precipitated his termination             environment where plaintiff did not report the conduct).
created a hostile work environment. Plaintiff alleges that        Finally, Lottman's alleged reference to Plaintiff's middle
Lottman said, "Figures, the [*24] Arab," after reading            name, Mostafa, as "Mufasa," although inappropriate and
the words "Middle East" from the MEMRI website. Ali               unprofessional, does not appear to be related to
Dep., Day 1 at 175:21-24 (ECF No. 25.6 at 210). He                Plaintiff's racial or religious identity. Viewed together, the
alleges that Zega made the following discriminatory               Court finds the frequency and severity of the conduct
comments during their September 29, 2016 meeting.                 alleged to be relatively minimal. Compare Streater v.
Pl.'s Br. at 25 (ECF No. 28 at 32). Zega called Plaintiff         City of Camden Fire Dep't, 567 F. Supp. 2d 667, 674
anti-Semitic. Ali Dep., Day 1 at 190:7-9 (ECF No. 25.6            (D.N.J. 2008) (finding sufficient evidence of
at 225). He asked Plaintiff whether he was "harboring             pervasiveness where defendants [*26] "regularly made
                                                                  jokes with racial themes" and "threatening comments
                                                                  with offensive racial content") and Nuness, 325 F. Supp.
9 Plaintiffalso alleges that Lottman "would say," "look out for   3d at 546-550 (concluding reasonable factfinder could
the Egyptian," but does not specify whether this occurred on
                                                                  find hostile work environment where "abusive coworker
more than one occasion. Compl. ¶ 13 (ECF No. 1.1 at 11).
                                                                  called [Plaintiff] a contraction of the N-word and pig")
Plaintiff fails to cite any underlying evidence to substantiate
                                                                  with McKinnon v. Gonzales, 642 F. Supp. 2d 410, 423
this claim, citing only to his Complaint. Because discovery has
concluded and has apparently failed to produce any evidence       (D.N.J. 2009) (finding "the brief collection of unfriendly
to support this allegation, the Court will not consider it.       comments" insufficient to rise to the level of pervasive

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hostility). Moreover, the fact that Plaintiff never reported   the Court has granted summary judgment as to all other
the comments to a union representative or a member of          NJLAD Counts, Defendants are likewise entitled to
the District's administration supports the conclusion that     summary judgment as to Count Four.
the remarks did not unreasonably interfere with his work
performance.
                                                               B. Defamatory Statements
The same analysis applies to the remarks Lottman and
Zega made during the meetings leading up to Plaintiff's        Plaintiff claims that Zega made statements to the press
termination. Zega's alleged statements characterizing          that defamed Plaintiff. Defendants submit that they are
Plaintiff as "anti-Semitic" and "an obvious racist, bigoted    entitled to summary judgment on Plaintiff's defamation
conspiracy theorist" are general insults that do not           claims because the statements are non-defamatory as a
directly relate to Plaintiff's racial or religious identity.   matter of law. The Court agrees.
Plaintiff alleges that Lottman and Zega made
disparaging comments at the termination meeting when           On September 28, 2016, Defendant Zega was
discussing Plaintiff's decision to include articles            interviewed by a television news station. Zega made the
containing repugnant anti-Semitic content on his school        following statements, which Plaintiff claims are "false
webpage. The alleged comments—"Figures, the                    and defamatory." Pl.'s Br. at 30 (ECF No. 28 at 37). In
Arab," [*27] "we don't want your kind in this district,"       reference to the MEMRI articles, Zega stated: "It's
and Zega's inquiry about whether Plaintiff was                 upsetting . . . that somebody would do this. It's upsetting
"harboring      terrorism"    in   his   classroom—while       that somebody would, especially a teacher, would
inappropriate, do not rise to the level of creating a          distribute this message. It is . . . absolutely not
hostile work environment for the reasons articulated           something that the District agrees with in any [*29]
above. None of the comments are physically threatening         way." SOMF ¶ 62. Zega also stated that the District took
or had the potential to unreasonably interfere with            "swift action" to remove the links and that the teacher
Plaintiff's work performance.                                  would be "disciplined severely," if warranted, following
                                                               an investigation. Id. ¶ 61. At the end of the news report,
Accordingly, no reasonably jury could conclude that            Zega was asked whether there is "any excuse for
Plaintiff was the victim of a hostile work environment.        something like this." Zega responded, "No. No, there is
Defendants' Motion for Summary Judgment is granted             not." Video Recording, Exhibit J to ECF No. 25.
as to Count Five.

                                                               1. State Law Claims—Defamation (Count Eight);
3. NJLAD—Aiding and Abetting (Count Four)                      Libel (Count Nine); and False Light/Invasion of
                                                               Privacy (Count Ten)
The NJLAD imposes liability upon individual defendants
who aid and abet an employer's NJLAD violations.               To establish defamation under New Jersey law, a
N.J.S.A. § 10:5-12(e). An employee may be held liable          plaintiff must demonstrate that the defendant: (1) made
for aiding and abetting under the NJLAD if a plaintiff         a false and defamatory statement concerning the
establishes the following elements: "(1) the party whom        plaintiff; (2) communicated the statement to a third
the defendant aids must perform a wrongful act that            party; and (3) had a sufficient degree of fault. Cruz v.
causes an injury; (2) the defendant must be generally          HSBC, 10-135, 2010 U.S. Dist. LEXIS 75197, 2010 WL
aware of his role as part of an overall illegal or tortious    2989987, at *2 (D.N.J. July 26, 2010). A defamatory
activity at the time he provides the assistance; (3) the       statement "is one that subjects an individual to contempt
defendant must knowingly and substantially assist the          or ridicule, one that harms a person's reputation by
principal violation." Taylor v. Lincare, Inc., 15-6284,        lowering the community's estimation of him or by
2016 U.S. Dist. LEXIS 91924, 2016 WL 3849852, at *7            deterring others from wanting to associate or deal with
(D.N.J. July 15, 2016) (internal quotation marks [*28]         him." Petro-Lubricant Testing Labs., Inc. v. Adelman,
omitted). A violation of the NJLAD on the basis of aiding      233 N.J. 236, 253, 184 A.3d 457 (2018). Courts
and abetting must be predicated on an underlying               consider a challenged statement's content, verifiability,
NJLAD violation. See id. at 21-22 ("Therefore, because         and context in determining whether it has a defamatory
Plaintiff's underlying causes of action fail, there can be     meaning. Leang v. Jersey City Bd. of Educ., 198 N.J.
no claim for aiding and abetting in violation of the           557, 585, 969 A.2d 1097 (2009). As part of that inquiry,
NJLAD.") (internal quotation marks omitted). Because           statements of opinion are not defamatory. [*30]


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DeAngelis v. Hill, 180 N.J. 1, 14, 847 A.2d 1261 (2004).         reputation." Pl.'s Br. at 33 (ECF No. 28 at 40). In order
New Jersey's defamation law "generally does not                  to prevail on a claim under § 1983, a plaintiff must prove
distinguish between actionable conduct in print or               that "his constitutional rights were violated by someone
electronic form." Petro-Lubricant, 233 N.J. at 252; see          acting under color of state law." See Rodriguez v.
W.J.A. v. D.A., 210 N.J. 229, 238-39, 43 A.3d 1148               Fajardo, 06-4996, 2007 U.S. Dist. LEXIS 48217, 2007
(2012) ("A defamatory statement may consist of libel or          WL 1959254, at *7 (D.N.J. July 3, 2007). Courts in this
slander.")                                                       district have recognized that it is "well-settled that
                                                                 'reputation alone is not an interest protected by the Due
Here, Plaintiff points to three statements he alleges to         Process Clause,' and that 'defamation is actionable
be defamatory. First, Zega's statement that "[i]t's              under 42 U.S.C. § 1983 only if it occurs in the course of
upsetting that somebody would . . . distribute this              or is accompanied [*32] by a change or extinguishment
message" and that the disseminated materials are "not            of a right or status guaranteed by state law or the
something that the District agrees with in any way" are          Constitution.'" Stolinski v. Pennypacker, 07-3174, 2008
matters of opinion. They are not actionable false                U.S. Dist. LEXIS 106368, 2008 WL 5136945, at *11
statements of fact. Second, Zega's statement that there          (D.N.J. Dec. 4, 2008) (quoting Clark v. Twp. of Falls,
is "no excuse" for posting the MEMRI articles likewise           890 F.2d 611, 619 (3d Cir. 1989)). As a result, the Third
expresses a non-actionable opinion. See Lynch v. N.J.            Circuit has rejected "claims for simple defamation under
Educ. Ass'n, 161 N.J. 152, 168, 735 A.2d 1129 (1999)             § 1983." See Rivera v. Zweigle, Civ. No. 13-3024, 2014
("If a statement could be construed as either fact or            U.S. Dist. LEXIS 170580, at *13-14 n.3 (D.N.J. Dec. 9,
opinion, a Defendant should not be held liable."). Finally,      2014).
Zega's statement that the District took "swift action" to
remove the links and that "the teacher [would] be                Here, Plaintiff alleges that "Defendant Zega created and
disciplined severely" if warranted following an                  disseminated a false and defamatory impression about
investigation are non-defamatory because they are not            Plaintiff in connection with his termination, thus,
false. Plaintiff does not argue otherwise.                       depriving Plaintiff of a protected liberty interest in his
                                                                 reputation." Compl. ¶ 126 (ECF No. 1.1). Alleging a
In order to state a claim for False Light under New              "claim for simple defamation" and loss of nothing more
Jersey law, a plaintiff must demonstrate that: (1) "the          than the liberty interest in his reputation, Plaintiff's claim
false light in which the other was placed would be highly        falls squarely into the type of case prohibited by the
offensive [*31] to a reasonable person"; and (2) "the            case law in this district. The Court grants Defendants'
actor had knowledge of or acted in reckless disregard            Motion for Summary Judgment as to Count Eleven.
as to the falsity of the publicized matter and the false
light in which the other would be placed." DeAngelis,
180 N.J. at 19. Plaintiff is unable to state a claim for         C. First Amendment Claims (Counts Twelve and
false light for the same reasons expressed above. See            Thirteen)
Edelman v. Croonquist, 09-1938, 2010 U.S. Dist. LEXIS
43399, 2010 WL 1816180, at *7 (D.N.J. May 4, 2010)               Plaintiff alleges that Defendants violated his rights to
("The tort of false light requires 'that the published           free speech and academic freedom rights under the
material contain a false portrayal . . . . Opinion               First Amendment of the United States Constitution.
statements . . . are generally not capable of proof of           Defendants submit that they are entitled to summary
truth or falsity."); Arista Records, Inc. v. Flea World, Inc.,   judgment on these claims because Plaintiff has failed to
356 F. Supp. 2d 411, 425 (D.N.J. 2005) ("[O]pinions              demonstrate that the speech at issue was protected.
cannot form the basis of a claim for false light or              The Court agrees.
defamation.").
                                                                 In order to establish a First Amendment retaliation
Accordingly, Defendants are entitled to summary                  claim, a public employee must demonstrate that: (1) "his
judgment on Counts Eight, Nine, and Ten.                         [activity] is protected by the First Amendment"; [*33]
                                                                 and (2) "the [activity] was a substantial or motivating
                                                                 factor in the alleged retaliatory action." Falco v. Zimmer,
2. 42 U.S.C. § 1983—Defamation (Count Eleven)                    17-3396, 767 Fed. Appx. 288, 2019 U.S. App. LEXIS
                                                                 10744, 2019 WL 1569564, at *6 (3d Cir. Apr. 11, 2019).
Plaintiff argues that Zega's allegedly defamatory                Speech must involve "a matter of public concern" to
statements deprived him of his "liberty interest in his          qualify as protected speech. Hashem v. Hunterdon

                                                       Pooja Bhutani
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                                           2019 U.S. Dist. LEXIS 72877, *33

County, 15-8585, 2016 U.S. Dist. LEXIS 134055, 2016            COBRA provides that an employer's plan administrator
WL 5539590, at *19 (D.N.J. Sept. 29, 2016). Matters of         must provide notice to employees of their COBRA rights
public concern arise from speech that relates to               upon the occurrence of a qualifying [*35] event, such
"political, social, or other concerns to the community."       as termination of employment. 29 U.S.C. § 1166(a).
Id. (quoting Baldassare v. New Jersey, 250 F.3d 188,           Courts in this district have ruled that mailing a notice to
195 (3d Cir. 2001)). The Third Circuit has consistently        an employee's last known address constitutes a good
held that there are "recognized limitations upon free          faith attempt at COBRA compliance. McGoldrick v.
speech" in the educational setting. Brown v. Armenti,          TruePosition, Inc., 623 F. Supp. 2d 619, 633 (D.N.J.
247 F.3d 69, 74 (3d Cir. 2001); see Edwards v. Cal.            2009) (noting COBRA Congressional Congress
Univ. of Penn., 156 F.3d 488, 491 (3d Cir. 1998) ("[A]         Committee's expressed intention that "notice by mail to
public university professor does not have a First              the qualified beneficiary's last known address to be
Amendment right to decide what will be taught in the           adequate"); Vanderhoof v. Life Extension Inst., 988 F.
classroom."). A teacher's in-class conduct is not              Supp. 507, 518 (D.N.J. 1997) (same). The employer is
protected speech. Id. (delineating "in the classroom"          not required to prove that the notice was received.
conduct as that which falls into the category of "[t]he        McGoldrick, 623 F. Supp. 2d at 633.
four essential freedoms that constitute academic
freedom[, which] have been described as a university's         Here, Plaintiff argues that Defendants violated COBRA
freedom to choose who may teach, what may be taught,           because he never received a notice. However,
how it shall be taught, and who may be admitted to             Defendants submitted a Certification from the District's
study"); Bradley v. Pittsburgh Bd. of Educ., 910 F.2d          benefits and insurance specialist indicating that she
1172, 1176 (3d Cir. 1990) (citing Clark v. Holmes, 474         mailed a letter advising Plaintiff of his rights under
F.2d 928 (7th Cir. 1972), in which the Seventh Circuit         COBRA on October 28, 2016. Certification of Nancy
issued a per curiam opinion upholding a school district's      Alberici ¶ 2 (ECF No. 25.6 at 599). She certified that she
decision to terminate a teacher whose biology classes          sent the letter via regular mail to the home address
contained too much discussion of sex).                         maintained on file. Id. ¶ 3. The letter, dated October 28,
                                                               2016, is attached to the Certification. ECF No. 25.6 at
In Plaintiff's free speech claim, [*34] he alleges that he     602. Defendants have met their burden of
"engaged in activity protected by the First Amendment          demonstrating a good faith effort to notify Plaintiff of his
when he posted, on the school's public portal,                 rights in accordance with COBRA. The Court grants
alternative views on the cause of the September 11,            summary judgment as to Count Fifteen.
2001 attacks." Compl. ¶ 135. Plaintiff asserts identical
allegations in support of his academic freedom claim.
However, the District, not Plaintiff, has the ultimate right   E. Open Public Meetings Act
to decide what will be taught in the classroom. See
Brown, 247 F.3d at 74; Edwards, 156 F.3d at 491                The Court has [*36] granted summary judgment as to
(finding no right to use certain educational materials in      all Federal claims in the instant matter. The remaining
the classroom). Accordingly, Plaintiff has failed to           claim alleges violation of the OPMA on the basis of the
demonstrate that posting the MEMRI links on the                District's failure to provide Plaintiff with a Rice notice
school-sponsored website constitutes protected speech.         prior to the Board of Education meeting at which the
Defendants are entitled to summary judgment on                 Board voted to terminate Plaintiff's employment. In the
Counts Twelve and Thirteen.                                    interests of judicial economy, convenience, fairness,
                                                               and comity, the Court declines to exercise supplemental
                                                               jurisdiction over the sole surviving state law claim. See
D. Consolidated Omnibus Budget Reconciliation Act              Bringa v. Roque, 13-3296, 2015 U.S. Dist. LEXIS
                                                               24116, 2015 WL 857884, at *5 (D.N.J. Feb. 27, 2015)
In Count Fifteen, Plaintiff alleges that Defendants            ("Section 1367 provides that 'district courts may decline
violated COBRA by failing to "provide Plaintiff with the       to exercise supplemental jurisdiction over a claim . . . if .
COBRA Election Notice notifying him of the COBRA               . . the district court has dismissed all claims over which
Health Benefits Program." Compl. ¶ 160. Defendants             it has original jurisdiction.'"). Defendants' Motion for
submit that they are entitled to summary judgment              Summary Judgment is denied as to Count Seven. Count
because they sent a notice to Plaintiff's last known           Seven is remanded to the New Jersey Superior Court.
address. The Court agrees.



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IV. CONCLUSION

For the reasons set forth herein, Defendants' Motion for
Summary Judgment, ECF No. 25, is GRANTED IN
PART and DENIED IN PART. Count Seven is hereby
REMANDED to the New Jersey Superior Court. The
remaining claims are DISMISSED and the case is
CLOSED.

Dated: April 30, 2019

/s/ Madeline Cox Arleo

Hon. Madeline Cox Arleo

UNITED STATES DISTRICT JUDGE


ORDER

THIS MATTER comes before the Court [*37] by way of
a Motion for Summary Judgment, ECF No. 25, filed by
Defendants Woodbridge Township Board of Education,
Woodbridge Township School District (collectively,
"Woodbridge" or the "District"), Superintendent Robert
Zega ("Zega"), and Principal Glenn Lottman ("Lottman"
or when referenced collectively with Woodbridge and
Zega, "Defendants"), against Plaintiff Jason Mostafa Ali
("Ali" or "Plaintiff");

and for the reasons set forth in the accompanying
Opinion;

IT IS on this 30th day of April, 2019;

ORDERED that Defendants' Motion for Summary
Judgment is DENIED as to Count Seven and
GRANTED as to all other Counts; and it is further

ORDERED that Count Seven is remanded to the New
Jersey Superior Court; and it is further

ORDERED that the case is hereby CLOSED.

/s Madeline Cox Arleo

Hon. Madeline Cox Arleo

UNITED STATES DISTRICT JUDGE


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                                       Ahmed v. Interstate Mgmt. Co.
                                  United States District Court for the District of New Jersey
                                        July 25, 2012, Decided; July 25, 2012, Filed
                                             Civil Case No. 11-683 (FSH) (PS)

Reporter
2012 U.S. Dist. LEXIS 103512 *; 2012 WL 3038523


KOBIR AHMED, Plaintiff, v. INTERSTATE
                                                                Outcome
MANAGEMENT COMPANY, Defendant.
                                                                Defendant's motion granted. Plaintiff's motion denied.



Notice: NOT FOR PUBLICATION

                                                                LexisNexis® Headnotes


Core Terms
termination, employees, summary judgment, reasonable                 Civil Procedure > Judgments > Summary
jury, complaints, hotel, retaliation, prima facie case,              Judgment > Evidentiary Considerations
pretext, discriminatory, protected activity, undisputed,
proffered, coworkers, reasons, shifts, hostile work                  Civil Procedure > ... > Summary
environment claim, non discriminatory reason, hostile                Judgment > Entitlement as Matter of Law > General
work environment, workplace violence, pervasive,                     Overview
comments, severe, statement of reasons, rate of pay,
articulated, retaliatory, conditions, pretextual, bartender          Civil Procedure > ... > Summary
                                                                     Judgment > Supporting Materials > General
                                                                     Overview

Case Summary                                                    HN1[ ]      Summary             Judgment,     Evidentiary
                                                                Considerations

Overview                                                        Pursuant to Fed. R. Civ. P. 56(c), a motion for summary
In this NJLAD action, defendant was granted summary             judgment will be granted if the pleadings, depositions,
judgment because defendant's proffered justification for        answers to interrogatories, and admissions on file,
plaintiff's termination was plaintiff's involvement in a        together with the affidavits, if any, show that there is no
physical altercation with a hotel guest in violation of         genuine issue as to any material fact and that the
defendant's workplace violence policy and defendant             moving party is entitled to judgment as a matter of law.
was within its discretion to terminate plaintiff while          In other words, summary judgment may be granted only
retaining the other employees, particularly given the           if there exists no genuine issue of material fact that
undisputed factual differences between plaintiff's actions      would permit a reasonable jury to find for the nonmoving
and the actions of the other employees.                         party. All facts and inferences must be construed in the
                                                                light most favorable to the non-moving party. The
                                                                judge's function is not to weigh the evidence and
                                                                determine the truth of the matter, but to determine


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whether there is a genuine issue for trial. Consequently,         Labor & Employment
the court must ask whether, on the summary judgment               Law > Discrimination > Actionable Discrimination
record, reasonable jurors could find facts that
demonstrated, by a preponderance of the evidence, that        HN4[   ] Discrimination, Actionable Discrimination
the nonmoving party is entitled to a verdict.
                                                              The New Jersey Law Against Discrimination provides
                                                              that it is unlawful for an employer, because of the race,
                                                              creed, color, or national origin of any individual to
    Civil Procedure > ... > Summary
                                                              discharge from employment such individual or to
    Judgment > Entitlement as Matter of Law > General
                                                              discriminate against such individual in compensation or
    Overview
                                                              in terms, conditions or privileges of employment. N.J.
                                                              Stat. Ann. § 10:5-12(a).
    Civil Procedure > ... > Summary
    Judgment > Burdens of Proof > General Overview

HN2[ ] Summary Judgment, Entitlement as Matter                    Civil Procedure > ... > Summary
of Law                                                            Judgment > Burdens of Proof > General Overview

The party seeking summary judgment always bears the               Labor & Employment
initial burden of production. This burden requires the            Law > ... > Evidence > Burdens of Proof > Burden
moving party to establish either that there is no genuine         Shifting
issue of material fact and that the moving party must
prevail as a matter of law, or demonstrate that the           HN5[   ] Summary Judgment, Burdens of Proof
nonmoving party has not shown the requisite facts
relating to an essential element of an issue on which it      On a motion for summary judgment on an New Jersey
bears the burden. Once the party seeking summary              Law Against Discrimination claim without direct
judgment has carried this initial burden, the burden          evidence of discrimination, the court applies the
shifts to the nonmoving party.                                McDonnell Douglas burden-shifting framework. Thus,
                                                              the plaintiff must first establish a prima facie case of
                                                              discrimination by showing that: (1) he belongs to a
                                                              protected class; (2) he was performing his job at a level
    Civil Procedure > ... > Summary
                                                              that met his employer's legitimate expectations; (3) he
    Judgment > Entitlement as Matter of Law > General
                                                              suffered an adverse employment action; and (4) the
    Overview
                                                              adverse       employment      action     occurred    under
                                                              circumstances giving rise to an inference of
    Civil Procedure > ... > Summary
                                                              discrimination. If the plaintiff establishes a prima facie
    Judgment > Burdens of Proof > General Overview
                                                              case, the burden of production shifts to the defendant to
                                                              provide a legitimate, nondiscriminatory reason for the
HN3[ ] Summary Judgment, Entitlement as Matter
                                                              termination. If the defendant articulates a legitimate,
of Law
                                                              nondiscriminatory reason, the burden returns to the
To avoid summary judgment, the nonmoving party must           plaintiff to show that the defendant's proffered reason or
then demonstrate facts supporting each element for            reasons are pretextual.
which it bears the burden, and it must establish the
existence of a genuine issue of material fact justifying
trial. The nonmoving party must do more than simply               Labor & Employment
show that there is some metaphysical doubt as to                  Law > ... > Evidence > Burdens of Proof > Burden
material facts. Where the record taken as a whole could           Shifting
not lead a rational trier of fact to find for the nonmoving
party, there is no genuine issue for trial. Further,          HN6[   ] Burdens of Proof, Burden Shifting
summary judgment may be granted if the nonmoving
party's evidence is merely colorable or is not                Assuming arguendo that a plaintiff has established a
significantly probative.                                      prima facie case of discrimination, the burden of
                                                              production shifts to defendant to introduce evidence


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which, taken as true, would permit the conclusion that
there was a nondiscriminatory reason for the
unfavorable employment decision. The employer need                Labor & Employment
not prove that the tendered reason actually motivated its         Law > ... > Evidence > Burdens of Proof > Burden
behavior.                                                         Shifting

                                                              HN9[    ] Burdens of Proof, Burden Shifting

    Labor & Employment                                        For employees to serve as comparators, they must have
    Law > ... > Evidence > Burdens of Proof > Burden          engaged in the same conduct without such
    Shifting                                                  differentiating or mitigating circumstances that would
                                                              distinguish their conduct or their employer's treatment of
HN7[   ] Burdens of Proof, Burden Shifting
                                                              them for it. In comparing the two incidents, the focus is
                                                              on the particular criteria or qualifications identified by the
Violence in the workplace is clearly a legitimate,
                                                              employer as the reason for the adverse action.
nondiscriminatory reason for terminating an employee.


                                                                  Labor & Employment
    Civil Procedure > ... > Summary
                                                                  Law > ... > Evidence > Burdens of Proof > Burden
    Judgment > Burdens of Proof > General Overview
                                                                  Shifting
    Labor & Employment
                                                              HN10[    ] Burdens of Proof, Burden Shifting
    Law > ... > Evidence > Burdens of Proof > Burden
    Shifting
                                                              In an employment discrimination action, while
                                                              identification of one or two comparators may be
    Labor & Employment Law > ... > Disparate
                                                              sufficient at the prima facie stage of analysis, it is not
    Treatment > Evidence > Circumstantial & Direct
                                                              sufficient at the pretext phase.
    Evidence

HN8[   ] Summary Judgment, Burdens of Proof
                                                                  Labor & Employment
On a motion for summary judgment where the                        Law > ... > Evidence > Burdens of Proof > Burden
defendant answers the plaintiff's prima facie case with           Shifting
legitimate, non-discriminatory reasons for its action, the
plaintiff must point to some evidence, direct or              HN11[    ] Burdens of Proof, Burden Shifting
circumstantial, from which a factfinder could reasonably
either (1) disbelieve the employer's articulated legitimate   In an employment discrimination action, plaintiff cannot
reasons; or (2) believe that an invidious discriminatory      simply show that the employer's decision was wrong or
reason was more likely than not a motivating or               mistaken, since the factual dispute at issue is whether
determinative cause of the employer's action. In other        discriminatory animus motivated the employer, not
words, the evidence rebutting the employer's proffered        whether the employer is wise, shrewd, prudent, or
legitimate reasons must allow a factfinder reasonably to      competent.
infer that each of the employer's proffered non-
discriminatory reasons was either a post hoc fabrication
or otherwise did not actually motivate the employment
                                                                  Labor & Employment
action (that is, the proffered reason is a pretext). The
                                                                  Law > Discrimination > Retaliation > Burdens of
plaintiff "must demonstrate such weaknesses,
                                                                  Proof
implausibilities, inconsistencies, incoherencies, or
contradictions in the employer's proffered legitimate             Labor & Employment
reasons for its action that a reasonable factfinder could         Law > ... > Retaliation > Elements > General
rationally find them unworthy of credence and hence               Overview
infer that the employer did not act for the asserted non-
discriminatory reasons.                                       HN12[    ] Retaliation, Burdens of Proof

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The New Jersey Law Against Discrimination (NJLAD)                 Labor & Employment
provides that it is unlawful for any person to take               Law > ... > Retaliation > Elements > General
reprisals against any person because that person has              Overview
opposed any practices or acts forbidden under the
NJLAD or because that person has filed a complaint.           HN14[    ] Summary Judgment, Burdens of Proof
N.J. Stat. Ann. § 10:5-12(d). On an NJLAD retaliation
claim, the court applies the McDonnell Douglas burden-        At the summary judgment stage, a plaintiff meets his
shifting framework. Thus, for a claim of retaliation, a       initial burden if he shows that the proffered evidence,
plaintiff must show that: (1) he or she engaged in            looked at as a whole suffices to raise the inference of a
protected conduct known to the defendant; (2) he or she       causal connection between protected activity and an
was subjected to an adverse employment decision; and          adverse employment action. In this context, protected
(3) there was a causal link between the protected             activity includes opposing any practice made unlawful
activity and the adverse decision. If the plaintiff           by the New Jersey Law Against Discrimination or when
establishes a prima facie case, the burden of production      an individual has made a charge, testified, assisted, or
shifts to the defendant to articulate a legitimate, non-      participated in any manner in an investigation,
retaliatory reason for the action. If the defendant           proceeding, or litigation regarding discrimination against
articulates a legitimate, non-retaliatory reason, the         any individual with respect to his compensation, terms,
burden returns to the plaintiff to demonstrate that a         conditions, or privileges of employment, because of
retaliatory intent motivated the defendants.                  such an individual's protected characteristic. With
                                                              respect to a causal link, courts have focused on the
                                                              temporal proximity between the employee's protected
                                                              activity and the adverse employment action, but where
    Civil Procedure > ... > Summary
                                                              there is a lack of temporal proximity, circumstantial
    Judgment > Burdens of Proof > General Overview
                                                              evidence of a pattern of antagonism following the
                                                              protected conduct can also give rise to the inference.
    Labor & Employment
                                                              Thus, if the temporal proximity is not so close as to be
    Law > Discrimination > Retaliation > Burdens of
                                                              unduly suggestive of retaliation, timing plus other
    Proof
                                                              evidence may be an appropriate test.
HN13[    ] Summary Judgment, Burdens of Proof

To obtain summary judgment in its favor on a retaliation          Labor & Employment
claim, the employer must show that the trier of fact              Law > ... > Retaliation > Elements > Protected
could not conclude, as a matter of law, (1) that                  Activities
retaliatory animus played a role in the employer's
decisionmaking process and (2) that it had a                  HN15[    ] Elements, Protected Activities
determinative effect on the outcome of that process.
This may be accomplished by establishing the plaintiff's      A fear of retaliation does not obviate the requirement for
inability to raise a genuine issue of material fact as to     protected activity.
either: (1) one or more elements of the plaintiff's prima
facie case or, (2) if the employer offers a legitimate non-
retaliatory reason for the adverse employment action,             Labor & Employment
whether the employer's proffered explanation was a                Law > ... > Retaliation > Elements > Protected
pretext for retaliation.                                          Activities

                                                              HN16[    ] Elements, Protected Activities
    Civil Procedure > ... > Summary
    Judgment > Burdens of Proof > General Overview            Complaints of preferential treatment based upon a
                                                              personal relationship are not protected under the New
    Labor & Employment                                        Jersey Law Against Discrimination and thus cannot
    Law > Discrimination > Retaliation > Burdens of           provide a basis for relief.
    Proof



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    Labor & Employment Law > ... > Racial                   HN20[ ]    Employer       Liability,   Harassment      by
    Harassment > Burdens of Proof > General Overview        Supervisors

    Labor & Employment                                      For an employer to be liable for a hostile work
    Law > ... > Harassment > Racial                         environment, a plaintiff must show that the offending
    Harassment > Hostile Work Environment                   conduct was done by a supervisor who was acting as
                                                            the defendant's agent under traditional agency
HN17[   ] Racial Harassment, Burdens of Proof               principles. The mere title of manager or supervisor does
                                                            not by itself suffice to impute that employee's knowledge
To establish a New Jersey Law Against Discrimination        or actions to the employer. Rather, whether an
claim for hostile work environment, a plaintiff must show   individual constitutes a supervisor for the purposes of
that the complained-of conduct (1) would not have           imputing liability on the defendant employer depends on
occurred but for the employee's protected characteristic;   whether the plaintiff believed that the offending
and it was (2) severe or pervasive enough to make a (3)     employee had the authority to negatively affect the
reasonable person in plaintiff's protected class believe    plaintiff's working life, such as the power to terminate
that (4) the conditions of employment are altered and       and demote the plaintiff, to affect compensation, and to
the working environment is hostile or abusive.              control work functions.



    Governments > Legislation > Statute of                      Labor & Employment Law > ... > Burdens of
    Limitations > Time Limitations                              Proof > Standards of Proof > Pervasive & Severe
                                                                Standards
    Labor & Employment
    Law > ... > Harassment > Racial                         HN21[ ] Standards of Proof, Pervasive & Severe
    Harassment > Statute of Limitations                     Standards

HN18[   ] Statute of Limitations, Time Limitations          When evaluating the severity or pervasiveness
                                                            requirement of a hostile work environment claim, a court
The statute of limitations for hostile work environment     examines all the circumstances such as frequency of
claims under the New Jersey Law Against                     the discriminatory conduct; its severity; whether it is
Discrimination is two years.                                physically threatening or humiliating, or a mere offensive
                                                            utterance; and whether it unreasonably interferes with
                                                            an employee's work performance. The conduct itself is
    Governments > Legislation > Statute of                  what must be severe or pervasive, not the impact on the
    Limitations > Time Limitations                          plaintiff or the work atmosphere.

    Labor & Employment
    Law > ... > Harassment > Racial                             Labor & Employment Law > ... > Racial
    Harassment > Statute of Limitations                         Harassment > Burdens of Proof > General Overview

HN19[   ] Statute of Limitations, Time Limitations              Labor & Employment
                                                                Law > ... > Harassment > Racial
The continuing violations theory, which allows a claim to       Harassment > Hostile Work Environment
proceed if one of a series of acts, which together
created the hostile environment occurred within the         HN22[    ] Racial Harassment, Burdens of Proof
statutory period.
                                                            A plaintiff need not prove evidence of actual change in
                                                            working conditions to demonstrate a hostile work
    Labor & Employment Law > ... > Racial                   environment.
    Harassment > Employer Liability > Harassment by
    Supervisors
                                                                Labor & Employment

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    Law > ... > Harassment > Racial
    Harassment > Defenses

HN23[   ] Racial Harassment, Defenses                      Opinion by: Faith S. Hochberg

Although the mere presence of anti-harassment policies
does not prove an absence of negligence, effective
preventative mechanisms demonstrate some evidence
of due care by the employer. To avoid liability, the
                                                           Opinion
policies cannot merely be present but must be backed
up by consistent practice. A company will be less apt to
be liable for a hostile work environment claim if it has   HOCHBERG, District Judge:
policies reflecting a lack of tolerance for harassment
such as periodic publication to workers of its anti-       This matter comes before the Court upon cross-motions
harassment policy; an effective and practical grievance    for summary judgment pursuant to Fed. R. Civ. P. 56.
process; and training sessions for workers, supervisors,   The Court has reviewed the submissions of the parties
and managers about how to recognize and eradicate          and considered the motions without oral argument
unlawful harassment.                                       pursuant to Fed. R. Civ. P. 78.


                                                           I. BACKGROUND
    Labor & Employment
    Law > ... > Harassment > Racial
    Harassment > Defenses
                                                           A. Procedural History
HN24[   ] Racial Harassment, Defenses
                                                           On October 15, 2010, plaintiff Kobir Ahmed ("Plaintiff")
In the context of a hostile work environment claim, an     filed a Complaint against Sheraton Mahwah Hotel and
employer should not be held responsible when its           ITT Sheraton Corporation in the New Jersey Superior
employee unreasonably failed to take advantage of any      Court, Essex County. (Complaint, Ex. A to Not. of
preventative or corrective opportunities provided by the   Removal, Feb. 7, 2011, ECF No. 1.) On February 4,
employer.                                                  2011, after the case was transferred to Passaic County,
                                                           Plaintiff filed an Amended Complaint substituting
                                                           defendant Interstate Management Company, LLC
                                                           ("Defendant") for the original named defendants. (Am.
                                                           Compl., Ex. B. to Not. of Removal.) The Amended
Counsel: [*1] For PAMELA B. NADEL, Mediator:               Complaint [*2] set forth two causes of action: (1) sex,
PAMELA BETH NADEL, NEWARK, NJ.                             race, color, religion and national origin discrimination
                                                           under the New Jersey Law Against Discrimination
For KOBIR AHMED, Plaintiff: MICHAEL J.P. SCHEWE,           ("NJLAD"); and (2) retaliation under the NJLAD. (Id.)
SCHEWELAW, LLC, NEWARK, NJ.                                Both parties also explicitly note a separate claim for
                                                           hostile work environment in the legal issues section of
                                                           the Final Pretrial Order and in their cross-motions for
For INTERSTATE MANAGEMENT COMPANY, LLC,                    summary judgment. 1 (Final Pretrial Order 43; Mot. Br.
Defendant: HOWARD MARK WEXLER, LEAD                        20, Mar. 14, 2012, ECF No. 43; Opp'n Br. Apr. 23, 2012,
ATTORNEY, SEYFARTH SHAW LLP, NEW YORK, NY;
DOUGLAS BRIAN LIPSKY, Bronson Lipsky LLP, NEW
YORK, NY.                                                  1 Although  the Amended Complaint does not set forth a
                                                           separate cause of action for hostile work environment under
                                                           the NJLAD, it alleges that Defendant "allowed and condoned a
                                                           workplace ridden with discriminatory intimidation, ridicule and
Judges: Hon. Faith S. Hochberg, United States District     insult that was so severe and pervasive as to alter the
Judge.                                                     conditions of Mr. Ahmed's employment; and which created an
                                                           abusive and hostile work environment." (Id. ¶ 28.)

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ECF No. 56.)                                                       hire him. (Id.) At the time of Plaintiff's termination, his
                                                                   immediate supervisor was August Widito, the restaurant
On February 7, 2011, Defendant removed the action to               manager. (56.1 Statement ¶ 9; 56.1 Counterstatement ¶
this Court pursuant to 28 U.S.C. § 1441, based upon                9.) His second level supervisor was Bob Trata, the food
diversity of citizenship under 28 U.S.C. § 1332(a)(1).             and beverage director. Kevin Wolford was the general
(Not. of Removal 2.) On March 14, 2011, Defendant                  manager of the hotel. (Id.)
filed its Answer to the Amended Complaint. (Answer,
Mar. 14, 2011, ECF No. 14.) Discovery has been                     In 2002, Plaintiff took an approved leave [*5] of
 [*3] completed and the Final Pretrial Order has been              absence to travel to Bangladesh. (Final Pretrial Order
entered. (Final Pretrial Order, Apr. 18, 2012, ECF No.             4.) Plaintiff was scheduled to return to work from his trip
58.)                                                               on August 12, 2002, but did not return until three to four
                                                                   weeks later. (Id.) Because Plaintiff did not return as
On March 14, 2012, Defendant filed a Motion for                    scheduled, his employment was terminated. Defendant
Summary Judgment as to all claims in the Amended                   immediately rehired him when he again reported to
Complaint, (Mot. for Summ. J., Mar. 14, 2012, ECF No.              work, but he lost the seniority he had obtained between
42), along with a memorandum in support, (Mot. Br.), a             1998 and 2002. (Id.)
Statement of Material Facts pursuant to L. Civ. R. 56.1,
(56.1 Statement, Mar. 14, 2012, ECF No. 44), and
supporting Declarations of Howard Wexler, (Wexler                  1. Encounters with Co-workers
Decl., Mar. 14, 2012, ECF No. 45), and Jeanette
Rodriguez-Herrera, (Rodriguez-Herrera Decl., Mar. 14,              Plaintiff had encounters with several coworkers during
2012, ECF No. 46). 2                                               his employment that had ethnic overtones; he reported
                                                                   two incidents to Human Resources but not others.
                                                                   Specifically, in 2002 or 2003, Plaintiff provided a
B. Factual History3                                                statement that Jerry Thompson, another employee, had
                                                                   made an inappropriate remark toward Plaintiff, calling
Plaintiff is a Bangladeshi male and practicing Muslim.             him "Indian." (Id. 6; Pl. Dep. 102:19-23; 110:15-24, Ex.
(Final Pretrial Order 3.) Defendant owns and operates              E to Schewe Supp. Decl.) Johnston was informed of the
the Sheraton Hotel in Mahwah, New Jersey, where                    incident, and Thompson received a verbal warning and
Plaintiff was hired in or about October 1998. (Id.) Helen          did not refer to Plaintiff as "Indian" again. (Final Pretrial
Johnston, a Human Resources department employee,                   Order 6; Pl. Dep. 102:19-25; 110:15-24.) In 2007 or
interviewed Plaintiff and was involved in the decision to          2008, David Hortado, a cook, yelled at Plaintiff and
                                                                   called him "Indian" after Plaintiff cursed at Hortado. (Pl.
                                                                   Dep. 129:17-131:21.) After the incident, food and
2 On
                                                                   beverage [*6] director Bob Trata and the head chef
      April 23, 2012, Plaintiff filed a memorandum in opposition
                                                                   took Plaintiff and Hortado to the chef's office and made
to Defendant's motion and in support of his cross-motion for
                                                                   them shake hands; Hortado received a verbal warning.
summary judgment, accompanied by a Counterstatement of
Material Facts pursuant to L. Civ. R. 56.1 and a supporting        (Pl. Dep. 131:11-21; 131:25-132:5.) At various times
Declaration of Michael Schewe. (Opp'n Br.) Plaintiff separately    during Plaintiff's employment, plaintiff contends that
filed the Cross-Motion for Summary Judgment on April 25,           bartender Mark Conca, beverage manager and
2012. (Cross-Mot., Apr. 25, 2012, ECF No. 59.) On May 11,          nightclub manager Thomas Floody, and head bartender
2012, Defendant filed a reply memorandum in further support        Spike McNamara called Plaintiff a "terrorist" and "Arab,"
of its motion for summary judgment and opposition to Plaintiff's   but Plaintiff never complained about those incidents and
cross-motion for summary judgment. (Reply Br., May 11,             instead tried to ignore it or change the subject. (Pl. Dep.
2012, ECF No. [*4] 60.) On May 24, 2012, the Court entered         87:23, 103:19-104:17, 109:17-110:10, 129:12, Ex. C to
an Order requiring Plaintiff to file copies of all pages of        Wexler Decl.; Floody Dep. 35:3-6, Ex. G to Schewe
deposition transcripts upon which he relies in his Opposition
                                                                   Supp. Decl.) Plaintiff asked Johnston to change his
Brief and Counterstatement of Material Facts. (Order, May 24,
                                                                   name tag to be less indicative of his Muslim faith; that
2012, ECF No. 61.) On May 29, 2012, Plaintiff submitted a
                                                                   request was denied. (Pl. Dep. 101:22-102:1.)
supplemental Declaration attaching the transcript pages.
(Schewe Supp. Decl., May 29, 2012, ECF No. 62.)
3 For purposes of Defendant's motion for summary judgment,         2. Complaints about Work Assignments and Pay
all disputed facts are viewed in a light most favorable to
Plaintiff.

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Plaintiff also complained about work assignments.            3. Incident With a Guest
Specifically, Plaintiff testified that he complained to
restaurant manager August Widito when Spike                  On or about July 18, 2009, hotel guest Aaron Gross
McNamara assigned preferential shifts to a woman             ordered a sandwich from the hotel bar, where Plaintiff
named Libra. (Pl. Dep. 126:13-129:13.) On another            was working as a bartender. (Final Pretrial Order 4.)
occasion, after getting into an argument with food and       Plaintiff delivered the sandwich to Gross in the Sheraton
beverage manager Trata, Trata told Widito to remove          Link, a computer facility available [*9] to hotel guests.
Plaintiff from the [*7] schedule so that he would not be     (Id.) Plaintiff explained to Gross that eating was not
assigned to work a preferential banquet shift and would      permitted in the Sheraton Link, and Gross responded
instead work in the dining room. (Pl. Dep. 29:14-30: 25,     that he would not eat there and was just going to check
133:3-7, 134:16-23.) Plaintiff also testified that he        his email. (Id.) When Plaintiff returned a short time later,
complained about his pay. (Pl. Dep. 29:20-31:2.)             he discovered that Gross was eating his sandwich in the
Specifically, at an unidentified time, another employee,     Sheraton Link and again told Gross that eating was not
chief engineer Nestor Mena changed Plaintiff's pay rate      permitted. (Id.) Gross insisted that he be permitted to
in the computer system. Plaintiff reported the incident,     finish his sandwich, and a dispute ensued, during which
Mena was required to correct the pay rate and                Plaintiff alleges that Gross acted in a "very aggressive"
apologize, and Plaintiff was compensated for the             manner, cursed, and hit Plaintiff on the left wrist with a
discrepancy in pay. (Pl. Dep. 135:16-136:21.)                leather billfold. (Id.; 56.1 Statement ¶¶ 20, 21; 56.1
                                                             Counterstatement ¶¶ 20, 21.) While both Gross and
Plaintiff also claims that he was required to perform        Plaintiff were attempting to speak with restaurant
duties outside his ordinary job responsibilities such as     manager Widito, Plaintiff alleges that Gross referred to
bringing ice for the bartender when he was working at        him as a "bastard" and pointed at him. (Final Pretrial
room service, taking room service orders when he was         Order 4.) Plaintiff screamed "don't curse me" and "I'm
working in the restaurant, handling noise complaints and     not going to take any more crap from you" and then
other security issues, and bringing batteries to the hotel   used two hands to push Gross away. (Id.) Widito then
rooms. (Pl. Dep. 119:11-121.13; 160:22-163:7.) Plaintiff     directed Plaintiff to Human Resources, where Johnston
contends that he was asked to perform tasks outside his      asked Plaintiff to go home for the day pursuant to hotel
job description more frequently than white or Hispanic       policy. (Id.) Plaintiff was placed on suspension while
employees. (Pl. Dep. 120:21-121:13.) Plaintiff also          Defendant investigated these [*10] events (the "Gross
claims that beverage and nightclub manager Floody            incident"). (Id.)
asked Plaintiff to tie Floody's shoelaces. [*8] (Pl. Dep.
160:22-163:7.)                                               After the incident, Gross filed a report with the Mahwah
                                                             Police Department, and Plaintiff subsequently filed his
Plaintiff also alleges that the other Muslim and darker-     own report. (Id. 5.) Gross also filed a civil suit against
skinned employees were forced out of the hotel after         the hotel and received a financial settlement. (Id.)
September 11, 2001. (Pl. Dep. 101:19-21; 105:23-             Defendant conducted an investigation into the Gross
106:18.) Plaintiff claims that: (1) Defendant stopped        incident and took written statements from Plaintiff,
using the Bangladeshi employment agency and                  Widito, and Gross. (Id.) Johnston and the hotel's general
switched to an agency with "white looking" Polish            manager, Wolford, together made the decision to
employees, (Pl. Dep. 108:5-109:11); (2) he and other         terminate Plaintiff's employment. (Id.) Approximately five
Bangladeshi employees were required to work at               days after the incident, on or about July 23, 2009,
positions beneath their level, such as busboy instead of     Plaintiff met with Johnston and Wolford, who together
waiter, on holidays, (Pl. Dep. 105:2-106:18; 123:10-         informed Plaintiff that his employment was terminated
125:3); (3) Bangladeshi employees were not given             for violation of the hotel's Workplace Violence Policy,
preferential shifts, (Pl. Dep. 106:3-18); (4) lighter-       which provides, in relevant part:
skinned employees were kept in positions where they               Interstate expressly prohibits any acts or threats of
would be more visible to guests, (Pl. Dep. 125:4-7); and          violence by any Interstate associate . . . in or
(5) another Bangladeshi employee was forced to                    around Interstate facilities, or elsewhere, at any
perform tasks such as throwing salt outside on a snow             time. Interstate also prohibits any acts or threats of
day and cleaning a supervisor's car. (Pl. Dep. 106:20-            violence against guests, vendors, visitors or other
23; 118:6-119:10.)                                                persons on Interstate property at any time or while
                                                                  they are engaged in business with or on behalf of
                                                                  Interstate.

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(Id. 3, 5.) The Workplace Violence Policy states             inferences must be construed in the light most favorable
 [*11] that "[i]f the Company determines that workplace      to the non-moving party. Peters v. Del. River Port Auth.,
violence has occurred, the Company will take                 16 F.3d 1346, 1349 (3d Cir. 1994). The judge's function
appropriate corrective action and may impose discipline      is not to weigh [*13] the evidence and determine the
on offending associates, up to and including                 truth of the matter, but to determine whether there is a
termination."       (56.1  Statement    ¶     3;   56.1      genuine issue for trial. Anderson, 477 U.S. at 249.
Counterstatement ¶ 3.)                                       "Consequently, the court must ask whether, on the
                                                             summary judgment record, reasonable jurors could find
                                                             facts that demonstrated, by a preponderance of the
4. Comparator Incident                                       evidence, that the nonmoving party is entitled to a
                                                             verdict." In re Paoli R.R. Yard PCB Litig., 916 F.2d 829,
Plaintiff presented evidence of another episode of           860 (3d Cir. 1990).
workplace violence that had a different outcome for the
employees involved. On or about November 29, 2008,           HN2[ ] The party seeking summary judgment always
Plaintiff was working as a bartender at the hotel and        bears the initial burden of production. Celotex, 477 U.S.
served hotel guest Jay Zaretsky. (Final Pretrial Order 5.)   at 323. This burden requires the moving party to
Plaintiff witnessed an inebriated Zaretsky behaving          establish either that there is no genuine issue of
inappropriately by offering champagne to two female          material fact and that the moving party must prevail as a
guests, touching those guests, and trying to lean on         matter of law, or demonstrate that the nonmoving party
their chests. (Id.) Plaintiff called security and was        has not shown the requisite facts relating to an essential
directed to stop serving Zaretsky alcohol. (Id. 5-6.)        element of an issue on which it bears the burden. Id. at
Zaretsky became angry, knocked over glass pitchers,          322-23. Once the party seeking summary judgment has
demanded to see a manager, and went to the hotel's           carried this initial burden, the burden shifts to the
front desk. (Id. 6.) At the front desk, Zaretsky shouted     nonmoving party.
obscenities at Floody and lunged to swing at him. (Id.;
Conca Dep. 23, 28-33, Ex. F to Schewe Supp. Decl.;           HN3[ ] To avoid summary judgment, the nonmoving
Floody Dep. 55-58, Ex. G to Schewe Supp. Decl.)              party must then demonstrate facts supporting each
Floody, Conca, and/or David Martorano then took              element for which it bears the burden, and it must
Zaretsky to the ground [*12] and restrained him. (Final      establish the existence of a "genuine issue of material
Pretrial Order 6; Conca Dep. 23, 28-33; Floody Dep. 55-      fact" justifying trial. Miller, 843 F.2d at 143; [*14] accord
58.) The Mahwah Police Department responded to the           Celotex, 477 U.S. at 324. The nonmoving party "must
incident and arrested Zaretsky. (Final Pretrial Order 6.)    do more than simply show that there is some
Floody, Conca, and Mortorano were not disciplined in         metaphysical doubt as to material facts." Matsushita
connection with these events (the "Zaretsky incident").      Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
(Id.)                                                        586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). "Where
                                                             the record taken as a whole could not lead a rational
                                                             trier of fact to find for the nonmoving party, there is no
II. LEGAL STANDARD                                           'genuine issue for trial.'" Id. at 587 (quoting First Nat'l
                                                             Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 289, 88
HN1[ ] Pursuant to Fed. R. Civ. P. 56(c), a motion for       S. Ct. 1575, 20 L. Ed. 2d 569 (1968)). Further, summary
summary judgment will be granted if the pleadings,           judgment may be granted if the nonmoving party's
depositions, answers to interrogatories, and admissions      "evidence is merely colorable or is not significantly
on file, together with the affidavits, if any, show that     probative." Anderson, 477 U.S. at 249-50 (citations
there is no genuine issue as to any material fact and        omitted).
that the moving party is entitled to judgment as a matter
of law. See Anderson v. Liberty Lobby, Inc., 477 U.S.
242, 247, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986);          III. DISCUSSION
Celotex v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548,
91 L. Ed. 2d 265 (1986). In other words, "[s]ummary
judgment may be granted only if there exists no genuine
issue of material fact that would permit a reasonable        A. Employment Discrimination
jury to find for the nonmoving party." Miller v. Indiana
Hosp., 843 F.2d 139, 143 (3d Cir. 1988). All facts and       HN4[    ] The NJLAD provides that it is unlawful "[f]or an

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employer, because of the race, creed, color, [or]                  inference of discrimination because even if a reasonable
national origin . . . of any individual . . . to discharge . . .   jury could conclude that Plaintiff has established a prima
from employment such individual or to discriminate                 facie case, no reasonable jury could find Defendant
against such individual in compensation or in terms,               lacked a legitimate, nondiscriminatory reason for
conditions or privileges of employment . . . ." N.J.S.A.           Plaintiff's termination or that Defendant's proffered
10:5-12(a). HN5[ ] On a motion for summary judgment                reason is pretextual.
on an NJLAD discrimination claim without direct
evidence of discrimination, the Court applies the
burden-shifting framework set forth in McDonnell                   2. Legitimate, Nondiscriminatory Reason
Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817,
36 L. Ed. 2d 668 (1973). [*15] See Jakimas v.                      HN6[ ] Assuming [*17] arguendo that Plaintiff has
Hoffmann-LaRoche, Inc., 485 F.3d 770, 788 (3d Cir.                 established a prima facie case, the burden of production
2007). Thus, the plaintiff must first establish a prima            shifts to Defendant to introduce "evidence which, taken
facie case of discrimination by showing that: (1) he               as true, would permit the conclusion that there was a
belongs to a protected class; (2) he was performing his            nondiscriminatory     reason    for    the    unfavorable
job at a level that met his employer's legitimate                  employment decision." Fuentes v. Perskie, 32 F.3d 759,
expectations; (3) he suffered an adverse employment                763 (3d Cir. 1994) (citing St. Mary's Honor Ctr. v. Hicks,
action; and (4) the adverse employment action occurred             509 U.S. 502, 113 S. Ct. 2742, 125 L. Ed. 2d 407
under circumstances giving rise to an inference of                 (1993)). "The employer need not prove that the
discrimination. See Goosby v. Johnson & Johnson                    tendered reason actually motivated its behavior . . . ." Id.
Med., Inc., 228 F.3d 313, 318-19 (3d Cir. 2000); Jones             (citing Texas Dep't of Cmty. Affairs v. Burdine, 450 U.S.
v. Sch. Dist. of Phila., 198 F.3d 403, 410-11 (3d Cir.             248, 101 S. Ct. 1089, 67 L. Ed. 2d 207 (1981))
1999); Taylor v. Amcor Flexibles Inc., 669 F. Supp. 2d             (emphasis in original).
501, 506 (D.N.J. 2009). If the plaintiff establishes a
prima facie case, the burden of production shifts to the           Defendant's proffered justification for Plaintiff's
defendant to provide a "legitimate, nondiscriminatory              termination is Plaintiff's involvement in a physical
reason" for the termination. McDonnell Douglas, 411                altercation with a hotel guest in violation of Defendant's
U.S. at 802; see also Taylor, 669 F. Supp. 2d at 506. If           Workplace Violence Policy. (56.1 Statement ¶ 32; Mot.
the defendant articulates a legitimate, nondiscriminatory          Br. 10.) It is undisputed that such an altercation
reason, the burden returns to the plaintiff to show that           occurred, (56.1 Statement ¶ 23; 56.1 Counterstatement
the defendant's proffered reason or reasons are                    ¶ 23), and such violence or even the threat of violence
pretextual. McDonnell Douglas, 411 U.S. at 804-05;                 constitutes a legitimate, nondiscriminatory reason for
Taylor, 669 F. Supp. 2d at 506.                                    termination. See Exantus v. Harbor Bar & Brasserie
                                                                   Rest., 386 F. App'x 352, 355 (3d Cir. 2010) (stating that
                                                                   HN7[ ] "violence in the workplace is clearly a
1. Prima Facie Case                                                legitimate, nondiscriminatory reason for terminating
                                                                    [*18] an employee"); see also Holland v. Macerich, Civ.
Defendant [*16] does not dispute that the first three              No. 09-914, 2011 U.S. Dist. LEXIS 149657, 2011 WL
elements of the prima facie case are satisfied; namely,            6934969, at *4 (D.N.J. Dec. 29, 2011) (finding
that Plaintiff belongs to a number of protected classes,           "argumentative and threatening behavior" a legitimate
that Plaintiff was performing his job at an acceptable             justification under the NJLAD). Consequently,
level, and that Plaintiff suffered an adverse employment           Defendant has met its burden of articulating a
action. (Final Pretrial Order 3-4; 56.1 Statement ¶¶ 5,            legitimate, nondiscriminatory reason for Plaintiff's
14, 15, 32, 33.) Defendant does, however, dispute                  termination, and the burden returns to Plaintiff to show
whether there exists a material issue of fact as to the            that the stated reason is pretextual.
fourth element, namely that similarly situated employees
who are not members of the protected classes were not
subjected to termination or that the adverse employment            3. Pretext
action otherwise occurred under circumstances giving
rise to an inference of discrimination. (Mot. Br. 6-10.)           HN8[   ] On a motion for summary judgment where
The Court need not decide whether there exists an
                                                                       the defendant answers the plaintiff's prima facie
issue of material fact as to whether Plaintiff's termination
                                                                       case with legitimate, non-discriminatory reasons for
occurred under circumstances giving rise to an

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    its action, the plaintiff must point to some evidence,     their employer's treatment of them for it." Davis v. City of
    direct or circumstantial, from which a factfinder          Phila. Water Dep't, 57 F. App'x 90, 92 (3d Cir. 2003)
    could reasonably either (1) disbelieve the                 (internal quotation marks and citation omitted). In
    employer's articulated legitimate reasons; or (2)          comparing the two incidents, the "focus is on the
    believe that an invidious discriminatory reason was        particular criteria or qualifications identified by the
    more likely than not a motivating or determinative         employer as the reason for the adverse action." Pivirotto
    cause of the employer's action.                            v. Innovative Sys., Inc., 191 F.3d 344, 359 (3d Cir.
                                                               1999) (citation omitted).
Fuentes, 32 F.3d at 764 (citations omitted). In other
words, the "evidence rebutting the employer's proffered        Viewing the record in the light most favorable to the
legitimate reasons must allow a factfinder reasonably to       Plaintiff, the facts of the Gross and Zaretsky incidents
infer that each of the employer's proffered non-               differ too significantly for a reasonable jury to consider
discriminatory reasons . . . was either a post hoc             Conca, Floody, or Martorano valid comparators. First, it
fabrication or otherwise did not actually [*19] motivate       is [*21] undisputed that Zaretsky was intoxicated while
the employment action (that is, the proffered reason is a      Gross was not. (56.1 Statement ¶ 53; 56.1
pretext)." Id. (citations omitted and emphasis in original);   Counterstatement ¶ 53.) Second, it is undisputed that
see also Swider v. Ha-Lo Indus., Inc., 134 F. Supp. 2d         Zaretsky had been physically destructive and had
607, 627 (D.N.J. 2001). The plaintiff "must demonstrate        verbally and physically harassed other hotel guests,
such weaknesses, implausibilities, inconsistencies,            while Gross had not. (56.1 Statement ¶¶ 20, 37, 39;
incoherencies, or contradictions in the employer's             56.1 Counterstatement ¶¶ 20, 37, 39.) Third, although
proffered legitimate reasons for its action that a             Plaintiff notes that Conca's and Floody's recollections of
reasonable factfinder could rationally find them               the Zaretsky incident differ in some respects, it is
unworthy of credence and hence infer that the employer         undisputed that Zaretsky initiated physical contact with
did not act for [the asserted] non-discriminatory              Conca, Floody, and possibly Martorano; in contrast,
reasons." Fuentes, 32 F.3d at 765 (internal quotation          although Gross allegedly hit Plaintiff on the wrist with a
marks and citations omitted; emphasis and alteration in        leather billfold while in the Sheraton Link, (Final Pretrial
original).                                                     Order 4; 56.1 Statement ¶¶ 20, 21; 56.1
                                                               Counterstatement ¶¶ 20, 21), it is undisputed that at a
Plaintiff argues that Defendant's stated reason for            separate location thereafter, Plaintiff initiated physical
Plaintiff's termination is pretextual because: (1) similarly   contact with Gross. (56.1 Statement ¶¶ 22, 23, 45, 49;
situated employees outside Plaintiff's protected classes       56.1 Counterstatement ¶¶ 22, 23, 45, 49.) Fourth, it is
retained their jobs, while Plaintiff's employment was          undisputed that Conca, Floody, and possibly Martorano
terminated, (Opp'n Br. 15); and (2) other events show          merely restrained Zaretsky by bringing him to the
an ongoing effort to "force out the Bangladeshi                ground and holding him there until the police arrived; at
employees." (Id. 15-18.)                                       a minimum, Plaintiff pushed Gross. 4 (56.1 Statement ¶¶
                                                               23, 45, 49; 56.1 Counterstatement [*22] ¶¶ 23, 45, 49.)
                                                               Fifth, it is undisputed that the Mahwah Police
a. Comparators                                                 Department subsequently arrested Zaretsky for his
                                                               conduct; Gross was not arrested and in fact,
As to Defendant's treatment of similarly situated              subsequently filed a police report as a complainant and
employees, Plaintiff argues that his treatment following       a civil complaint against the hotel. (56.1 Statement ¶ 35,
the Gross incident was different from the treatment of         53; 56.1 Counterstatement ¶ 35, 53.) Given these
Conca, [*20] Floody, and Martorano following the               undisputed facts concerning each of the incidents and
Zaretsky incident. It is undisputed that Plaintiff was         the significant differences between them, these two
terminated while Conca, Floody, and Martorano retained
their jobs. (Final Pretrial Order 6.) The facts of the Gross
and Zaretsky incidents, however, are insufficiently            4 Other evidence in the record suggests that Plaintiff may have
comparable for a reasonable jury to find Plaintiff             punched Gross in the face. (56.1 Statement ¶¶ 29-31; 56.1
"similarly situated" to Conca, Floody, and Martorano.          Counterstatement ¶¶ 29-31.) The Court assumes to be true
HN9[ ] For Conca, Floody, and Martorano to serve as            the facts more favorable to Plaintiff, namely that Plaintiff
comparators, they "must have engaged in the same               pushed Gross rather than punched him. Nonetheless, the
                                                               Court finds a push or a shove insufficiently similar to restraint
conduct without such differentiating or mitigating
                                                               of an inebriated leering or groping guest to render Conca,
circumstances that would distinguish their conduct or
                                                               Floody, or Martorano valid comparators.

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encounters cannot be described as substantially similar.       phase." Ray v. Pinnacle Health Hospitals, Inc., 416 F.
                                                               App'x 157, 164 (3d Cir. 2010) (citing Simpson v. Kay
Plaintiff repeatedly argues that Defendant's Workplace         Jewelers, 142 F.3d 639, 645-46 (3d Cir. 1998)). Thus,
Violence Policy "contains no exceptions," (see, e.g.,          even if Conca, Floody, and/or Martorano were valid
Opp'n Br. 10, 11, 13), and thus insists that Defendant         comparators, Plaintiff would need to offer additional
executed the policy "in a preferential and discriminatory      evidence that could lead a jury to conclude that the
way" by terminating Plaintiff while [*23] retaining            stated reason for his termination is pretextual to sustain
Conca, Floody, and Martorano. (Id. 14.) To the contrary,       his burden under the McDonnell Douglas framework. He
the policy states that "[i]f the Company determines that       has failed to do so.
workplace violence has occurred, the Company will take
appropriate corrective action and may impose discipline
on offending associates, up to and including                   b. Past Treatment
termination."      (56.1     Statement     ¶     3;     56.1
Counterstatement ¶ 3 (emphasis added).) The plain text         The other events in the workplace that Plaintiff
of the policy gives Defendant's managers the discretion        described do not provide facts from which a reasonable
to assess instances of workplace violence on an                jury could infer that the proffered reason for the
individual basis and impose appropriate discipline.            termination was pretextual. Plaintiff argues that events
Thus, Plaintiff's insistence that Defendant had no choice      beyond the Zaretsky incident demonstrate an ongoing
but to terminate Conca, Floody, and Martorano pursuant         effort to "force out the Bangladeshi employees," (Opp'n
to the policy is meritless. Defendant was within its           Br. 15-18), and show that Defendant's stated reason for
discretion to terminate Plaintiff while retaining the other    Plaintiff's termination is pretextual. (Id. 33.) In essence,
employees, particularly given the undisputed factual           Plaintiff argues that after September 11, 2001,
differences between Plaintiff's actions and the actions of     Defendant began a "crusade" to force out certain
Conca, Floody, and Martorano. See Greenawalt v.                employees, that Plaintiff's termination was consistent
Clarion Cty., 459 F. App'x 165, 168-69 (3d Cir. 2012)          with that "crusade," and that evidence of Plaintiff's past
(affirming grant of summary judgment, in part for failure      treatment at work could lead a reasonable [*26] jury to
to present evidence of pretext, because the employer           conclude that ethnicity, not Plaintiff's altercation with a
defendant "was well [*24] within its discretion in treating    guest, caused his termination. (Id. 2.) Specifically,
[the employee plaintiff's] case differently than those of      Plaintiff points to portions of his own deposition
his comparators" and agreeing with the District Court          describing instances in which: (1) other hotel employees
that the employer's determination that the plaintiff           used racial epithets like "Arab," "Indian," or "terrorist,"
"committed a sufficiently egregious offense worthy of          (id. 16 (citing Pl. Dep. 102:19-20; 109:17-110:14;
termination was such that a fact-finder could not              110:19-21; 117:10-118:5); (2) Plaintiff was required to
reasonably infer that [his] termination was a post hoc         perform duties outside his ordinary job responsibilities,
fabrication, or that [his protected characteristics]           (id. (citing Pl. Dep. 119:10-121:3; 143:10-24; 160:22-
motivated" the termination); Dunlap v. Merritt Hospitality,    163:7)); (3) Bangladeshi employees were given
Civ. No. 08-2019, 2009 U.S. Dist. LEXIS 22195, 2009            undesirable positions and/or schedules, (id. 16 (citing
WL 737372, at *6-7 (E.D. Pa. Mar. 18, 2009) (granting          Pl. Dep. passim)); (4) Plaintiff was denied permission to
summary judgment, in part for failure to present               use a "fake" name, (id. 17 (citing Pl. Dep. 101:13-
evidence of pretext, where one hotel employee "was an          102:4)); (5) another hotel employee changed Plaintiff's
active aggressor" while his proffered comparator               pay rate in the hotel system, (id. 17 (citing Pl. Dep.
"wrestled an individual to the ground"); see also              135:4-136:10)); and (6) Plaintiff was terminated after
Gazarov v. Diocese of Erie, 80 F. App'x 202, 206 (3d           failing to return to work after a 2002 vacation to
Cir. 2003) (affirming grant of summary judgment                Bangladesh, but was rehired with a loss of his
because even where the plaintiff "assert[s] a subjective       accumulated seniority when he returned to work two or
belief that another's behavior is more serious, . . . unless   three weeks later. (id. 18 (citing Pl. Dep. 40:20-41:13).
it is the same conduct as the plaintiff's, the supposedly
more serious act by the comparator is irrelevant")             Accepting all of these allegations as true, they
(emphasis in original).                                        nonetheless do not provide a sufficient basis upon
                                                               which [*27] a reasonable jury could infer that the Gross
Moreover,HN10[ ] "[w]hile identification of one or two         incident was a "post hoc fabrication or otherwise did not
comparators may be sufficient at the prima facie stage         actually motivate the employment action." Fuentes, 32
 [*25] of analysis, it is not sufficient at the pretext        F.3d at 764. Plaintiff's argument would require a jury to

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conclude that for nearly eight years, from September 11,       reliance may have been misplaced is not a sufficient
2001, until July 18, 2009, Defendant attempted to force        ground to find that Plaintiff's termination was
Plaintiff out of his job, all the while giving Plaintiff       discriminatory. See Zangara v. Somerset Med. Ctr., No.
positive performance reviews and recommending him              L-1039-08, 2011 N.J. Super. Unpub. LEXIS 2529, 2011
for other positions. (56.1 Statement ¶ 14; 56.1                WL 4577335, at *13 (N.J. Super. App. Div. Oct. 5, 2011)
Counterstatement ¶ 14; Ex. F to Wexler Decl.                   (stating that HN11[ ] "the plaintiff cannot simply show
(describing Plaintiff in 2002 as a "flexible" and "multi-      that the employer's decision was wrong or mistaken,
talented" employee with "excellent" or "good" ratings in       since the factual dispute at issue is whether
all but one category—leadership); Ex. G to Wexler Decl.        discriminatory animus motivated the employer, not
(describing Plaintiff in 2003 as a "very good" and             whether the employer is wise, shrewd, prudent, or
"dependable" employee who "meets standard" in all              competent") (quoting Fuentes, 32 F.3d at 765).
categories); Ex. H. to Wexler Decl. (recommending
Plaintiff for employment in 2004 and stating that he "has      Consequently, no reasonable jury could conclude, on
always come up to the task at hand"); Ex. I to Wexler          the basis of Plaintiff's prior treatment at work, that
Decl. (recommending Plaintiff for employment in 2004           Defendant concocted the reason for Plaintiff's
as "an asset to our company as a capable employee              termination after the fact or that the Gross incident did
and a hard worker"); Ex. J to Wexler Decl.                     not cause [*30] Defendant to terminate Plaintiff. Thus,
(recommending Plaintiff for employment in 2008 as "a           even assuming that Plaintiff had been able to establish
valuable       full-time     associate    in    excellent      a prima facie case of discriminatory termination under
 [*28] standing").)      The    duration   of   Plaintiff's    the NJLAD, Defendant has articulated a legitimate,
employment, his positive reviews, and the nature of his        nondiscriminatory reason for Plaintiff's termination and
physical encounter with Gross make implausible the             Plaintiff has failed to meet his burden to show that the
notion that Defendant used the Gross incident as a             stated reason was pretextual. Because no reasonable
pretext. See Brokenbaugh v. Exel Logistics N. Am., Inc.,       jury could conclude, even viewing the facts in a light
174 F. App'x 39, 46 (3d Cir. 2006) (stating that if the        most favorable to Plaintiff, that the Gross incident was a
"managers had been burdened with the discriminatory            pretext for Plaintiff's termination, summary judgment is
animuses [the plaintiff] claims, one would expect that he      granted for Defendant as to Count One.
would have been terminated long before").

Plaintiff's argument would also require a jury to conclude     B. Retaliation
that when Johnston and Wolford terminated Plaintiff a
mere five days after the Gross incident, they were             HN12[ ] The NJLAD provides that it is unlawful "[f]or
motivated not by the facts of the incident, but by their       any person to take reprisals against any person
preexisting discriminatory animus dating back eight            because that person has opposed any practices or acts
years. That conclusion would be plainly inconsistent           forbidden under [the NJLAD] or because that person
with Plaintiff's admission that "[a]s a result of the [Gross   has filed a complaint." N.J.S.A. 10:5-12(d). On an
incident] investigation, and in reliance on the witness        NJLAD retaliation claim, the Court applies the
statements collected, Johnston and Wolford together            McDonnell Douglas burden-shifting framework. See
made the decision to terminate Plaintiff's employment          Cottrell v. Good Wheels, 458 F. App'x 98, 100-01 (3d
because his conduct was a clear violation of the               Cir. 2012); Sgro v. Bloomberg L.P., 331 F. App'x 932,
Workplace Violence Policy." (56.1 Statement ¶ 32; 56.1         937 (3d Cir. 2009). Thus, for a claim of retaliation, "a
Counterstatement ¶ 32 (emphasis added).) That                  plaintiff must show that: (1) he or she engaged in
admission underscores Plaintiff's inability [*29] to meet      protected conduct known to the defendant; (2) he
his burden of proving that the Gross incident was a             [*31] or she was subjected to an adverse employment
pretext for his termination.                                   decision; and (3) there was a 'causal link' between the
                                                               protected activity and the adverse decision." Marrero v.
Moreover, Johnston and Wolford made their decision             Camden Cty. Bd. of Social Serv., 164 F. Supp. 2d 455,
after reviewing witness statements indicating that             472-73 (D.N.J. 2001); see also Cottrell, 458 F. App'x at
Plaintiff punched Gross in the face. (56.1 Statement ¶¶        100; Victor v. State, 203 N.J. 383, 409, 4 A.3d 126
29-30; 56.1 Counterstatement ¶¶ 29-30.) Even if those          (2010). If the plaintiff establishes a prima facie case, the
witness statements were inaccurate, Defendant's                burden of production shifts to the defendant to
representatives reasonably relied upon them in making          "articulate a 'legitimate, non-retaliatory reason for the
the termination decision. That Johnston's and Wolford's        action.'" Marrero, 164 F. Supp. 2d at 473 (quoting

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Shepherd v. Hunterdon Developmental Ctr., 336 N.J.             employment action," but "where there is a lack of
Super. 395, 418, 765 A.2d 217 (App. Div. 2001)). If the        temporal proximity, circumstantial evidence of a 'pattern
defendant articulates a legitimate, non-retaliatory            of antagonism' following the protected conduct can also
reason, the burden returns to the plaintiff to                 give rise to the inference." Kachmar, 109 F.3d at 177
"demonstrate that a retaliatory intent motivated the           (quoting Robinson v. Southeastern Pa. Transp. Auth.,
defendants." Id. (citing Shepherd, 336 N.J. Super. at          982 F.2d 892, 895 (3d Cir. 1993)). Thus, if "the temporal
418).                                                          proximity is not so close as to be unduly suggestive" of
                                                               retaliation, "timing plus other evidence may be an
Thus,HN13[ ] to obtain summary judgment in its favor,          appropriate test." Williams v. Philadelphia Housing Auth.
"the employer must show that the trier of fact could not       Police Dep't, 380 F.3d 751, 760 (3d Cir. 2004) (internal
conclude, as a matter of law, (1) that retaliatory animus      quotation marks and citations omitted).
played a role in the employer's decisionmaking process
and (2) that it had a determinative effect on the outcome      Plaintiff's entire argument concerning a prima facie case
of that process." Krouse v. American Sterilizer Co., 126       of retaliation contains two citations to the record. The
F.3d 494, 501 (3d Cir. 1997) (emphasis [*32] added).           first is a citation to paragraphs 14 and 15 of Defendant's
According to Krouse,                                           56.1 Statement, which state that Plaintiff received
                                                               positive reviews and letters of recommendation. (Opp'n
     this may be accomplished by establishing the              Br. 20 (citing 56.1 Statement ¶¶ 14, [*34] 15).) That
     plaintiff's inability to raise a genuine issue of         Plaintiff received positive reviews and letters of
     material fact as to either: (1) one or more elements      recommendation after lodging one or more complaints
     of the plaintiff's prima facie case or, (2) if the        about his coworkers' actions weighs against an
     employer offers a legitimate non-retaliatory reason       inference that Plaintiff's eventual termination was
     for the adverse employment action, whether the            retaliatory. See Elmiry v. Wachovia Corp., Civ. No. 04-
     employer's proffered explanation was a pretext for        3621, 2007 U.S. Dist. LEXIS 84919, 2007 WL 4117260,
     retaliation.                                              at *12 (D.N.J. Nov. 16, 2007) (granting summary
                                                               judgment as to a retaliation claim where "[n]o conduct of
Id. (citations omitted).
                                                               [the plaintiff's supervisor] in the interim suggests any
                                                               animus. In fact, plaintiff got a positive annual review,
1. Prima Facie Case                                            receiving a 'Meets Expectations' overall rating
                                                               subsequent to the incident.").
HN14[ ] At the summary judgment stage, a plaintiff
                                                               The second is a citation to page 149 of Plaintiff's
meets his initial burden if he shows that "the proffered
                                                               deposition transcript, (Opp'n Br. 19), which reads:
evidence, looked at as a whole . . . suffice[s] to raise the
                                                                   Q. You said you didn't want to complain to Human
inference" of a causal connection between protected
                                                                   Resources or to any of your supervisors because
activity and an adverse employment action. Kachmar v.
                                                                   you were afraid you're going to be fired, correct?
SunGard Data Sys. Inc., 109 F.3d 173, 177 (3d Cir.
                                                                   A. Correct.
1997). In this context, protected activity includes
                                                                   Q. But the one time that you did get Human
"oppos[ing] any practice made unlawful by [LAD]" or
                                                                   Resources involved with Helen Johnston, you
when an individual "has made a charge, testified,
                                                                   know, with Jerry Thompson nothing bad happened
assisted, or participated in any manner in an
                                                                   to you?
investigation, proceeding, or litigation" regarding
                                                                   A. No.
"discrimination against any individual with respect to his
                                                                   Q. So, I want to understand why do you believe you
compensation, terms, conditions, or privileges of
                                                                   were going to be fired if you did complain to Human
employment, because of such an individual's [protected
                                                                   Resources?
characteristic]." Barber v. CSX Distrib. Servs., 68 F.3d
694, 701-02 (3d. Cir. 1995) [*33] (citations omitted);             A. Because the other people you, like, they call me
see also Fabrikant v. Arthur J. Gallagher & Co. et al.,            names. They call me names, they call me
No. L-4417-04, 2008 N.J. Super. Unpub. LEXIS 3057,                  [*35] terrorists every week. So, how many times do
2008 WL 281690 at *7-8 (N.J. Super Ct. App. Div. Feb.              you think I should go over there and tell them.
4, 2008). With respect to a causal link, courts have               Every time they call me you terrorists, so I should
"focused on the temporal proximity between the                     go over there and tell them. I don't think so because
employee's protected activity and the adverse                      how many times somebody going to hear me then


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    saying the same thing over and over. So this is why         complaints about ethnic remarks were addressed
    I just kept it inside to myself.                            without repercussion. (Pl. Dep. 147:24-149:21.) See
    Q. But you didn't even tell them once?                      Chambers, 2006 U.S. Dist. LEXIS 32334, 2006 WL
    A. No.                                                      1281308, at *10 n.6 (finding lack of protected activity
                                                                when plaintiff contended he feared retaliation but
(Pl. Dep. 148:24-149:21.) On this record, which reflects        admitted he did not know of any prior incidents of
just one complaint to Human Resources, there is no              retaliation and knew of his employer's anti-harassment
factual basis to support Plaintiff's argument that he           policy).
made "constant complaints of discrimination over his
decade of employment with the Sheraton [that] were the          Plaintiff further testified that he complained to Widito
catalyst leading to his termination." (Opp'n Br. 20             when McNamara gave a woman named Libra the best
(emphasis added).)                                              shifts based on McNamara's personal relationship with
                                                                her (Pl. Dep. 126:13-129:13). HN16[ ] Complaints of
Looking beyond these two citations, a review of the             preferential treatment based upon a personal
entire record shows two other complaints and                    relationship are not protected under NJLAD and thus
responses thereto, namely that: (1) in around 2007 or           cannot provide a basis for relief. See Stewart v. Cty. of
2008, Hortado yelled at Plaintiff and called him "Indian"       Hudson, No. L-3579-07, 2011 N.J. Super. Unpub.
after Plaintiff cursed at Hortado, (Pl. Dep. 129:17-            LEXIS 1965, 2011 WL 2935042 at *11 (N.J. Super Ct.
131:21); after the incident, Food and Beverage Director         App. Div. July 22, 2011) (citation omitted) (finding that
Trata and the chef took the two of them to the chef's           although plaintiff submitted complaints, since [*38] they
office and made them shake hands, and Hortado                   were not "couched in terms of LAD based membership,"
received a verbal warning, (Pl. Dep. 131:11-21, 131:25-         there was no protected activity); Sunkett v. Misci, 183 F.
132:5); and (2) [*36] at an unidentified time chief             Supp. 2d 691, 719 (D.N.J. 2002); Dungee v. Northeast
engineer Mena changed Plaintiff's pay rate in the               Foods, Inc., 940 F. Supp. 682, 689 (D.N.J. 1996).
computer system but once Plaintiff reported the incident
to Human Resources, Mena was forced to correct the              As a whole, the record shows that Plaintiff complained
pay rate and apologize to Plaintiff and Plaintiff was           sporadically about treatment by his coworkers between
compensated for the week that he reported the error.            2002 and 2008. Plaintiff was terminated at least a year
(Pl. Dep. 135:6-136:21). Thus, after each complaint to a        after the last instance of protected activity he cites, but
supervisor, once in 2002 or 2003, once in 2007 or 2008,         merely five days after the Gross incident Defendant
and once at an unidentified time, management                    cites as the sole reason for Plaintiff's termination. There
reprimanded the offending employee and the offending            are thus no facts upon which a reasonable jury could
conduct ceased, (see Pl. Dep. 102:23-25, 131:11-21,             find temporal proximity between Plaintiff's protected
131:25-132:5), and there is no evidence to show Plaintiff       activity and his termination. See Williams v. Phila. Hous.
was negatively impacted as a result of his complaints.          Auth. Police Dep't, 380 F.3d 751, 760 (3d Cir. 2004)
                                                                (finding a lapse of two months between protected
Plaintiff also testified that Conca, Floody and McNamara        activity and employment action not "unduly suggestive"
called him a "terrorist" and "Arab" a "lot of times" but he     of retaliation); Levins v. Braccia, No. L-2980-06, 2009
never complained to anyone and instead tried to ignore          N.J. Super. Unpub. LEXIS 1473, 2009 WL 1658610, at
the comments or change the subject because he                   *7 (N.J. Super. App. Div. June 16, 2009) (finding a lapse
thought such complaints would be futile or because he           of four months between confrontation with supervisor
feared retaliation. (Pl. Dep. 103:19-104:17, 109:17-            and termination insufficient to support causal
110:10.) Such HN15[ ] a fear "does not obviate the              connection).
requirement for protected activity." Chambers v.
Heidelberg USA, Inc., Civ. No. 04-583, 2006 U.S. Dist.          The absence of facts upon which temporal proximity
LEXIS 32334, 2006 WL 1281308, at *10 (D.N.J. May 5,             could be found weighs against [*39] an inference of
2006) (finding that the plaintiff had [*37] not engaged in      causal connection, and Plaintiff here has not
protected activity when he never complained of                  demonstrated the "pattern of antagonism" necessary to
discrimination prior to his termination even though he          support such an inference when no temporal proximity
alleged his failure to report was based on fear of              exists. Kachmar, 109 F.3d at 177. The record shows
retaliation). Additionally, while Plaintiff alleges he feared   that management almost always responded to Plaintiff's
he would be fired for complaining, he admits that no one        complaints and caused the objectionable conduct to
told him such action was a possibility and his earlier


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cease, 5 that the managers did not engage in the                   complaint and termination that no reasonable jury could
objectionable conduct about which he complained, and               conclude this termination was because of his complaints
that Plaintiff received positive reviews after complaining.        and not his physical contact with Gross. Thus, even if
Rather than a pattern of antagonism, the record                    Plaintiff had established a prima facie case of retaliation,
demonstrates that Defendant's managers took steps to               summary judgment for Defendant is appropriate
remedy issues Plaintiff raised by imposing discipline on           because Defendant has articulated a legitimate, non-
intolerant employees. Thus, no reasonable jury could               retaliatory reason for Plaintiff's termination that Plaintiff
conclude, on the record presented, that retaliatory                has failed to rebut. Consequently, summary judgment is
animus played a role in Defendant's decisionmaking                 granted for Defendant as to Count Two.
process or that retaliatory animus had a determinative
effect on the outcome of that process. The only
reasonable inference is that Plaintiff was terminated,             C. Hostile Work Environment
five days after the Gross incident, for his involvement in
that incident. Consequently, Plaintiff has failed to meet          HN17[ ] To establish an NJLAD claim for hostile work
his burden to establish a prima facie case of retaliation.         environment, the plaintiff must show that "the
                                                                   complained-of conduct (1) would not have occurred but
                                                                   for the employee's [protected characteristic]; and it was
2. Legitimate, Non-retaliatory Reason                              (2) severe or pervasive enough to make a (3)
                                                                   reasonable [person in plaintiff's protected class] believe
For the reasons discussed in Section III.A.2 supra,                that [*42] (4) the conditions of employment are altered
Defendant has articulated a legitimate reason for                  and the working environment is hostile or abusive."
Plaintiff's termination that is neither discriminatory nor         Hurley v. Atlantic City Police Dep't, 174 F.3d 95, 114 (3d
retaliatory—his physical altercation with a hotel guest,           Cir. 1999) (citing Lehmann v. Toys R Us, Inc., 132 N.J.
Aaron Gross. Thus, even if Plaintiff had established a             587, 603-04, 626 A.2d 445 (1993)).
prima facie case of retaliation, the burden would return
to Plaintiff to show that a reasonable jury could conclude         Viewing the relevant facts in the light most favorable to
that a retaliatory intent motivated Defendant.                     Plaintiff, the record shows that: (1) Defendant hired
                                                                   Plaintiff around October 1998, (Final Pretrial Order 3);
                                                                   (2) in 2002, Plaintiff was terminated when he failed to
3. Pretext                                                         return to work as scheduled from his approved leave of
                                                                   absence, (id. 4); (3) Plaintiff was immediately rehired
In arguing that Defendant's stated reason for termination          when he eventually reported to work but lost the
is a pretext for retaliation, Plaintiff merely incorporates        seniority he had accrued between 1998 and 2002, (id.);
by reference his argument that the stated reason for               (4) in 2002 or 2003, Plaintiff complained to Human
termination is a pretext for discrimination. For the               Resources that Thompson had called Plaintiff "Indian,"
reasons discussed in Sections III.A.3 and III.B.1 supra,           (id 6); (5) Thompson was given a verbal warning and did
no reasonable jury could conclude, on the evidence                 not refer to Plaintiff as "Indian" again, (id.); (6) bartender
 [*41] presented, that Defendant's stated reason for               Conca, beverage and nightclub manager Floody, head
Plaintiff's termination is a pretext for retaliation. Plaintiff    bartender McNamara, and cook Hortado, none of whom
has not provided evidence that a similarly situated                were Plaintiff's manager or supervisor at the time of his
comparator was treated differently, nor is Plaintiff's             termination, (56.1 Statement ¶9, 56.1 Counterstatement
treatment at work indicative of retaliatory motive. Even           ¶9), referred to him as "Indian," "terrorist," and "Arab"
after he complained, he received positive performance              over the course of his employment, [*43] (56.1
evaluations and so much time passed between his last               Statement ¶¶ 54-60; 56.1 Counterstatement ¶¶ 54-60),
                                                                   but he never complained to anyone about these
                                                                   comments, (Pl. Dep. 103:19-104:17, 109:17-110;10,
5 Plaintiff
          testified that he requested to change his name tag to    147:21-149:21); (7) in 2007 or 2008, cook Hortado
 [*40] be less indicative of his Muslim faith, and that request    yelled at Plaintiff and called him "Indian" after Plaintiff
was denied. (Pl. Dep. 101:22-102:1.) Plaintiff does not,           cursed at Hortado, and Hortado subsequently received
however, identify any other instance in which a request to         a verbal warning, (Pl. Dep. 131:11-21; 131:25-132:5);
change a name tag was granted. While not a complaint about
                                                                   and (8) after getting into an argument with his second
a particular person's behavior, this is the only instance in the
                                                                   level supervisor Trata, Trata told Plaintiff's immediate
record where Plaintiff allegedly sought relief from hotel
                                                                   supervisor, Widito, to remove Plaintiff from the banquet
management and that relief was denied.

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schedule. (Pl. Dep. 29:14-30: 25, 133:3-7, 134:16-23.)        2863, 2010 WL 4861443 at *4 (N.J. Super. Ct. App. Div.
                                                              Dec. 1, 2010) (citing Montells v. Haynes, 133 N.J. 282,
Plaintiff also testified: (1) that the other Muslim and       292, 627 A.2d 654 (1993)). As discussed above, the
darker-skinned employees were forced out of the hotel         bulk of Plaintiff's complaints concern his treatment by
after September 11, 2001, (Pl. Dep. 101:19-21; 105:23-        coworkers between 2002 and 2008. (See Pl. Dep.
106:18); (2) that he requested a name tag that did not        29:14-30:25, 102:19-23, 110:15-24, 126:13-128:23,
contain his last name so that it would not be as obvious      129:17-131:21.) Thus, the ability to bring claims based
that he was Muslim, but the request was denied, (Pl.          upon the bulk of those incidents lapsed before he filed
Dep. 101:23-102:1); (3) that Bangladeshi employees            his Complaint on October 15, 2010.
were forced out because they were not given
preferential shifts, (Pl. Dep. 105:2-106:18); (4) that        Further, contrary to Plaintiff's arguments, his complaints
another Bangladeshi employee was forced to perform            do not fall withinHN19[ ] the continuing violations
tasks such as throwing salt outside on a snow day and         theory, which allows a claim to proceed if one of a
cleaning a supervisor's [*44] car because he was              "series of acts, [*46] which together created the hostile
Bangladeshi, (Pl. Dep. 106:20-23; 118:6-119:10); (5)          environment" occurred within the statutory period.
that Defendant stopped using the Bangladeshi                  Helmi, 2010 N.J. Super. Unpub. LEXIS 2863, 2010 WL
employment agency and switched to an agency with              4861443 at *4. Here, Plaintiff failed to show a
"white looking" employees, (Pl. Dep. 108:5-109:11); (6)       relationship between the alleged conduct that occurred
that Plaintiff was asked to perform tasks outside his job     before the statute of limitations and that which occurred
responsibilities more frequently than white or Hispanic       within the statutory period. See 2010 N.J. Super.
employees, (Pl. Dep. 119:11-121:13; 160:24-163:7); (7)        Unpub. LEXIS 2863, [WL] at *5 (finding no continuing
that white and Hispanic employees were given better           violation where the plaintiff was unable to show the
shifts, (Pl. Dep. 121:14-123:9); and (8) that Plaintiff and   incidents were "consistent, persistent, or unrelenting
other Bangladeshi employees were required to work at          throughout this time" but rather were "isolated and
positions beneath their level, such as busboy instead of      infrequent"). With the exception of Plaintiff's allegation
waiter, on holidays, (Pl. Dep. 123:10-125:6); (9) that        that Hortado called him names during an argument
lighter-skinned employees were kept in positions where        which possibly occurred in 2008, 6 potentially within the
they would be more visible to guests, (Pl. Dep. 125:4-7);     two-year statutory period, Plaintiff fails to identify dates,
and (10) that chief engineer Mena changed Plaintiff's         or even years, that the alleged events—the name
pay rate in the computer system, but when Plaintiff           calling, denial of his request for a different name tag,
reported the incident to Human Resources, Mena was            assignment of unfavorable shifts and job assignments
forced to correct the pay rate and apologize to Plaintiff.    on holidays, requests to do jobs outside his
(Pl. Dep. 135:6-136:10, 137:1.)                               responsibilities, use of a different employment agency,
                                                              keeping lighter-skinned employees in more visible
These allegations do not provide a sufficient basis upon      positions, and Mena changing his pay rate— occurred.
which a reasonable jury could find Defendant liable to        Rather, he merely refers to them as occurring during the
Plaintiff for his hostile work environment claim because:     period of time following September 11, 2001. (56.1
(1) [*45] much of the alleged conduct is time-barred          Statement ¶¶ 54-60.) [*47] Further, the incidents that
and thus not actionable, and Plaintiff has not                were actually brought to management's attention were
established that the "continuing violation" exception to      addressed and thus, undercut a reasonable juror's
the statute of limitations applies; (2) Plaintiff has not     ability to find pervasive discrimination throughout
demonstrated that Defendant can be held vicariously           Plaintiff's employment. Accordingly, as Plaintiff has
liable for the conduct of Plaintiff's coworkers; (3) the      failed to provide evidence upon which a reasonable
alleged conduct is insufficiently severe or pervasive; and    juror could find that many of the events upon which he
(4) Plaintiff has not shown the conditions of his             relies to establish a hostile work environment claim fall
employment were altered.                                      within the statutory limitations period and he has not
                                                              presented sufficient facts from which a reasonable jury
                                                              could find a continuing violation, his hostile work
1. Time Barred Complaints                                     environment claim fails.
HN18[ ] The statute of limitations for hostile work
environment claims under the NJLAD is two years. See
                                                              6 Plaintiff
                                                                       alleges this incident occurred in either 2007 or 2008.
Helmi, No. L-2398-06, 2010 N.J. Super. Unpub. LEXIS
                                                              (56.1 Statement ¶ 60; Pl. Dep. 131:11-132:5.)

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                                                              Defendant is not liable to Plaintiff for the creation of a
2. Vicarious Liability                                        hostile work environment under traditional agency
                                                              principles.
HN20[ ] For an employer to be liable for a hostile work
environment, a plaintiff must show that the offending
conduct was done by a "supervisor who was acting as           3. Severity or Pervasiveness
the defendant's agent under traditional agency
principles." Entrot v. BASF Corp., 359 N.J. Super. 162,       HN21[ ]        When     evaluating    the     severity     or
171, 819 A.2d 447 (App. Div. 2003). The "mere title of        pervasiveness requirement of a hostile work
manager or supervisor does not by itself suffice to           environment claim, a court examines [*50] all the
impute that employee's knowledge or actions to the            circumstances such as "frequency of the discriminatory
employer." Cavuoti v. NJ Transit Corp., 161 N.J. 107,         conduct; its severity; whether it is physically threatening
123, 735 A.2d 548 (1999) (internal quotations [*48] and       or humiliating, or a mere offensive utterance; and
citations omitted). Rather, whether an individual             whether it unreasonably interferes with an employee's
constitutes a supervisor for the purposes of imputing         work performance." Heitzman v. Monmouth Cnty., 321
liability on the defendant employer depends on whether        N.J. Super. 133, 147-48, 728 A.2d 297 (1999) (holding
the plaintiff believed that the offending employee had        "sporadic" and "casual" comments that did not
the authority to negatively affect the plaintiff's working    physically threaten, humiliate or alter the plaintiff's "work
life, such as the power to terminate and demote the           performance" were not severe or pervasive); see also
plaintiff, to affect compensation, and to control work        Caver v. City of Trenton, 420 F.3d 243, 263 (3d Cir.
functions. Entrot, 359 N.J. Super. at 181. Plaintiff's        2005); Harris v. Forklift Sys. Inc., 510 U.S. 17, 21, 114
supervisors at the time of his termination were Widito,       S. Ct. 367, 126 L. Ed. 2d 295 (1993). The conduct itself
Trata, and Wolford, none of whom Plaintiff alleges made       is what must be severe or pervasive, not the impact on
discriminatory remarks. (56.1 Statement ¶ 9; 56.1             the plaintiff or the work atmosphere. Lehmann, 132 N.J.
Counterstatement ¶ 9.) Moreover, there is no evidence         at 606.
in the record from which a reasonable jury could find
that Conca, Floody, McNamara, or Hortado, the                 Although it is unclear from the record how often
individuals who are alleged to have repeatedly used           Plaintiff's coworkers used ethnic epithets, the references
racial epithets, had the ability to terminate or demote       to Plaintiff as "Indian," "terrorist," and "Arab," are
Plaintiff or affect his pay or work duties. Although Floody   certainly offensive and inappropriate, and show "lack of
is identified as the beverage and nightclub manager, the      racial or ethnic sensitivity." Russo v. Ryerson, Civ. No.
fact that he had that title, without more, fails to           01-CV-4458 JLL, 2006 U.S. Dist. LEXIS 10447, 2006
demonstrate he had the authority to hire, fire, discipline,   WL 477006 at *15 (D.N.J. Feb. 27, 2006) (finding a
or control Plaintiff's wages, hours, or working conditions    supervisor's use of the word "ginzo", "while
such that Defendant would be liable for the offensive         discourteous" was not sufficient to meet the severity or
 [*49] name calling Plaintiff attributes to him. See          pervasive requirement [*51] of the NJLAD); see also
Cavuoti, 161 N.J. at 123-24 (citing Ulrich v. K-Mart          Fabrikant, 2008 N.J. Super. Unpub. LEXIS 3057, 2008
Corp., 858 F. Supp. 1087, 1093 (D. Kan. 1994) and             WL 281690 at *6 (citing Heitzman, 321 N.J. Super. at
Hunter v. Countryside Assoc. for the Handicapped, Inc.,       147) (stating that an anti-employment discrimination law
723 F. Supp. 1277, 1278 (N.D. Ill. 1989)). Thus, a            is not meant to be "a general civility code for conduct in
reasonable jury could not find that these individuals         the workplace") (internal quotation marks omitted). It is
were Plaintiff's supervisors or that Defendant would be       undisputed that Plaintiff never told management about
liable for their conduct. Had the record showed that the      these remarks and that, when he brought problems he
statements were made within the statute of limitations        encountered to management, his complaints were
and had the record showed that these individuals were         addressed. The sole request he made that was denied
Plaintiff's supervisors, the outcome may have been            involved his request to change or omit portions of his
different. See Cutler v. Dorn, 196 N.J. 419, 440, 955         name on his name tag. Nothing in the record sheds light
A.2d 917 (2008) (finding a supervisor's degrading             on why the request was denied, but it is logical to infer
comments about the plaintiff's faith and ancestry directly    that an employer requires name tags so that its guests
aimed at plaintiff may be a basis to hold the employer        can identify employees they encounter. Furthermore,
liable for hostile work environment). As Plaintiff's          encouraging employees to conceal their ethnicity or
supervisors did not make the derogatory comments and          religion could in fact be viewed as inconsistent with an
as he attributed the remarks only to his co-workers,          equal employment opportunity workplace. Moreover,

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Plaintiff's request would not have addressed the attitude     (finding that although demonstration of a change in
of Plaintiff's coworkers who already knew his name and        conditions was not required, a rational factfinder could
would not have addressed the conduct about which he           believe that working conditions were altered when
now complains. Thus, the denial of this request does not      following a supervisor's racist remark, other employees
provide a basis for the employer to be found to have           [*54] "acted coolly" toward the plaintiff and "created the
hosted a hostile work [*52] environment.                      impression that they had been told to stay away from
                                                              her"). Plaintiff does not allege that the behavior or
As to the matters concerning work assignments,                events he described altered his supervisors' views of
Plaintiff's own testimony shows that he did not view          him and in fact, he continued to receive positive
decisions about assignments as being based on his             evaluations and recommendations for other positions
ethnic background. Rather, he testified that they were        until his termination. (56.1 Statement ¶¶ 14-15; 56.1
based on a personal relationship between the person           Counterstatement ¶¶ 14-15.) Accordingly, Plaintiff fails
making the assignments and the person who received            to demonstrate the conditions of his employment were
them. (Pl. Dep. 126:13-129:13.) Thus, protected               altered based on the comments and incidents he
characteristics were not "the cause of the harassment,        described.
[which] is the defining element of a hostile work
environment claim." Fabrikant, 2008 N.J. Super. Unpub.
LEXIS 3057, 2008 WL 281690 at *6 (internal quotation          5. Anti-Discrimination Policies
marks and citations omitted). Moreover, even assuming
he was asked to perform tasks outside his job                 Additionally, Defendant had effective preventive and
responsibilities, such as bringing ice for the bartender      remedial measures in place to address complaints of
when he was working at room service, taking room              discrimination, which weighs against a finding of liability.
service orders when he was working in the restaurant,         HN23[ ] Although the mere presence of anti-
handling noise complaints and other security issues,          harassment policies does not prove an absence of
and bringing batteries to the hotel rooms, none of these      negligence, "effective preventative mechanisms"
tasks was inherently demeaning, (see Pl. Dep. 119:11-         demonstrate "some evidence of due care" by the
121.13; 160:22-163:7), and he was positively                  employer. Lehmann, 132 N.J. at 621. To avoid liability,
recognized for his good work and attitude, including his      the policies cannot merely be present but must be
flexibility, (Ex. F to Wexler Decl.), dependability, (Ex. G   "backed up by consistent practice." Id. A company will
to Wexler Decl.), hard work, (Ex. I to Wexler Decl.), and     be less apt to be liable for a hostile work environment
rising to the [*53] task at hand. (Ex. H. to Wexler Decl.)    claim if it has "policies reflecting a lack of tolerance for
The single episode he described that could be viewed          harassment" [*55] such as "periodic publication to
as demeaning, namely being asked to tie Floody's              workers of its anti-harassment policy; an effective and
shoelaces, if true, was obnoxious, but Floody's behavior      practical grievance process; and training sessions for
does not provide a basis to conclude that Defendant           workers, supervisors, and managers about how to
maintained a hostile work environment. (See Pl. Dep.          recognize and eradicate unlawful harassment." Cavuoti,
160:22-163:7.) To the contrary, Plaintiff admitted that he    161 N.J. at 121.
was "embarrassed to tell anybody" about that incident,
and Defendant therefore did not receive notice of             Here, Defendant had a published policy against
Floody's conduct. (Pl. Dep. 161:3-5.) and comments            discrimination that Plaintiff acknowledged that he
described in the record rose to the requisite level of        received.     (56.1    Statement   ¶¶    2,   4;    56.1
severity or pervasiveness.                                    Counterstatement ¶¶ 2, 4.) Further, as discussed in
                                                              Section III.B.1 supra, Defendant demonstrated that it did
                                                              not tolerate harassment by responding to Plaintiff's
4. Altered Conditions of Employment                           complaints against Thompson, Hortado, and Mena.
                                                              Although Plaintiff alleges that other employees also
Although HN22[ ] a plaintiff need not prove "evidence         made discriminatory comments, Plaintiff admits he did
of actual change in working conditions" to demonstrate        not report them and thus, Defendant did not know about
a hostile work environment, Taylor v. Metzger, 152 N.J.       these comments and could not take action. See
490, 505, 706 A.2d 685 (1998), here Plaintiff's failure to    Burlington Indus. v. Ellerth, 524 U.S. 742, 765, 118 S.
produce evidence showing the complained of actions            Ct. 2257, 141 L. Ed. 2d 633 (1998) (holding HN24[ ]
altered his conditions of employment further undermines       an employer should not be held responsible when its
his hostile work environment claim. See id. at 508            employee "unreasonably failed to take advantage of any

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preventative or corrective opportunities provided by the
employer"). As Defendant had effective anti-harassment
policies in place and responded to complaints brought to
its attention, a reasonable jury could not [*56] find
Defendant liable on a hostile work environment claim
based on allegedly discriminatory comments made by
his coworkers that Plaintiff did not report.


IV. CONCLUSION

For the foregoing reasons, Defendant's Motion for
Summary Judgment is granted and Plaintiff's Cross-
Motion for Summary Judgment is denied. An
appropriate order will issue.

/s/ Faith S. Hochberg

Hon. Faith S. Hochberg, U.S.D.J.


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                                     Ciecka v. Cooper Health Sys.
                               United States District Court for the District of New Jersey
                                February 14, 2017, Decided; February 14, 2017, Filed
                                         Civil Action No. 15-4075 (JBS/KMW)

Reporter
2017 U.S. Dist. LEXIS 20539 *; 2017 WL 656727

                                                             SIMANDLE, Chief Judge:
MICHAEL CIECKA, Plaintiff, v. THE COOPER HEALTH
SYSTEM, Defendant.
                                                             I. INTRODUCTION

                                                             In this employment discrimination case, Plaintiff Michael
Core Terms                                                   Ciecka alleges that he was wrongfully terminated from
                                                             his position as a radiology technologist with Defendant
technologists, operating room, termination, summary          The Cooper Health System because of his age. Plaintiff
judgment, retaliation, performance evaluation, age           avers that he was subjected to age discrimination,
discrimination, competency, parties, reasons, staff,         retaliation, and a hostile work environment in violation of
Radiology, skills, non discriminatory reason, protected      the Age Discrimination in Employment Act, 29 U.S.C. §
activity, Deposition, assigned, comments, hostile work       621 et seq., and the New Jersey Law Against
environment, discriminatory, disputes, expectations,         Discrimination, N.J.S.A. 10:5-1 et seq. The Cooper
complaints, progress, severe, cases, hostile work            Health System now moves before this Court for
environment claim, adverse employment action,                summary judgment on all of Plaintiff's claims. For the
summary judgment motion, material fact                       reasons that follow, the Court will grant in part and deny
                                                             in part Cooper's motion.



Counsel: [*1] For Plaintiff: Ari R. Karpf, Esq., Julia W.    II. BACKGROUND
Clark, Esq., Karpf Karpf & Cerutti PC., Bensalem, PA.
                                                             Plaintiff Michael Ciecka ("Plaintiff") was employed as a
                                                             full-time radiology technologist by The Cooper Health
For Defendant: Christine P. O'Hearn, Esq., Brown &           System ("Cooper") from January 24, 2000 until his
Connery, LLP, Westmont, NJ.                                  termination on December 11, 2014. (Deposition of
                                                             Michael Ciecka ("Ciecka Dep.") [Exhibit A to
                                                             Certification of [*2] Christine P. O'Hearn ("O'Hearn
                                                             Cert.")] at 41:21, 295:22-25.) Plaintiff was 52 years old
Judges: HONORABLE JEROME B. SIMANDLE, Chief                  at the time of his termination. (Id. at 11:10-12.) At that
United States District Judge.                                time, only four or five staff technologists at Cooper were
                                                             older than Plaintiff, in a group of about 45 employees.
                                                             (Id. at 81:6-84:8.)

Opinion by: JEROME B. SIMANDLE
                                                             Radiology Technologists at Cooper

                                                             Radiology technologists at Cooper are responsible for
                                                             performing diagnostic radiographic procedures, placing
Opinion                                                      patient testing orders, completing necessary paperwork
                                                             and logs, and maintaining competency in a variety of


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clinical settings, including the operating room,            progress review. (See id.) Employees are rated on a 5-
emergency room, trauma, general, portable, and              point scale on core values including excellence in
fluoroscopy. (Ciecka Dep. at 61:13-62:8; see also           service, ownership, integrity, innovation, teamwork, and
Radiology Technologist Job Description [Ex. B to            respect;    their    job-specific    responsibilities  and
O'Hearn Cert.].) Most staff technologists rotate through    competencies are also rated on a 5-point scale, for
the different departments, and work is assigned by          customer service/patient care, policy and procedure
weekly schedules. (Deposition of Cindy Alessandrini         compliance, miscellaneous duties, radiation safety,
[Ex. C to O'Hearn Cert.] at 15:6-18.) A few technologists   workflow and patient care, image QC and improvement,
are assigned exclusively to the operating room and are      area [*5] competency, and computer skills. (See id.)
apparently held to a higher standard of competency          The Performance Evaluation form also provides space
than those who merely rotate through. (Deposition of        for the supervisor to identify specific skills enhancement,
Ron Colna ("Colna Dep.") [Ex. D to O'Hearn Cert.] at        training, and education an employee should undertake
134:8-18.) Day-to-day, cases in the operating [*3] room     to improve job performance and set some goals and
are assigned by a schedule set in the morning, subject      objectives for the employee's next year. (See id.)
to change if emergency cases came in. (Id. at 49:4-         Performance evaluations are signed by the employee
51:7.) The parties dispute how much control staff           and his or her manager, who may or may not be the
technologists have over the cases and procedures they       "evaluator" listed on the form. (See id.)
perform. (Compare Defendant's Statement of Material
Facts ("Def. SMF") ¶ 71 with Plaintiff's Statement of       The staff technologists at Cooper are overseen by two
Material Facts ("Pl. SMF") ¶ 71, ¶¶ 170-176.)               lead technologists; for most of the duration of Plaintiff's
                                                            employment, they were Ronald Colna and Joseph
There are two pieces of equipment in particular that        LeBender. (LeBender Dep. at 27:7-18.) Mr. Colna was
technologists use at Cooper: the O-arm and the C-arm.       promoted to the head of the department in the fall of
(Ciecka Dep. at 137:2-138:9; see also Cooper                2014 and replaced by Cindy Alessandrini. (Id. at 27:11-
University Radiology Job Specific Responsibilities and      12, 28:18-22.) Both lead technologists have the same
Competency Review [Ex. F to O'Hearn Cert.].) Both           responsibilities over the staff technologists and divide
pieces of equipment have been used in Cooper's              their authority between day and night shifts. (Id. at
operating room since at least 2010, and the                 27:24-28:12.) Because Plaintiff routinely worked day
competencies and requirements for operation did not         shifts, he reported to Mr. Colna until the fall of 2014,
change during the course of Plaintiff's employment.         when Mr. LeBender took over the day shift lead position.
(Deposition of Andrea Mullison [Ex. K to Plaintiff's        (Id. at 31:13-24.)
Statement of Material Facts ("Pl. SMF")] at 36:15-37:2.)
                                                            Cooper has a "progressive" disciplinary policy by which
Technologists' equipment skills are evaluated during        an employee is issued a [*6] verbal and written
their initial 3-month probation. (Deposition of Joseph      warnings before suspension before termination. (Id. at
LeBender ("LeBender Dep.") [Ex. H to O'Hearn Cert.] at      29:3-5, 30:12-23.) A lead technologist alone does not
25:9-20.) Once a technologist passes probation, he is       have the authority to terminate an employee without
presumed to be competent in all of the required             input from a "director level or higher." (Id. at 29:24-30:5.)
equipment [*4]      and clinical departments. (Id.)
Thereafter, technologists are reviewed annually by their
supervisors, with a focus on a different skill each year.   Plaintiff's Performance Until June 2014
(Id. at 24:19-25:8.) The Cooper Performance Evaluation
form provides space to give employees a "core value         The parties dispute how to describe Plaintiff's job
rating" and an "overall evaluation" on a scale of "does     performance as a radiation technologist before June
not meet expectations (1)" to "outstanding (5)," along      2014. Mr. Colna testified that he noticed as early as
with comments from their supervisor. (See Performance       2006 that Plaintiff avoided complex and invasive cases,
Evaluation Forms Dated 2010 through 2014 [Ex. M, N,         and that physicians and other staff had been
O, P & Q to O'Hearn Cert.]; see also Performance            complaining to him about Plaintiff for years. (Colna Dep.
Evaluations [Ex. F & S to Pl. SMF].) Those employees        at 63:16-66:12; see also Deposition of Matthew
rated "needs improvement" or "does not meet                 Harrington ("Harrington Dep.") [Ex. G to O'Hearn Cert.]
expectations" require an Action Plan for Improvement of     at 52:3-53:2.) The parties dispute if and how Plaintiff
Employee Performance, detailing a description of the        was ever made aware of these complaints. (Compare
supervisor's concerns, a plan for improvement, and a        Def. SMF ¶ 35 with Pl. SMF ¶ 25.) It is undisputed that


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Plaintiff was subjected to some disciplinary actions             out, Mr. LeBender presented an inconsistent timeline in
between 2009 and 2012 unrelated to the issues that               his recollection of these events, seeming to confuse his
allegedly gave rise to his 2014 Performance                      June comments with Plaintiff's August Performance
Improvement Plan. (See Discipline Forms [Ex. I, J, K, &          Improvement Plan. (See Pl. SMF ¶ 49.) The parties
L to O'Hearn Cert.].)                                            dispute whether any other members of the management
                                                                 team - especially Mr. Colna - knew [*9] about Plaintiff's
However, Plaintiff points out that his performance               discrimination complaint. (Compare Def. SMF ¶¶ 52-53
evaluations were strong, and he enjoyed a close                  with Pl. SMF ¶¶ 52-53.) The parties also dispute
personal relationship [*7] with Mr. Colna. Specifically,         whether Mr. LeBender's age-related comments were an
Plaintiff's performance was overall rated "exceeds               isolated incident or whether, as Plaintiff testified, he
expectations" in both 2013 and 2014, and he was given            made comments about other employees and continued
mostly or completely scores of 4 out of 5 for his                to do so during Plaintiff's Performance Improvement
competency in operating room technology and for all              Plan. (Ciecka Dep. at 87:1-89:5.)
"core values and actions." (See Plaintiff's 2014
Performance       Evaluation   and   Plaintiff's  2013
Performance Evaluation.) None of the issues raised in            The 2014 Performance Improvement Plan
the 2014 Performance Improvement Plan were ever
raised in his previous performance evaluations. (Colna           A few weeks later, an incident in the operating room
Dep. at 107:21-108:6.)                                           apparently led to management taking concrete action
                                                                 against Plaintiff, although the parties dispute what
                                                                 exactly happened. (Compare Def. SMF ¶¶ 56-63 with
The June 2014 Grievance and Written Complaint                    Pl. SMF ¶¶ 56-63.) Cooper alleges that Plaintiff created
                                                                 a "patient safety issue" by asking an inexperienced
The crux of Plaintiff's claims is that the circumstances of      recent graduate, Ryan DeLucas, to cover an O-arm
his employment changed drastically after events that             procedure in the operating room that Plaintiff was
occurred in June of 2014. On June 5, 2014, Plaintiff             supposed to take over from Matthew Harrington, one of
received a written warning for using offensive language          the radiology technologists primarily assigned to the
in a conversation about a co-worker. (Progressive                operating room. (Harrington Dep. at 90:23-92:5.)
Discipline Form dated June 5, 2014 [Ex. R to O'Hearn             Apparently, Plaintiff told Mr. DeLucas that he didn't
Cert.].) He filed a grievance challenging the warning on         know how to use the O-arm. (Email string between
June 9, 2014. (Grievance dated June 9, 2014 [Ex. U to            Ryan DeLucas and Ron Colna [Ex. CC to O'Hearn
O'Hearn Cert.]; see also Ciecka Dep. at 178:21-179:1.)           Cert.]; see also Colna Dep. at 101:4-18.) Mr. Harrington
                                                                 had to walk Mr. DeLucas [*10] through the procedure
That same day, Plaintiff sent a separate letter to
                                                                 and immediately called Mr. Colna because he "felt what
Cooper's Human Resources Department. (Complaint
                                                                 Mike did was unsafe." (Harrington Dep. at 94:7-24.)
[Exhibit Y to O'Hearn Cert.].) Plaintiff told Human
                                                                 Plaintiff asserts that he only instructed Mr. DeLucas to
Resources [*8] that Mr. LeBender, his "immediate
                                                                 take that case because the operating room was short-
supervisor" had "made references about [his] age" while
                                                                 staffed at the time and Plaintiff had to go handle another
discussing the incident that gave rise to his June 5
                                                                 case, that he did not know that this particular case was
warning. (Id.) He confided that "I can't help but feel as
                                                                 an O-arm case, and that he never told Mr. DeLucas that
though Joe LeBender has me now in 'his crosshairs,'
                                                                 he did not know how to use the O-arm. (Ciecka Dep. at
and I fear that my position here is in jeopardy . . . ." (Id.)
                                                                 206:13-208:5.)
Jill Melchiorre in Human Resources acknowledged
Plaintiff's discrimination complaint and met with him on         Mr. Colna asserts that he decided to put Plaintiff on a
July 9, 2014 to discuss it. (Deposition of Jill Melchiorre       Performance Improvement Plan ("the PIP" or "the Plan")
("Melchiorre Dep.") [Ex. AA to O'Hearn Cert.] at 22:5-15;        because of this incident. (Colna Dep. at 100:23-101:3,
see also Notes from Ms. Melchiorre [Ex. H to Pl. SMF].)          111:9-13.) He testified that the decision to place Plaintiff
Ms. Melchiorre discussed the complaint with Mr.                  on a PIP after that incident was a joint decision between
LeBender in July and he admitted to commenting on                him, Mr. LeBender, Ms. Alessandrini, and Human
Plaintiff's age, although he claimed such comments               Resources and that he drafted the Plan himself. (Id.)
were in the context of "counseling Mr. Ciecka on
performance issues." (Melchiorre Dep. at 35:2-37:13;             According to documentation on the PIP, Plaintiff
see also LeBender Dep. at 73:8-74:6.) As Plaintiff points        "struggled with maintaining a level of competency in the


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OR and other Diagnostic Imaging areas." (See PIP [Ex.           disputes the accuracy of Mr. Colna's notes indicating
DD to O'Hearn Cert.].) According the Plan, the                  that Plaintiff was not improving. (Compare Def. SMF ¶
management team was concerned that Plaintiff did "not           103 with Pl. SMF ¶ 103.)
have the confidence level or skill set to work
independently" with the O-arm [*11] and that "[i]t has          Plaintiff asserts that he was forced to adhere to rules
been documented that [Plaintiff] appears to get                 "that no one else had to adhere to" under his PIP,
confused and is unable to perform basic Task" with the          despite the fact that his issues with the O-arm and C-
C-arm. (Id.) The Plan directed that Plaintiff would be          arm were common among all staff technologists besides
assigned to the Operating Room and to "closely work             the technologists assigned primarily to the operating
with" one of the designated OR technologists in order to        room. (Ciecka Dep. at 98:1-3; Harrington Dep. at 79:8-
familiarize himself with the equipment, that Plaintiff and      11; Mullison Dep. at 23:4-24:11, 92:22-93:4; Colna Dep.
all other technologists would be required to attend a           at 55:6-58:2.) Furthermore, Plaintiff denies that he
workshop on the O-arm, and that Plaintiff would meet            struggled with O-arm and C-arm procedures during his
regularly with a member of the Management Team to               PIP, and asserts that Mr. Harrington, Ms. Mullison, and
evaluate his progress, with the goal of "improving his          Ms. Alessandrini did not spend sufficient time with him
clinical skills and as a result increase his level of self-     in the operating room to have the opportunity to
confidence." (Id.) Plaintiff had to fill out daily log sheets   realistically evaluate his skills because he was usually in
to track what procedures he worked on during his PIP            the operating room alone. (Ciecka Dep. at 209:10-17,
and meet regularly with Mr. Colna to review his                 213:20-214:18, 320:25-231:4; Harrington Dep. at 74:17-
progress. (Ciecka Dep. at 103:3-20, 218:5-18.) The              21.) In fact, he believes that he was not properly
parties dispute whether Mr. Colna alone, or Mr. Colna           supported by the lead technologists during his PIP. (See
and Mr. LeBender together, were responsible for                 Pl. SMF ¶ 91.) He also asserts that it [*14] was very
monitoring Plaintiff's progress on the PIP. (Compare            common for physicians to complain about all of the
Def. SMF ¶¶ 75, 77 with Pl. SMF ¶¶ 75, 77.) The PIP             radiology technologists except for the ones permanently
was originally scheduled to be in place from August 14,         assigned to the operating room. (Mullison Dep. at 26:20-
2014 through October 17, 2014, but it was extended to           28:23.) Finally, Plaintiff also notes that he had no control
November 7, 2014. (Melchiorre Dep. at 62:7-21.)                 over the assignments he took in the operating room and
                                                                that he did actually attend one of Ms. Mullison's training
The parties [*12] further dispute how Plaintiff performed       sessions. (Ciecka Dep. at 217:4-15.)
under the PIP. According to Cooper, Plaintiff continued
to avoid O-arm procedures and showed no initiative in
trying to gain exposure to new types of cases.                  The November 2014 EEOC Complaint
(Harrington Dep. at 66:6-68:3.) Mr. Harrington and
Andrea Mullison, another technologist assigned                  Plaintiff filed a charge of discrimination with the EEOC
primarily to the operating room, both told Mr. Colna that       on November 18, 2014 alleging age discrimination due
they did not think Plaintiff was improving during his PIP       to Mr. LeBender's comments and his treatment under
and that he seemed nervous in the operating room.               the PIP. (Charge [Ex. RR to O'Hearn Cert.].) It is
(See Harrington Dep. at 73:24-6; Mullison Dep. at               undisputed that he never told anyone at Cooper that he
89:16-90:8, 141:3-8.) Ms. Alessandrini testified that she,      filed the EEOC charge.
too, had the opportunity to observe Plaintiff in the
operating room during his PIP and that he could not use
the O-arm and had difficulty with the C-arm.                    The December 2014 Termination
(Alessandrini Dep. at 44:21-46:11, 52:5-53:19.) It
                                                                Plaintiff was terminated on December 11, 2014, at his
appears that Plaintiff did not attend training sessions
                                                                last meeting with Mr. Colna under the PIP. (Ciecka Dep.
held by Ms. Mullison for all of the staff technologists on
                                                                at 295:22-25.) Mr. Colna and Ms. Alessandrini were
the O-arm. (Mullison Dep. at 118:2-22.) Physicians
                                                                present, and it is undisputed that Human Resources
complained about Plaintiff's performance and apparently
                                                                approved of the decision to terminate. (Colna Dep. at
stated that they did not want him working on their cases.
                                                                144:15-21; Melchiorre Dep. at 69:8-14.) Plaintiff
(Harrington Dep. at 76:7-20, 99:5-100:8, 113:7-13;
                                                                believes that Mr. LeBender, although not present at the
Certifications from Drs. Bussey, Graf, Yocom, Dolch,
                                                                meeting, was part of the decision to terminate his
and Mashru [Ex. KK, MM, OO, PP, and QQ to [*13]
                                                                employment.       (Colna    Dep.     at     138:4-139:7;
O'Hearn Cert.].) It is undisputed that Plaintiff met with
                                                                Defendant's [*15] Answers to Plaintiff's First Set of
Mr. Colna three times during the PIP, but Plaintiff

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Interrogatories [Ex. M to Pl. SMF] at No. 3.) According      that party the benefit of all reasonable inferences. Scott
to Mr. Colna, Plaintiff was fired for failing to improve     v. Harris, 550 U.S. 372, 378, 127 S. Ct. 1769, 167 L. Ed.
under the PIP. (Id. at 135:1-138:10; see also                2d 686 (2007); Halsey v. Pfeiffer, 750 F.3d 273, 287 (3d
Performance Plan Improvement Time Line for Michael           Cir. 2014). However, any such inferences "must flow
Ciecka [Ex. TT to O'Hearn Cert.].) Mr. Colna relied on       directly from admissible evidence [,]" because "'an
complaints from physicians and feedback from Mr.             inference based upon [] speculation or conjecture does
Harrington, Ms. Mullison, and Ms. Alessandrini, that         not create a material factual dispute sufficient to defeat
"[Plaintiff] was still unable to perform to the standard     summary judgment.'" Halsey, 750 F.3d at 287 (quoting
expectations that we hold for all technologists" in          Robertson v. Allied Signal, Inc., 914 F.2d 360, 382 n. 12
coming to the decision that "the only other option we        (3d Cir. 1990); citing Anderson, 477 U.S. at 255).
[had] at this point [was] to terminate." (Colna Dep. at
145:1-146:4.)
                                                             IV. DISCUSSION [*17]
Plaintiff filed this two-count action against Cooper on
June 16, 2015, bringing claims for age discrimination,       The Age Discrimination in Employment Act ("ADEA"), 29
retaliation, and hostile work environment work               U.S.C. § 621 et seq., prohibits discrimination in
environment pursuant to the ADEA and NJLAD. [Docket          employment with respect to "compensation, terms,
Item 1.] After the parties exchanged discovery, Cooper       conditions, or privileges of employment, because of
filed the instant motion for summary judgment. [Docket       such individual's age." 29 U.S.C. § 623(a). Under the
Item 28.] The motion is now fully briefed and the Court      New Jersey Law Against Discrimination ("NJLAD"),
will decide without holding oral argument pursuant to        N.J.S.A. 10:5-1 et seq., an employer may not
Fed. R. Civ. P. 78.                                          discriminate or take any unlawful employment practice
                                                             "because of . . . age." N.J.S.A. 10:5-12(a). Both statutes
                                                             also make it unlawful for an employer to retaliate against
III. STANDARD OF REVIEW                                      any employee who opposes any discriminatory
                                                             employment practice, files a complaint, or participates in
Federal Rule of Civil Procedure 56(a) generally provides     an investigation, proceeding, or litigation. 29 U.S.C. §
that the "court shall grant summary judgment if the          623(d); N.J.S.A. 10:5-12(d). Since claims under the
movant shows that there is no genuine dispute [*16] as       ADEA and NJLAD utilize the same analytical
to any material fact" such that the movant is "entitled to   framework, the Court will discuss the state and federal
judgment as a matter of law." Fed. R. Civ. P. 56(a). A       claims together. Turner v. Schering-Plough Corp., 901
"genuine" dispute of "material" fact exists where a          F.2d 335, 341 (3d Cir. 1990).
reasonable jury's review of the evidence could result in
"a verdict for the non-moving party" or where such fact
might otherwise affect the disposition of the litigation.    A. Defendant Is Not Entitled to Summary Judgment
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106      on Plaintiff's Age Discrimination Claims
S. Ct. 2505, 91 L. Ed. 2d 202 (1986). Disputes over
irrelevant or unnecessary facts, however, fail to            Counts I and II of the Complaint allege age
preclude the entry of summary judgment. Id.                  discrimination in violation of the ADEA and NJLAD.
Conclusory, self-serving submissions cannot alone            Liability for discrimination "depends on whether the
withstand a motion for summary judgment. Gonzalez v.         protected trait (under the ADEA age) actually motivated
Sec'y of Dept. of Homeland Sec, 678 F.3d 254, 263 (3d        the employer's decision." Hazen Paper Co. v. Biggins,
Cir. 2012) (internal citations omitted). "When the moving    507 U.S. 604, 610, 113 S. Ct. 1701, 123 L. Ed. 2d 338
party has carried its burden under Rule 56(c), its           (1993). A plaintiff must show that his "age was the 'but-
opponent must do more than simply show that there is         for' cause of the employer's adverse action." Gross v.
some metaphysical doubt as to the material facts."           FBL Fin. Servs., Inc., 557 U.S. 167, 177, 129 S. Ct.
Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,     2343, 174 L. Ed. 2d 119 (2009). It is not enough to show
475 U.S. 574, 586, 106 S. Ct. 1348, 89 L. Ed. 2d 538         that age was a "motivating [*18] factor" in the
(1986).                                                      employers' decision; age must have a "determinative
                                                             influence." Id. at 176 (quoting Hazen Paper Co. v.
In evaluating a motion for summary judgment, the Court       Biggins, 507 U.S. 604, 610, 113 S. Ct. 1701, 123 L. Ed.
must view the evidence in the light most favorable to the    2d 338 (1993)).
non-moving party, here the Plaintiff, and must provide

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The burden shifting framework set forth in McDonnell            reason for Plaintiff's Termination
Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817,
36 L. Ed. 2d 668 (1973) applies to discrimination claims        Consistent with the second step of the McDonnell
under the ADEA. Turner, 901 F.2d at 341-42. The                 Douglas analysis, Cooper presents a legitimate,
McDonnell Douglas analysis proceeds in three stages.            nondiscriminatory reason for Plaintiff's termination. The
First, the plaintiff must establish a prima facie case of       second step "does not require that the employer prove
discrimination. McDonnell Douglas, 411 U.S. at 802. In          that the articulated legitimate, nondiscriminatory reason
an age discrimination case, a discharged employee               was the actual reason for the adverse employment
must show "(1) that he belongs to the protected class,          action. Instead, the employer must provide evidence
i.e., is older than forty; (2) was qualified by training and    that will allow the factfinder to determine that the
experience for the job from which he was discharged;            decision was made for nondiscriminatory reasons."
and (3) was replaced by a person sufficiently younger to        Willis v. UPMC Children's Hospital of Pittsburgh, 808
permit an inference of age discrimination." Turner, 901         F.3d 638, 644 (3d Cir. 2015). Cooper has plainly made
F.2d at 342 (citing Sorba v. Penn. Drilling Co., 821 F.2d       this showing, taking the position that Plaintiff was
200, 202 (3d Cir. 1987)). The burden then shifts to the         terminated for failure to improve his performance under
defendant        "to     articulate    some       legitimate,   the PIP.
nondiscriminatory reason" for the plaintiff's termination.
Id. If defendant does this, the burden shifts back to the       As a staff technologist at Cooper, Plaintiff was expected
plaintiff "to prove by a preponderance of the evidence          to achieve and maintain competence in the two pieces
that the legitimate reasons offered by the defendant            of equipment that technologists use in the operating
were not its true reasons, but were a pretext for               room during surgery: the O-arm and the C-arm. (Ciecka
discrimination." Jones v. School Dist. Of Philadelphia,         Dep. at 137:2-138:9; see also Cooper University
198 F.3d 403, 410 (3d Cir. 1999). Although this burden          Radiology       Job    Specific    Responsibilities   and
of production shifts from party to party, "[t]he ultimate       Competency Review.) Cooper contends that Mr. Colna
burden of persuading the trier of fact that the defendant       placed Plaintiff on a PIP effective August 14, 2014 due
intentionally discriminated against the plaintiff [*19]         to concerns that he had "struggled with maintaining a
remains at all times with the plaintiff." Id.                   level of competency in the OR and other Diagnostic
                                                                Imaging areas." [*21] (See PIP [Ex. DD to O'Hearn
The parties assume, and the Court will as well, that            Cert.].) According the Plan, the management team was
Plaintiff has presented sufficient evidence to establish a      concerned that Plaintiff did "not have the confidence
prima facie case for age discrimination. Cooper argues          level or skill set to work independently" with the O-arm
that it is entitled to summary judgment because it              and that "[i]t has been documented that [Plaintiff]
presents a legitimate, nondiscriminatory reason for             appears to get confused and is unable to perform basic
Plaintiff's termination which he cannot rebut as pretext        Task" with the C-arm. (Id.) The Plan directed that
for discriminatory animus. Plaintiff, in turn, argues that      Plaintiff would be assigned to the Operating Room and
summary judgment is inappropriate because he can                to "closely work with" one of the designated OR
point to evidence in the record showing that he was             technologists in order to familiarize himself with the
placed on the PIP because he complained about Mr.               equipment, that Plaintiff and all other technologists
LeBender's age-related comments and that he was held            would be required to attend a workshop on the O-arm,
to disproportionate standards under the PIP because             and that Plaintiff would meet regularly with a member of
Mr. LeBender was a primary decisionmaker in Cooper's            the Management Team to evaluate his progress, with
employment actions. This motion requires the Court to           the goal of "improving his clinical skills and as a result
decide whether Plaintiff has adduced evidence from              increase his level of self-confidence." (Id.)
which a reasonable factfinder could conclude that he
could carry his burden at the third stage of the                Mr. Colna testified at his deposition that he had received
McDonnell Douglas analysis. For the following reasons,          verbal complaints from physicians and lead
the Court finds that he has come forward with evidence          technologists in the operating room about Plaintiff's
raising a genuine dispute of material fact and will deny        performance and his willingness to take on invasive
Defendant's motion for summary judgment on the age              cases in the spring of 2014, but that the situation "came
discrimination claim.                                           to a head" in August 2014 when Plaintiff created a
                                                                "patient safety issue" by asking an inexperienced recent
                                                                graduate [*22] to cover an O-arm procedure in the
1. Cooper's legitimate, [*20] nondiscriminatory                 operating room "because [he] don't know how to do


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this." (Colna Dep. at 87:14-88:16, 101:6-102:22.) Mr.          more likely than not a motivating or determinative cause
Colna testified that the decision to place Plaintiff on a      of the employer's actions." Jones, 198 F.3d at 413. Only
PIP after that incident was a joint decision between him,      at trial is a plaintiff in an employment discrimination case
Mr. LeBender, Ms. Alessandrini, and Human Resources            required to "convince the finder of fact both that the
and that he drafted the Plan himself. (Id. at 100:23-          reason was false, and that discrimination was the real
101:3, 111:9-13.)                                              reason." St. Mary's Honor Ctr. V. Hicks, 509 U.S. 502,
                                                               515, 113 S. Ct. 2742, 125 L. Ed. 2d 407 (1993)
Cooper takes the position that Plaintiff's termination was     (emphasis in original); see also Ezold v. Wolf, Block,
warranted because his performance did not improve as           Schorr and Solis-Cohen, 983 F.2d 509, 523 (3d Cir.
required under the PIP, despite extending the time             1992) (same). "To discredit the employer's proffered
period for which the Plan was in place from October            reason, the plaintiff cannot simply show that the
2014 until December 2014. (Colna Dep. at 145:1-146:4,          employer's decision was wrong or mistaken. Rather, the
147:11-148:22.) Mr. Colna relied on complaints from            non-moving         plaintiff    must       demonstrate    such
physicians and feedback from the designated OR                 weaknesses,              implausibilities,     inconsistencies,
technologists during the PIP about Plaintiff's                 incoherencies, or contradictions in the employer's
performance and confidence with the O-arm and C-arm,           proffered legitimate reasons for its action that a
and input from Ms. Alessandrini, one of the lead               reasonable factfinder could rationally find them
technologists, that "[Plaintiff] was still unable to perform   unworthy of credence, and hence infer that the
to the standard expectations that we hold for all              employer did not act for the asserted non-discriminatory
technologists" in coming to the decision that "the only        reasons." Shaner v. Synthes, 204 F.3d 494, 501 (3d Cir.
other option we [had] at this point [was] to terminate."       2000) (quoting Fuentes v. Perskie, 32 F.3d 759, 765 (3d
(Id. at 145:1-146:4; see also Harrington Dep. at 76:7-20,      Cir. 1994)).
99:5-100:8, 113:7-13 (recalling [*23] complaints from
Dr. Yocon, Dr. Graf, and Dr. Mashru); Certifications from      Plaintiff has successfully pointed to numerous issues in
Drs. Bussey, Graf, Yocom, Dolch, and Mashru [Ex. KK,           the record to rebut Cooper's stated legitimate,
MM, OO, PP, and QQ to O'Hearn Cert.].) The Court is            nondiscriminatory reason for his termination. First,
satisfied that Cooper has adequately carried its burden        Plaintiff has provided testimony from Mr. Colna that he
at the second step of the McDonnell Douglas analysis.          was aware of the complaints about Plaintiff's [*25] O-
                                                               arm and C-arm skills and leadership and teamwork
                                                               abilities identified in the PIP for some time before
2. Plaintiff's Rebuttal                                        Plaintiff was placed on the PIP, and yet never identified
                                                               them in a performance evaluation. (See Colna Dep. at
Plaintiff concedes that this is a legitimate,                  65:5-43, 87:14-90:11, 107:21-109:1). This contradicts
nondiscriminatory reason for his termination, but              other evidence in the record, by which Plaintiff has
maintains that summary judgment is not warranted               shown that his employment evaluations were positive in
because factual disputes remain over whether the PIP           the time leading up to the PIP, before he made his age
was pretext for Mr. LeBender's discriminatory animus,          discrimination      complaint.   Specifically,   Plaintiff's
and whether he was held to a different standard than           performance was overall rated "exceeds expectations"
other staff technologists at Cooper. The Court will deny       in both 2013 and 2014, and he was given mostly or
Cooper's motion for summary judgment on Plaintiff's            completely scores of 4 out of 5 for his competency in
age discrimination claim because he has pointed to             operating room technology and for "core values and
inconsistencies in the record regarding Cooper's               actions." (See Plaintiff's 2014 Performance Evaluation
rationale for placing him on the PIP and terminating his       [Ex. F to Pl. SMF] and Plaintiff's 2013 Performance
employment, and circumstantial evidence that age               Evaluation [Ex. S to Pl. SMF]). Additionally, Plaintiff has
discrimination was the motivating reason.                      also offered evidence that he was treated differently
                                                               from other staff radiology technologists; apparently
The Third Circuit has explained that a plaintiff may           many technologists, most of whom were younger than
defeat summary judgment at the third step of the               Plaintiff, had the same deficiencies with the operating
McDonnell Douglas analysis "by pointing to some                room equipment as he did, and yet no others were put
evidence, direct or circumstantial, from which a               on a PIP or otherwise disciplined. (See Harrington Dep.
factfinder would reasonably either: [*24] (1) disbelieve       at 78:11-79:11; Colna [*26] Dep. at 133:7-134:24;
the employer's articulated legitimate reasons; or (2)          Mullison Dep. at 106:14-109:5; Ciecka Dep. at 81:6-
believe that an invidious discriminatory reason was            84:8.)

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Finally, Plaintiff argues that there are factual disputes       Hous. Auth., 497 F.3d 286, 300 (3d Cir. 2007)); see also
surrounding some of Cooper's assertions. Specifically,          Battaglia v. United Parcel Service, Inc., 214 N.J. 518, 70
Plaintiff disputes the statement that physicians had            A.3d 602, 619 (N.J. 2013) (same). The employer may
complained about Plaintiff's performance for years,             then present a legitimate, non-retaliatory reason for
offering testimony from one of the permanent operating          having taken the adverse employment action, which the
room technologists that she had never heard complaints          plaintiff can then rebut as pretext. Id.
about Plaintiff before the summer of 2014. (Mullison
Dep. at 57:1-58:2.) Additionally, Plaintiff disputes            At this point, it is undisputed that Plaintiff engaged in
Cooper's recounting of the allegedly precipitating              protected activity by submitting a written complaint of
incident with the recent graduate in the operating room:        age discrimination to Cooper's Human Resources
Plaintiff testified at his deposition that he asked the         Department on June 9, 2014.1 Similarly, both parties
graduate to cover the O-arm procedure, before knowing           assume that Plaintiff was subjected to two adverse
the type of procedure that it was, because there were           employment actions: being placed on a PIP in August of
two simultaneous procedures happening in the                    2014 and his termination on December 11, 2014.2
operating room; that he offered to take the one that was        Where Plaintiff and Cooper disagree is whether Plaintiff
scheduled to last longer; and that he never told the            can demonstrate a causal connection between his June
graduate that he didn't know how to work the O-arm.             complaint of discrimination and his adverse employment
(See Ciecka Dep. at 206:17-209:9.) Although Plaintiff           actions.
will have to contend at trial with the fact that the primary
decisionmakers in his case were also all over 40, if all        Cooper argues that Plaintiff cannot prove causation
reasonable inferences are extended in [*27] favor of            because he cannot show that the sole decisionmaker,
Plaintiff, a reasonable jury could believe Plaintiff's theory   Mr. Colna, was aware of Plaintiff's discrimination
that his performance issues were manufactured by                complaint. Of course, an employer cannot retaliate
management as pretext for age discrimination. These             against an employee if the employer's decisionmaker
material factual disputes and "inconsistencies . . . and        did not know of the employee's protected activity. Moore
contradictions" in Cooper's stated reason for Plaintiff's       v. City of Philadelphia, 461 F.3d 331, 351 (3d Cir. 2006).
termination preclude the entry of summary judgment on           Nevertheless, Plaintiff has pointed to evidence in the
this claim.                                                     record showing that Mr. Colna was not the sole
                                                                decisionmaker who [*29] put Plaintiff on a PIP in
                                                                August and terminated his employment in December.
B. Defendant Is Not Entitled to Summary Judgment                According to Plaintiff, the decision to place him on a PIP
on Plaintiff's Retaliation Claims                               was a joint decision between Mr. Colna, Mr. LeBender,
                                                                Ms. Alessandrini, and Human Resources, and the
Counts I and II also allege that Cooper retaliated against      decision to terminate his employment was made by Mr.
Plaintiff for engaging in protected activity under the          Colna with input from Mr. LeBender and Ms.
ADEA       and    NJLAD      by   reporting     age-based       Alessandrini and with the approval of Human
discrimination. Both statutes make it unlawful for an           Resources. (Colna Dep. at 100:23-101:3, 111:9-13,
employer to retaliate against any employee who                  138:20-140:18.) From this, a reasonable factfinder could
opposes any discriminatory employment practice, files a         infer that the decision to take adverse employment
complaint, or participates in an investigation,
proceeding, or litigation. 29 U.S.C. § 623(d); N.J.S.A.
                                                                1 As Cooper points out in its moving papers, Plaintiff also
10:5-12(d).
                                                                engaged in protected activity by filing an EEOC Complaint in
The McDonnell Douglas burden-shifting framework                 November 2014. However, because Plaintiff's arguments
                                                                focus solely on his June complaint to Human Resources, the
applies to retaliation claims under the ADEA and
                                                                Court will not consider whether there is a causal link between
NJLAD. Daniels v. School Dist. of Philadelphia, 776
                                                                Plaintiff's EEOC Complaint and termination.
F.3d 181, 193 (3d Cir. 2015). To state a prima facie
                                                                2 Cooper   would have this Court read Plaintiff's Opposition Brief
case for retaliation, a plaintiff must show "(1) protected
employee activity; (2) adverse action by the employer           to mean that he has abandoned his claim that the PIP is an
either after or contemporaneous with the employee's             adverse employment action. (Reply at 3, discussing Opp'n at
                                                                29.) The Court rejects this interpretation of Plaintiff's Brief and
protected activity; and (3) a causal connection between
                                                                will consider whether a causal connection exists between
the employee's protected activity [*28] and the
                                                                Plaintiff's complaint and both purported adverse employment
employer's adverse action." Id. (citing Marra v. Phila.
                                                                actions.

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actions against Plaintiff was made, at least in part, by       reasons, the Court will deny Cooper's summary
someone with knowledge of his protected activity.              judgment motion on this claim.
Accordingly, factual disputes preclude the summary
judgment on this basis.
                                                               C. Defendant Is Entitled to Summary Judgment on
The Third Circuit has described three ways to establish        Plaintiff's Hostile Work Environment Claims
causation in a retaliation case: "(1) an unusually
suggestive temporal proximity between the protected            Finally, Counts I and II also allege that Plaintiff was
activity and the allegedly retaliatory action, or (2) a        subjected to a hostile work environment at Cooper after
pattern of antagonism couple with timing to establish a        making his complaint of discrimination against Mr.
causal link," or, in the absence of that proof, (3) "the       LeBender, in violation of the ADEA and the NJLAD.3
plaintiff must show that from 'the evidence gleaned from
the entire record as a whole' the trier of fact should infer   A hostile work environment is one which is "permeated
causation." Lauren W. ex rel. Jean W. v. DeFlaminis,           with discriminatory intimidation, ridicule, and insult that
480 F.3d 259, 267 (3d Cir. 2007).                              is sufficiently severe or pervasive as to alter the
                                                               conditions of [his] employment and create an abusive
The crux of Plaintiff's argument [*30] is that his position    working environment." Nat'l R.R. Passenger Corp. v.
changed dramatically between the spring and summer             Morgan, 536 U.S. 101, 116, 122 S. Ct. 2061, 153 L. Ed.
of 2014, and that the only difference was his                  2d 106 (2002) (internal quotation marks omitted). To
discrimination complaint in June. Plaintiff points to his      prevail on a hostile work [*32] environment claim, a
positive performance reviews and close relationship with       plaintiff must establish that "(1) he suffered intentional
Mr. Colna prior to his protected activity on the one hand,     discrimination because of his [age]; (2) the
and the sudden change to a PIP with "unrealistic goals"        discrimination was pervasive or regular; (3) it
and no support, and higher expectations of performance         detrimentally affected him; (4) it would have
placed on him than on other technologists who                  detrimentally affected a reasonable person of the same
struggled with the same operating room equipment, on           protected class in his position; and (5) there is a basis
the other, to lead to the inference that his protected         for vicarious liability." Caver v. City of Trenton, 420 F.3d
activity was the reason he was placed on the PIP and           243, 262 (3d Cir. 2005) (internal quotation marks
"set up to fail." (See Opp. at 35-36.) "[C]ircumstantial       omitted); see also Taylor v. Metzger, 152 N.J. 490, 706
evidence, such as inconsistent reasons given by the            A.2d 685, 688-89 (N.J. 1998) (holding that a hostile
employer for terminating the employee or the employer's        work environment claim under NJLAD requires a plaintiff
treatment of other employees [may] give rise to an             to demonstrate "that the defendant's conduct (1) would
inference of causation when considered as a whole."            not have occurred but for the employee's [protected
Marra v. Philadelphia Housing Authority, 497 F.3d 286,         status]; and [that the conduct] was (2) severe or
302 (3d Cir. 2007) (discussing Farrell 206 F.3d at 280-        pervasive enough to make a (3) reasonable [person of
81). The Court is satisfied that Plaintiff has made a          the same protected class] believe that (4) the conditions
prima facie showing for his retaliation claim, and for the     of employment are altered and the working environment
reasons discussed above, has presented enough                  is hostile or abusive.")
evidence to rebut Cooper's legitimate, nondiscriminatory
reason as pretext.                                             Under both statutes, whether conduct is severe or
                                                               pervasive depends on the "totality of the
It would be improper for the Court to enter summary            circumstances." Andrews v. City of Philadelphia, 895
judgment at the present time on this claim. There is           F.2d 1469, 1482 (3d Cir. 1990); see also Taylor, 706
enough [*31] material in the record, viewed in the light       A.2d at 692 ("Severity and workplace hostility are
most favorable to Plaintiff, for a jury to infer that          measured by surrounding circumstances."). The
retaliation caused Plaintiff to be placed on a PIP and         circumstances to be considered "may include the
terminated. A jury could choose to read between the            frequency of the discriminatory conduct; its severity;
lines and link the few weeks between Plaintiff's
discrimination   complaint      and    PIP   with    the
                                                               3 The  Complaint also alleges "Age-based Hostile Work
"inconsistencies . . . and contradictions" in Cooper's
changing assessment of Plaintiff's job performance to          Environment" in violation of the ADEA and NJLAD, but the
                                                               Court deems those claims abandoned because Plaintiff's
conclude that Cooper unlawfully retaliated against him
                                                               opposition brief addresses only his claims for a hostile work
for making a complaint of age discrimination. For these
                                                               environment in retaliation for his discrimination complaint.

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whether it is physically threatening or humiliating, or a     JEROME B. SIMANDLE
mere [*33] offensive utterance; and whether it
unreasonably interferes with an employee's work               Chief U.S. District Judge
performance." Harris v. Forklift Sys., Inc., 510 U.S. 17,
23, 114 S. Ct. 367, 126 L. Ed. 2d 295 (1993); Cutler v.
Dorn, 196 N.J. 419, 955 A.2d 917, 925 (N.J. 2008)             ORDER
(same). While "offhanded comments, and isolated
                                                              This matter having come before the Court on Defendant
incidents (unless extremely serious)" are not sufficient to
                                                              The Cooper Health System's motion for summary
sustain a hostile work environment claim, Faragher v.
                                                              judgment [Docket Item 28]; the Court having considered
City of Boca Raton, 524 U.S. 775, 788, 118 S. Ct. 2275,
                                                              the submissions of the parties; for the reasons
141 L. Ed. 2d 662 (1998), the cumulative impact of
                                                              explained in the Opinion of today's date; and for good
incidents which individually would be insufficiently
                                                              cause shown;
severe may create a hostile work environment. Cutler,
955 A.2d at 925; see also Andrews, 895 F.d at 1484 ("a        IT IS this 14th day of February, 2017, hereby
discrimination analysis must concentrate not on
individual incidents, but on the overall scenario.")          ORDERED that Defendant's motion for summary
                                                              judgment [Docket Item 28] is GRANTED IN PART AND
In this case, Plaintiff avers that being placed on a PIP      DENIED IN PART; and it is further
despite prior positive work performance evaluations and
having his work closely monitored under the PIP               ORDERED that summary judgment is GRANTED as to
constitutes a hostile work environment. Cooper takes          Plaintiff's hostile work environment claims; and it is
the position that summary judgment is proper because          further
this conduct was not severe or pervasive conduct so as
to constitute a hostile work environment. The Court           ORDERED that summary judgment is DENIED as to
agrees. "[I]t is well-settled that being closely supervised   Plaintiff's age discrimination and retaliation claims. [*35]
or watched does not constitute an adverse employment
                                                              /s/ Jerome B. Simandle
action that can support a [hostile work environment
claim], and that having one's work micromanaged may           JEROME B. SIMANDLE
be unpleasant but does not give rise to a hostile
environment claim." McKinnon v. Gonzales, 642 F.              Chief U.S. District Judge
Supp. 2d 410, 423 (D.N.J. 2009) (internal citations
omitted);     see     also    Shepherd      v.   Hunterdon
Developmental Ctr., 174 N.J. 1, 803 A.2d 611, 626 (N.J.         End of Document
2002) ("Similarly, [*34] without more, an employer's
filing of a disciplinary action cannot form the basis of a
LAD complaint."). Without evidence of further
discriminatory conduct, there is no basis from which a
jury could reasonably identify sufficiently serious,
pervasive, offensive and humiliating conduct rising to
the level of a hostile work environment. The Court will
grant Cooper's motion for summary judgment on this
claim.


V. CONCLUSION

An accompanying Order will be entered.

February 14, 2017

Date

/s/ Jerome B. Simandle


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                                       Houston v. Dialysis Clinic, Inc.
                                  United States District Court for the District of New Jersey
                                       June 26, 2015, Decided; June 26, 2015, Filed
                                               Civ. Action No.: 13-4461(FLW)

Reporter
2015 U.S. Dist. LEXIS 83151 *; 2015 WL 3935104


KELLY HOUSTON, Plaintiff, v. DIALYSIS CLINIC, INC.,
                                                                Opinion by: Freda L. Wolfson
d/b/a DCI and RHONDA BICHARD, Defendants.




Notice: NOT FOR PUBLICATION                                     Opinion


                                                                WOLFSON, District Judge:

                                                                Plaintiff Kelly Houston ("Plaintiff" or "Houston"), a
Core Terms                                                      registered nurse, was employed by Defendants Dialysis
                                                                Clinic, Inc. ("DCI") from February 2013 until June 2013,
termination, pretext, similarly situated, disability,
                                                                at which time she was allegedly terminated for poor job
infraction, employees, disciplined, retaliation, patient,
                                                                performance, a decision made in part by her manager,
email, temporal proximity, prima facie case, reasons,
                                                                defendant Rhonda Bichard ("Bichard").1 Plaintiff
disciplinary action, summary judgment, violations,
                                                                instituted this suit against Defendants, alleging that her
scheduled, race discrimination, discriminatory,
                                                                termination was based upon race and disability
complaints, suspension, nurses, verbal, warned,
                                                                discrimination, and retaliation for engaging in protected
adverse employment action, panic attack, clinic,
                                                                employment activity, in violation of 42 U.S.C.S. § 1981
summary judgment motion, employment decision,
                                                                and New Jersey Law Against Discrimination ("NJLAD").
written warning
                                                                In the instant matter, Defendants move for summary
                                                                judgment on all claims. For the reasons set forth herein,
                                                                the Court GRANTS Defendants' motion in its entirety.
Counsel: [*1] For KELLY HOUSTON, Plaintiff: ARI R.
KARPF, JEREMY M. CERUTTI, LEAD ATTORNEYS,
                                                                BACKGROUND
JULIA W. CLARK, MARK THOMAS SOTTILE, KARPF,
KARPF & CERUTTI, P.C., BENSALEM, PA.                            The following facts are undisputed unless otherwise
                                                                noted. Houston was a hired as a staff nurse at DCI's
For DIALYSIS CLINIC, INC., doing business as DCI,               North Brunswick dialysis clinic commencing on February
RHONDA RICHARD, Defendants: SHARON P.                           18, 2013, and terminated on June 19, 2013. Defendants'
MARGELLO, LEAD ATTORNEY, JOCELYN ANNISE                         Statement of Undisputed Fact ("Def. Statements"), ¶ 1.
MERCED, OGLETREE, DEAKINS, NASH, SMOAK &                        During the entire four months of employment, Houston
STEWART, PC, MORRISTOWN, NJ.                                    was in her probationary period. See Pl. Dep., pp. 23-24,
                                                                30-32. Upon her hiring, Houston was supervised by Lois
                                                                LaManna, who was the clinic manager, and other

Judges: Freda L. Wolfson, United States District Judge.         1 DCI and Bichard will [*2]     be collectively refer to as
                                                                "Defendants."

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charge nurses, including, Bichard and Noreen Rick.            Houston testified that she did not remember that
Plaintiff's Statement of Undisputed Fact ("Pl.                Bichard approached her regarding the failure to use
Statements"), ¶ 7. In June 2013, Bichard became the           gloves. Id. at p. 54 ("I don't remember that happening.").
clinic manager and continued to supervise Houston. As         According to Defendants, both were serious infractions
a manager, Bichard reported to Katchy Bivens, DCI's           that violated DCI's policy. Def. Statement, ¶ 15.
director of nursing. Id. at ¶ 8. Because of her
supervisory role, Bichard had the authority to issue          Thereafter, on the same day, Bichard met with Houston
verbal and written discipline to nurses, as well as to        to issue Houston a written warning for the violations
recommend an employee's termination. Id. at ¶¶ 10-11.         and, at the same time, suspended Houston for one day,
                                                              and extended Houston's probationary period for an
DCI is a nonprofit health care company that provides          additional 90 days, [*5] along with the implementation
dialysis treatment to patients with diseases that impede      of a Plan of Correction. Id. at ¶ 18 According to Bichard,
kidney function. Def. Statements, ¶ 4. Nurses at DCI,         she consulted with her boss, Bivens and Susan Davis,
including Houston, assist the dialysis [*3] process,          the corporate Associate Director of Human Resources,
which cleanses a patient's blood through use of a             for guidance as to how to address the violations and the
machine, also known as a dialyzer. See Id. at ¶ 5.            proper level of discipline. Id. at ¶ 17. Bichard scheduled
Because the dialyzer is in contact with the patient's         to meet with Houston on June 17, 2013, regarding the
blood, the risk of infections is significant; as such, DCI    Plan of Correction. See Id. at ¶ 19. However, prior to
requires its nurses to wear personal protective               that meeting, Houston emailed a written complaint to
equipment, such as gloves, for prevention purposes. Id.       Bichard and Dan Wattson, DCI's Human Resources
at ¶ 8.                                                       Director, stating that she believed the disciplinary action
                                                              taken by Bichard — the written warning and the
On or about April 8, 2013, when Houston was first             subsequent suspension — were racially motivated. Id.;
scheduled to work without a preceptor, Houston cleaned        see Pl. Dep., pp. 77-78. In her email, Houston based
a dialysis machine improperly. See Pl. Dep., pp. 96-97.       her belief on two assertions: (1) that she was being
According to Plaintiff, this incident was merely a learning   disciplined for failing to adhere to dialyzer protocols
"situation," and indeed, Houston was not disciplined for      when two Caucasian nurses had not been disciplined
this infraction. Id. Additionally, on May 25, 2013, Rick      after a similar incident; and (2) that, while she enjoyed
reported in an email to Bichard and LaManna that Rick         her job, Rick had made derogatory and condescending
had a conflict with Houston and a Patient Care                remarks to her on the clinic floor in front of patients and
Technician ("PCT"), Herby Vilus, when Rick confronted         staff, which Houston believed were directed exclusively
them over their failure to properly sanitize the dialysis     toward     African-American       staff   members.      Def.
machines after patient treatments. See Rick Dep., pp.         Statements, ¶ 20; Pl. Response to Def. [*6] Statements
15-17. DCI did not discipline Houston or Vilus at that        ("Pl. Res."), ¶ 20. Notwithstanding Houston's email, DCI
time, beyond the informal, verbal correction from Rick.       proceeded with its planned suspension and other
Def. Statement, ¶ 12. As to this incident, Houston            corrective actions. Def. Statements, ¶ 21.
testified that she does not remember that it occurred.
See Pl. Dep., p. 97.                                          On June 17, 2013, Bichard met with Houston with
                                                              respect to the one-day suspension, and warned
On June 13, 2013, Bichard received [*4] reports that          Houston that any subsequent violation of DCI policy and
Houston had begun a patient's treatment without               procedure would result in termination of employment.2
properly verifying the correct dialyzer. Def. Statements,     Id. at ¶ 22; Pl. Res., ¶ 22. On June 19, 2013, Plaintiff did
¶ 13; see Pl. Statements, ¶ 51. According to Bichard,         not report to work. Def. Statement, ¶ 23. According to
when she approached the patient area to investigate,          Defendants, Houston was considered a "no-call/no-
she saw Houston cannulating a patient (i.e., beginning        show" because Houston failed to call work at any time
treatment of dialysis by placing a heavy needle into the      before the start of her shift (5:30 a.m.) to inform her
patient's fistula) without wearing protective gloves,
which violated DCI's safety protocols. Def. Statements,
¶ 14. Bichard testified that when she instructed Houston      2 On June 18, 2013, Houston worked a full shift; however, staff
to use her gloves, Houston placed her "ungloved hand"         members complained to Bichard that Houston was
in a box of gloves without first washing her hands. Id.       uncommunicative. Bichard Dep., pp. 103-04. When Bichard
While Plaintiff does not dispute that she failed to           spoke to Houston regarding the complaints, Houston blamed
properly verify the dialyzer, see Pl. Dep, pp. 50-51,         other employees for being verbally "abusive" because of her
                                                              race. See Pl. Dep., pp. 68-69, 72-73.

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supervisor that she would be absent. See Bichard Dep.,             Director, to terminate Houston's employment, see Id. at
pp. 63, 197, 229. DCI considered such an infraction a              pp. 61-62. Watson approved [*9] the termination based
serious violation of policy because missing work for a             on a review of Houston's disciplinary history. See
staff nurse placed a significant burden on the clinic and          Watson Dep., pp. 14, 18-19, 23. In a call later that same
could cause delays in patient treatment. See Def.                  day - June 19, 2013 — Houston contacted Redman and
Statement, ¶ 24; Pl. Res., ¶ 24 ("Ms. Houston admits               admitted that she was not sure whether she was
that failing to follow proper call out procedures and/or           scheduled to work that day. See Pl. Res. To Defs'
being a no-call/no show can cause delays in treatment .            Request for Admissions; Redman Dep., p. 79; Pl. Resp.,
. . ."). Bichard testified that a charge nurse called              ¶ 33 (admitted that Houston was not sure whether she
Houston at 5:47 a.m., but Houston did not answer;                  was scheduled to work on June 19, 2013).
Bichard personally reached [*7] out to Houston at 7:39
a.m., well after Houston's shift started. According to             Because of her termination, Plaintiff brought this
Bichard, Houston advised Bichard that she was                      discrimination suit against Defendants. In her two-count
unaware that she was scheduled to work that day, was               Complaint, Plaintiff asserts a cause of action under §
not around, and would have to get back in touch;                   1981 against DCI and Bichard for race discrimination
Bichard testified that Houston hurried off the telephone           and retaliation. Compl., ¶¶ 27-30. In Count Two, Plaintiff
call. Bichard Dep., pp. 203-204, 213. However,                     accuses both defendants of race and disability
according to Houston, she repeatedly attempted to                  discrimination, as well as retaliation, in violation of the
contact her supervisors between 5:30 a.m. and 7:00                 NJLAD. Defendants move for summary judgment on
a.m., via her cell and home phones, to inform DCI's                these claims.
personnel that she was experiencing severe panic
attacks, a chronic disorder. Pl. Statement, ¶ 82.
Houston's attempts were unsuccessful because,                      DISCUSSION
according to Houston, her calls went directly to DCI's
message center as no one was working.3 See Id. at ¶
88.
                                                                   I. Standard of Review
At 8:02 a.m., on the same day, Houston sent an email to
Bichard explaining that Houston would not be coming to             A moving party is entitled to judgment as a matter of law
work, was not feeling well, was "scheduled for serious             where there is no genuine issue as to any material fact.
tests today" and would be bringing a doctor's note later.          See Fed R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477
See Pl. Dep., pp. 44, 47; Pl. Res., ¶ 28. Importantly,             U.S. 317, 323, 106 S. Ct. 2548, 91 L. Ed. 2d 265
Houston's email did not mention that she was                       (1986)); Brooks v. Kyler, 204 F.3d 102, 105 n.5 (3d Cir.
experiencing panic attacks or that she had called the              2000) (citing Fed R. Civ. P. 56(c)). The burden of
clinic before receiving Bichard's call at 7:39 a.m. See Pl.        demonstrating the absence of a genuine issue of
Dep., p. 44. After receiving Houston's email, Bichard              material fact falls on the moving party. See Taylor v.
consulted with Denis Redman, Human Resource                        Phoenixville Sch. Dist., 184 F.3d 296, 305 (3d Cir.
personnel, to seek guidance on whether she could                   1999). Once the moving party has satisfied this initial
terminate Houston's employment based on the call-out               burden, the opposing [*10] party must identify "specific
policy and other performance violations. See Bichard               facts which demonstrate that there exists a genuine
Dep., pp. 213-15. Redman advised Bichard to inform                 issue for trial." Orson, Inc. v. Miramax Film Corp., 79
Houston not to come to work the next day, and to                   F.3d 1358, 1366 (3d Cir. 1996).
contact Redman if Houston had any questions. See
Redman Dep., pp. 73-74. Redman further sought                      Not every issue of fact will be sufficient to defeat a
approval from Dan Watson, DCI's Human Resource                     motion for summary judgment; issues of fact are
                                                                   genuine "if the evidence is such that a reasonable jury
                                                                   could return a verdict for the nonmoving party."
                                                                   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106
3 Defendants  claim that Houston did not make any calls to DCI     S. Ct. 2505, 91 L. Ed. 2d 202 (1986). Further, the
on the morning of June 19, 2013, because both the telephone
                                                                   nonmoving party cannot rest upon mere allegations; he
records of the clinic and [*8] Houston's personal cell phone do
                                                                   must present actual evidence that creates a genuine
not reflect any calls made by Houston to the clinic prior to the
start of Houston's shift or at any time before Bichard contacted
                                                                   issue of material fact. See Fed R. Civ. P. 56(e);
Houston. See Def. Statements, ¶¶ 26-28.                            Anderson, 477 U.S. at 249. In conducting a review of

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the facts, the non-moving party is entitled to all                at 253-54 & n. 6, McDonnell Douglas, 411 U.S. at 802.
reasonable inferences and the record is construed in the          In order to establish to a claim of racial discrimination,
light most favorable to that party. See Pollock v. Am.            an adverse employment action must be "sufficiently
Tel. & Tel. Long Lines, 794 F.2d 860, 864 (3d Cir.                severe as to alter the employee's 'compensation, terms,
1986). Accordingly, it is not the court's role to make            conditions, or privileges of employment,' or to 'deprive or
findings of fact, but to analyze the facts presented and          tend to deprive [him or her] of employment opportunities
determine if a reasonable jury could return a verdict for         or otherwise adversely affect his [or her] status as an
the nonmoving party. See Brooks, 204 F.3d at 105 n.5              employee.'" Robinson v. City of Pittsburgh, 120 F.3d
(citing Anderson, 477 U.S. at 249).                               1286, 1296-97 (3d Cir. 1997), abrogated on other
                                                                  grounds by Burlington N. & Santa Fe Ry. Co. v. White,
                                                                  548 U.S. 53, 126 S. Ct. 2405, 165 L. Ed. 2d 345 (2006)
II. § 1981 and NJLAD— Race Discrimination                         (quoting 42 U.S.C. § 2000e-2(a)(1) and (2)). Not every
                                                                  "insult, slight, or unpleasantness gives rise to a
                                                                  valid [*12] Title VII claim." Id. at 1297.
A. Prima Facie Case
                                                                  As to the third factor, an inference of discrimination
Discrimination claims brought under § 19814 and the
                                                                  could be supported in a number of ways, including, but
NJLAD are analyzed according to the burden-shifting
                                                                  not limited to, comparator evidence, evidence of similar
framework set forth by the Supreme Court in McDonnell
                                                                  racial discrimination of other employees, or direct
Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817,
                                                                  evidence of discrimination from statements or actions by
36 L. Ed. 2d 668 (1973), and later clarified in Texas
                                                                  supervisors suggesting racial animus. See Swierkiewicz
Dep't of Cmty. Affairs v. Burdine, 450 U.S. 248, 101 S.
                                                                  v. Sorema N.A., 534 U.S. 506, 511-12, 122 S. Ct. 992,
Ct. 1089, 67 L. Ed. 2d 207 (1981) and St. Mary's Honor
                                                                  152 L. Ed. 2d 1 (2002); Golod v. Bank of Am. Corp., 403
Ctr. v. Hicks, 509 U.S. 502, 113 S. Ct. 2742, 125 L. Ed.
                                                                  Fed. Appx. 699, 703 n. 2 (3d Cir. 2010). More
2d 407 (1993). Davis v. City of Newark, 285 Fed. Appx.
                                                                  specifically, when presenting comparator evidence, on
899, 903 (3d Cir. 2010); see Schurr v. Resorts Int'l
                                                                  summary judgment, a plaintiff must prove that she is
Hotel, Inc., 196 F.3d 486, 498 (3d Cir. 1999) ("Analysis
                                                                  "similarly situated" to her comparators and that these
of a claim made pursuant to the NJLAD generally
                                                                  employees have been treated differently or favorably by
follows analysis of a Title VII claim"); Bergen
                                                                  their employer. See Williams v. Morton, 343 F.3d 212,
Commercial Bank v. Sisler, 157 N.J. 188, 194, 723 A.2d
                                                                  221 (3d Cir. 2003); Andy v. UPS, 2003 U.S. Dist. LEXIS
944 (1999) (citations omitted) (finding that a claim of
                                                                  25193, at *33 (E.D. Pa. Oct. 28, 2003); Simpson v. Kay
employment [*11] discrimination under Title VII, Section
                                                                  Jewelers, 142 F.3d 639, 645 (3d Cir. 1998)).
1981 or NJLAD be analyzed under the same standard).
                                                                  Significantly, "[s]imilarly situated" means "similar 'in all
                                                                  relevant respects.'" Id. (quoting Singh v. Wal-Mart
To establish a prima facie case of discrimination, the
                                                                  Stores, Inc., 1999 U.S. Dist. LEXIS 8531, at *19 (E.D.
plaintiff must prove that (1) she belongs to a protected
                                                                  Pa. June 10, 1999)); see Kline v. Kansas City, Mo., Fire
class; (2) that she was qualified for the position; (3) that
                                                                  Dept., 175 F.3d 660, 670-71 (8th Cir. 1999); see also
she suffered an adverse employment action; (4) and the
                                                                  Ercegovich v. Goodyear Tire & Rubber Co., 154 F.3d
adverse action occurred under circumstances that give
                                                                  344, 352 (6th Cir. 1998) (plaintiff must show he was
rise to an inference of discrimination. Davis, 285 Fed.
                                                                  "similar in all of the relevant aspects" to persons
Appx. at 903; Jones v. Sch. Dist. of Philadelphia, 198
                                                                  allegedly receiving preferential treatment); Holifield v.
F.3d 403, 410-12 (3d Cir. 1999); see Burdine, 450 U.S.
                                                                  Reno, 115 F.3d 1555, 1563 (11th Cir. 1997)("in all
                                                                  aspects"); Shumway v. United Parcel Service, 118 F.3d
                                                                  60, 64 (2d Cir. 1997) ("similarly situated in all material
4 TitleVII and § 1981 both provide private remedies for racial    respects"); Dartmouth Review v. Dartmouth College,
discrimination by private employers in employment decisions       889 F.2d 13, 19 (1st Cir. 1989) ("in all relevant
and practices. See Young v. International Telephone &             aspects"). This includes similarities between the
Telegraph Co., 438 F.2d 757 (3d Cir. 1971). In that regard,
                                                                  requirements, duties and responsibilities of the
"[t]he elements of a § 1981 claim are identical to the elements
                                                                  respective jobs, but also similarity of the conduct (or
of a Title VII employment discrimination claim." McCarty v.
                                                                  misconduct) in which each employee engaged. Dill v.
Marple Twp. Ambulance Corps, 869 F. Supp. 2d 638, 643 n.3
(E.D. Pa. 2012) (citing Brown v. J. Kaz, Inc., 581 F.3d 175,      Runyon, 1997 U.S. Dist. LEXIS 4355, at *12 (E.D. Pa.
181-82 (3d Cir. 2009)). Thus, Plaintiff's § 1981 claims will be   1997) ("To be deemed 'similarly situated,' the individuals
analyzed under Title VII jurisprudence.                           with whom a plaintiff seeks to be compared [*13] must

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'have engaged in the same conduct without such                      to each of these employees.6
differentiating or mitigating circumstances that would
distinguish their conduct or the employer's treatment of            First, [*15] Plaintiff points to Mary Norris, a Caucasian
them for it.") (quoting Anderson v. Haverford College,              nurse who worked in the North Brunswick location. See
868 F. Supp. 741, 745 (E.D. Pa. 1994)); Williams v.                 Pl. Dep., p. 55. According to Plaintiff, Norris was
Bala Ret. & Nursing Ctr., 2007 U.S. Dist. LEXIS 64593,              employed by DCI at the same time as Plaintiff, and
at *12-13 (E.D. Pa. Aug. 31, 2007).                                 therefore, Norris reported to both LaManna and Bichard.
                                                                    Id. at p. 57. According to her employment record, Norris
In sum, in order to raise an inference of discrimination            was disciplined for violating Defendants' safety policies
based on comparator evidence, a plaintiff must                      and procedures five times from May 2013 to September
demonstrate that: (1) the acts of the similarly situated            2013. Most of these infractions, however, were not
employees were of a "comparable seriousness,"                       similar in nature to Plaintiff's violations. For example, in
McDonnell Douglas, 411 U.S. at 804; and (2) the                     August 2013, Norris was issued a written warning
employment decision must have been made by the                      because she failed to record results of pH meter
same supervisors. Taylor v. Procter & Gamble Dover                  readings; management warned Norris that she must
Wipes, 184 F. Supp. 2d 402, 410 (D. Del. 2002), aff'd,              comply with DCI's documentation policy. See Norris'
53 Fed. Appx. 649 (3d Cir. 2002); Taylor v. Div. of State           Written Warning dated August 21, 2013. In September
Police, 2004 U.S. Dist. LEXIS 11121, at *14 (D. Del.                2013, because Norris committed the same infraction,
Jun. 15, 2004).                                                     she was suspended.7 See Norris' Suspension dated
                                                                    September, 3, 2013. In fact, Norris was suspended
In this case, I note at the outset that Defendants do not           twice in a five-month period. See Norris' Suspension
challenge the sufficiency of Plaintiff's evidence with              dated July 2, 2013. While Plaintiff argues that one of the
respect to the first three factors; that is, 1) Plaintiff is a      infractions committed by Norris was failing to follow
member of a protected class (African American); 2)                  certain dialyzer procedures — similar to Plaintiff's
Plaintiff was qualified as a nurse; and 3) Plaintiff                infraction — Norris was disciplined by Bichard.
suffered an adverse employment action because she                   Contrary [*16] to Plaintiff's assertion, Norris was treated
was terminated by Defendants in June 2013. Instead,                 no differently than Plaintiff during her employment;
Defendants center their argument on whether Plaintiff               Norris was warned verbally and by writing multiple
has sufficiently established the last factor of her prima           times, which ultimately led to her suspensions. More
facie case — an inference of racial discrimination.                 importantly, while Norris was not terminated, she was
Indeed, Defendants contend that Plaintiff' has not raised           also never disciplined for committing a no call/no show,8
a genuine issue of material fact that her disciplinary
actions      --   i.e.,   warning,     suspension         and
termination [*14] — were racially motivated. In
response, Plaintiff submits that she was disciplined by             6 Plaintiffargues that the determination of whether individuals
Defendants more harshly than her white counterparts                 are apt comparators is a jury question. However, a court may
who engaged in the same or similar conduct. In that                 properly grant summary judgment where no reasonable jury
regard, Plaintiff attempts to establish an inference of             could find the individuals are similarly situated. See McDonald
discrimination through purportedly favorable treatment              v. Village of Winnetka, 371 F.3d 992,1002 (7th Cir. 2004); Red
of similarly situated employees,5 which include: Mary               v. Potter, 211 Fed. Appx. 82, 84 (3d Cir. 2006).
Norris, Susie Kwok, Stephanie Rotundo, Susan                        7 Norris
                                                                           resigned following her suspension in September 2013.
Hairston, Natalie Baskina, Noreen Rick, Mary O'Connor,
                                                                    See Def. Statement, ¶ 107.
Herby Vilus, and Crystal Garvin. However, I do not find
that Plaintiff has met her burden of showing that these             8 As an ancillary matter, I address Plaintiff's argument that she
employees were similarly situated, and thus fails to                was not a "no call/no show." Plaintiff maintains that the
establish a prima facie case of discrimination. I will turn         proffered reason for her termination, i.e., no call/no show, was
                                                                    suspect. Houston insists that on June 19, 2013, she called
                                                                    DCI numerous times from [*17] her cell and home phones
                                                                    between 5:30 a.m. and 7:30 a.m., but no one was at work and
5 Notably,    to demonstrate an inference of discrimination,        the phone calls went to a "loop." See Pl. Dep., p. 37, 39.
Plaintiff relies solely on comparator evidence; in that regard,     Plaintiff claims that she was having a panic attack and
Plaintiff has not proffered any evidence of direct discrimination   therefore, could not have gone to work. Eventually, however,
or other similar acts of racial discrimination by Defendants.       Plaintiff asserts that she reached an unidentified employee
See Golod, 403 Fed. Appx. at 703 n.2.                               and explained to that employee that she could not come to

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the primary reason why Plaintiff was terminated.                    admissible evidence from which the finder of fact could
Therefore, based on her circumstances, I do not find                reasonably conclude that she was treated differently
that Norris was similarly situated to Plaintiff, because            from 'similarly situated' non-minority employees for her
"the acts of the non-minority employee, [Norris], were              discrimination claims . . . ."). And, unlike Plaintiff, Kwok
[not] of a "comparable seriousness." McDonnell                      never committed a "no call/no [*19] show" infraction.
Douglas, 411 U.S. at 804; Livingston v. Borough of                  Therefore, based on these reasons, Kwok is not
Edgewood, 430 Fed. Appx. 172, 177 (3d Cir.                          similarly situated to Plaintiff.
2011)(finding that similarly situated individuals are those
"in circumstances of comparable seriousness");                      As an example of Defendants' favorable treatment of
Opsatnik v. Norfolk Southern Corp., 335 Fed. Appx.                  non-minorities regarding "no call/no shows," Plaintiff
220, 223 (3d Cir. 2009) ("while similarly situated does             points to Stephanie Rotundo, who was a nurse working
not mean identically situated, purported comparators                at the North Brunswick facility and supervised by
must have committed offenses of comparable                          Bichard. Plaintiff cites to Rotundo's written discipline for
seriousness." (citations and quotations omitted)).                  not appearing at work for a scheduled shift. See
                                                                    Rotundo's Written Warning dated January 30, 2014.
Next, Plaintiff contends that Susie Kwok committed                  One important distinction, however, is that Rotundo was
three violations of safety protocols, but was only issued           verbally warned for calling out of work to a charge nurse
three verbal warnings and she was not terminated. First             rather than her supervisor; she did, however, make this
and foremost, Kwok is not a similarly situated non-                 call well prior to her shift. This distinction is critical
minority employee; she is a minority. See Johnson v.                because Plaintiff was terminated for not calling and
Diamond State Port Corp., 50 Fed. Appx. 554, 556 (3d                abandoning her shift.
Cir. 2002) ("Johnson had failed to establish a prima
facie case of discrimination because he had not shown               Similarly, Plaintiff's comparison of her disciplinary
that similarly-situated non-minority employees received             actions to those of Susuan Hairston is inapt. Hairston
light duty." (emphasis added)); Miller v. Del. Tech. &              was verbally warned regarding a needle prick that
Cmty. College, 2013 U.S. Dist. LEXIS 62113, at *47 (D.              Hairston herself sustained for failing to follow DCI's
Del. May 1, 2013); Diaz v. Donahoe, 2013 U.S. Dist.                 policy on safety as to the caregiver employee, not
LEXIS 1767, at *1-2 (D.N.J. Jan 4, 2013) ("[t]he key                patient care. Regardless, the requested inference based
inquiries for the Court are whether Plaintiff has adduced           on Hairston's sole disciplinary action is not reasonable
                                                                    because, unlike Plaintiff, who committed three
                                                                    separate [*20] infractions, Bichard indicated that
work due to a medical condition. See Pl. Dep., p. 39.
Defendants strenuously dispute Plaintiff's self-serving             Hairston would be terminated if she were to commit
statements in this regard. Indeed, both the phone records of        another similar infraction. See Id. Likewise, Natalie
DCI and Plaintiff's cell phone reveal that Plaintiff never called   Baskina is not similarly situated to Plaintiff because
DCI. See Def. Response to Pl. Counter-Statement of Material         Baskina received counseling for only one infraction
Facts, ¶ 83. Rather, the first communication on the morning of      related to changing of gloves between patients, rather
June 19, 2013, was a phone call from Bichard to Plaintiff at        than three separate ones, as Plaintiff received. See
7:39 a.m. Even more damning, Plaintiff admitted to Bichard          Baskina's Verbal Warning dated June 26, 2012.
and Redman that she was not aware that she was scheduled
to work on June 19, 2013. Given that explanation, it is             Finally, Rick stands on a different footing than Plaintiff
inconsistent for Plaintiff to testify that she purportedly called   because, while Rick was a nurse at the Clinic, she was
out of work, but yet admitted that she was unaware of her
                                                                    also part of management as a charge nurse. See, e.g.,
scheduled shift. As such, because of Plaintiff's inconsistent
                                                                    Hanzer v. Mentor Network, 610 Fed. Appx. 121, 2015
statements and documentary evidence to the [*18] contrary,
                                                                    U.S. App. LEXIS 7350, at *7-8 (3d Cir. May 4,
on a summary judgment motion, I need not credit Plaintiff's
self-serving statements during her deposition; it is not            2015)("the Program Manager position is an entirely
sufficient to defeat summary judgment. See DeGroat v. Power         different position than the Program Support Coordinator
Logistics, 118 Fed. Appx. 575, 576 (3d Cir. 2004); Coast Auto.      position. Thus, they were not similarly situated
Group, Ltd. v. VW Credit, Inc., 34 Fed. Appx. 818, 822 (3d Cir.     employees."); Mandel v. M & Q Packaging Corp., 706
2002) ("inconsistent statements could not be used to create         F.3d 157, 170 (3d Cir. 2013) (observing that employees
material issues of fact sufficient to preclude summary              with higher levels of education and different positions
judgment."); Kirleis v. Dickie, McCamey & Chilcote, P.C., 560       are not similarly situated); Ade v. Kidspeace Corp., 401
F.3d 156, 161 (3d Cir. 2009) ("Conclusory, self-serving             Fed Appx. 697, 705 (3d Cir. 2010) (finding that
[statements] are insufficient to withstand a motion for summary     employees that hold different positions are not similarly
judgment.")(citations omitted)). See also, infra.

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situated).9 More importantly, Plaintiff makes general             plaintiff must then show that the proffered reason was a
assertions, without any evidence, that certain                    pretext for a racially discriminatory decision." Id. To
complaints were made against Rick and no disciplinary             show pretext, the plaintiff's evidence must either "(1)
action was taken against Rick for those complaints.               cast[] sufficient doubt upon each of the legitimate
Other than her conclusory accusations, Plaintiff does             reasons proffered by the defendant so that a factfinder
not identify when or [*21] by whom those complaints               could reasonably conclude that each reason was a
were made, nor does she describe those complaints;                fabrication; [*23] or (2) allow[] the factfinder to infer that
thus, no comparison can be drawn between Rick's                   discrimination was more likely than not a motivating or
alleged "issues" and those underlying Plaintiff's                 determinative cause of the adverse employment action."
disciplinary action, such that they can be analyzed               Fuentes, 32 F.3d at 762; Daniels v. Sch. Dist. of Phila.,
under the similarly situated prong for § 1981 purposes.           776 F.3d 181, 198 (3d Cir. 2015). The plaintiff "cannot
                                                                  simply show that the employer's decision was wrong or
Having made those determinations, however, the Court              mistaken" but rather "must demonstrate such
recognizes that a few of those employees, such as                 'weaknesses,         implausibilities,       inconsistencies,
Baskina and Rotundo, have ostensibly committed                    incoherences, or contradictions in the employer's
violations of DCI's policy that are generally similar in          proffered legitimate reason for its action that a
nature to those committed by Plaintiff; thus, the question        reasonable factfinder could rationally find them
whether those nurses are appropriate comparators to               unworthy of credence, and hence infer that the
Plaintiff is a closer call. That being said, I do not find that   employer did not act for [the asserted] nondiscriminatory
any of the co-workers Plaintiff identifies on this motion         reasons.'" Ross v. Gilhuly, 755 F.3d 185, 194 n.13 (3d
are similarly situated to Plaintiff under § 1981, because         Cir. 2014) (alteration in original) (quoting Brewer v.
those employees have not committed a combination of               Quaker State Oil Ref. Corp., 72 F.3d 326, 331 (3d Cir.
violations, particularly the severe infraction of failing to      1995)).
call out of work, that would be sufficient to treat [*22]
them as comparators and raise an inference of                     Here, as a legitimate business reason, Defendants
discrimination. Nonetheless, even assuming Plaintiff              proffer that Plaintiff committed serious infractions that
could establish a prima facie case of discrimination, she         supported Plaintiff's written warning, suspension and her
has failed to rebut Defendants' legitimate business               eventual termination. To carry her burden, Plaintiff offers
reason for her termination.                                       various reasons why Defendants' decision to discipline
B. Burden Shifting                                                was pretextual. First, Plaintiff claims that Bichard
                                                                  exhibited antagonistic behavior after Plaintiff complained
If a plaintiff succeeds in establishing a prima facie case,       of race discrimination in emails sent to Bichard. Such
the burden then shifts to the employer to articulate a            behavior, Plaintiff explained, made her feel that her work
legitimate, nondiscriminatory reason for the employee's           environment had become "tense" and "angry." And,
termination. Gerard v. Bridge Capital (USVI), LLC, 282            Plaintiff, without [*24] any evidence other than her own
Fed. Appx. 969, 972 (3d Cir. 2008). "The employer                 subjective impression, attributes that antagonism to her
satisfies its burden of production by introducing                 race. However, as the Third Circuit has clearly held, a
evidence which . . . would permit the conclusion that             plaintiff's "subjective belief that race played a role in
there was a nondiscriminatory reason for the                      [her] employment decisions . . . is not sufficient to
unfavorable employment decision." Fuentes v. Perskie,             establish [pretext]." Groeber v. Friedman & Schuman,
32 F.3d 759, 763 (3d Cir. 1994). As the Third Circuit has         P.C., 555 Fed. Appx. 133, 135 (3d Cir. 2014); Tucker v.
noted, this burden is "relatively light" and "[t]he employer      Thomas Jefferson Univ., 484 Fed. Appx. 710, 712 (3d
need not prove that the tendered reason actually                  Cir. 2012) ("the subjective belief that race played a part
motivated its behavior. . . ." Id.                                in his firing is insufficient."); McDonnaugh v. Teva
                                                                  Specialty Pharms., LLC, 2011 U.S. Dist. LEXIS 98638
If the employer is able to articulate such a reason, "the         at *16-17 (E.D. Pa. Aug. 31, 2011) (finding that plaintiff's
                                                                  "subjective belief that race played a role in an
                                                                  employment decision is insufficient to establish an
9 Based
                                                                  inference of discrimination . . . ."). Simply stated, the fact
         on this line of reasoning, Plaintiff's attempt at
                                                                  that Plaintiff felt that management was hostile towards
comparing herself to Mary O'Connor, Herby Vilus and Crystal
Garvin are not appropriate because, as Plaintiff concedes,        her because she complained of race discrimination
these employees are patient care technicians and not nurses.      cannot, alone, be a basis to find pretext.
See Pl. Opposition Br. at p. 19.

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Next, Plaintiff suggests that only after she complained         or that the substantive reasons given by the employer
about race discrimination, did Bichard suddenly subject         for its employment decision were pretextual.'" Maull v.
Plaintiff to harsh disciplinary actions, i.e., written          Div. of State Police, 39 Fed. Appx. 769, 774 (3d Cir.
warning and suspension. In that connection, Plaintiff           2010)(quoting Randle v. City of Aurora, 69 F.3d 441,
argues that a jury can find that this is evidence of            454 (10th Cir. 1995)). Indeed, simply pointing to
pretext. Plaintiff's position is suspect for two reasons.       violations is inadequate without "evidence that white
First, as I have noted earlier in this Opinion, Plaintiff was   [nurses] were treated differently by Defendants with
suspended for failing to observe DCI's patient safety           respect to these policies." Id. (quoting English v.
protocols, which Plaintiff, herself, identified as [*25]        Colorado Department of Corrections, 248 F.3d 1002,
serious. See Pl. Dep., p. 54-55, 83. Therefore, the fact        1009 (10th Cir. 2001)) (noting that while "evidence that
that Plaintiff was disciplined for those serious infractions    the defendant acted [*27] contrary to an unwritten
undermines her argument that Bichard's decision to              policy or contrary to company practice" may show
suspend her were somehow pretextual. See, e.g.,                 pretext, a plaintiff relying on such a violation must
Barker v. Boeing Co., 21 F. Supp. 3d 417, 426 (E.D. Pa.         "provide evidence that [s]he was treated differently from
2014) ("under either a pretext or mixed-motive                  other similarly-situated employees who violated work
framework. Boeing fired the plaintiffs for what it deemed       rules of comparable seriousness").
a serious act . . . ; there is no evidence that Boeing was
motivated in any way by discriminatory animus."                 Here, it is not enough that Plaintiff accuses Defendants
(internal quotations and citations omitted)); Ogilvie v.        of failing to follow DCI policy, but rather, Plaintiff has to
Northern Valley EMS, Inc., 2008 U.S. Dist. LEXIS                present sufficient evidence to show that other similarly
87913, at *28-29 (E.D. Pa. Oct. 30, 2008) (rejecting            situated white nurses in DCI were disciplined differently
plaintiff's argument of pretext when "Defendant has             than Plaintiff such that it would raise an impermissible
presented credible evidence that [plaintiff] committed a        inference of discrimination and show pretext in the
serious infraction."); Taylor, 2004 U.S. Dist. LEXIS            reasons given by Defendants for their actions. But, as I
11121 at *22 (finding no pretext when plaintiff's               have found, supra, Plaintiff has failed to establish that
employment was terminated because of serious                    Defendants treated similarly situated white nurses more
charges related to his abuse of the public trust).              favorably. Thus, without proof, "[Plaintiff] is left only with
                                                                her subjective belief that race played a role in
Moreover, while Plaintiff was not formally disciplined,         [Defendants'] employment decisions. She presents no
she was counseled by Defendants for safety violations           discriminatory statements by [Defendants] or evidence
on at least one occasion -- prior to Plaintiff submitting       of discriminatory motive to support her allegations."
any complaints of racial discrimination. Indeed, Plaintiff      Groeber, 555 Fed. Appx at 135; Rodriguez v. AMTRAK,
acknowledged that she was instructed to clean the               532 Fed. Appx. 152, 153 (3d Cir. 2013)("[a] plaintiff's
dialyzer differently because "we were doing something           subjective belief that race played a role in an
wrong." Pl. Dep., p. 96. While Rick had complained              employment decision is not sufficient to establish an
about a performance issue relating to [*26] Plaintiff in        inference        of      discrimination. [*28]      However,
late May 2013, after Plaintiff had complained of racial         discrimination may be inferred by showing that the
discrimination, that complaint from Rick was never              employer treated a similarly situated employee outside
administratively pursued by Bichard, was not sent for           of the plaintiff's class more favorably.").10
further review, and was not used as a basis for issuing
discipline to Plaintiff. Therefore, no reasonable trier of
fact can find that Bichard's decision to discipline Plaintiff   10 Plaintiff argues that Bichard acted suspiciously at the time of
for two serious safety infractions was based on a racial        Plaintiff's termination by refusing to immediately inform upper
animus.                                                         management of Plaintiff's purported medical reason for
                                                                missing her scheduled shift. And, Plaintiff finds it suspect that
Lastly, Plaintiff argues that the fact that Defendants did      Bichard asked Rick to forward a particular email regarding an
not follow DCI's own progressive disciplinary policy is         infraction that Plaintiff had committed, but for which no
evidence of pretext. Viewing the facts in Plaintiff's favor,    investigation was undertaken. Plaintiff submits that Bichard's
even if the Court were to assume that the disciplinary          conduct in this regard is evidence of pretext. However, these
policy was not strictly followed, did occur, "'the mere fact    assertions, couched as evidence, are merely Plaintiff's own
that an employer failed to follow its own internal              speculations. Indeed, these statements are conclusory and not
procedures does not necessarily suggest that the                sufficient to demonstrate pretext. See Kautz v. Met-Pro Corp.,
                                                                412 F.3d 463, 471-73 (3d Cir. 2005 ); Wolpert v. Albert Labs,
employer was motivated by illegal discriminatory intent
                                                                817 F. Supp. 2d 424, 436 (D.N.J. 2011); Malloy v. Intercall,

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Accordingly, I find that Plaintiff has failed [*29] to show           Bichard. Thus, Bichard cannot be held individually liable
there is any genuine issue of material fact that                      under § 1981. See Miller v. Thomas Jefferson Univ.
Defendants' proffered reasons for subjecting Plaintiff to             Hosp., 908 F. Supp. 2d 639, 649 (E.D. Pa. 2012).
disciplinary actions, including termination, were a                   According, Defendants' motion for summary judgment
pretext for a racially discriminatory purpose. Thus,                  as to Plaintiff's race discrimination claims under both §
summary judgment is granted in favor of DCI on                        1981 and NJLAD is granted as to defendants DCI and
Plaintiff's § 1981 and NJLAD discrimination claims.                   Bichard.
C. Individual Liability

As to Plaintiff's NJLAD claim against Bichard, because                III. § 1981 and NJLAD — Retaliation
Plaintiff's claim for race discrimination against DCI, her
employer, fails, there can be no claim for aiding and                 The Supreme Court has held that Section 1981
abetting by Bichard in violation of the NJLAD. Ivan v.                encompasses retaliation claims. CBOCS W., Inc. v.
County of Middlesex, 595 F. Supp. 2d 425, 463 (D.N.J.                 Humphries, 553 U.S. 442, 457, 128 S. Ct. 1951, 170 L.
2009) ("[F]or a defendant to be individually liable for               Ed. 2d 864 (2008). To establish a prima facie claim for
aiding and abetting, the employer must also be liable                 retaliation under § 1981, the plaintiff must prove three
under the LAD. It is not the act of discrimination but                elements:
rather the failure in the employer's response that an                      (1) the employee engaged in a protected employee
aider and abettor is charged with assisting.").                            activity;
                                                                           (2) the employer took an adverse employment
To establish a § 1981 claim against Bichard individually,                  action after or contemporaneous with the
Plaintiff here, must show: (1) that she belongs to a racial                employee's protected activity; and
minority; (2) an intent to discriminate on the basis of                    (3) a causal link exists between the employee's
race on the part of the defendant; (3) discrimination                      protected activity and the employer's adverse
concerning one or more of the activities enumerated in §                   action.
1981. See e.g., Estate of Oliva v. N.J., Dep't of Law &
Pub. Safety, Div. of State Police, 604 F.3d 788, 797 (3d              Andreoli v. Gates, 482 F.3d 641, 649 (3d Cir. 2007);
Cir. 2010). The Third Circuit has held that "[i]f individuals         Abramson v. William Paterson Coll. of N.J., 260 F.3d
are personally involved in the discrimination against the             265, 286 (3d Cir. 2001); White v. Cleary, 513 Fed. Appx.
[plaintiff], [*30] and if they intentionally caused [an               224, 228 (3d Cir. 2013). Retaliation claims raised under
infringement of rights protected by Section 1981], or if              the NJLAD are analyzed under the same framework
they authorized, directed, or participated in the alleged             applicable to § 1981 cases, such that they may be
discriminatory conduct, they may be held liable." Al-                 considered [*31] together. See Kant v. Seton Hall
Khazraji v. Saint Francis Coll., 784 F.2d 505, 518 (3d                Univ., 289 Fed. Appx. 564, 567 (3d Cir. 2008); Didier v.
Cir. 1986); see also Johnson v. Res. for Human Dev.,                  Dow Jones, 2014 U.S. Dist. LEXIS 114289, *21 n.21
Inc., 843 F. Supp. 974, 978 (E.D. Pa. 1994); Santiago v.              (D.N.J. Aug. 18, 2014).
City of Vineland, 107 F. Supp. 2d 512, 541 (D.N.J.
                                                                      If a plaintiff satisfies the first McDonnell Douglas
2000).
                                                                      requirement and establishes a prima facie case of
                                                                      retaliation, then an inference of discriminatory motive
However, as I have discussed at length, supra, Plaintiff
                                                                      arises, shifting the burden to the employer to articulate a
has failed to present any genuine issue of material fact
                                                                      legitimate, non-discriminatory reason for the adverse
as to intentional discrimination on the part of DCI or
                                                                      employment action. See Miller v. Del. Prob. & Parole, 41
                                                                      Fed. Appx. 581, 584 (3d Cir. 2002); Krouse v. American
Inc., 2010 U.S. Dist. LEXIS 136808, at *50 (D.N.J. 2010)              Sterilizer Co., 126 F.3d 494, 500 (3d Cir. 1997). "If the
(""Ms. Malloy has simply presented no evidence, beyond her            employer satisfies its burden, the plaintiff must be able
speculation, that age played any role in the decisions leading        to convince the factfinder both that the employer's
up to her . . . termination."); Boyd v. Citizens Bank of Pa., Inc.,   proffered explanation was false, and that retaliation was
2014 U.S. Dist. LEXIS 70210, at * 62 (W.D. Pa. 2014)                  the real reason for the adverse employment action."
("Plaintiff does not, however, point to any evidence, beyond          Krouse, 126 F.3d at 500-01. "The plaintiff must prove
her own conclusory and speculative suspicions. . . "); Connolly       that retaliatory animus played a role in the employer's
v. Mitsui O.S.K. Lines (Am.), Inc., 2009 U.S. Dist. LEXIS
                                                                      decision-making process and that it had a determinative
86195, at *11-12 (D.N.J. 2009) ("Speculation, however, is not
                                                                      effect on the outcome of that process. The burden of
sufficient to demonstrate pretext.").

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proof remains at all times with the plaintiff." Id.           based on temporal proximity." (citations and quotations
                                                              omitted)); Sanders v. Sailormen, Inc., 506 Fed. Appx.
In this case, Plaintiff alleges that she was subjected to     303, 304 (5th Cir. 2013); Coszalter v. City of Salem, 320
disciplinary actions by Defendants because she made           F.3d 968, 977 (9th Cir. 2003) (finding that temporal
verbal and written complaints of racial bias to               proximity must be considered with regard to its factual
management. Defendants have conceded that Plaintiff           setting, such as intervening events). Here, there was an
may establish a prima facie case of retaliation. Def. Brief   intervening event that must be taken into consideration
in Support, p. 18. Indeed, Plaintiff claims that her          in determining whether the temporal proximity raised by
termination or other disciplinary actions were taken in       Plaintiff is suggestive of pretext. Indeed, Plaintiff's no
retaliation     for  her     complaints    of [*32]   race    call/no show, which occurred on June 19, 2013 — the
discrimination, and given the temporal proximity              day of Plaintiff's termination — after other infractions,
between Plaintiff's termination and her complaints, I find    was the reason why she was terminated. [*34] In fact,
that Plaintiff has satisfied her burden of demonstrating a    Plaintiff had been warned by Bichard that if Plaintiff
prima facie case of retaliation. As I have find herein,       were to commit another infraction, she would be
Defendants have articulated a legitimate non-                 terminated. This event, thus, broke the causal link that
discriminatory reasons for Plaintiff's termination.           could otherwise be inferred from temporal proximity.
However, Plaintiff has failed to carry her burden of
establishing pretext.                                         Even if the intervening event had not occurred, Plaintiff
                                                              cannot rely solely on temporal proximity to show pretext.
In proving pretext, Plaintiff relies on identical arguments   See El Sayed v. Hilton Hotels Corp., 627 F.3d 931, 933
made in support of her discrimination claims, supra, and      (2d Cir. 2010) (holding that while temporal proximity
I have rejected those contentions. See Pl. Opp. Br., pp.      alone may be sufficient to satisfy a plaintiff's prima facie
17-19. Thus, I need not address them here, again. I will      burden, that "temporal proximity is insufficient to satisfy
comment on one additional argument related to pretext         [plaintiff's] burden to bring forward some evidence of
that Plaintiff has advanced in the context of her             pretext."); Sanderson v. N.Y. State Elec. & Gas Corp.,
retaliation claim. Plaintiff insists that because she was     560 Fed. Appx. 88, 94 (2d Cir. 2014) ("Apart from
terminated within one day of her final complaint of racial    temporal proximity, Sanderson offers no evidence that
bias, this "extremely close temporal proximity between        NYSEG's reliance on her insubordination as the reason
her race discrimination complaints and her termination        for her discharge was a pretext for retaliation.
is unusually suggestive of retaliation and is persuasive      Accordingly, the district court also properly granted
evidence of pretext." Pl. Opp. Br., p. 17. As I have          summary judgment on plaintiff's claim of retaliation.");
explained above, on June 18, 2013, Plaintiff verbally         Carlson v. Township of Lower Alloways Creek, 452 Fed.
complained to Bichard regarding how LaManna "yelled           Appx. 95, 101-02 (3d Cir. 2011) (finding that mere
at her" on the floor in [*33] front of other employees and    temporal proximity, absent any evidence of retaliatory
patients. Moreover, Plaintiff expressed that she was          intent, is insufficient to demonstrate pretext); Ritenour v.
subjected to this type of treatment because of her race.      Tenn. Dep't of Human Servs., 497 Fed. Appx. 521, 533
One day later, Plaintiff was terminated.                      n. 10 (6th Cir. 2012); Pinkerton v. Colo. Dep't of Transp.,
                                                              563 F.3d 1052, 1066 (10th Cir. 2009) (finding that
I do not find Plaintiff's position convincing. Plaintiff's
                                                              temporal proximity alone is not sufficient to defeat
argument is based on a temporal proximity of the day
                                                              summary judgment by showing that the employer's
between her final complaint to Bichard and her
                                                              proffered reason is actually pretext for retaliation).
termination. However, "inferring a causal relationship
                                                              Similarly, on the facts here, I find that Plaintiff [*35] has
between the protected activity and the adverse action is
                                                              failed to show pretext.
not logical when the two are separated by an
intervening event that independently . . . caused the
                                                              Furthermore, as to retaliation claims against Bichard, as
adverse action." Mizusawa v. United States Dep't of
                                                              I have stated earlier, under § 1981, individuals including
Labor, 524 Fed. Appx. 443, 448 (10th Cir. 2013); see
                                                              "directors, officers, and employees of a corporation may
Robinson v. Southeastern Pa. Transp. Auth., 982 F.2d
                                                              become personally liable when they intentionally cause
892, 894 (3d Cir. 1993); Kachmar v. Sungard Data Sys.,        an infringement of rights protected by § 1981." Al-
109 F.3d 173, 179 (3d Cir. 1997); Kuhn v. Washtenaw           Khazraji, 784 F.2d at 518. Individuals that "are
County, 709 F.3d 612, 628 (6th Cir. 2013) ("an                personally involved in the discrimination," and
intervening legitimate reason to take an adverse              intentionally     caused,   authorized,     directed,   or
employment action dispels an inference of retaliation         participated in the discriminatory conduct may be held

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liable. Id. Similarly, the NJLAD's anti-retaliation provision     Here, Plaintiff maintains that she has been suffering
deems it unlawful for "any person to take reprisals               from anxiety and panic attacks for several years. In that
against any person because that person has opposed                regard, Plaintiff claims, albeit without any record
any practices or acts" that the NJLAD prohibits. N.J.S.A.         evidence, that Defendants terminated her within [*37]
10:5-12(d); see Hargrave v. Cnty. of Atl., 262 F.Supp.            hours of disclosing this medical condition. However,
2d 393, 436 (D.N.J. 2003) ("Thus, [the NJLAD anti-                assuming arguendo that Plaintiff has a disability,12
retaliation] provisions, like the provisions establishing         Plaintiff's NJLAD claims fail because Plaintiff has not
liability for those employees who 'aid' and 'abet' an             shown that Defendants had knowledge of her disability.
employer's unlawful employment practices, expressly
contemplate direct liability for individual supervisory           There is no dispute that prior to June 19, 2013, when
employees.").                                                     Plaintiff failed to appear for her scheduled shift, Plaintiff
                                                                  never told Defendants the history of her anxiety or panic
Here, for the same reasons delineated above, I do not             attacks while employed at DCI. Indeed, Plaintiff
find that Plaintiff has raised any triable issue as to            conceded this point during her deposition:
intentional discrimination on the part of Bichard to defeat            Q: Before [June 19, 2013], had you told any
summary judgment. Accordingly, Plaintiff's retaliation                 manager at DCI that you had a history of anxiety
claims against Bichard are dismissed. [*36]                            and panic attacks?
                                                                       A: No, I did not, sure.
                                                                       Q: Had you ever missed work at DCI due to anxiety
IV. NJLAD — Disability Discrimination and                              or panic attacks at DCI?
Retaliation                                                            A: No, sir.
                                                                  Pl. Dep., p. 90. Rather, Plaintiff argues that she
The NJLAD prohibits employment discrimination based               disclosed her conditions to Bichard over the phone in
on a disability or a perceived disability. N.J. Stat. Ann. §      the morning of June 19, 2013, when Plaintiff explained
10:5-4.1; see Victor v. State, 203 N.J. 383, 410, 4 A.3d          her absence from work.
126 (2010); Myers v. AT & T, 380 N.J. Super. 443, 452,
882 A.2d 961 (App. Div. 2005). In order to establish a            Notwithstanding Plaintiff's statement in this regard, none
prima facie case of discrimination under NJLAD, a                 of the documentary evidence or other testimony
plaintiff must prove that 1) she was a member of a                corroborate Plaintiff's version of events. According to
protected class, 2) she was qualified for the job, 3) she         Bichard, Bichard called Plaintiff [*38] around 7:40 a.m.
was terminated, and 4) the position was filled with a             on the morning of June 19, 2013, to inquire why Plaintiff
person of similar qualifications. See Viscik v. Fowler            was not at her scheduled shift. Bichard Dep., p. 203.
Equip. Co., 173 N.J. 1, 10, 800 A.2d 826 (2002);                  Bichard testified that Plaintiff told her that "she didn't
Swiatek v. Bemis Co., 542 Fed. Appx. 183, 186 (3d Cir.            know she was supposed to be at work . . . or she had
2013).11 As a threshold question, a plaintiff must show           forgotten and that was [a] mistake." Id. Importantly,
that the employer knew of the disability. Jones v. UPS,           Plaintiff informed Bichard that "she would have to get
214 F.3d 402, 406 (3d Cir. 2000); Geraci v. Moody-                back to [Bichard]" regarding whether she would come to
Tottrup, Int'l, Inc., 82 F.3d 578, 581 (3d Cir. 1996) ("the       work later in the day, and Plaintiff did not mention that
plaintiff must demonstrate that the defendant employer            she was experiencing any medical issues. Id., p. 203-
knew of the disability to state a prima facie case");             04. Thereafter, Plaintiff sent an email to Bichard at 8:02
Fulton v. Johnson & Johnson Pharm. Research &                     a.m., writing the following:
Development, LLC, 2008 U.S. Dist. LEXIS 14163, at *58                  I will not be coming to work today. I am not feeling
(D.N.J. Feb. 26, 2008).                                                well and I am scheduled for very serious tests today
                                                                       that I need to have. I will either bring a copy of my
                                                                       physician's note or fax it in stating when he will be
11 "New  Jersey courts generally interpret the LAD by reliance         releasing me to come back to work.
upon [the construction of] analogous federal antidiscrimination
statutes." Conchewski v. Camden County, 2014 U.S. Dist.           Houston Email dated June 19, 2014. Tellingly, Plaintiff
LEXIS 37130, at *36 (D.N.J. Mar. 21, 2014)(citations omitted).    did not indicate that she was suffering from anxiety or
Accordingly, it is appropriate to analyze an NJLAD disability     panic attacks or any specific type of illness. A general
discrimination claim by applying the 3-part test employed to
analyze claims under the federal Americans with Disabilities
Act. See Lawrence v. Nat'l Westminster Bank N.J., 98 F.3d 61,     12 Importantly,I make no findings that Plaintiff's panic attacks
70 (3d Cir. 2006).                                                and/or anxiety could qualify her as disabled under the NJLAD.

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expression of "not feeling well" does not suffice to put         whether Plaintiff has relied solely on his own testimony
an employer on notice that a plaintiff has a disability.         to challenge [a summary judgment motion], but whether
See Jones v. Nationwide Life Ins. Co., 696 F.3d 78, 89-          Plaintiff's testimony, when juxtaposed with the other
90 (1st Cir. 2012) ("NLI executives were not on notice           evidence, is sufficient for a rational factfinder to credit
that the symptoms Jones described in his [*39] e-mail            Plaintiff's testimony, despite its self-serving nature.");
were caused by a disability."); King v. Permanente Med.          Johnson v. MetLife Bank, N.A., 883 F.Supp.2d 542, 549
Group, Inc., 2013 U.S. Dist. LEXIS 134388, at *22 (E.D.          (E.D. Pa. 2012); Scott v. Harris, 550 U.S. 372, 380, 127
Cal. Sep. 19, 2013) ("And while knowledge of the                 S. Ct. 1769, 167 L. Ed. 2d 686 (2007) ("When opposing
disability can be inferred from the circumstances,               parties tell two different stories, one of which is blatantly
knowledge will only be imputed to the employer when              contradicted by the record, so that no reasonable [*41]
the fact of disability is the only reasonable interpretation     jury could believe it, a court should not adopt that
of the known facts." (citations and quotations omitted));        version of facts for the purposes of ruling on a motion
Conant v. City of Hibbing, 271 F.3d 782, 786 (8th Cir.           for summary judgment."); Irving v. Chester Water Auth.,
2006) (finding that an "employer's knowledge of                  439 F. App'x 125, 127 (3d Cir. 2011) (holding that "self-
impairment without more does not amount to a                     serving deposition testimony is insufficient to raise a
disability" (citations and quotation omitted)); Aucutt v.        genuine issue of material fact."); Synthes, Inc. v.
Six Flags Over Mid-America, 85 F.3d 1311, 1320 (8th              Emerge Med., Inc., 25 F. Supp. 3d 617, 672 (E.D. Pa.
Cir. 1996) (stating that "fact that [employer] was aware         2014)(same); Danois v. i3 Archive, Inc., 2013 U.S. Dist.
of [plaintiff's] medical problems is insufficient to establish   LEXIS 98105, at *28-29 (E.D. Pa. Jul. 12, 2013) (finding
that [employer] 'regarded' him as disabled.").                   that plaintiffs' reliance on their self-serving deposition
                                                                 testimony cannot create an issue of fact on summary
Further, Plaintiff sent another email on June 19, 2013, to       judgment since "the Third Circuit has extended to
Bichard. In it, Plaintiff states that her "doctor's note [is]    deposition testimony the principle that conclusory, self-
taking me out of work until June 26, 2013. He will re-           serving affidavits are insufficient to withstand a motion
evaluate me on June 26th to see if I am physically able          for summary judgment." (quotations and citations
to return and has informed me he will adjust the date            omitted)).
according to my physical well-being." Houston Email
dated June 19, 2013. Again, Plaintiff did not explain or         Accordingly, Plaintiff has failed to demonstrate a prima
inform Defendants that she had any specific disability,          facie case of disability discrimination or retaliation; her
or worst yet, Plaintiff did not disclose any other pertinent     claims under the NJLAD in this regard are dismissed as
facts from which one can regard Plaintiff as disabled.           to both DCI and Bichard.
Even more compellingly, Plaintiff's note from her
doctor, [*40] attached to her email, only indicates that
Plaintiff was under a doctor's care at Capital Health from       CONCLUSION
June 19, 2013 to June 26, 2013. See Doctor's Note
dated June 19, 2013. Nowhere does the note mention               For the reasons set forth above, Defendants' motion for
any symptoms or disabilities.                                    summary judgment is GRANTED.

                                                                 Dated: June 26, 2015
Absent any evidence that Plaintiff put Defendants on
notice of her alleged disability, i.e., suffering from panic     /s/ Freda L. Wolfson
attacks and anxiety, Plaintiff's own self-serving
testimony during her deposition cannot defeat summary            Freda L. Wolfson
judgment, as no reasonable jury could find that
Defendants were aware of Plaintiff's purported disability.       United States District Judge
See Gonzalez v. Sec'y of Dep't of Homeland Sec., 678
F.3d 254, 263 (3d Cir. 2012) ("[C]onclusory, self-serving
affidavits [and testimony] are insufficient to withstand a         End of Document

motion for summary judgment . . . . In this case,
Gonzalez's own, sworn statements are insufficient to
survive summary judgment."); Irving v. Chester Water
Auth., 439 Fed. Appx. 125, 127 (3d Cir. 2011)); Jordan
v. Cicchi, 2014 U.S. Dist. LEXIS 67380, 2014 WL
2009089, at *2 (D.N.J. May 16, 2014) ("the issue is not

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                                              Malloy v. Intercall, Inc.
                                  United States District Court for the District of New Jersey
                                  December 28, 2010, Decided; December 28, 2010, Filed
                                              Civil Action No.: 08-01182 (JLL)

Reporter
2010 U.S. Dist. LEXIS 136808 *; 2010 WL 5441658


RUTH ANN MALLOY, Plaintiff, v. INTERCALL, INC.,
                                                                Opinion by: JOSE L. LINARES
JOHN DOES (1-10) and ABC CORP. (1-10),
Defendant(s).


                                                                Opinion
Notice: NOT FOR PUBLICATION

                                                                LINARES, District Judge.

                                                                This matter comes before the Court on: (1) a motion for
Core Terms                                                      partial summary judgment filed by Plaintiff Ruth Ann
                                                                Malloy; (2) a motion to strike Plaintiff's expert Peter
terminated, territory, email, transferred, assigned,            Crain, Ph.D, filed by Defendant Intercall, Inc.
younger, undisputed, argues, consultants, geographic,           ("Intercall"); (3) a motion to strike Plaintiff's expert
at-will, sales, asserts, Reply, hired, medical leave,           Stephen Levison, Ph.D, filed by Intercall and (4) a
employees, acquisition, responded, video, designated            motion for summary judgment filed Intercall. The Court
territory, summary judgment, pretext, reasons, train,           has considered the submissions in support of and in
existing client, sales associate, retaliation, outrageous,      opposition to the motions and decides the matter
managed                                                         without oral argument pursuant to Rule 78 of the
                                                                Federal Rules of Civil Procedure. For the reasons
                                                                discussed below, Ms. Malloy's motion for partial
                                                                summary judgment is denied, Intercall's motion for
                                                                summary judgment is granted, and Intercall's motions to
Counsel: [*1] For RUTH ANN MALLOY, Plaintiff:
                                                                strike Ms. Malloy's experts are denied as moot.
SERENE MARY HENNION, LEAD ATTORNEY,
JOHNSON, MURPHY, HUBNER, MCKEON,
WUBBENHORST, BUCCO & APPELT, RIVERDALE,
                                                                I. BACKGROUND
NJ.
                                                                Prior to 2005, Ms. Malloy worked in the [*2] Wayne,
For INTERCALL, INC., a Subsidiary of West Corp.,                New Jersey, sales office of ECI, a telephone and video
Defendant: BRUCE S. ROSEN, MCCUSKER,                            conferencing company. (Pl.'s Stmt. of Undisputed Mat'l
ANSELMI, ROSEN, CARVELLI & WALSH, PC,                           Facts in Supp. of Mot. for Partial Summ. J. [hereinafter
FLORHAM PARK, NJ.                                               "Malloy's SOF"] ¶ 11.) She had worked at ECI since
                                                                1994. (Id.) At the beginning of 2005, ECI was bought by
                                                                Intercall. (Id. ¶ 13.) Thus, as of this acquisition date, Ms.
                                                                Malloy technically worked for Intercall. But, until August
Judges: JOSE L. LINARES, UNITED STATES                          1, 2005, Ms. Malloy continued reporting to her ECI
DISTRICT JUDGE.                                                 supervisor, Greg Mills. (Decl. of Serene M.Hennion,
                                                                Esq. in Opp'n to Def.'s Mot. for Summ. J. [hereinafter


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"Hennion Decl."], Ex. G., Dep. of Jay McCarthy, dated              National Sales Manager . . . . Your new title will
Nov. 5, 2009, Tr. 78:14-23.                                        be Senior Meeting Consultant.

As part of its process to determine which ECI                      7. I have applied under West's career application.
employees it wanted to retain, Intercall managers                  Thank you!
interviewed former ECI employees. (Malloy's SOF ¶ 17;
Def.'s Responsive Stmt. of Mat'l Facts and                         8. My salary and compensation will remain the
Supplemental Stmt. of Facts Not in Dispute [hereinafter            same. YES.
"Intercall's RSOF"] ¶ 17.) Ms. Malloy was interviewed in
                                                                   9. Certain accounts such as ABA/ABACLE; and
Intercall's Wayne, New Jersey office by Marty Dunne
                                                                   Southern Company's will be reviewed for possible
and Kim McLachlan. (Malloy's SOF ¶ 15.) At the time of
                                                                   relief. We will review. Unable to commit on relief
the interview, Mr. Dunne was Intercall's Vice President
                                                                   possibilities at this time.
of Sales and Ms. McLachlan was a sales manager. (Id.
¶ 16.) Ms. McLachlan in turn supervised [*3] another               If there's anything I forgot please advise as to your
sales manager, Patti Paczkowski. (Id. ¶ 19.) Intercall             consent to the above.
"terminated most of the ECI sales representatives," but
decided that it wished to retain Ms. Malloy as a sales         (Id.) This arrangement—allowing Ms. Malloy to keep her
manager. (Id.; Intercall's RSOF ¶ 19.) Ms. Malloy was to       existing accounts which were spread throughout the
continue working in Wayne, New Jersey, and would be            country—was not in line with Intercall's business model.
reporting to Ms. Paczkowski. (Intercall's RSOF ¶ 19.)          Intercall's businesses model provided that accounts
                                                               should be serviced in the geographic region where the
On July 13, 2005, Ms. Malloy emailed Ms. Paczkowski            company being serviced is located. [*5] (Malloy's SOF
regarding her "impressions . . . of the scope of [her]         ¶ 50; Intercall's Stmt. of Facts Not in Dispute
position within the Intercall organization in general and      [hereinafter "Intercall's SOF"] ¶ 4.) Ms. Malloy
under [Ms. Paczkowski's] direction in particular." (Cert.      understood that her arrangement would be an exception
of Gary J. Chester, Esq., in Supp. of Pl.'s Mot. for Partial   to the general policy. (Malloy's SOF ¶ 50.)
Summ. J. [hereafter "Chester Cert."], Ex. F, email from
Ms. Malloy to Ms. Paczkowski, dated July 13, 2005.)            As part of her continuing employment with Intercall, Ms.
Ms. Packowski responded to the email by providing              Malloy received Intercall's policy manual. (Decl. of Amy
responses in bold to the queries posed by Ms. Malloy.          Dashiell and Vol. 1 of Exs. in Supp. of Def.'s Reply to
The questions and answers are as follows:                      Pl.'s Add'l Disputed Mat'l Facts [hereinafter "Dashiell
                                                               Decl."], Ex. A, Malloy Dep., dated Apr. 6, 2009, Tr.
    1. Ability to keep existing base of business. YES.         346:16-347:24; Intercall's RSOF ¶ 26.) She testified that
                                                               she read the manual "front to back." (Malloy Dep. Tr.
    2. Ability to keep working existing prospects base
                                                               347:25-348:8.) In particular, Ms. Malloy acknowledges
    for future close. We will choose 10-15 of your top
                                                               that her employment at Intercall was at-will. (Pl.'s Br. in
    prospects. In addition, you will also be assigned
                                                               Opp'n to Def.'s Mot. for Summ. J. [hereinafter "Malloy
    a designated territory.
                                                               Opp'n"], at 43 ("Plaintiff is an at-will employee.")
    3. Ability to retain my office in Wayne, NJ. YES.
                                                               On August 1, 2005, Ms. Malloy stopped reporting to Mr.
    4. Report to Patti Paczkowski and to report to the         Mills and started reporting to Ms. Paczkowski. Although
    Parsippany [*4] Office for weekly status meetings          Intercall in general agreed to allow Ms. Malloy to keep
    (Thursdays). When traveling on business or during          her existing client base, some of her accounts were
    inclement weather in the winter I can call into the        transferred to other locations. For example, prior to
    weekly status meeting. YES. You will need to               September 2005, Wellpoint, Sony and PMI were
    change your schedule a bit however . . . .                 transferred to the national accounts office or to the
                                                               offices [*6] in the geographic region where those
    5. While I work from home from 7:30 to 8:30 am, I          companies are located. (Dashiell Decl., Ex. A., Malloy
    will be into the office at 9 am and unless workload        Dep. Tr. 208:22-209:4; Br. in Supp. of Def.'s Mot. for
    warrents (sic) it will leave at 5PM. YES...our hours       Summ. J. [hereinafter "Intercall's Summ. J. Br."], at 16 &
    are 8:00-5:00 . . . .                                      n.8.) Then, on October 13, 2005, Mr. Dunne sent an
                                                               email to Ms. Paczkowski and Ms. McLachlan regarding
    6. I will be permitted to continue to work as a Senior     Ms. Malloy's accounts. He stated:


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    Guys . . . let's agree that by Jan 1, [Plaintiff] should       you based on how much responsibility you already
    begin transitioning her acquisition activity that is           manage. [T]his revenue would be considered as
    outside of her designated territory to local MCs.              "moved" not "new," so as a result your quota would
    Does that make sense? If not, where does it not                have increased even more.
    makes sense? Thoughts.
                                                               (Id. ¶ 6; Intercall's SOF ¶67.)
(Chester Cert., Ex. H, email from Mr. Dunne, dated Oct.
13, 2005.) Ms. Paczkowski responded:                           On November 2, 2005, Ms. Malloy provided her October
                                                               revenue numbers to Ms. Paczkowski. (Intercall's RSOF
    I agree that the majority of her accounts should be        ¶ 59). Ms. Pazckowski responded by email that she was
    moved locally to the appropriate territory. I agree        concerned about the numbers because it appeared that
    that this makes most sense for the company.                Ms. Malloy would not be meeting her targets. (Id.)

    However, the problem is that we committed in               Several weeks later, at the end of November, Ms.
    writing to keep all existing accounts under [Plaintiff].   Malloy was hospitalized with a perforated ulcer.
    She has called me out several times already                (Intercall's RSOF ¶ 60.) On December 6, 2005, Ms.
    regarding this commitment. To transition these             Paczkowski was informed by Maribell Santiago, an
    accounts will guarantee her departure.                     Intercall Employee Relations Coordinator, that Ms.
                                                               Malloy "probably won't be able to return [to work] until
    At this point, I am trying to decipher if her leaving      February 2006." (Dashiell Decl., Ex. B., email from Ms.
    would be best OR if her leaving would guarantee a          Santiago to Ms. Paczkowski, Dec. 6, 2005 (marked as
    huge loss in revenue based on her existing client          Santiago Ex. 5).) Three days after receiving notice that
    relationships. [*7] (She has lead me to believe that       Ms. Malloy's medical leave would be for an extended
    this is the case.)                                         period of time, Ms. Paczkowski emailed another Intercall
                                                               employee, Taryn Stinson, about transferring Ms.
    Marty [Dunne], please allow me to November 15th
                                                               Malloy's accounts [*9] that were not within the territory
    before committing to [transfer her accounts].
                                                               managed by Ms. Paczkowski to the geographic areas
(Id.) Mr. Dunne responded: "Okay." (Id.) Although Mr.          where the companies were located. Ms. Paczkowski
Dunne testified that he wanted Ms. Malloy's accounts           wrote:
transitioned before January of 2006 because of his
                                                                   I have been given the go-ahead to move all of
belief that they would be "better managed by local
                                                                   Ruthann's accounts to where they belong according
representatives" (Malloy's SOF ¶ 41), it is undisputed
                                                                   to geography. Once I receive the list of account, city
that Ms. Malloy's accounts were not transferred at that
                                                                   and state[.] I would love to start transitioning them
time.
                                                                   immediately. Is this something that you can help me
Also in October of 2005, Intercall acquired other                  with?
companies including Sprint Conferencing and
                                                               (Chester Cert., Ex. L, email exchange between Ms.
Raindance Conferencing. (Intercall's Reply to Pl.'s Add'l
                                                               Stinson and Ms. Paczkowski, dated December 9, 2005.)
Disputed Mat'l Facts [hereinafter "Intercall's Reply SOF"]
                                                               Ms. Stinson responded, providing a list of Ms. Malloy's
¶ 4.) Ms. Paczkowski did not assign any accounts from
                                                               accounts and identifying "the appropriate ICall rep code
these acquisitions to Ms. Malloy. (Id.) However, it is
                                                               based on zip codes." (Id.) Ms. Packzowski responded:
undisputed that "other sales consultants who reported to
Paczkowski received accounts from the acquisitions."               Please see the attached. All companies from Tab 1
(Id.) It is also undisputed that all of the other sales            should be moved ASAP! I pulled off all accounts
consultant who reported to Ms. Paczkowski were                     based in NJ, NY and CT (within my territory scope)
younger than Ms. Malloy. (Id. ¶ 5.) Ms. Malloy                     and placed on Tab 2 — Ruthann will be keeping
complained to Ms. Paczkowski about not being                       these accounts. . . .
assigned any of the new accounts. Ms. Paczkowski
replied:                                                       (Id.) As a result, Ms. Malloy's accounts, not located in
                                                               NJ, NY, or CT, were transferred to other Intercall sales
    [I]n respect to the ECI and Sprint accounts, you           managers. (See also Malloy's SOF ¶ 47.)
     [*8] have one of the largest revenue bases in the
    office. I held back transferring over new revenue to       Ms. Malloy returned from medical leave on February 17,


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2006. (Id. ¶ 48.) At this time, Ms. Pazckowski informed     Stallins by telling her that he "supported [her] decision
her that all of her accounts located outside of New         on this." (Id.) Ms. Stallins then wrote to Ms. Paczkowski,
 [*10] York, New Jersey, and Connecticut had been           copying [*12] Ms. McLachlan, stating: "Patty — we
transferred. (Id.) Ms. Malloy requested that she be given   have the green light from Marty [Dunne] . . . ." (Id.) Ms.
a designated geographic territory in Ms. Paczkowski's       Paczkowski thanked Ms. Stallins and told her that,
area. In approximately September 2006, Ms. Malloy was       before Ms. Malloy was actually terminated, Ms.
assigned Western Connecticut as her geographic              Paczkowski "first need[ed] to prepare [some]
territory. (Intercall's Reply SOF ¶¶ 19 & n.1, 25; Pl.'s    documents." (Id.)
Stmt. of Add'l Material Facts, submitted in opposition to
Intercall's MSJ [hereinafter "Malloy's Add'l SOF"] ¶ 26.)   Three days after this exchange, on January 11, 2007, a
In late 2006, Intercall assigned another person to this     Saturday Night Live clip regarding sexual harassment in
territory. (Intercall's Reply SOF ¶ 26) Intercall did not   the workplace was shown during a video conference
inform Ms. Malloy that it had placed another person in      presented by the Boston sales office. (Intercall's Reply
this territory. (Id.)                                       SOF ¶ 40.) Ms. Malloy watched the video and claims
                                                            that it was offensive to her. (Id.) She immediately
In late November 2006, Ms. Malloy acknowledges that         complained to Ms. Paczkowski. (Intercall's SOF ¶ 54.) It
she was continuing to not meet the sales target             is undisputed that Ms. Paczkowski responded by email,
numbers set by Intercall. (Dashiell Decl., Ex. A, Malloy    apologizing to Ms. Malloy and telling her that she would
Dep. Tr. 431:17-432:12.) As a result, she was given a       forward the complaint to Ms. McLachlan. (Id.) It is also
Performance Improvement Notice ("PIN"), which               undisputed that the manager responsible for airing the
required her "to improve her performance no later than      clip was reprimanded by Ms. McLachlan. (Id.)
February 28, 2007. (Malloy's SOF ¶ 52; Intercall's SOF
¶ 50; Intercall's RSOF ¶ 65.) Ms. Malloy does not           Ms. Malloy was terminated on January 23, 2007.
dispute that she was failing to meet her targets, rather,   (Intercall's RSOF ¶ 55.) Around January 30, 2007, Ms.
she asserts that she was set up to fail because she was     Malloy suffered a massive stroke. (Malloy's Add'l SOF ¶
given an area that was a "joke" and numbers to call         46.) Ms. Malloy presently claims that she was
 [*11] on that were "bogus." (Intercall's Reply SOF ¶ 27;   discriminated against by Intercall, that Intercall
Malloy's Response to Stmt. of Facts [hereinafter            wrongfully terminated her, and that Intercall's
"Malloy's RSOF"] ¶ 16.)                                      [*13] actions caused her stroke.

On January 8, 2007, Gwen Stallins, an Intercall
Employee Relations Director, sent an email to Mr.           II. LEGAL STANDARD
Dunne recommending that Ms. Malloy be terminated.
Ms. Stallins wrote:                                         A court shall grant summary judgment under Rule 56(c)
                                                            of the Federal Rules of Civil Procedure "if the pleadings,
    I wanted to give you a heads up [and] solicit any       the discovery and disclosure materials on file, and any
    comments you might have on this. Patty                  affidavits show that there is no genuine issue as to any
    Paczkowski and Kim McLachlan contacted me               material fact and that the movant is entitled to judgment
    again today concerning serious performance issues       as a matter of law." Fed. R. Civ. P. 56(c). The moving
    with Ruthann Malloy. Ruthann is currently on a          party first must show that no genuine issue of material
    Step III PIN for these issues, and is showing no        fact exists. See Celotex Corp. v. Catrett, 477 U.S. 317,
    improvement. I am going to recommend termination        323, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). The
    of her employment before the PIN expires.               burden then shifts to the non-moving party to present
                                                            evidence that a genuine issue of material fact compels a
    Ruthann has on occasion indicated that she would        trial. Id. at 324. The non-moving party must offer specific
    file discrimination charges . . . against us if we      facts that establish a genuine issue of material fact and
    termed her, but I believe that we are in a good         may not simply rely on unsupported assertions, bare
    position at this time to either defeat the charges or   allegations, or speculation. See Ridgewood Bd. of Educ.
    minimize the damages based on clearly                   v. N.E. ex rel. M.E., 172 F.3d 238, 252 (3d Cir. 1999).
    documented performance failures. Absent any             Also, the Court must consider all facts presented and
    objection from you, we wish to proceed in the next      the reasonable inferences drawn from them in the light
    day or two. Appreciate any feedback.                    most favorable to the non-moving party. See Pa. Coal
                                                            Ass'n v. Babbitt, 63 F.3d 231, 236 (3d Cir. 1995).
(Chester Cert., Ex. K.) Mr. Dunne responded to Ms

                                                   Pooja Bhutani
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                                                                      warrents (sic) it will leave at 5PM. YES...our hours
III. SUMMARY JUDGMENT MOTIONS                                         are 8:00-5:00 . . . .

Ms. Malloy moves for partial summary judgment on her                  6. I will be permitted to continue to work as a Senior
breach [*14] of contract claim. Intercall moves for                   National Sales Manager . . . . Your new title will
summary judgment as to each of Ms. Malloy's claims:                   be Senior Meeting Consultant.
(1) breach of express and implied contract, (2) age
discrimination in violation of NJLAD, (3) retaliation in              7. I have applied under West's career application.
violation of NJLAD, and (4) intentional infliction of                 Thank you!
emotional distress.1
                                                                      8. My salary and compensation will remain the
                                                                      same. YES.

A. Breach of Contract Claims                                          9. Certain accounts such as ABA/ABACLE; and
                                                                      Southern Company's will be reviewed for possible
To establish a claim for breach of contract under New                 relief. We will review. Unable to commit on relief
Jersey law, a plaintiff must show: 1) the existence of a              possibilities at this time.
contract, 2) a material breach of the contract by the
defendant, and 3) damages resulting from the breach.                  If [*16] there's anything I forgot please advise as to
See Fletcher-Harlee Corp. v. Pote Concrete                            your consent to the above.
Contractors, Inc., 421 F. Supp. 2d 831, 833 (D.N.J.
2006), aff'd, 482 F.3d 247 (3d Cir. 2007). Ms. Malloy             (Chester Cert., Ex. F, email from Plaintiff to Ms.
asserts that the following email exchange represents a            Paczkowski, dated July 13, 2005.) Ms. Malloy asserts
contract between her and Intercall regarding the terms            that this email exchange between Ms. Paczkowski and
of her employment.                                                her represents a contract between her and Intercall
                                                                  regarding the terms of her employment. In particular,
      Hello Patti, as indicated in our conversation today, I      Ms. Malloy argues that, in the email, Intercall agreed: (1)
      just wanted to outline what my impressions are of           that she could keep her existing client base; (2) that she
      the scope of my position within the Intercall               could prospect her top accounts and farm accounts
      organization in general and under your direction in         across the country, and (3) that she would be assigned
      particular.                                                 a specific geographic territory. (See Malloy's SOF ¶ 24;
                                                                  Malloy Opp'n, at 44.)
      1. Ability to keep existing [*15] base of business.
      YES.                                                        On the other hand, Intercall argues that the email relied
                                                                  on by Ms. Malloy is not an enforceable contract of
      2. Ability to keep working existing prospects base          employment conditions because Ms. Malloy was an at-
      for future close. We will choose 10-15 of your top          will employee, because the terms are too vague, and
      prospects. In addition, you will also be assigned           because there was no consideration for any of the
      a designated territory.                                     alleged promises. Additionally, Intercall argues that,
                                                                  even if there was a contract, Ms. Malloy did not perform
      3. Ability to retain my office in Wayne, NJ. YES.
                                                                  under it, and that she has not established any damages.
      4. Report to Patti Paczkowski and to report to the          1. Existence of a Contract
      Parsippany Office for weekly status meetings
      (Thursdays). When traveling on business or during           Ms. Malloy admits that she was an at-will employee, and
      inclement weather in the winter I can call into the         that, as such, Intercall could terminate her at any time.
      weekly status meeting. YES. You will need to                 [*17] (Malloy Opp'n, at 43 ("Plaintiff is an at-will
      change your schedule a bit however . . . .                  employee.") Additionally, Intercall's employee manual,
                                                                  which Ms. Malloy admits to reading, clearly stated the
      5. While I work from home from 7:30 to 8:30 am, I           at-will nature of her employment. The manual reads:
      will be into the office at 9 am and unless workload
                                                                      Employment at Will

1 Intercall
          asserts that Ms. Malloy is no longer pursuing her           Your employment with Intercall is a voluntary one
CEPA claim (Intercall's Summ. J. Br., at 2 n.1); Ms. Malloy did       and is subject to termination by you or Intercall at
not dispute this statement in her brief.

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    will, with or without notice, at any time. Nothing in       The Court agrees with Ms. Malloy that, under New
    these policies will be interpreted to be in conflict        Jersey law, at-will employees may enter contracts with
    with or to eliminate in any way the employment at           their employers regarding certain terms of their
    will status of Intercall employees.                         employment other than the duration of the employment.
                                                                See Nolan v. Control Data Corp., 243 N.J. Super. 420,
    This policy of employment-at-will may not be                579 A.2d 1252, 1257 (N.J. Super. App. Div. 1990)
    modified by any officer or employee and shall not           (finding that the plaintiff, an at-will employee, and
    be modified in any publication or document. The             employer had an enforceable agreement regarding the
    only exception to this policy is a written employment       payment of past commissions). But, for a contract to
    agreement approved at the discretion of the                 exist, the agreement must still meet the ordinary
    President or the Board of Directors, whichever is           requirements for the formation of a contract. For
    applicable.                                                 instance, "[a] contract arises from offer and acceptance,
                                                                and must be sufficiently definite so that the performance
    These personnel policies are not intended to be a
                                                                to be rendered by each party can be ascertained with
    contract of employment or a legal document.
                                                                reasonable certainty." Baer v. Chase, 392 F.3d 609,
(Intercall's SOF ¶ 17; Malloy's RSOF ¶ 17.) Ms. Malloy,         618-19 (3d Cir. 2004) (alteration in original; internal
however, argues that this fact is irrelevant. She argues        quotations omitted); see also Shebar v. Sanyo Bus. Sys.
that, under New Jersey law,2 at-will employees may              Corp., 111 N.J. 276, 544 A.2d 377, 381 (N.J. 1988);
enter contracts governing certain aspects of the
                                                                Intercall [*20] argues that, because Ms. Malloy was an
employment relationship. She argues that the email
                                                                at-will employee, it had the right to prospectively change
between her and Ms. [*18] Paczkowski, on behalf of
                                                                the nature of her employment. It also argues that, even
Intercall, was just such an express contract. She states:
                                                                if it could in general be bound by contract from changing
"The fact that [she] was [an] at-will employee did nothing
                                                                future aspects of an employee's employment, the email
to alter the fact that the parties had an agreement
                                                                at issue was too vague to create any binding obligation
governing certain aspects of the employment
                                                                to Ms. Malloy.
relationship; nor does it alter Intercall's obligation to act
in good faith with respect to the terms contained in the        The email at issue was exchanged on July 13, 2005.
agreement." (Malloy Opp'n, at 43.)                              There is no dispute that, upon her transition to reporting
                                                                to Ms. Paczkowski on August 1, 2005, Ms. Paczkowski
"In New Jersey, an employer may fire an employee for
                                                                did what she agreed in her email. In her motion for
good reason, bad reason, or no reason at all under the
                                                                partial summary judgment, Ms. Malloy states:
employment-at-will doctrine." Wade v. Kessler Inst., 172
N.J. 327, 798 A.2d 1251, 1258 (N.J. 2002). Thus, "[a]n              [Intercall] did, at least temporarily, comply with the
employment relationship remains terminable at the will              conditions reflected in Plaintiff's July 13, 2005
of either an employer or employee, unless [*19] an                  email. Defendant hired Ms. Malloy as a Senior
agreement exists that provides otherwise." Id. Here, it is          Meeting Consultant, compensated her at her
undisputed that Ms. Malloy was an at-will employee; Ms.             previous rate of compensation, allowed her to work
Malloy does not claim that there was a contract between             from the old ECI office in Wayne, New Jersey
her and Intercall that altered this relationship. Rather,           (rather than Ms. Paczkowski's office in Parsippany),
she argues that a contract existed between her and                  and officially, albeit briefly, allowed Plaintiff to keep
Intercall that governed certain aspects of her                      most of her national accounts.
employment.
                                                                (Br. in Supp. of Pl.'s Mot. for Partial Summ. J.
                                                                [hereinafter "Malloy's Summ. J. Br."], at 25.) Thus, Ms.
                                                                Malloy appears to be claiming that Intercall breached
2 The  parties both apply New Jersey law to Ms. Malloy's
                                                                her "contract" [*21] by not permitting her to keep her
claims. Although normally this Court must apply New Jersey's
                                                                existing client base indefinitely, by not letting her
choice of law rules to determine what law should apply for
                                                                prospect her top accounts and farm accounts
each claim, see Warriner v. Stanton, 475 F.3d 497, 499-500
(3d Cir.2007), such an analysis is unnecessary where there is   throughout the country, and by not giving her a
agreement as to the law, and there is no reason to question     designated geographic territory.
this choice. Ms. Malloy's was employed by Intercall in New
Jersey, and most, if not all, of the actions from which her     First, the email explicitly limits Ms. Malloy's ability to
claims arise occurred in New Jersey.                            "keep working [her] existing prospects base for [the]

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future." Also, the email not only limits this request, but     changed. Thus, the Court finds that this statement in the
also leaves the parameters of this aspect of Ms.               email also is insufficient to create a binding obligation
Malloy's employment open. Aside from any other                 for Intercall.
argument, this provision is clearly too vague to form the
basis of an obligation by Intercall.                           The real dispute, however, involves the statement by
                                                               Ms. Paczkowski that Ms. Malloy would be permitted to
With respect to Ms. Malloy's claim that Intercall agreed       keep her existing client base. Because it is undisputed
to assign her a specific geographic territory, the email       that Ms. Malloy was permitted to keep her base initially,
does not even contain such an agreement. Instead, Ms.          the Court presumes that Ms. Malloy's claim is that the
Paczkowski states that Ms. Malloy would be assigned a          email created a contract which prevented Intercall from
designated territory. Ms. Paczkowski testified that Ms.        ever changing Ms. Malloy's client base. In other words,
Malloy's designated territory was                              Ms. Malloy appears to argue that this email meant that
                                                               she was entitled to keep her existing client base
    Q: ...What was Ruthann Malloy's designated                 indefinitely regardless of any other factor. Ms. Malloy
    territory in October of 2005?                              has not cited to, and this Court cannot find, a case that
                                                               has held that an employer could not prospectively
    A. I believe her territory at that time consisted of her
                                                               change the terms of an at-will employee's employment.
    accounts, her prospect accounts that she was
                                                               Nolan, heavily relied on by Ms. Malloy, held that an
    pursuing, as well as areas that were local to my
                                                               employer could not retroactively change an agreement
    jurisdiction that I could say to her, you can go here.
                                                               as to a term of employment compensation "at any time
    For example, I remember her having account
                                                               and for any reason whatever"; it said nothing about
     [*22] in Roseland, New Jersey, which should have
                                                               prospective [*24] changes to the employment. 579 A.2d
    fallen underneath another one of my reps, but she
    had that area.                                             at 1258.

                                                               Intercall argues had right to change Plaintiff's work
    Q. Did she have a designated geographical territory
                                                               conditions at any time. It argues that it would make no
    in which to prospect accounts?
                                                               sense if it could terminate Ms. Malloy's employment at
    A. She had her top prospects that she would have           any time, but could not change other aspects of her
    listed out, and she had her base of business.              future employment based on changed circumstances.
                                                               Courts have held that, under New Jersey law, an
    Q. Okay. So that's a type of territory but not a           employer's right to change the terms of an at-will
    geographical territory per se?                             employee's terms of employment "includes the right to
                                                               impose new requirements on the employee." Mita v.
    A. Exactly.                                                Chubb Computer Servs., Inc., 337 N.J. Super. 517, 767
                                                               A.2d 989, 994 (N.J. Super. Ct. App. Div. 2001). Courts
(Intercall's SOF ¶ 16 (quoting Ms. Paczkowski's
                                                               in other states have reached a similar conclusion
deposition).) Ms. Malloy's actions support this testimony.
                                                               regarding at-will employees. See, e.g., Green v. Edward
Although she complained about various Intercall
                                                               J. Bettinger Co., 608 F. Supp. 35, 41-42 (E.D. Pa.
actions, she did not request a specific geographic
                                                               1984), aff'd, 791 F.2d 917 (3rd Cir. 1986) ("The
territory until March 2005, after the majority of her ECI
                                                               undoubted right to terminate an at-will contract
had been transferred to other sales associates.
                                                               necessarily includes the right to insist upon changes in
Additionally, Ms. Malloy's own arguments demonstrate
                                                               the compensation arrangements as a condition of
that this provision, even if otherwise, enforceable, is too
                                                               continued employment."); Cotter v. Desert Palace, Inc.,
vague to form an enforceable contractual right. Although
                                                               880 F.2d 1142, 1145 (9th Cir. 1989) (holding that an
Ms. Malloy focuses in various places on the lack of a
                                                               employee contract claim based on a change in the tip
having a specific geographic territory assigned, in other
                                                               sharing policy failed because "[a]n employer privileged
places she merely complains of the failure to assign a
                                                               to terminate an employee [*25] at any time necessarily
"workable" territory. Additionally, even if the term
                                                               enjoys the lesser privilege of imposing prospective
"designated territory" were not deemed to be too vague,
                                                               changes in the conditions of employment").
there are sufficient other boundaries around this alleged
promise. There [*23] is no indication when such a
                                                               Intercall further argues that this is particularly true
territory must be assigned, how long she must be
                                                               where, as here, the alleged agreement contains no
permitted to work the territory before, or if, it could be
                                                               duration and where the employee manual provides that

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the at-will nature of the employment may not be altered        covenant of good faith and fair dealing." Nolan, 579
except by written agreement approved by the President          A.2d at 1257. Therefore, because this Court has found
or Board of Directors. See Mita, 767 A.2d at 994-95            that no contract existed between Ms. Malloy and
("Where an employee manual clearly and unequivocally           Intercall, Ms. Malloy's claim for a breach of the implied
provides the exclusive means by which an employment-           covenant of good faith and fair dealing fails. Summary
at-will relationship can be altered, we perceive no sound      judgment on this claim is granted in favor of Intercall.
jurisprudential or public policy reason prohibiting
                                                               3. Compensatory Damages and Worker's
enforcement."). The Court agrees that it would not
                                                               Compensation Bar
makes sense if Ms. Malloy's at-will arrangement could
not be changed except by written agreement approved            Because this Court has granted summary judgment in
by the President or Board of Directors, but that severe        favor of Intercall on Ms. Malloy's breach of contract
limitations could be placed on Intercall's ability to adjust   claims, it need not reach Intercall's additional arguments
her client base indefinitely based merely on an email          related to Ms. Malloy may seek compensatory damages
agreement by a local sales manager.                            of back or front pay and whether her claim for damages
                                                               caused by her ulcer and stroke are barred by New
"Additionally, the duration of [a] contract is . . . an        Jersey's Worker's Compensation Act.
essential term and therefore any agreement must be
sufficiently definitive to allow a court to determine the
agreed upon length             [*26] of the contractual        B. NJLAD Age Discrimination Claim
relationship." Baer, 392 F.3d at 619. The email plainly
provides no duration related to any of the alleged             Ms. Malloy alleges that, based on her age, "Dunne,
agreements; in fact, Ms. Malloy appears to argue that          McLachlan and Paczkowski conspired over a period of
Intercall agreed to indefinitely maintain her initial          two years [*28] to systematically strip [her] of her ECI
working arrangement. Thus, the Court also agrees that          accounts, transfer those accounts to younger workers,
Ms. Malloy's argument fails because no time limit is           and then terminate her." (Am. Compl. ¶2; see also
provided in the email.                                         Malloy's SOF ¶ 59.) Specifically, Ms. Malloy alleges that
                                                               Intercall discriminated against her in the following ways:
In summary, Ms. Malloy acknowledges that she initially
began working for Ms. Paczkowski according to the                  1. Transferring the majority of [her] accounts to
parameters set forth in the July 13 email. She                     younger, less qualified sales consultants;
acknowledges that she was an at-will employee. It is
also undisputed that the bulk of her non-local accounts            2. Requiring [her] to train the younger, less qualified
were not transferred until December 2005, while she                sales consultants before transferring her accounts;
was out on extended medical leave. Yet, Ms. Malloy
                                                                   3. Failing to provide Plaintiff with new accounts
argues that, based on the bare statements outlining a
                                                                   after Intercall acquisitions as it did all of its younger
new position in the July 13 email alone, Intercall was
                                                                   sales consultants;
barred from ever changing her existing client base for
any reason whatsoever. Such an argument does not                   4. Failing to assist Plaintiff with managing her
have support in New Jersey law.                                    accounts while she was on medical leave as it had
                                                                   its younger sales consultants;
Because this Court finds that no contract existed
between Ms. Malloy and Intercall barring Intercall from            5. Failing to provide Plaintiff with a designated
prospectively changing the aspects of Ms. Malloy's                 territory, as it had its younger sales consultant;
employment, it need not reach Intercall's other
arguments related to lack [*27] of consideration,                  6. Placing [a] much younger employee in Plaintiff's
performance, or damages. Summary judgment in favor                 territory that she was finally given in
of Intercall on Ms. Malloy's breach of contract claim is           September/October of 2006;
granted; Ms. Malloy's motion for partial summary
judgment on the contract claim is denied.                          7. Falsely placing Plaintiff on a Performance
                                                                   Improvement Plan; and
2. Breach of Implied Covenant of Good Faith and Fair
Dealing                                                            8. Falsely terminating Plaintiff for poor performance.

"In the absence of a contract, there is no implied             (Malloy's Opp'n, at 21.) On the other hand, Intercall

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asserts that age was not a factor in any employment               (citing Hazen). In other words, for age discrimination
decision related to Ms. Malloy, including [*29] those             cases, it is age discrimination alone that is prohibited.
decisions related to the assignment and handling of her           Broaddus, 145 F.3d at 1287 (citing Hazen, 507 U.S. at
accounts.                                                         611).

In determining if summary judgment is appropriate for a           After an employee has established a prima facie case,
NJLAD discrimination claim, courts use a three step               "the burden then shifts to the employer to rebut the
process. "First, the plaintiff carries the burden of              presumption of discrimination by either establishing the
establishing, by a preponderance of the evidence, the             reasonableness of the otherwise discriminatory act or by
elements of a prima facie case of discrimination."                articulating a legitimate, nondiscriminatory reason for
Greenberg v. Camden County Vocational and Technical               the employment action." Greenberg, 708 A.2d at 465;
Schs., 310 N.J. Super. 189, 708 A.2d 460, 465 (N.J.               see also Smith, 589 F.3d at 690. If the employer is able
Super. Ct. App. Div. 1998) (citing McDonnell Douglas              to articulate such a reason, the plaintiff must then show
Corp. v. Green, 411 U.S. 792, 802, 93 S. Ct. 1817, 36 L.          that the proffered reason was a pretext for a
Ed. 2d 668 (1973)); Smith v. City of Allentown, 589 F.3d          discriminatory decision. Smith, 589 F.3d at 690; Monaco
684, 691 (3d Cir. 2009).3 The elements comprising a               v. Am. Gen. Assur. Co., 359 F.3d 296, 299-300 (3d Cir.
prima facie case for discrimination under NJLAD are               2004) (applying McDonnell Douglas framework to
that: "(1) plaintiff belongs to a protected class; (2) she        NJLAD claim). To demonstrate that the proffered
was performing her job at a level that met her                    reasons are pretextual, a
employer's legitimate expectations; (3) she suffered an
adverse employment action; and (4) others not within                  plaintiff generally must submit evidence which: 1)
the protected class did not suffer similar adverse                    casts sufficient doubt upon each of the legitimate
employment actions." El-Sioufi v. St. Peter's Univ.                   reasons proffered by the defendant so that a
Hosp., 382 N.J. Super. 145, 887 A.2d 1170, 1182 (N.J.                 factfinder could reasonably conclude that each
Super. Ct. App. Div. 2005); Sarullo v. USPS, 352 F.3d                 reason was a fabrication; or 2) allows the factfinder
789, 797 & n.6 (3d Cir. 2003). In an age discrimination               to infer that discrimination was more likely than not
case, "[t]he focal question is . . . whether the claimant's           a motivating [*32] or determinative cause of the
age, in any significant [*30] way, made a difference in               adverse employment action.
the treatment he was accorded by his employer."
Petrusky v. Maxfli Dunlop Sports Corp., 342 N.J. Super.           Fuentes v. Perskie, 32 F.3d 759, 762 (3d Cir. 1994).
77, 775 A.2d 723, 726 (N.J. Super. Ct. App. Div. 2001)            But, "the plaintiff cannot simply show that the employer's
(emphasis added) (internal quotations omitted). Thus,             decision was wrong or mistaken, since the factual
courts interpreting the ADEA have held that an                    dispute at issue is whether discriminatory animus
employer is not prohibited "from making an employment             motivated the employer, not whether the employer is
decision on the basis of higher salaries, increased               wise, shrewd, prudent, or competent." Id. at 765; see
benefits, pension status, or claims for medical expenses          also Abramson v. William Paterson Coll., 260 F.3d 265,
even though these characteristics are often correlated            283 (3d Cir. 2001); see also Silvestre v. Bell Atlantic,
with an employee's age." Broaddus v. Fla. Power Corp.,            973 F. Supp. 475, 483 (D.N.J. 1997) ("[A] plaintiff's
145 F.3d 1283, 1287 (11th Cir.1998) (citing Hazen                 disagreement with a defendant's evaluation of his
Paper Co. v. Biggins, 507 U.S. 604, 611, 113 S. Ct.               performance, or the plaintiff's own perception of his
1701, 123 L. Ed. 2d 338 (1993)); see also Kelly v.                performance, does not demonstrate pretext under the
Moser, Patterson and Sheridan, LLP, 348 Fed. Appx.                McDonnell Douglas framework."). Instead, "the non-
746, 749 (3d Cir. Oct. 9, 2009) (unpublished opinion)             moving plaintiff must demonstrate such weaknesses,
                                                                  implausibilities, inconsistencies, incoherencies, or
                                                                  contradictions in the employer's proffered legitimate
                                                                  reasons for its action that a reasonable factfinder could
3 Ininterpreting the NJLAD, courts look to federal law, such as   rationally find them unworthy of credence, and hence
the Age Discrimination in Employment Act ("ADEA") for             infer that the employer did not act for [the asserted] non-
guidance. See Waldron v. SL Indus., Inc., 849 F. Supp. 996,       discriminatory reasons." Fuentes, 32 F.3d at 765
1000 (D.N.J.1994), rev'd on other grounds, 56 F.3d 491 (3d        (alteration in original; citations and internal quotations
Cir.1995) ("Age discrimination [*31] claims under the [NJ]LAD     omitted); see also [*33] Abramson, 260 F.3d at 283;
and the ADEA are governed by the same standards."); see
                                                                  Taylor v. Amcor Flexibles, Inc., 669 F. Supp. 2d 501,
also Bergen Commer. Bank v. Sisler, 157 N.J. 188, 723 A.2d
                                                                  507-511 (D.N.J. 2009).
944, 949 (N.J. 1999) (citing Waldron).

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Additionally, in an age discrimination case where a            national accounts group. It is also undisputed that when
plaintiff was both hired and fired while over 40, there is a   Ms. Malloy was retained by Intercall in July 2005 she
presumption against age discrimination as a motivating         was permitted, at least initially, to continue servicing her
factor for termination. See Young v. Hobart West Group,        accounts which were located across the country despite
385 N.J. Super. 448, 897 A.2d 1063, 1070 (N.J. Super.          this being contrary to Intercall's normal business model.
Ct. App. Div. 2005) ("Courts have rejected age                 It is also undisputed that prior to the December 2005
discrimination claims when a plaintiff was both hired and      transfer of accounts at issue that certain of Ms. Malloy's
fired while a member of the protected age group.");            accounts were transferred to the national accounts
Lowe v. J.B. Hunt Transport, Inc., 963 F.2d 173, 174-75        group or to other regional offices where the companies
(8th Cir.1992) ("It is simply incredible, in light of the      were located. (See Intercall's Summ. J. Br., at 16-17;
weakness of plaintiff's evidence otherwise, that the           Intercall's Summ. J. Reply, at 3 n. 3, 4.) It is undisputed
company officials who hired him at age fifty-one had           that the majority of Ms. Malloy's accounts were
suddenly developed an aversion to older people less            transferred to younger sales associates. But, it is also
than two years later."); Thomasian v. N.J. Inst. of Tech.,     undisputed that most sales associates at Intercall were
No. 08-2218, 2010 U.S. Dist. LEXIS 24911, 2010 WL              younger than Ms. Malloy when she was hired and when
1032653, at *5 (D.N.J. Mar. 16, 2010). Such a                  her accounts were transferred. Even if these facts are
presumption is particularly appropriate where the same         sufficient to state a prima facie case age discrimination
individuals hired and fired the plaintiff, and the lapse       case, Ms. Malloy [*36] has not submitted any evidence
between the hiring and firing is not very long. See            to support a finding that Intercall's proffered reason for
Thomasian, 2010 U.S. Dist. LEXIS 24911, 2010 WL                the transfer was a pretext for discrimination.
1032653, at *5; see also Proud v. Stone, 945 F.2d 796,
798 (4th Cir.1991).                                            Intercall asserts that the accounts were transferred
                                                               because the unique arrangement with Ms. Malloy was
Here, Ms. Malloy was fifty-seven [*34] years old when          not working out to its satisfaction, and because Ms.
she was hired. She was hired by Mr. Dunne, with input          Malloy's extended medical absence exacerbated the
from Ms. McLachlan, and she was terminated                     difficulties with maintaining her accounts from the New
approximately two years later by Mr. Dunne. (See               Jersey office. To support her argument that these
Intercall's SOF ¶¶ 11, 55-56.) Ms. Malloy has made no          reasons are merely pretext for discrimination Ms. Malloy
allegations that Mr. Dunne, Ms. McLachlan, or                  primarily focuses on the timing of events and mere
Ms.Paczkowski ever made derogatory remarks to her              speculation (which is based significantly on
about her age or generally commented negatively about          mischaracterizations of the evidence produced).
older workers. (Intercall's SOF ¶ 68.) Ms. Malloy has
only testified that three Intercall employees, who were        Ms. Malloy asserts that pretext is clear here because
not responsible for decisions about her employment,            within ninety days of the July 13 email, Mr. Dunne
made a few "stray remarks." (Id.) Ms. Malloy also has          "ordered" that the majority of her accounts be
not disputed that, for the two years she was working at        transferred. (See Malloy's SOF ¶ 39.) First, as noted in
Intercall under Ms. Paczkowski, Ms. McLachlan, and Mr.         the particular statement by Ms. Malloy (other statements
Dunne, she was one of the highest paid sales                   assert different time periods), Mr. Dunne's email was
consultants. And, as discussed in the prior section, Ms.       sent three months after the original agreement that Ms.
Malloy does not dispute that she was an at-will                Malloy could keep her existing client base. Second, Mr.
employee who could have been terminated at any time.           Dunne's email plainly was not ordering the transferring
With this general background, the Court turns to Ms.           of Ms. Malloy's accounts on October 13, 2005. Instead,
Malloy's specific complaints.                                  Mr. Dunne [*37] suggested that the accounts be
                                                               transferred as of January 1, 2006 and asked for
1. Transferring of Accounts                                    comments. Ms. Paczkowski agreed that moving the
                                                               accounts made sense for the company, but asked for
Ms. Malloy asserts that Intercall discriminated against
                                                               more time "before committing" to a transfer. Mr. Dunne
her by "[t]ransferring the majority of [her] accounts to
                                                               agreed to the additional time. Regardless of whether Mr.
younger, less qualified sales consultants." The key facts
                                                               Dunne may have wanted or thought it best that the
related to this claim are [*35] not disputed. It is
                                                               accounts be transferred, it is undisputed that the
undisputed that Intercall's general business model
                                                               accounts were not transferred at that time.
provides for the servicing of accounts by the Intercall
office in the region where the account is located, except      Before there was much of an opportunity for Ms.
for certain national accounts which are handled by a

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Paczkowski or Mr. Dunne to take further action in the         the different treatment as evidence of discrimination.
ordinary course of business, Ms. Malloy went out on
medical leave on November 24, 2005. There is no               More [*40] importantly, all the evidence submitted
evidence that the accounts were transferred at that time.     indicates that the accounts were transferred without
Ms. Malloy asserts, however, that the decision to move        reference to the age of the transferee sales personnel.
the accounts was made before Ms. Paczkowski knew              Ms. Malloy simply relies on the fact that the sales
that Ms. Malloy would be out for an extended period of        personnel to whom the accounts were transferred likely
time. Thus, she argues, Ms. Paczkowski's stated reason        were younger, because most sales associates were
that, in part, the accounts were too burdensome to            younger, to support her argument. She argues that
manage from New Jersey while she was on leave is              because Mr. Dunne was aware that most sales
pretextual. Again, this assertion is not supported by the     associates were younger than her, he must have known
evidence. The evidence shows that Ms. Malloy's non-           the people to whom the accounts were transferred were
New Jersey, New York, and Connecticut accounts were           younger. But, Ms. Malloy testified:
transferred three days after Ms. [*38] Paczkowski was
                                                                  [I]t was my understanding and I may be wrong, but
informed by human resources that Ms. Malloy would be
                                                                  it was my understanding that the way these
out on extended medical leave. Ms. Paczkowski
                                                                  accounts were moved, they were bundled under
testified:
                                                                  me. Okay. They then, Marty moved them to
    The underlying reason why the accounts were                   individual sales offices. In other words, if it was the
    moved was that the ECI selling model did not fit              ABA, the ABA was moved to the Chicago office
    with the Intercall selling model, meaning that                because that's where their headquarters was.
    Ruthann had wanted to hold on to her accounts
    regardless of location, and it was something that         (Intercall's SOF ¶ 34 (quoting Ms. Malloy's deposition).)
    was allowed for her to do, but when she had gone          This statement is consistent with the emails between
    on leave, and I believe her leave was for an              Ms. Paczkowski and Ms. Stinson where the "the
    extended period of time, it became very                   appropriate ICall rep code [was identified] based on zip
    cumbersome to manage not only a base of                   codes." (Chester Cert., Ex. L (emphasis added).) In a
    business in addition to my own responsibilities, but      situation like the one presented here, where the plaintiff
    a base of business which I could not visit locally.       was hired [*41] while in a protected class and most
    They were all over the place, and that in hand with       sales associates are younger than here, and there is no
    the fact that the accounts were under a lot of            other evidence indicating that age was a factor in the
    attention and a lot of scrutiny because the revenue       transfer decision, the fact that accounts were transferred
    trend was on a decline, the decision was made to          to younger employees is "a rather unremarkable fact."
    move them.                                                Thomasian, 2010 U.S. Dist. LEXIS 24911, 2010 WL
                                                              1032653, at *6.
(Intercall's Summ. J. Br., at 13-14.) Ms. Malloy asserts
that a transfer because of medical leave was "unusual."       This is particularly so when the evidence actually shows
She asserts that another sales consultant on                  that Ms. McLachlan and Ms. Paczowski had an
Paczkowski's team had gone on medical leave, and Ms.          incentive to keep the accounts under their management.
Paczkowski managed the account in his absence.                Their pay was based in part on the revenue targets of
(Intercall's SOF ¶ 66) But, Ms. Malloy presented no           the people they supervised. (Intercall's SOF ¶ 27.) As
evidence regarding the duration of his leave, [*39] the       Ms. Paczkowski and Ms. Stinson's email exchange
person's age, and the size or type of his accounts." (Id.)    organizing the transfer of the accounts makes clear, the
Intercall has certified that "unlike Plaintiff's accounts     majority of the transferred accounts were outside Ms.
which were dispersed across the country, the account of       Paczkowski and Ms. McLachlan's territory. Thus, it
the sales consultant cited in Plaintiff's example—            harmed, not helped them, to transfer a substantial
Maersk—was        headquartered       in   New      Jersey,   amount of work out of their area of supervision.
Paczkowski's territory." (Id.) In other words, Ms. Malloy
has offered no evidence of someone similarly situated         Ms. Malloy also asserts that she was more highly
who was treated differently. In fact, part of the challenge   compensated than the younger sales consultants to
with Ms. Malloy's claims is that she initially sought and     whom the accounts were transferred, implying that
was given special treatment. Thus, her situation was in       Intercall transferred the accounts to avoid paying her
                                                              more money. But, as noted above, for an age
many respects unique; she cannot now simply point to

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discrimination claim, age must be the motivating factor,         better serviced by local representatives. It wanted those
not other, perhaps correlative [*42] factors, such as            representatives to [*44] have past information about the
salaries. See Broaddus, 145 F.3d at 1287 (citing Hazen,          accounts. Ms. Malloy has offered no evidence that
507 U.S. at 611).                                                employees in similar situations, who have had accounts
                                                                 transferred to other sales personnel, were not required
Based on these facts, the Court finds that Ms. Malloy            to share account information with the new sales
has not demonstrated that a genuine issue of material            personnel servicing the account. (See Intercall's SOF ¶
fact exists as to whether the decision to transfer the           65.)
majority of her non-local accounts in December 2005
while she was on extended medical leave was                      3. Failure to Provide New Acquisition Accounts
motivated by discrimination based on her age or that it
                                                                 Ms. Malloy next argues that Intercall discriminated
is reasonable to otherwise infer that Intercall's reasons
                                                                 against her based on age because Ms. Paczkowski did
for the transfer were pretextual. On the contrary, the
                                                                 not assign her any of the new acquisition accounts in
undisputed evidence indicates that age was not a factor
                                                                 October 2005. It is undisputed that all of the other sales
in the decision.
                                                                 personnel under Ms. Paczkowski, except Ms. Malloy,
2. Training                                                      received something from the acquisitions. It is also
                                                                 undisputed that all of the other sales consultants who
Ms. Malloy also argues that Intercall discriminated              reported to Ms. Paczkowski at that time were younger
against her based on age by "requiring [her] to train the        that Ms. Malloy. However, Ms. Packzowki has stated
younger, less qualified sales consultants before                 that she did not give Ms. Malloy any of the acquisition
transferring her accounts." Ms. Malloy states that               accounts because of the size and nature of her revenue
"Intercall engaged in a scheme to use Plaintiff as a             base and her belief that Ms. Malloy needed to focus on
resource to train its inexperienced, younger sales force."       growing those accounts.
(Malloy's Opp'n, at 23.) Intercall asserts that the
"training" was simply information sharing about accounts         Ms. Malloy argues that she has presented evidence of
that were being transferred.                                     pretext, pointing to Mr. Dunne's October 2005 email.
                                                                 She argues that at the time Ms. Paczkowski assigned
To support her position, Ms. Malloy cites to this Court's        the new accounts, "Intercall [*45] had already
decision in Ferruggia v. Sharp Electronics Corporation,          determined that it was going to transfer the majority
which held that a showing that [*43] a "plaintiff [was]          (ultimately 78%) of Plaintiff's accounts." (Malloy's Opp'n,
asked to train younger replacement was evidence of               at 25.) Thus, Ms Malloy argues that Ms. Paczkowski's
age discrimination." No. 05-5992, 2009 U.S. Dist. LEXIS          reason that she believed Ms. Malloy had a large
51188, 2009 WL 1704262, at *5 (D.2009 U.S. Dist.                 revenue base and need to focus on growing those
LEXIS 51188N.J. June 18, 2009). But, Ms. Malloy                  accounts is implausible, and, therefore, an inference of
misunderstands the Ferruggia holding. Being required to          age discrimination is proper. The Court disagrees. As
train younger works is not in itself evidence of pretext. In     noted above, Mr. Dunne plainly did not direct the
Ferruggia, the employer had claimed that the plaintiff's         transfer of Ms. Malloy's accounts in October 2005. And,
employment was terminated because his position was               Ms. Paczkowski specifically requested additional time to
redundant. Id. In finding a fact issue on pretext, this          see how the accounts performed before committing to
Court noted that the fact that the plaintiff was required to     any transfer, which was agreed to by Mr. Dunne. Thus,
train the very employee who assumed his                          at the time Ms. Paczkowski made the decision to not
responsibilities, was inconsistent with the employer's           assign Ms. Malloy any of the new accounts, the
redundancy argument. Id.                                         evidence supports, not contradicts her proffered reason.

Here, Intercall transferred the accounts to the local            Finally, Ms. Malloy has not presented any evidence that
offices where the companies being serviced were                  a younger person with a similar size and type (national
located, in line with its clear business model. The fact         servicing required) of revenue base would have been
that it asked Ms. Malloy to provide information to the           given additional accounts. As noted above, there was
new sales personnel servicing those accounts in order            no one similarly situated because Ms. Malloy had
for them to understand the account's service history and         specifically requested to be treated differently than other
operation does nothing to undercut its proffered reason          employees.
for the transfer. Intercall stated its belief, consistent with
it general business model, that the accounts could be            4. Designated Territory


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Ms. Malloy argues that she was [*46] not assigned a              operating in the territory; their paths only crossed at a
"territory" until long after she was hired, that the territory   holiday party, not out in the field.
she was ultimately assigned was "bogus," and that
another, younger sales personnel was also placed in              Also, although Ms. Malloy asserts that assigning
her territory without her knowledge. She asserts that all        another person to her territory supports her
of these actions were the result of discrimination based         discrimination claim, she has provided no evidence that
on her age. It is undisputed that "most of the other sales       territories are always serviced only by one Intercall
consultants on [Ms.] Paczkowski's sales team were                sales personnel. In fact, Ms. Paczkowski testified that
assigned geographic territories." (Intercall's Reply SOF         two sales consultants were assigned to South Jersey.
¶ 24.) It is also undisputed that Ms. Malloy was not             (Intercall's Reply SOF ¶ 24 (citing Ms. Paczkowski's
assigned a geographic territory until September 2006,            deposition).) Mr. Dunne also testified that, while
when she was assigned Western Connecticut. It is                 generally one sales consultant is responsible for
further undisputed that Intercall assigned another sales         generating revenue within a specific geographic
associate to this region in late 2006.                           territory, there have been exceptions made "when the
                                                                 market isn't being well covered with territory activity or
As Intercall notes, Ms. Malloy cannot have it both ways.         when no revenue is being generated." (Intercall's SOF ¶
After she began working under Ms. Paczkowski, Ms.                48 (quoting Dunne's deposition).) In short, Ms. Malloy
Malloy was not assigned a geographic territory because           has submitted no evidence whatsoever that age played
she requested and was allowed to retain the majority of          any role in these decisions.
her ECI account base which was located throughout the
                                                                 5. PIN and Termination
country. It is undisputed that this base of business was
large. Thus, it was Ms. Malloy's choice not to be initially      Finally, Ms. Malloy argues that Intercall discriminated
assigned a geographic territory. Additionally, Intercall         against her by placing her on a PIN and, [*49] then,
has presented evidence that, while all personnel                 terminating her. Ms. Malloy does not argue that younger
 [*47] had some type of territory, it was not always a           people with her performance would not have been put
designated geographic territory. Ms. Paczkowski                  on a PIN or that younger employees with her
testified that one member of her team, "Robyn Louridas,          performance would not have been terminated. Rather,
was not assigned a geographic territory but instead was          she argues that Intercall's discrimination against her in
assigned a list of accounts." (Id. (citing Ms.                   the handling of her accounts put her in a position which
Paczkowski's deposition).)                                       ensured her poor performance. Thus, Ms. Malloy's
                                                                 arguments related to the PIN and termination are inter-
It is also undisputed that Ms. Malloy could not have
                                                                 related with her other allegations of discrimination.
immediately been assigned a geographic territory in
                                                                 Because the Court has already found that Ms. Malloy
place of her ECI accounts that were transferred in
                                                                 has failed to establish that Intercall's proffered reasons
December 2005. She was out of the office at that time
                                                                 regarding its actions related to her accounts were pre-
on medical leave and did not return until mid-February
                                                                 textual for discrimination, it also finds that Ms. Malloy
2006. And, Ms. Malloy admits that "by the time she
                                                                 has failed to establish that Intercall placed her on a PIN
requested a geographic territory in March 2006, most
                                                                 and terminated her for discriminatory reasons.
territories had been assigned to other members of the
team." (Intercall's SOF, ¶47.)                                   Intercall argues that Ms. Malloy's claim does not make
                                                                 sense. It states:
Ms. Malloy was assigned a geographic territory in
September 2005. Her claim that the territory was                     [T]o believe Plaintiff's theory, one must assume that
"bogus" is not supported by any evidence other than her              Dunne, McLachlan and Paczkowski hired Plaintiff
broad statements that the telephone numbers she was                  for her large account base, paid Plaintiff one of the
given to prospect were a "joke." (Malloy Opp'n, at 29.)              highest salaries for sales consultants at Intercall for
Such a claim is actually undermined by the undisputed                almost two years and then stripped Plaintiff of her
fact that Intercall assigned another person to the                   accounts [while she out on extended and
territory later in the year. Additionally, Ms. Malloy also           unexpected medical [*50] leave] and transferred
has not submitted any evidence that placement [*48] of               them to younger workers, all with the intent of
the other sales associate in her territory interfered with           ultimately terminating Plaintiff's employment, and all
her ability to generate business. In fact, she testified that        because of her age.
she was not even aware that another person was


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(Intercall's Summ J. Br., at 25.) The Court agrees with      11, 2007 complaint and her termination. Intercall asserts
Intercall that Ms. Malloy's theory is unsupported by the     that the decision to terminate Ms. Malloy's employment
evidence; she has not come forward with evidence             was made prior to the January 11 airing of the video
creating a genuine issue of material fact that she was       clip.
discriminated by Intercall because of her age. As noted
at the beginning of this section, Ms. Malloy was retained    The parties spend a substantial amount of time
by Mr. Dunne to work for Intercall when she was fifty-       disputing whether the final decision to terminate Ms.
seven years old. Despite being an at-will employee who       Malloy was made on January 8, prior to broadcast of the
could be terminated at any time, Intercall employed her      video, or after the broadcast. The Court finds that this
at a high salary for two years. Ultimately, it was Mr.       dispute is not central to resolving Ms. Malloy's retaliation
Dunne who also terminated her.                               claim; even if the final decision to terminate Ms. Malloy
                                                             was made after January 11, she has still failed to
Ms. Malloy has simply presented no evidence, beyond          establish a causal link between her complaint and her
her speculation, that age played any role in the             termination. For this claim, she must come forward with
decisions leading up to her PIN and termination. Such a      some evidence that her termination was related to her
basis is insufficient to raise a question of pretext. The    complaint.
evidence before the Court is to the contrary. This is not
to say that Intercall's decisions were sound or              It is undisputed that McLachlan contacted human
reasonable. But, that is not an evaluation the Court has     resources in October 2006 to see if Ms. Malloy could be
engaged in or must make. The inquiry is simply whether       part of an upcoming reduction in force. (Intercall's Reply,
there is any evidence from which a fact finder               at 8 n.10.) It is also undisputed that Intercall put Ms.
 [*51] could determine that Intercall's decisions were       Malloy on a PIN in late [*53] November 2006. It is
based on Ms. Malloy's age and not some other factor.         further undisputed that on January 8, 2007 Mr. Dunne,
The Court finds that there is not. For these reasons, the    who ultimately was responsible for terminating Plaintiff,
Court grants Intercall's motion for summary judgment for     agreed with the recommendation from human resources
Ms. Malloy's NJLAD age discrimination claim.                 that she be terminated. Whether or not Ms. Paczkowski
                                                             wanted to give Ms. Malloy more time to improve, Mr.
                                                             Dunne had agreed on January 8 that Ms. Malloy could
C. Retaliation                                               be terminated.

On January 11, 2007, a Saturday Night Live video clip        Additionally, Ms. Malloy has not submitted any evidence
about sexual harassment was broadcast by Intercall's         that Intercall responded negatively to her complaint. Ms.
Boston sales office via video conference. Ms. Malloy         Paczkowski responded immediately to the complaint
watched the video on her computer. She found it in           and apologized to Plaintiff, and the manager responsible
appropriate and offensive. She complained to Ms.             for broadcasting the clip was reprimanded. Thus,
Paczkowski about the video. About two weeks later, on        Plaintiff has pointed to no facts supporting her claim that
January 23, 2007, Ms. Malloy was terminated. Ms.             she was terminated in retaliation for her complaint other
Malloy claims that she was terminated in retaliation for     than merely pointing to the fact that she complained and
her complaint. (Am. Compl. ¶ 49-53.)                         was terminated approximately two weeks later.

NJLAD makes it unlawful "[f]or any person to take            "[T]he mere fact that [an] adverse employment action
reprisals against [another] person because that person       occurs after [the protected activity] will ordinarily be
has opposed any practices or acts forbidden under [the       insufficient to satisfy the plaintiff's burden of
NJLAD] . . . ." N.J. Stat. Ann. § 10:5-12(d). In order to    demonstrating a causal link between the two." Krouse v.
set forth a prima facie case of unlawful retaliation under   Am. Sterilizer Co., 126 F.3d 494, 503 (3d Cir.1997)
the NJLAD, a plaintiff "must show: (1) that he engaged       (quoting Robinson v. City of Pittsburgh, 120 F.3d 1286,
in a protected activity; (2) that he suffered an adverse     1302 (3d Cir.1997)). Thus, "[o]nly [*54] where the facts
employment action; and (3) that there was a causal           of the particular case are so 'unusually suggestive of
connection between the protected [*52] activity and the      retaliatory motive' may temporal proximity, on its own,
adverse employment action." Cardenas v. Massey, 269          support an inference of causation." Young, 385 N.J.
F.3d 251, 263 (3d Cir. 2001). Intercall argues that Ms.      Super. 448, 897 A.2d 1063, 1073 (N.J. Supp. App. Div.
Malloy's retaliation claim fails because she has not         2005) (quoting Krouse). Where temporal proximity is not
established a causal connection between her January          unusually suggestive, a plaintiff must establish the


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causal link through other evidence. See Farrell v.             Supreme Court permitted an IIED claim to go to the jury
Planters Lifesavers Co., 206 F.3d 271, 279-81 (3d Cir.         where a teacher submitted facts supporting her claim
2000). Here, given all the surrounding circumstances,          that her employer publicly humiliated her. 198 N.J. 557,
the timing of the termination is not "unusually suggestive     969 A.2d 1097, 1115 (N.J. 2009). In Leang, the plaintiff
of a retaliatory motive." Other than the fact that her         was a Cambodian who had suffered under government
actual termination occurred after broadcast of the video,      authorities prior to coming to the United States. Her
there are no facts to suggest that the termination was         employer was aware of this and of her resulting fear of
related to her complaint. Intercall's motion for summary       governmental authorities. Id. Her employer was also
judgment for Plaintiff's retaliation claim is granted.         aware of her non-violent beliefs. Id. Ms. Leang alleged
                                                               that in revenge for rejecting sexual advances of a co-
                                                               worker, she was falsely accused of threatening the lives
D. Intentional Infliction of Emotional Distress                of her students, arrested, led from the school by the
                                                               authorities, and treated in a publicly humiliating manner
To establish a claim for intentional infliction of emotional   designed to take advantage of her fear of government
distress ("IIED"), a plaintiff must establish intentional       [*57] authorities. Id. at 1104, 1115. The court held that
and outrageous conduct by the defendant, proximate             this conduct was sufficiently outrageous to proceed to
cause, and distress that is severe. See Buckley v.             the jury.
Trenton Saving Fund Soc., 111 N.J. 355, 544 A.2d 857,
863 (1988). The Third Circuit has stated: "It is extremely     Here, Ms. Malloy summarizes her IIED claim as:
rare to find conduct [*55] in the employment context
that will rise to the level of outrageousness necessary to         Plaintiff has alleged and demonstrated that
provide a basis for recovery for the tort of intentional           Intercall's outrageous conduct was a continuous
infliction of emotional distress." Cox v. Keystone Carbon          pattern, which included the following: treating
Co., 861 F.2d 390, 395 (3d Cir. 1988); see also Bishop,            Plaintiff differently than the other younger members
864 F. Supp 416, 427 (D.N.J. 1994)(stating that the                of the sales force by only providing them with
conduct must be "so outrageous in character, and so                assistance, territories and new acquisition
extreme in degree, as to go beyond all possible bounds             accounts; not providing Plaintiff with adequate
of decency, and to be regarded as atrocious, and utterly           means of monitoring her accounts, systematically
intolerable in a civilized community."). At the summary            stripping Plaintiff of her multi-million dollar
judgment stage, if a plaintiff fails to make a sufficient          accounts; in engaging in a scheme to use Plaintiff
showing regarding an essential element of her case                 as a resource and humiliating her by requiring her
upon which he or she will bear the burden of proof at              to train its inexperienced, younger sales force;
trial, summary judgment must be granted. Thus, a court             simultaneously and surreptitiously assigning a
must determine if the conduct complained of is                     consultant in Plaintiff's bogus territory; wrongfully
sufficiently extreme and outrageous to allow it to go to a         placing Plaintiff on probation for a contrived "failure
jury.                                                              to perform" and wrongfully terminating Plaintiff for
                                                                   her alleged "failure to perform."
In Cox, the defendant terminated the plaintiff's
                                                               (Malloy's Opp'n, at 40.) Ms. Malloy essentially
employment the day he returned from work following
                                                               complains of how her work was assigned and managed.
triple bypass surgery. The Third Circuit found that the
                                                               She has not even alleged that any derogatory remarks
defendant knew that plaintiff's recovery was incomplete,
                                                               were made to her. The Court disagrees with her that
knew that plaintiff's medical and disability benefits may
                                                               Intercall's [*58] conduct is comparable to that in Leang,
be affected, likely knew that the termination
                                                               where the plaintiff claimed she was set up to be falsely
"endanger[ed] his chances [*56] of collecting medical
                                                               arrested and publicly humiliated and terrified. The
and disability benefits" and likely knew that the
                                                               conduct identified by Ms. Malloy above describes,
termination would hurt his chances of finding alternative
                                                               perhaps, an unpleasant working environment; it does
employment. 861 F.2d at 395. Nevertheless, the Cox
                                                               not "rise to the level of outrageousness" required. If
court held that, even if defendant dismissed the plaintiff
                                                               such allegations were sufficient to survive summary
with an improper motive, its actions did "not appear to
                                                               judgment, every employee who had been passed over
rise to the level of outrageousness" required. Id. at 396.
                                                               for promotion or who was given work that they did not
                                                               like or felt was beneath them would have a triable IIED
On the other hand, in Leang v. Jersey City Board of
                                                               claim. IIED claims, however, are for exceptional conduct
Education, relied on by Ms. Malloy, the New Jersey

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that stands outside the "bounds of decency." Intercall's
motion for summary judgment as to this claim is
granted.


IV. OTHER MOTIONS

Intercall also presently moves to strike Ms. Malloy's
experts, Dr. Crain and Dr. Levison. Because the found
has found that summary judgment in favor of Intercall is
appropriate regardless of the causation and damage
calculation issues addressed by these experts,
resolution of these motions is unnecessary. They are
denied as moot.


V. CONCLUSION

For the reasons set forth above, Ms. Malloy's motion for
partial summary judgment on her breach of contract
claim is denied. Intercall's motion for summary
 [*59] judgment on all claims is granted. An appropriate
Order accompanies this Opinion.

DATE: December 28, 2010

/s/ Jose L. Linares

JOSE L. LINARES,

UNITED STATES DISTRICT JUDGE


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     Neutral
As of: April 29, 2021 6:37 PM Z


                                         Shinn v. FedEx Freight, Inc.
                                  United States District Court for the District of New Jersey
                                   December 6, 2016, Decided; December 7, 2016, Filed
                                                Civ. No. 16-777 (NLH/KMW)

Reporter
2016 U.S. Dist. LEXIS 169037 *; 2016 WL 7130911


STANLEY SHINN and PAUL ELLIS, Plaintiffs, v.                    Opinion
FEDEX FREIGHT, INC., Defendant.

                                                                HILLMAN, District Judge

Subsequent History: Summary judgment granted by                 This is an employment retaliation suit brought by
Shinn v. FedEx Freight, Inc., 2018 U.S. Dist. LEXIS             Plaintiffs Stanley Shinn and Paul Ellis, both former
152455 (D.N.J., Sept. 7, 2018)                                  drivers for Defendant FedEx Freight ("FedEx"). FedEx
                                                                presently moves to dismiss six of the seven counts of
                                                                the Amended Complaint. For the reasons set forth
                                                                herein, the Motion will be granted in part, denied in part,
                                                                and denied as moot in part.
Core Terms
fired, Amend, motion to dismiss, alleges, retaliation,
                                                                I.
break room, counts, confrontation, participating,
reasons, hostile work environment claim, sexual
orientation, preempted, uttered, driver
                                                                A. Plaintiff Shinn

                                                                Shinn was hired by FedEx as a driver in 2003. (Amend.
Counsel: [*1] For Plaintiffs: Graham F. Baird, Esq.,            Compl. ¶ 10) He was fired on May 21, 2015. (Id. ¶ 26)
LAW OFFICES OF ERIC A. SHORE, P.C., Philadelphia,               Shinn alleges that he was fired for two unlawful reasons.
Pennsylvania.
                                                                First, Shinn alleges that he was fired in retaliation for
                                                                participating in an investigation into a confrontation in a
For Defendant: David S. Fryman, Esq., Amy L. Bashore,
                                                                break room involving Plaintiffs Shin and Ellis on the one
Esq., Steven D. Millman, Esq., BALLARD SPAHR LLP,
                                                                hand, and another driver, Steven Buckley, on the other.
Cherry Hill, New Jersey.
                                                                (Amend. Compl. ¶¶ 19-25)

                                                                According to the Amended Complaint, on April 29, 2015,
                                                                Buckley allegedly walked into the break room [*2] and
Judges: NOEL L. HILLMAN, United States District                 said to Plaintiffs, "'hey you two union fags, you couple of
Judge.                                                          Facebook fags,'" (Amend. Compl. ¶¶ 19-20) to which
                                                                "Shin replied, 'you want to go outside and talk about
                                                                who is a fag?'" (Id. ¶ 22) The Amended Complaint does
                                                                not allege what happened next, although the Amended
Opinion by: NOEL L. HILLMAN                                     Complaint does state that "at no time did Shinn or
                                                                Beckley get into any physical altercation." (Id. ¶ 29)

                                                                FedEx allegedly "initiated an investigation" into the

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incident, and both Plaintiffs were interviewed as to what
happened. (Amend. Compl. ¶ 24) Shinn was fired less                 II.
than a month after the incident. FedEx allegedly "took
no action whatsoever against Buckley." (Amend. Compl.               When considering a motion to dismiss a complaint for
¶ 27) Second, Shinn alleges he was fired for                        failure to state a claim upon which relief [*4] can be
participating in union organizing activities in 2014.               granted pursuant to Federal Rule of Civil Procedure
Specifically, the Amended Complaint alleges that both               12(b)(6), a court must accept all well-pleaded
Shinn and Plaintiff Ellis advocated for unionizing, and             allegations in the complaint as true and view them in the
then subsequently signed affidavits in support of the               light most favorable to the plaintiff. Evancho v. Fisher,
Teamster's unfair labor practice charge against FedEx               423 F.3d 347, 351 (3d Cir. 2005). It is well settled that a
filed with the NLRB. (Amend. Compl. ¶ 12-17)                        pleading is sufficient if it contains "a short and plain
                                                                    statement of the claim showing that the pleader is
                                                                    entitled to relief." Fed. R. Civ. P. 8(a)(2).
B. Plaintiff Ellis
                                                                    Under the liberal federal pleading rules, it is not
Ellis was hired as a driver in 2004. (Amend. Compl. ¶ 8)            necessary to plead evidence, and it is not necessary to
He was fired on July 9, 2015. (Id. ¶ 34) Ellis alleges he           plead all the facts that serve as a basis for the claim.
was fired for three unlawful reasons. In addition to [*3]           Bogosian v. Gulf Oil Corp., 561 F.2d 434, 446 (3d Cir.
the two reasons described above -- participating in the             1977). However, "the Federal Rules of Civil Procedure .
investigation into the Shinn-Buckley break room                     . . do require that the pleadings give defendant fair
confrontation (Amend. Compl. ¶ 38), and unionizing                  notice of what the plaintiff's claim is and the grounds
activities (Id. ¶ 39) -- Ellis alleges that he was fired in         upon which it rests." Baldwin Cnty. Welcome Ctr. v.
retaliation for using leave time authorized by the Family           Brown, 466 U.S. 147, 149-50 n.3, 104 S. Ct. 1723, 80 L.
Medical Leave Act. (Id. ¶ 37)                                       Ed. 2d 196 (1984) (quotation and citation omitted).

Specifically, Ellis allegedly took a medical leave day on           A district court, in weighing a motion to dismiss, asks
May 22, 2015 (Amend. Compl. ¶ 30), and was informed                 "'not whether a plaintiff will ultimately prevail but whether
by another driver later that same day that Ellis had been           the claimant is entitled to offer evidence to support the
assigned a particularly "distressing and oppressive"                claim.'" Bell Atlantic v. Twombly, 550 U.S. 544, 563 n.8,
delivery assignment. (Id. ¶ 32) Ellis was fired a little over       127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007) (quoting
a month later.                                                      Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S. Ct. 1683,
                                                                    40 L. Ed. 2d 90 (1974)); see also Ashcroft v. Iqbal, 556
The Amended Complaint asserts the following counts:                 U.S. 662, 684, 129 S. Ct. 1937, 173 L. Ed. 2d 868
(1) "Title VII retaliation"; (2) "Title VII hostile work            (2009)("Our decision in Twombly expounded the
environment"; (3) violation of the New Jersey                       pleading standard for 'all civil actions' . . . ."); Fowler v.
Constitution, Article 1, paragraph 19; (4) violation of             UPMC Shadyside, 578 F.3d 203, 210 (3d Cir.
New Jersey's Conscientious Employee Protection Act                  2009)("Iqbal . . . provides the final nail in the coffin for
(CEPA), N.J.S.A. 34:19-1 et seq.; (5) violation of the              the 'no set of facts' standard that applied to federal
Family Medical Leave Act (FMLA), 29 U.S.C. § 2615                   complaints before Twombly.").
(asserted by Plaintiff Ellis only); (6) violation of New
Jersey's Law Against Discrimination (LAD), N.J.S.A.
10:5-1 et seq.; and (7) "wrongful termination under New             III.
Jersey common law."1

FedEx moves to dismiss all claims except Plaintiff Ellis'
FMLA claim.                                                         A. The New Jersey Constitution count (Count III)

                                                                    In response [*5] to the instant Motion to Dismiss,
1 The  Court has subject matter jurisdiction pursuant to 28         Plaintiffs state in their brief that "Plaintiffs voluntarily
U.S.C. §§ 1331 (federal question), 1332 (diversity of               withdraw Count III of their Amended Complaint."
citizenship) and 1367 (supplemental jurisdiction). Plaintiffs are   (Opposition Brief, p. 13, Docket #24-1) The Court
citizens of New Jersey. Defendant is a citizen of Tennessee
                                                                    expects that Plaintiffs will promptly file the appropriate
and Delaware. The amount in controversy is alleged to exceed
                                                                    Notice of Dismissal pursuant to Fed. R. Civ. P.
$150,000.

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41(a)(1)(A)(i).                                                   for participating in a Board investigation, are preempted.

FedEx's Motion to Dismiss Count III will be denied as             Plaintiffs argue in conclusory fashion that their CEPA
moot.                                                             claims fall within the "local interest" exception to
                                                                  preemption because CEPA is a broad remedial [*7]
                                                                  statute intended to effectuate important social goals.
B. The Title VII counts (Counts I and II)                         This argument fails. "The 'critical inquiry' in the 'local
                                                                  interest' cases 'is not whether the State is enforcing a
FedEx moves to dismiss the Title VII claims asserting
                                                                  law relating specifically to labor relations or one of
that Plaintiffs failed to exhaust their EEOC
                                                                  general application but whether the controversy
administrative remedies. In opposition, Plaintiffs argue
                                                                  presented to the state court is identical to . . . or different
that they "filed NLRB complaints against FedEx," and
                                                                  from . . . that which could have been, but was not,
therefore "[t]o force Plaintiffs to re-file the identical
                                                                  presented to the NLRB.'" Londono v. ABM Janitorial
charge or claims with the EEOC would be wasteful [and]
                                                                  Servs., 2014 U.S. Dist. LEXIS 172475 (D.N.J. Dec. 12,
unduly burdensome." (Opposition Brief, p. 13, Docket
                                                                  2014)(quoting Sears v. San Diego Cnty. Dist. Council of
#24-1)
                                                                  Carpenters, 436 U.S. 180, 197, 98 S. Ct. 1745, 56 L.
                                                                  Ed. 2d 209 (1978)). Thus, the local interest exception
Plaintiffs' argument fails. The statute requires EEOC
                                                                  does not apply. FedEx's Motion to Dismiss the CEPA
exhaustion, see 42 U.S.C. § 2000e-5(f)(1); the Court
                                                                  count will be granted.
cannot excuse the statutory requirement. FedEx's
Motion to Dismiss the Title VII claims will be granted.
                                                                  D. The NJ LAD count (Count VI)--retaliation
C. The CEPA count (Count IV)                                      FedEx argues that the NJ LAD counts is simply a
                                                                  "repackaging" of the CEPA claim, and therefore the NJ
Plaintiffs assert that FedEx violated CEPA when it fired          LAD claim is also preempted by the NLRA, and should
Plaintiffs allegedly in retaliation for "participating in the     be dismissed in its entirety. The Court does not reach
NLRB charging process and investigation." (Amend.                 this issue, however, because Plaintiffs' LAD claim -- to
Compl. ¶ 69) FedEx argues this claim is preempted by              the extent it is based on the allegation that they were
the [*6] National Labor Relations Act. The Court                  fired in retaliation for union activity or participation in an
agrees.                                                           NLRB investigation -- fails simply because the LAD
                                                                  does not protect union membership or support.
A CEPA claim will be preempted by the NLRA when it
presents a question that would be within the jurisdiction         The statute protects against discrimination on the basis
of the NLRB. Puglia v. Elk Pipeline, Inc., 226 N.J. 258,          of "race, creed, color, national origin, ancestry, age,
289, 141 A.3d 1187 (2016)(" The concern animating                 marital status, civil union status, [*8] domestic
federal preemption . . . is one of primary jurisdiction. . . .    partnership status, affectional or sexual orientation,
The critical inquiry is thus whether the controversy              genetic information, pregnancy, sex, gender identity or
presented to the state court is identical to . . . or different   expression, disability or atypical hereditary cellular or
from . . . that which could have been, but was not,               blood trait of any individual, or because of the liability for
presented to the Labor Board.")(internal citation and             service in the Armed Forces of the United States or the
quotation omitted). Such analysis is rather simple in this        nationality of any individual, or because of the refusal to
case because not only were Plaintiffs' claims within the          submit to a genetic test or make available the results of
NLRB's jurisdiction, those claims were "fully investigated        a genetic test to an employer." N.J.S.A. § 10:5-12.
and considered" by the NLRB, and then dismissed                   Participation in union activities or union membership
based on "insufficient evidence." (Amend. Compl. Ex. B)           does not fall within the statute.

Indeed, the NLRB has held that firing an employee for             Sexual orientation, however, does. To the extent
participating in a Board investigation violates Section           Plaintiffs' claims are based on the allegations that they
8(a)(4) of the Act. Caterpillar, Inc., 322 NLRB 674               were fired because of their perceived sexual orientation,
(1996); Pillsbury Chem. Oil Co., 317 NLRB 261 (1995).             or their participation in an investigation into whether
Thus, it is clear that Plaintiffs' CEPA claims, which are         another employee was harassing Plaintiffs on the basis
based on the allegation that they were fired in retaliation       of their perceived sexual orientation, the claims are not


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preempted by the NLRA and are actionable under the             the organization utters an unambiguously demeaning
NJ LAD.                                                        racial slur in front of another high ranking supervisor, the
                                                               one severely insulting comment could be found to signal
FedEx's Motion to Dismiss the NJ LAD count will be             pervasive workplace racial hostility. In contrast, Hicks
granted insofar as the count is based upon alleged             was plaintiff's co-worker, with no power to alter the
union activity or participation in an NLRB investigation,      terms of employment or the workplace.")(citations and
and will be denied insofar as the count is based on            quotations omitted); Shain v. Hel Ltd., 2012 N.J. Super.
Plaintiffs' alleged participation in the investigation of      Unpub. LEXIS 454 (App. Div. Mar. 2, 2012) ("Unlike in
the [*9] Shinn-Buckley break room confrontation.               Taylor, the discriminatory comment was not made by
                                                               plaintiff's ultimate supervisor.").

E. The NJ LAD count (Count VI)--hostile work                   Accordingly, FedEx's Motion to Dismiss the hostile work
environment                                                    environment claim will be granted. However, if Plaintiffs
                                                               wish    to   supplement      the   current  allegations
To the extent that the NJ LAD count also asserts a             supporting [*11] their hostile work environment claims,
hostile work environment claim, FedEx argues the claim         they may file a Second Amended Complaint within 30
fails because there are insufficient allegations to support    days.
a plausible conclusion that FedEx's actions were severe
or pervasive. The Court agrees.
                                                               F. The common law wrongful termination claim
The Amended Complaint alleges a single confrontation,
                                                               (Count VII)
in a break room, where a single co-worker allegedly
uttered a derogatory term concerning Plaintiffs'
                                                               FedEx argues that the common law wrongful
perceived sexual orientation.
                                                               termination count should be dismissed because it is
                                                               coterminous with the statutory claims asserted. The
In opposition, Plaintiffs rely on Taylor v. Metzger, where
                                                               cases upon which FedEx relies, however, are decisions
the New Jersey Supreme Court stated that "a single
                                                               made at summary judgment. The Court declines to
utterance of an epithet can, under certain
                                                               dismiss this count at the pleadings stage; alternate
circumstances, create a hostile work environment." 152
                                                               pleading is expressly allowed by the Federal Rules of
N.J. 490, 501-03, 706 A.2d 685 (1998). Taylor is
                                                               Civil Procedure. See Fed. R. Civ. P. 8(d). FedEx's
distinguishable from this case however, because the
                                                               Motion to Dismiss the wrongful termination count will be
person who uttered the epithet in Taylor was a
supervisor, whereas Buckley is alleged to have been a          denied.
coworker. Several other courts have distinguished
Taylor on this basis. See Nuness v. Simon & Schuster,
                                                               IV.
Inc., 2016 U.S. Dist. LEXIS 159315 (D.N.J. Nov. 17,
2016)(Simandle, Chief District Judge)("The facts of the        For the foregoing reasons, Defendants' Motion to
Taylor case can be distinguished from the facts in the         Dismiss will be denied as moot as to Count III. The
present matter. While the insult at issue here was             Motion will be granted as to Counts I, II, and IV. The
clearly a racist slur and directed at the plaintiff, it was    Motion will be denied as to Count VII. As to Count VI,
not uttered [*10] by a supervisor like in Taylor, but by a     the NJ LAD count, the motion will be granted as to the
co-worker."); Bagley v. W.J. Maloney Plumbing, 2014            hostile work environment claim however, Plaintiffs will
U.S. Dist. LEXIS 185309 (D. Ariz. Feb. 10,                     be granted leave to amend; the motion will be denied
2014)("Taylor is factually distinguishable in that the         insofar as the count is based on Plaintiffs' alleged
racially offensive comment was made by the highest             participation in the investigation of the Shinn-Buckley
ranking official in the county sheriff's office."); Shaw v.    break room confrontation; and the motion will be
FedEX Corp., 2012 N.J. Super. Unpub. LEXIS 1872                granted in all other respects.
(App. Div. July 20, 2012)("We reject plaintiff's argument
that her circumstances were similar to those of the            An appropriate order accompanies [*12] this opinion.
plaintiff in Taylor, where the county sheriff, in front of a
high ranking undersheriff, referred to the plaintiff, an       Dated: December 6, 2016
African-American sheriff's officer, by a very insulting
racial slur and, later, berated her for feeling insulted. As   At Camden, New Jersey
the Supreme Court noted, when the chief executive of

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/s/ Noel L. Hillman

NOEL L. HILLMAN, U.S.D.J.


ORDER

For the reasons expressed in the Opinion entered on
this date,

IT IS on this 6th day of December, 2016,

ORDERED that the motion [Doc. No. 22] to dismiss filed
by Defendant shall be, and the same hereby is, DENIED
AS MOOT as to Count III, GRANTED as to Counts I, II,
and IV, DENIED as to Count VII; and it is further

ORDERD that the motion [Doc. No. 22] shall be, and the
same hereby is, GRANTED as to the NJ LAD hostile
work environment claim (Count VI); however, Plaintiffs
shall be, and the same hereby are GRANTED LEAVE
TO AMEND this claim within 30 days, DENIED as to the
NJ LAD count (Count VI) insofar as the count is based
on Plaintiffs' alleged participation in the investigation of
the Shinn-Buckley break room confrontation, and
GRANTED as to the NJ LAD count in all other respects.

/s/ Noel L. Hillman

NOEL L. HILLMAN, U.S.D.J.

At Camden, New Jersey


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                                            Pizarro v. Int'l Paper Co.
                                  United States District Court for the District of New Jersey
                                       March 3, 2020, Decided; March 3, 2020, Filed
                                                CIVIL ACTION NO. 19-5081

Reporter
2020 U.S. Dist. LEXIS 36760 *; 2020 WL 1032341

                                                                Plaintiff Michael Pizarro ("Pizarro") brings this action
MICHAEL PIZARRO v. INTERNATIONAL PAPER
                                                                against defendant International Paper Company
COMPANY
                                                                ("International Paper") for violation of the Family and
                                                                Medical Leave Act of 1993 ("FMLA"), 29 U.S.C. § 2601.
                                                                Pizarro asserts two claims against International Paper
                                                                under the FMLA: (1) interference, and (2) retaliation.
Core Terms                                                      Before the court is the motion of defendant for summary
                                                                judgment under Rule 56 of the Federal Rules of Civil
termination, retaliation, temporal proximity, summary           Procedure.
judgment, retaliation claim, football game, requesting,
                                                                I
undisputed, reasons, attend, flight, protected activity,
causal, scheduled, animus, posts                                Under Rule 56 of the Federal Rules of Civil Procedure,
                                                                summary judgment is appropriate "if the movant shows
                                                                that there is no genuine dispute as to any material fact
                                                                and the movant is entitled to judgment as a matter of
Counsel: [*1] For MICHAEL PIZARRO, Plaintiff:                   law." Fed. R. Civ. P. 56(a); see also Celotex Corp. v.
SAMUEL A. DION, LEAD ATTORNEY, DION &                           Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 91 L. Ed.
GOLDBERGER, ESQS., PHILADELPHIA, PA.                            2d 265 (1986). A dispute is genuine if the evidence is
                                                                such that a reasonable factfinder could return a verdict
For INTERNATIONAL PAPER COMPANY, Defendant:                     for the nonmoving party. See Anderson v. Liberty
DWAYNE FRANKLIN STANLEY, LEAD ATTORNEY,                         Lobby, Inc., 477 U.S. 242, 254, 106 S. Ct. 2505, 91 L.
HUSCH BLACKWELL, LLP, ST. LOUIS, MO.                            Ed. 2d 202 (1986). Summary judgment is granted where
                                                                there is insufficient record evidence for a reasonable
                                                                factfinder to find for the nonmovant. Id. at 252. "The
                                                                mere existence of a scintilla of evidence in support of
Judges: Harvey Bartle III, J.                                   the [nonmoving party]'s position [*2] will be insufficient;
                                                                there must be evidence on which the jury could
                                                                reasonably find for [that party]." Id.

Opinion by: Harvey Bartle III                                   In addition, Rule 56(e)(2) provides "[i]f a party fails to
                                                                properly support an assertion of fact or fails to properly
                                                                address another party's assertion of fact as required by
                                                                Rule 56(c), the court may . . . consider the fact
                                                                undisputed for the purposes of the motion." Fed. R. Civ.
Opinion                                                         P. 56(e)(2). In making a summary judgment
                                                                determination, we view the facts in the light most
                                                                favorable to the nonmoving party and draw all
                                                                inferences in that party's favor. See In re Flat Glass
MEMORANDUM                                                      Antitrust Litig., 385 F.3d 350, 357 (3d Cir. 2004). The
                                                                court may not, however, make credibility determinations
Bartle, J.
                                                                or weigh the evidence in considering motions for

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summary judgment. See Reeves v. Sanderson                    hours until the game ended, and was on his feet for
Plumbing Prods., 530 U.S. 133, 150, 120 S. Ct. 2097,         approximately fifty percent of the game. After the game,
147 L. Ed. 2d 105 (2000).                                    Pizarro walked approximately a half-mile to a
                                                             convention center. During his deposition, Pizarro
II
                                                             testified that he did not start "feeling better" on Saturday
The following facts are undisputed. International Paper      and that his leg pain did not go away during the game
is a producer of paper, fiber-based packaging products,      on Sunday. Throughout their time in Texas, Pizarro and
and pulp for tissue and personal hygiene products.           his wife made several posts on Facebook that were
Pizarro is now a former employee of International            visible to his friends and followers on the website.
Paper's Barrington, New Jersey facility, where he began
                                                             Pizarro's return flight from Dallas to Philadelphia was
working in September 1997. Most recently, Pizarro
                                                             scheduled to leave at 6:00 a.m. CST on Monday,
worked as a "Die Cut" Machine Operator and was a
                                                             December 10. Pizarro was scheduled to start work on
member of the United Steelworkers Union.
                                                             the same day at 3:00 p.m. EST. At 4:45 a.m. CST,
In 2002, Pizarro was diagnosed with type 2 diabetes.         Pizarro texted a coworker [*5] stating, "[f]light delayed
Pizarro also suffers from neuropathy, which results in       in Texas, dont [sic] know how long for, just a heads up."
pain and swelling of the feet. [*3] As a machine             At 5:34 a.m. CST, Pizarro called the third-party line and
operator, Pizarro spent a substantial majority of his time   reported that he was taking FMLA leave because he
on his feet while working. Pizarro's diabetic neuropathy     was "sick" and did not report to work on December 10.
occasionally flared up and caused increased pain in his
                                                             A supervisor at International Paperwork was a friend of
feet due to increased swelling. As a result, he could not
                                                             Pizarro on Facebook. The supervisor was aware that
stand for extended periods of time.
                                                             Pizarro had called off work over the weekend and
Following his diagnosis, Pizarro requested intermittent      believed that Pizarro's Facebook posts about the
FMLA leave to manage his pain. International Paper           football game showed that he was improperly using
approved his requests for FMLA leave each subsequent         FMLA leave. The supervisor forwarded the Facebook
year for 17 years without any documented issues.             posts to management and human resources. The
International Paper's company policy required Pizarro to     supervisor later learned about Pizarro's text message to
call a third-party call-line to state that he would be       his co-worker, which also solidified his belief that Pizarro
missing work because of FMLA reasons. Pizarro                was misusing his FMLA leave. He subsequently notified
generally called at least one hour prior to start of his     management about the text message.
scheduled shift to inform International Paper of his
                                                             Keith Fisher ("Fisher"), a site manager, also believed
absence from work.
                                                             that Pizarro had informed a different shift supervisor
Pizarro was scheduled to work from 3:00 a.m. to 3:00         earlier in the week that he planned to call off from work
p.m. EST on Saturday, December 8, 2018.                      on Saturday, December 8, 2018. Fisher personally saw
Unbeknownst to International Paper, Pizarro also had         a note from the shift supervisor that stated, "Mike P. Call
plans to attend a Dallas Cowboys-Philadelphia Eagles         out Saturday." Fisher believed the turn of events to be
football game in Arlington, Texas the next day on            suspicious and investigated the matter. Pizarro returned
Sunday, December 9. Pizarro and his wife purchased           to work [*6] the next day, on Tuesday, December 11,
tickets to attend the game in November 2018 and made         2018, with souvenir cups from the football game for his
the appropriate flight and hotel reservations. Pizarro's     co-workers and worked a full shift without any incident.
flight to Texas was [*4] scheduled to leave from
                                                             The following day, on Wednesday, December 12, 2018,
Philadelphia at 8:25 p.m. on Saturday, December 8. At
                                                             Pizarro was summoned to a meeting with management,
12:43 a.m. on Saturday, two hours before his shift was
                                                             human resources, and a union representative. At this
to begin, Pizarro called the third-party line and reported
                                                             meeting, Pizarro was asked about his trip to Texas.
that he was taking FMLA leave because he was "sick"
                                                             Pizarro refused to confirm that he had traveled to Texas
and would not be coming to work.
                                                             but instead responded, "who told you this information?"
Pizarro boarded his flight on time and landed in Texas       He further stated that he had a doctor's note for his
with his wife on Saturday night. The next day, Pizarro       missed days of work. The doctor's note stated, "[patient]
arrived at the football game two hours early to tailgate     seen by me. Please excuse for 2 days Saturday x
with friends. He stayed at the stadium for over three        Monday 12/8 - 12/10." The note was dated December 8,


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2018. Pizarro admits that he asked his doctor for the         2015). The difference in burdens of proof alone will not
note after the fact on December 11 during a pre-              allow plaintiff to go forward with an interference claim
scheduled, routine appointment and that the note was          that is "in form and substance . . . a claim for retaliation."
mistakenly dated. Pizarro further testified that he           Id. 114.
requested the doctor's note "[j]ust in case a situation
aroused [sic], and just to get a doctor's note, just to try   We find that Pizarro's FMLA interference claim is
to cover myself just in case." Pizarro was suspended          duplicative of his retaliation claim. The factual
pending further investigation. Pizarro deleted his            underpinnings of Pizarro's interference claim is
Facebook posts about the football game immediately            premised on the same allegations as the retaliation
after he was suspended.                                       claim, that is he was unlawfully terminated for taking
                                                              FMLA leave. Indeed, Pizarro's complaint includes only
Wayne Parker, [*7] the general manager at Pizzaro's           one single count ("Violations of the FMLA") which
workplace, and Fisher considered the use of FMLA              details both an interference and a retaliation claim
leave to attend a football game to be a terminable            based on the same factual allegations. We will not
offense. International Paper's Shop Rules and                 consider his interference claim separately from his
Regulations state "[t]he falsifying of personnel records,"    retaliation claim. They [*9] rise or fall together.
and "[t]he falsifying of any company reports, records, or
                                                              IV
other information" are "intolerable offenses" that will
result in immediate termination of employment. Pizarro        We turn to plaintiff's claim that his termination was a
confirmed being aware of and having access to the             form of retaliation for requesting FMLA leave. To defeat
Shop Rules and Regulations.                                   summary judgment on his retaliation claim under the
                                                              FMLA, Pizarro must satisfy the three-step burden-
Based on its investigation, Parker believed that Pizarro
                                                              shifting inquiry laid out in McDonnell Douglas Corp. v.
called off from work on December 8, 2018 to get ready
                                                              Green, 411 U.S. 792, 802-03, 93 S. Ct. 1817, 36 L. Ed.
for his trip to Texas, not for legitimate FMLA reasons.
                                                              2d 668 (1973). First, Pizarro must state a prima facie
Fisher believed that Pizarro called off from work on
                                                              claim. To do so, Pizarro must allege that: (1) he
December 10, 2018 for similar fraudulent purposes,
                                                              engaged in protected activity by requesting FMLA leave;
including because of the flight delay.
                                                              (2) he suffered an adverse decision; and (3) the adverse
On December 13, 2018, based on its investigation and          decision was causally related to his request for leave.
all available evidence, International Paper, through          Simons v. Bos. Sci., 765 F. App'x 773, 778 (3d Cir.
Parker and Fisher, determined that Pizarro violated its       2019). Second, once a plaintiff produces evidence of a
policies regarding falsifying company reports and             prima facie case, the burden of production shifts to the
terminated Pizarro's employment.                              defendant "to articulate a legitimate, non-discriminatory
                                                              reason for the adverse employment action." Id. at 777.
III                                                           Third, if the employer can come forward with a
                                                              legitimate, non-discriminatory reason for terminating the
FMLA claims are commonly brought under a theory of            plaintiff, then the burden shifts back to the plaintiff to
either interference or retaliation. Callison v. City of       establish that the "proffered reason [is] merely a pretext
Philadelphia, 430 F.3d 117, 119 (3d Cir.2005). An FMLA        for discrimination." Id.
interference claim arises under 29 U.S.C. § 2615(a)(1),
which makes it "unlawful [*8] for any employer to             It is undisputed that plaintiff meets the first two prongs of
interfere with, restrain, or deny the exercise of or the      the McDonnell Douglas test to state a claim under the
attempt to exercise, any right provided under" the            FMLA. Plaintiff engaged in a protected activity by
FMLA. An FMLA retaliation claim arises under 29               requesting and using his FMLA leave and
U.S.C. § 2615(a)(2), which makes it "unlawful for any         suffered [*10]     an adverse action through his
employer to discharge or in any other manner                  termination. The dispute here concerns the causal
discriminate against any individual for opposing any          requirement. To defeat summary judgment, plaintiff
practice made unlawful" by the FMLA.                          must point to evidence sufficient to create an inference
                                                              that a causal link exists between his FMLA leave and
Plaintiff is not guaranteed an "automatic right to claim      his termination. See Farrell v. Planters Lifesavers Co.,
interference where, as here, the claim is so clearly          206 F.3d 271, 279-81 (3d Cir. 2000). To establish
redundant to the retaliation claim." Lichtenstein v. Univ.    causation, plaintiff must show: "either (1) an unusually
of Pittsburgh Med. Ctr., 598 F. App'x 109, 113 (3d Cir.       suggestive temporal proximity between the protected

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activity and the allegedly retaliatory action, or (2) a     wrongful; and (3) a regional general manager stated in
pattern of antagonism coupled with timing to establish a    an email that "these guys are killing our other
causal link." Lauren W. ex rel. Jean W. v. DeFlaminis,      employees." Pizarro asserts that "these guys" is a
480 F.3d 259, 267 (3d Cir. 2007). In addition to these      negative label referring to workers who take FMLA and
two primary methods, inconsistencies or discrepancies       therefore shows retaliatory intent. We disagree.
in the employer's reasons for terminating the employee
may be enough to support an inference of causation.         As discussed above, the temporal proximity between
LeBoon v. Lancaster Jewish Cmty. Ctr. Ass'n, 503 F.3d       Pizarro's decision to take leave and his subsequent
217, 232 (3d Cir. 2007). After reviewing the record, we     termination is insufficient to establish animus rising to
conclude that Pizarro failed to come forward with any       the level suggestive of retaliation. Moreover, we note
evidence to establish causation.                            that an employer's decision to terminate an employee
                                                            for FMLA abuse will likely occur in close temporal
First, we measure temporal proximity from the initial       proximity to the time when the abuse is discovered.
date on which the litigant engaged in his protected         Such a termination without additional evidence is not
activity. Blakney v. City of Philadelphia, 559 Fed. Appx.   enough to show animus. Next, management's lack of
183, 186 (3d Cir. 2014). A close temporal proximity         knowledge about Pizarro's specific illness is irrelevant to
between a protected activity and an adverse act may         our retaliation analysis. While decisionmakers did not
support an inference of causal relationship where the       have access to Pizarro's medical diagnosis, this factual
timing is unusually suggestive. Ward v. Ingersoll-Rand      assertion does not suggest that the decision to
Co., 688 Fed. Appx. 104, 110 (3d Cir. 2017). Where the      terminate Pizarro's employment was driven by animus.
temporal proximity is not unusually suggestive, the         To discredit a proffered reason, [*13] Pizarro "cannot
appropriate test is "timing plus [*11] other evidence."     simply show that the employer's decision was wrong or
Farrell v. Planters Lifesavers Co., 206 F.3d 271, 280 (3d   mistaken but must demonstrate . . . that the employer
Cir. 2000).                                                 was actually not motivated by its proffered
                                                            nondiscriminatory      reason."    Parker    v.    Verizon
The protected activity, which is the request for FMLA       Pennsylvania, Inc., 309 F. App'x 551, 556 (3d Cir.
leave on December 8, 2018 and December 10, 2018, is         2009). Lastly, it is undisputed that the regional general
certainly close enough to the adverse act, that is          manager was not a decisionmaker in the termination
termination of employment on December 13, 2018.             process. There is no evidence that suggests the one-
However, the temporal proximity between Pizarro's           time remark was indicative of management's attitude
decision to take leave and his subsequent termination is    towards those seeking FMLA leave at the company.
insufficient to establish a causal connection in light of   Stray remarks or statements by non-decisionmakers do
his history of requesting FMLA leave. Pizarro was first     not establish retaliation. Fakete v. Aetna, Inc., 308 F.3d
approved for FMLA leave 17 years ago. International         335, 338 n.2 (3d Cir. 2002).
Paper consistently granted his requests without any
issue over the years thereafter until his termination.      Third, the record as a whole is devoid of evidence
International Paper only decided to terminate Pizarro's     showing       inconsistencies   or    discrepancies     in
employment after management became aware of                 International Paper's reasoning for terminating Pizarro's
misconduct that it believed violated the company's          employment. International Paper has consistently stated
policies. Accordingly, the undisputed facts do not          its belief that Pizarro fraudulently used FMLA leave to
provide evidence of the temporal proximity rising to the    prepare to attend a football game in Texas and because
level suggestive of retaliation.                            his return flight was delayed. It is well established that
                                                            an employer is permitted to discipline an employee for
Second, in the absence of an unusually suggestive           conduct that violates its policies, and such conduct
temporal proximity, Pizarro must show evidence that         cannot be the basis for a retaliation claim without
International Paper "engaged in a pattern of antagonism     evidence to the contrary. Capps v. Mondelez Glob. LLC,
in the intervening period." Capps v. Mondelez Glob.         847 F.3d 144 (3d Cir. 2017).
LLC, 847 F.3d 144 (3d Cir. 2017). Pizarro asserts that
animus can be inferred because: (1) temporal proximity      Finally, Pizarro asserts that causation can be proved
between his call-offs from work and his discharge [*12]     through     the   "mixed    motive    approach."  "An
shows retaliatory behavior; (2) management did not          employee [*14] who claims retaliation and seeks to
know about Pizarro's physical condition on the days he      proceed under a mixed-motive approach must show that
called out for FMLA, and therefore, the termination was     his or her use of FMLA leave was 'a negative factor' in

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the employer's adverse employment action." Egan v.         Paper retaliated against any one of its employees for
Delaware River Port Auth., 851 F.3d 263, 272 (3d Cir.      requesting FMLA leave; (3) Pizarro requested FMLA
2017). We find that Pizarro has failed to produce any      leave the day before and after he attended a football
evidence that his legitimate use of FMLA was a factor in   game in Texas; (4) Pizarro called off from work, seeking
International Paper's decision to terminate his            FMLA leave less than an hour after he texted a co-
employment.                                                worker that his flight was delayed; (5) when questioned,
                                                           Pizarro refused to confirm that he attended a game in
Pizarro has not presented any credible evidence            Texas; and (6) Pizarro deleted Facebook posts showing
showing retaliatory animus or antagonism from              he was at the football game immediately after he was
International Paper. In contrast, until his termination,   suspended. The record is simply devoid of any evidence
Pizarro never complained about the way he was treated      to create a genuine dispute of material fact regarding
and claims to have "loved" working for International       whether the reasons offered by International Paper for
Paper. Pizarro admits that on occasions when his           his termination were pretextual.
absence from work would be questioned, management
would work with him to demonstrate that his absences       In sum, it cannot be reasonably disputed that Pizarro
were for legitimate FMLA purposes. Prior to his            was lying to his employer that he was ill and could not
termination, International Paper never disciplined,        work, all the while he was travelling to Texas and
demoted, or retaliated against Pizarro for requesting or   attending the Cowboys-Eagles game with significant
taking FMLA leave. Moreover, International Paper never     physical activity in the process. Accordingly, this court
prevented plaintiff from adhering to his doctor's orders   will grant the motion of defendant for summary judgment
or following his medical treatment. International Paper    as to Pizarro's claims for retaliation under FMLA.
terminated Pizarro's employment only after learning
about activity that it considered suspicious and
evaluating [*15] the evidence from its investigation.      ORDER

Even assuming that Pizarro had satisfied his prima facie   AND NOW, [*17] this 3rd day of March, 2020, for the
case, International Paper has pointed to a legitimate,     reasons set forth in the foregoing Memorandum, it is
nonretaliatory business reason for his termination, that   hereby ORDERED that this motion of defendant for
is its honest belief that Pizarro falsified company        summary judgment (Doc. # 48) is GRANTED.
information to fraudulently take FMLA leave. Our Court
                                                           BY THE COURT:
of Appeals has held that "an employer's honest belief
that its employee was misusing FMLA leave can defeat       /s/ Harvey Bartle III
an FMLA retaliation claim." See Capps, 847 F.3d at 147.
If defendant is able to provide such a reason, the         J.
burden of production shifts back to Pizarro to produce
evidence that the proffered reason is merely a pretext
for actual discrimination. See Fuentes v. Perskie, 32      ORDER
F.3d 759, 763-64 (3d Cir. 1994). To show pretext,
plaintiff must point to some evidence, direct or           AND NOW, this 3rd day of March, 2020, for the reasons
circumstantial, from which a factfinder could reasonably   set forth in the foregoing Memorandum, it is hereby
either: (1) disbelieve the employer's articulated          ORDERED that summary judgment is entered in favor
legitimate reasons; or (2) believe that an invidious       of defendant International Paper Company and against
discriminatory reason was more likely than not a           plaintiff Michael Pizarro.
motivating or determinative cause of the employer's
action. Id. at 764.                                        BY THE COURT:

The record in this matter is devoid of any evidence of     /s/ Harvey Bartle III
pretext. In contrast, the undisputed facts actually
                                                           J.
support International Paper's honest belief that Pizarro
misused his FMLA leave. It is undisputed that: (1)
International [*16] Paper accommodated Pizarro's                End of Document
request for FMLA leave for 17 years without any
retaliation; (2) there is no evidence that International


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As of: April 29, 2021 6:41 PM Z


                                     Scott v. Schindler Elevator Corp.
                                  United States District Court for the District of New Jersey
                                         May 2, 2019, Decided; May 3, 2019, Filed
                                               Civil No. 17-2869 (NLH/KMW)

Reporter
2019 U.S. Dist. LEXIS 74774 *; 2019 WL 1976417

                                                                Judges: NOEL L. HILLMAN, UNITED STATES
THEODORE R. SCOTT, Plaintiff, v. SCHINDLER
                                                                DISTRICT JUDGE.
ELEVATOR CORPORATION, DAVE DURANT, KYLE
RAINWATER, JOE ZEILMAN, JOHN & JANE DOES 1-
10, and ABC & XYZ CORPORATIONS, Defendants.
                                                                Opinion by: NOEL L. HILLMAN


Subsequent History: Reconsideration granted by, in
part, Reconsideration denied by, in part Scott v.
Schindler Elevator Corp., 2019 U.S. Dist. LEXIS 136548          Opinion
(D.N.J., Aug. 13, 2019)

                                                                HILLMAN, District Judge

                                                                This case concerns various federal and state
Core Terms                                                      employment discrimination claims, as well as state
                                                                common law claims, relating to the termination of
Seal, right-to-sue, motion to dismiss, common law claim,
                                                                Plaintiff's employment with Defendants. Currently before
allegations, terminated, parties, leave to amend,
                                                                the Court is Defendants' Motion to Dismiss the Second
preempted, jugs, wrongful termination claim, cause of
                                                                Amended Complaint ("Motion to Dismiss") and Plaintiff's
action, statutorily, asserting, argues, amend, breach of
                                                                opposition, as well as various letters relating to a
contract claim, administrative remedy, company vehicle,
                                                                release allegedly signed by Plaintiff. Also before the
federal court, state actor, workplace, appears, exhaust,
                                                                Court is Defendants' Motion to Seal and Plaintiff's
grounds, hostile, Pled, constitutional claim, wrongful
                                                                request for leave to amend and to strike. For the
termination, aiding and abetting
                                                                reasons that follow, this Court will grant Defendants'
                                                                Motion to Dismiss, in part, and deny it, in part; grant, in
                                                                part, and deny, in part, Defendants' Motion to Seal;
                                                                deny, without prejudice, Plaintiff's requests to strike and
Counsel: [*1] For Theodore R. Scott., Plaintiff:
                                                                for leave to amend.
MARCIA Y. PHILLIPS, MARCIA Y. PHILLIPS, ESQ.
LLM & ASSOC., PHILADELPHIA, PA.
                                                                BACKGROUND [*2]
For Schindler Elevator Corporation, Dave Durant, Kyle
Rainwater, and Joe Zeilman., Defendants: GREGORY                This Court takes its facts from Plaintiff's Second
T. ALVAREZ, ROBERT J. CINO, JACKSON LEWIS                       Amended Complaint ("SAC"). Plaintiff is Theodore R.
P.C., MORRISTOWN, NJ; TIMOTHY MICHAEL                           Scott, an African-American over the age of forty who
MCCARTHY, JACKSON LEWIS P.C., PHILADELPHIA,                     was an employee of Defendant Schindler Elevator
PA.                                                             Corporation ("Schindler") for over twenty-two years.
                                                                Defendants Dave Durant, a superintendent, Kyle
                                                                Rainwater, a district manager, and Joe Zeilman, a


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district service manager          (collectively, "Individual      take water jugs from a storage area in the building.
Defendants"), were also            involved in Plaintiff's        Plaintiff took those water jugs and used them — and so
employment at Schindler.                                          did other onsite Schindler employees. Plaintiff estimates
                                                                  this occurred between one and five times.
In 1989, Plaintiff was hired by Defendant Schindler to
work as an elevator mechanic. During that time, it                On May 29, 2014, Plaintiff was told to report to
appears that Plaintiff worked in New Jersey. In 2011,             Defendant Schindler's main office in Moorestown, New
Defendant Schindler is alleged to have laid off Plaintiff         Jersey. When he arrived, he was confronted by
due to lack of work. Thereafter, Plaintiff filed a civil rights   Individual Defendants and he was told that he had been
complaint against Defendant Schindler before the New              seen stealing water jugs. Plaintiff admitted he had
Jersey Department of Civil Rights ("NJDCR"). Plaintiff            replaced a water jug in the manner indicated supra, and
claimed that he was not laid off due to lack of work, but         it was only then that he realized the water jugs were not
due to discrimination on the basis of his race and age.           for him to take. Plaintiff offered to pay for the water jugs.
Those claims, according to Plaintiff, were settled. (Pl.'s        Without further investigation, Defendant Schindler fired
SAC ¶ 33.) After settling the claims, Defendant                   Plaintiff, reasoning that Plaintiff's comments, supra,
Schindler rehired Plaintiff. Plaintiff "work[ed] briefly in       were an admission of theft and that theft violated its
New Jersey." (Pl.'s SAC ¶ 9.) Then, according to                  zero-tolerance policy. Plaintiff alleges that he was
Plaintiff, [*3] he was transferred to "The Mellon Bank            treated differently than those who were not African-
Center building located at 1735 market Street,                    Americans [*5] and that, in doing so, Defendant
Philadelphia Pennsylvania." (Pl.'s SAC ¶ 10.) He worked           Schindler did not follow its progressive discipline policy.
there for eighteen months before he was terminated.               Those individuals were given warnings or transferred,
                                                                  but rarely fired.
The events giving rise to the current claims center
around two areas: access to a company vehicle and                 Thereafter, Plaintiff filed discrimination charges before
access to water.1 Plaintiff was informed at some point            the NJDCR and the Equal Employment Opportunity
during his time with Defendant Schindler that he was              Commission ("EEOC") on July 16, 2014. After 250 days
eligible to apply for a company van, which was used to            of investigation, Plaintiff withdrew all claims on March
transport specialized tools and supplies to worksites.            23, 2015. Defendant Schindler allegedly appeared in the
Notably, in Pennsylvania, union rules required elevator           administrative action and fully participated. Plaintiff
mechanics to use a company vehicle to transport this              received a notice of his right to sue from NJDCR, but
equipment. A company vehicle was not required in New              never received — and has never received — a notice of
Jersey. A company vehicle was coveted by mechanics                a right to sue from the EEOC. Plaintiff "was told by the
because it represented an opportunity for increased               Director of NJDCR that it would not be forthcoming from
earnings. Plaintiff requested a company vehicle, but was          the EEOC agency because the later [sic] did not
denied. Plaintiff claims he was the only person of his            investigate the claim." (Pl.'s SAC ¶ 25.)
seniority without one (who had requested one) and that
those who had company vehicles were (1) white and (2)             In May 2016, Plaintiff initially filed a complaint in the
sometimes with less seniority than Plaintiff.                     New Jersey Superior Court, Law Division, Camden
                                                                  County which was dismissed. It was reinstated on April
As for access to water, when Plaintiff started work in            6, 2017. Defendant Schindler removed the renewed
Philadelphia the building contained water fountains. But,         case to this Court on April 26, 2017. Defendant
these were removed by building management [*4] and                Schindler answered this complaint on May 16, 2017.
a water cooler was placed in Defendant Schindler's                Discovery began. Plaintiff moved for leave to amend on
onsite office. Although Defendant Schindler provided the          December 15, 2017. After full briefing, [*6] Magistrate
water cooler, it did not provide any water. Without water,        Judge Karen M. Williams granted in part and denied in
Plaintiff asked a building employee where he could get a          part Plaintiff's first Motion for Leave to Amend on May
water jug. The employee led Plaintiff to believe he could         23, 2018. Plaintiff filed a second Motion for Leave to
                                                                  Amend on June 29, 2018 and Plaintiff filed his First
                                                                  Amended Complaint on June 30, 2018. Defendant
1 It
   is unclear, but Plaintiff may also claim that his assignment   Schindler filed its Motion to Dismiss Plaintiff's First
to Philadelphia was discriminatory. Philadelphia, to Plaintiff,   Amended Complaint on July 30, 2018.
was inconvenient, did not pay as well, and restricted his
opportunities to attend service calls because he was denied a     Thereafter, Judge Williams granted Plaintiff's second
company vehicle (discussed infra).

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Motion for Leave to Amend on August 13, 2018. Plaintiff        347, 351 (3d Cir. 2005). It is well settled that a pleading
filed his SAC on August 20, 2018. The SAC contains             is sufficient if it contains "a short and plain statement of
seven counts: (1) for retaliation under federal and state      the claim showing that the pleader is entitled to relief."
discrimination laws and the federal and New Jersey             Fed. R. Civ. P. 8(a)(2).
constitutions; (2) for creation of a hostile work
environment and retaliation (the basis in law is unclear);     "While a complaint attacked by a Rule 12(b)(6) motion
(3) for discrimination against Plaintiff on the basis of age   to dismiss does not need detailed factual allegations, a
under the Age Discrimination in Employment Act                 plaintiff's obligation to provide the 'grounds' of his
("ADEA"); (4) for wrongful termination (the basis in law       'entitle[ment] to relief' requires more than labels and
is unclear); (5) for racial discrimination, under the New      conclusions, and a formulaic recitation of the elements
Jersey Law Against Discrimination ("NJLAD") and                of a cause of action will not do . . . ." Bell Atl. Corp. v.
federal and state constitutions; (6) for New Jersey            Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L.
common law breach of contract; and (7) "wrongful               Ed. 2d 929 (2007) (alteration in original) (citations
discharge as a result of negligent investigation" (the         omitted) (first citing Conley v. Gibson, 355 U.S. 41, 47,
basis in law is unclear).                                      78 S. Ct. 99, 2 L. Ed. 2d 80 (1957); Sanjuan v. Am. Bd.
                                                               of Psychiatry & Neurology, Inc., 40 F.3d 247, 251 (7th
It [*7] is the SAC which is the subject of Defendants'         Cir. 1994); and then citing Papasan v. Allain, 478 U.S.
(here including both Defendant Schindler and Individual        265, 286, 106 S. Ct. 2932, 92 L. Ed. 2d 209 (1986)).
Defendants) Motion to Dismiss presently before the                   To determine the sufficiency of a complaint, a court
Court, and filed on September 7, 2018. Plaintiff opposed             must take three steps. First, the court must "tak[e]
Defendants' Motion to Dismiss. Defendants filed a reply              note of the elements a plaintiff must plead to state a
on October 9, 2018, under seal. Attached to that reply is            claim." Second, the court should identify allegations
a document entitled "Negotiated Settlement Agreement                 that, "because they are no more than conclusions,
and General Release" (the "Release"), which was                      are not entitled to the assumption of truth." Third,
purportedly signed by the parties in June 2012 and                   "whe[n] there are well-pleaded factual allegations, a
concerns the first charge of discrimination brought by               court should assume their veracity and then
Plaintiff after he was laid off in 2011. It is this document         determine whether they plausibly give rise to an
that is the subject of Defendants' Motion to Seal, filed on          entitlement for relief."
October 23, 2018, Plaintiff's November 3, 2018 letter
requesting the Court to strike this document from the          Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011)
record, and various other letters filed by both parties. As    (alterations in original) (citations omitted) (quoting [*9]
all of these matters have been fully briefed by the            Ashcroft v. Iqbal, 556 U.S. 662, 664, 675, 679, 129 S.
parties, they are ripe for adjudication.                       Ct. 1937, 173 L. Ed. 2d 868 (2009)). A court may
                                                               "generally consider only the allegations contained in the
                                                               complaint, exhibits attached to the complaint and
ANALYSIS                                                       matters of public record." Schmidt v. Skolas, 770 F.3d
                                                               241, 249 (3d Cir. 2014) (citing Pension Benefit Guar.
                                                               Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196
                                                               (3d Cir. 1993)).
A. Subject Matter Jurisdiction
                                                               A district court, in weighing a motion to dismiss, asks
This Court has subject matter jurisdiction over the case       "not whether a plaintiff will ultimately prevail but whether
pursuant to 28 U.S.C. §§ 1331 and 1367.                        the claimant is entitled to offer evidence to support the
                                                               claim." Twombly, 550 U.S. at 563 n.8 (quoting Scheuer
                                                               v. Rhodes, 416 U.S. 232, 236, 94 S. Ct. 1683, 40 L. Ed.
B. Motion to Dismiss Standard                                  2d 90 (1974)); see also Iqbal, 556 U.S. at 684 ("Our
                                                               decision in Twombly expounded the pleading standard
When considering a motion to dismiss a complaint for           for 'all civil actions' . . . ."); Fowler v. UPMC Shadyside,
failure to state a claim upon which relief can be granted      578 F.3d 203, 210 (3d Cir. 2009) ("Iqbal . . . provides
pursuant to Federal Rule of Civil Procedure 12(b)(6), a        the final nail in the coffin for the 'no set of facts' standard
court must accept [*8] all well-pleaded allegations in         that applied to federal complaints before Twombly."). "A
the complaint as true and view them in the light most          motion to dismiss should be granted if the plaintiff is
favorable to the plaintiff. Evancho v. Fisher, 423 F.3d        unable to plead 'enough facts to state a claim to relief

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that is plausible on its face.'" Malleus, 641 F.3d at 563     may have worked briefly in a New Jersey casino,
(quoting Twombly, 550 U.S. at 570).                           apparently for just a couple of weeks,3 and then spent
                                                              the next eighteen months in Philadelphia, Pennsylvania
                                                              working at a building at 1735 Market Street. On May 29,
C. Defendants' Motion to Dismiss                              2014, Plaintiff was "told to report to [Defendant]'s main
                                                              office in Moorestown[,] New Jersey" and was terminated
Defendants make several arguments2 in their Motion to         for alleged "theft of a water jug." (Pl.'s SAC ¶ 17.)
Dismiss. First, Defendants argue that the NJLAD does
not apply to the set of facts presented by this case          There are also significant disputed facts, which
because Plaintiff worked in Pennsylvania, not New             complicate the legal analysis here. The most important
Jersey. Second, Defendants argue that Plaintiff has           disputed facts relate to the Release, purportedly signed
failed to exhaust his ADEA claim. Third, Defendants           in June 2012. Defendants assert this was signed by
argue that Plaintiff has failed to exhaust his Title VII      Plaintiff in June 2012 and that it means, for this case,
claims. Fourth, Defendants argue Plaintiff [*10] cannot       that any allegations pre-2011 have been waived and
bring state or federal constitutional claims because          cannot be considered. The legal implications of
Defendants are not state actors. Fifth, Defendants argue      this [*12] fact is central to Defendants' argument, as
Plaintiff has failed to adequately allege a 42 U.S.C. §       presented. Plaintiff asserts, through his opposition brief
1981 claim. Sixth, Defendants argue Plaintiff's New           and in a separate letter4 to the Court, that he never
Jersey and Pennsylvania common law claims are                 signed the Release and that he has waived no rights.
statutorily preempted by NJLAD and the Pennsylvania           Plaintiff also seems to assert there were discovery
Human Relations Act ("PHRA"). Seventh, Defendants             violations and that, even if Plaintiff had signed the
argue Plaintiff has failed to adequately allege a breach      release, it is of no legal significance.
of contract claim. Eighth, and finally, Defendants argue
any claims dismissed against Defendant Schindler must         Of course, the Court agrees, "[t]he law of the state of the
also be dismissed against Individual Defendants. The          employee's workplace applies to claims arising from his
Court will address each argument in turn.                     employment because the state has an 'unusually strong
                                                              interest in applying its own law to employment contracts
a. Whether NJLAD Applies                                      involving work in [its] state.'" Satz v. Taipina, No. 01-cv-
                                                              5921 (JBS), 2003 U.S. Dist. LEXIS 27237, at *45
The threshold issue for the NJLAD claims is simply
                                                              (D.N.J. Apr. 15, 2003), aff'd, 122 F. App'x 598 (3d Cir.
stated: may Plaintiff seek relief under it or not. The
                                                              2005) (quoting Shamley v. I.T.T. Corp., 869 F.2d 167,
arguments of the parties can also be stated quite
                                                              172 (2d Cir. 1989)) (emphasis added, second alteration
simply: Defendants argue that Plaintiff worked in
Pennsylvania at the time of the alleged discriminatory        in original). Neither the state of the employee's
conduct while Plaintiff argues discriminatory conduct         residence (here, New Jersey) or the state of the
was ongoing — stemming back pre-2011 — and                    employer's headquarters (again, New Jersey) factors
                                                              into the analysis. Id. at *46. Nor does it matter that the
occurred mostly while he was in New Jersey, with the
final termination occurring only after he worked in
Pennsylvania briefly. But, the facts are slightly more        3 The Court does note for the record that Plaintiff's SAC does
complicated than the parties indicate.
                                                              not contain a specific allegation about his brief tenure in a New
 [*11] It is best to start with the undisputed facts. In      Jersey casino sometime in 2012. Defendants rightly point this
                                                              out, but it appears the SAC makes an oblique reference. (Pl.'s
1989, Plaintiff was hired by Defendant as an elevator
                                                              SAC ¶ 9 (". . . who was working briefly in New Jersey at the
mechanic. He was laid off, allegedly for lack of work, in
                                                              onset of his discrimination claims against defendant.").)
2011. Thereafter, Plaintiff filed a civil rights complaint.
                                                              4 Plaintiff'sfiling of letters in this manner is inappropriate. Not
Before the civil rights complaint reached state or federal
court, Defendant rehired Plaintiff. Plaintiff alleged that    only does Plaintiff's opposition brief not properly follow the
"Defendant settled that claim." (Pl.'s SAC ¶ 33.) Both of     Local Civil Rules of Procedure in terms of spacing and font,
                                                              Plaintiff has also chosen to file a letter instead of a motion. If
these events occurred at some point in 2012. Plaintiff
                                                              Plaintiff wishes to file a sur-reply, Plaintiff should consult the
                                                              Local Rules and do as they instruct. If Plaintiff wishes to file an
                                                              objection or motion to strike, Plaintiff should consult the Local
2 While this Court will address every argument made by        and Federal Rules and do as they instruct. However, for the
Defendant, the Court notes it will not do so in the order     sake of completeness, the Court will consider these filings
presented by Defendant.                                       (and Defendants' responses).

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decision to terminate Plaintiff emanated from or was told           [b]ecause defendant in this case continued to
to Plaintiff in New Jersey. See Albert v. DRS Techs.,               discriminate against the plaintiff and because a
Inc., No. 10-3886, 2011 U.S. Dist. LEXIS 55320, at *5-6             right-to-sue letter is not required, plaintiff is not
(D.N.J. May 23, 2011) (holding that, even if the decision           required to refile an administrative complaint
to terminate emanated from New Jersey, this alleged                 alleging age discrimination. Plaintiff has thus [*15]
discriminatory conduct was not enough to allow                      exhausted all administrative remedies with regard
application of NJLAD when the plaintiff did not work in             to the ADEA claim.
New Jersey).                                                  (Pl.'s Opp'n Br. 14.) In other words, Plaintiff presents
                                                              two arguments: (1) because the actions are a continuing
But, [*13] disregarding those facts which this Court          violation related to a previously filed administrative
finds legally irrelevant — Plaintiff's residence, Defendant   complaint there is no need to re-file and (2) a right-to-
Schindler's headquarters, and where the decision to           sue letter is not required by the ADEA to file a claim in
terminate was made or occurred — the Court cannot             federal court.
dismiss the NJLAD claims. Reading Plaintiff's SAC in
the light most favorable to Plaintiff, the SAC does           Defendants are correct and Plaintiff has not presented
appear to allege Defendant's discriminatory conduct           any argument to the contrary. Generally, a plaintiff
pre-dated 2011 and continued through Plaintiff's time in      asserting an ADEA claim "must file a charge with the
Pennsylvania. (Pl.'s SAC ¶¶ 9, 10, 12, 26, 31, 34, 38,        EEOC within 180 days of the alleged employment
59.) Thus, whether that conduct should or should not be       action." Marina Wood v. Kaplan Props., No. 09-1941
considered by the Court in determining the application        (JLL), 2009 U.S. Dist. LEXIS 89834, at *7 (D.N.J. Sept.
of NJLAD could tip the scales in favor of either Plaintiff    29, 2009) (citing 29 U.S.C. § 626(d)). Because Plaintiff
or Defendants.                                                brought the claims in New Jersey, that deadline is
                                                              "extended to 300 days." Id.; Hildebrand v. Allegheny
The question of whether the pre-2011 conduct may be           Cty., 757 F.3d 99, 111 (3d Cir. 2014) (citing 29 U.S.C.
considered depends entirely — according to Defendants         §§ 626(d)(2) & 633(b); Watson v. Eastman Kodak Co.,
— upon whether the release was executed by Plaintiff          235 F.3d 851, 854 (3d Cir. 2000)). The Third Circuit has
and the legal ramifications of that execution. Plaintiff      termed this a "condition precedent to filing suit under the
disputes that he ever signed the release and also             ADEA." Hildebrand, 757 F.3d at 111 (citing Seredinski v.
presents argument as to why — even if he signed it — it       Clifton Precision Prods. Co., Div. of Litton Sys., Inc., 776
should have no legal significance upon this case. This is     F.2d 56, 64 (3d Cir. 1985)).
a question of law where the facts matter, and those
facts are disputed. While it may be improbable that           Plaintiff's first argument fails based on its own
Plaintiff did not sign the release, it is neither             reasoning. While Plaintiff may not be required to refile if
implausible [*14] nor impossible. Because that is the         he was asserting the same claim a second time, the
case, the Court finds, considering the current procedural     Plaintiff is not doing so in this case. The Court notes
posture of the case and the factual assertions of both        Plaintiff would like the Court to consider the previous
parties in the SAC, briefs, letters, and attachments, it      actions of Defendants in determining the merits of
must deny Defendants' motion to dismiss on this point.        Plaintiff's instant claim. Even if the Court did so here,
However, if after appropriate discovery the undisputed        Plaintiff's [*16] claim is categorically different. Plaintiff is
facts support Defendants' argument that Plaintiff may         alleging a new adverse action under new
only assert claims arising from his Philadelphia              circumstances. To allow Plaintiff to subvert the
workplace Defendants may move for summary                     administrative process in this way, which is statutorily
judgment on Plaintiff's NJLAD claims.                         prescribed by Congress to encourage mediation and
b. Whether Plaintiff Failed to Exhaust the ADEA Claim         settlement in lieu of litigation, would open an unintended
                                                              loophole in the law. The Court will not do so here.
Defendants argue that Plaintiff's ADEA claim must be
dismissed for failure to exhaust administrative remedies.     Plaintiff's second argument is a red herring. Whether
Defendants specifically argues that Plaintiff cannot bring    Plaintiff needs a right-to-sue letter is irrelevant, as
an ADEA claim in federal court without first filing a         Plaintiff never specified an age discrimination claim in
charge with the EEOC. Plaintiff admits that he "did not       his administrative complaint, which is a requirement
explicitly specify age discrimination in his 2014 claim"      separate and apart from the right-to-sue letter. Thus, the
before the EEOC. (Pl.'s Opp'n Br. 14.) Plaintiff thereafter   Court will dismiss Plaintiff's ADEA claim, with prejudice,
argues that                                                   for failure to exhaust administrative remedies.


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c. Whether Plaintiff Failed to Exhaust the Title VII                 (citing 42 U.S.C. § 2000e-5). Thus, a claimant who
Claims                                                               voluntarily withdraws her administrative charge of
                                                                     discrimination before obtaining a right-to-sue letter
Defendants argue the Title VII claims brought by Plaintiff           fails to exhaust administrative remedies and may
must be dismissed for failure to exhaust administrative              not sue in court. See Brundage v. Int'l Ass'n of
remedies — specifically a failure to receive a right-to-             Bridge, Structural & Ornamental Ironworkers, Local
sue letter.5 Plaintiff argues he may proceed absent a                #401, No. 00-4549, 2007 U.S. Dist. LEXIS 81036,
right-to-sue letter because, as long as he was entitled to           at *33 (E.D. Pa. Oct. 24, 2007) . . . .
it, it need not be in his possession before he files a
complaint. Essentially, Plaintiff argues he had the right        No. 09-5964 (RBK/JS), 2011 U.S. Dist. LEXIS 16610, at
to sue [*17] in state or federal court once the specified        *14 (D.N.J. Feb. 17, 2011). This is undoubtedly the case
time period had elapsed from the time of the filing of his       here, so the Court must dismiss Plaintiff's Title VII
administrative complaint with the EEOC.                          claims in their entirety.

Plaintiff states he dual-filed a complaint with the NJDCR        While Plaintiff is correct that a litigant lacking a right-to-
and the EEOC on July 15, 2014. However, "[o]n March              sue letter who is otherwise entitled to one has
23, 2015, 2516 days later, Plaintiff withdrew his                exhausted administrative remedies, Plaintiff has failed to
complaint and requested a right-to-sue and was issued            show he was entitled to a right-to-sue letter. This narrow
a Right-to-sue letter by the NJDCR. . . . The State              exception is meant to allow litigants to proceed to
informed him that it was all he needed. Plaintiff counsel        federal court even when the EEOC may be slow in
also requested a right-to-sue from the EEOC . . . ." (Pl.'s      completing its obligations. As shown by the case law
Opp'n Br. 12.) Regardless of what an individual at the           above, one is not entitled to a right-to-sue letter if one
NJDCR may have said to him, Plaintiff does not dispute           has withdrawn his claim before receiving a right-to-sue
that he withdrew his EEOC claims. (Pl.'s Opp'n Br. 12.)          letter.
Plaintiff also does not dispute that he has never
received a right-to-sue letter. (Pl.'s SAC ¶ 25 ("[Plaintiff]    Accordingly, this Court will dismiss all Title VII claims to
did not receive a notice of right to sue from EEOC. He           the extent they [*19] are asserted in Plaintiff's SAC,
was told by the Director of NJDCR that it would not be           with prejudice. Specifically, the Court finds they have
forthcoming from the EEOC agency because the later               been asserted in Count II. As a result, this Court will not
[sic] did not investigate the claim.").) Defendants argue        consider Defendants' argument concerning whether
the withdrawal of Plaintiff's claims before the EEOC             those same claims are adequately pled. (Def.'s Mot. for
means he will not receive a right-to-sue letter and              Summ. J. 15-18.)
therefore cannot, as a matter of law, bring a Title VII          d. Whether Plaintiff Has Adequately Pled Federal and
claim in federal [*18] court.                                    State Constitutional Claims
The case law is clear. As explained in Schwinge v.               Defendants argue that Plaintiff's state and federal
Deptford Township Board of Education:                            constitutional claims, asserted in Counts I and V, must
                                                                 be dismissed because Defendants are not state actors.
    A plaintiff must exhaust those remedies by                   Defendants argue that the law demands dismissal
    obtaining a right-to-sue letter before she may file a        whether the claim is based on federal, New Jersey, or
    complaint in court. Ditzel v. Univ. of Med. &                Pennsylvania law. Plaintiff provides no argument in
    Dentistry, 962 F. Supp. 595, 602-03 (D.N.J. 1997)            opposition to Defendants' assertion.

                                                                 It appears in Count I that Plaintiff is claiming, in part, a
5 Defendant  also argues that the May 23, 2018 Order of          violation of the federal and New Jersey constitutional
Magistrate Judge Williams already addressed this issue. It did
                                                                 rights for retaliatory and racial discrimination. (Pl.'s SAC
so in part. But, it did not address the exact issue now
                                                                 ¶ 28.) Under what provisions of these constitutions
presented to the Court concerning the allegations made in the
                                                                 Plaintiff claims rights or alleges violations is unclear. In
SAC because those issues were not before it. Thus, while this
Court is guided by that Order, it must decide issues not         Count V, it is clear that Plaintiff is asserting Defendants
presented to Judge Williams.                                     have violated his federal and state constitutional rights
                                                                 — here the states being Pennsylvania and New Jersey -
6 Although   of no legal significance here, the Court notes
                                                                 under an equal protection clause theory. (Pl.'s SAC ¶
Plaintiff's SAC states it was 250, not 251 days. (Pl.'s SAC ¶
                                                                 56.)
25.)

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 [*20] To the extent Plaintiff attempts under Counts I or    121 (5th Cir. 1980); Boutros v. Canton Reg'l Transit
V to assert a federal, Pennsylvania, or New Jersey           Auth., 997 F.2d 198, 202 (6th Cir. 1993)). And, as has
constitutional claim, the Court must dismiss those           long been the case, Title VII and NJLAD are analyzed
claims. Defendants are correct that both New Jersey          identically, or nearly so. Id. (citations omitted). Thus,
and federal law require a state actor for such a claim.      because the NJLAD claims have not been attacked on
Caldwell v. KFC Corp., 958 F. Supp. 962, 966 (D.N.J.         their substance, a § 1981 could theoretically be
1997) (citing Robinson v. Cahill, 62 N.J. 473, 303 A.2d      asserted.
273, 282 (N.J. 1973); State v. Schmid, 84 N.J. 535, 423
A.2d 615, 628 (N.J. 1980)). Because Defendant                For that reason, this Court will grant Defendants' Motion
Schindler is undeniably a private company and                to Dismiss on these grounds, but notes Plaintiff may
Individual Defendants private actors, they cannot be         move for leave to amend and add a § 1981 claim.
considered state actors under New Jersey or federal
                                                             f. Whether Plaintiff's New Jersey Common Law Claims
law. Id. Defendants also address Pennsylvania law in a
                                                             Are Statutorily Preempted
footnote. (Defs.' Mot. for Summ. J. 19, n.9.) To the
extent Plaintiff also asserts a Pennsylvania                 Defendants argue Plaintiff's common law claims must
constitutional claim, it must be denied for the same         be dismissed because they are statutorily preempted
reason: there was no state actor here. Maylie v. Nat'l       and are artificial causes of action7. According to
R.R. Passenger Corp., 411 Pa. Super. 199, 601 A.2d           Defendants, because the common law claims are based
308, 313 (Pa. Super. Ct. 1991) ("The provisions of the       on the same facts and request the same relief as [*22]
Constitution do not reach the acts of purely private         the state statutory causes of action, they are preempted.
actors."). Accordingly, this Court will dismiss all          Plaintiff does not respond to this particular argument.
constitutional claims in Counts I and V requiring a state    Instead, Plaintiff argues he has stated a claim for
actor, with prejudice.                                       negligent investigation because he has asserted a claim
                                                             for hostile workplace. There are two claims, one for
e. Whether Plaintiff Has Adequately Pled a Claim Under       wrongful termination and the other for wrongful
42 U.S.C. § 1981                                             termination as a result of negligent investigation.
                                                             Defendants address these claims jointly, first under New
In Plaintiff's opposition, Plaintiff asserts he has          Jersey law and then under Pennsylvania law. The Court
adequately alleged a § 1981 claim. Defendants assert         will do the same here.
he has not, stating that the SAC contains no § 1981
cause of action. Of note, Defendants state Plaintiff         Before it does so, the Court will examine the wrongful
attempted to assert a § 1981 cause of action in a            termination claims. The first wrongful termination claim,
proposed complaint that was rejected by Judge Williams       asserted in Count IV of the SAC, appears to be based
and that the complaint filed, the SAC, does not contain      upon discrimination. There, Plaintiff states that his
that claim. (Compare ECF Nos. 45 and 53.) The Court          "request for increased responsibility and benefits that
finds that Plaintiff has thus not asserted a § 1981 claim,   were comparable to his level of seniority and in
as in the rejected complaint he has a count specifically     comparison, to his white coworkers was met with
for § 1981 and in the SAC he does not. The Court finds       disapproval and retaliation." (Pl.'s SAC ¶ 53.) The Court
this even though Plaintiff references "1981" at a few        construes these allegations as claiming wrongful
points in the SAC. (See Pl.'s SAC ¶¶ 9, 42.) Those           termination either on the basis of race or by retaliation.
references appear [*21] to be a result of poor editing       Both of these bases are claimed in the SAC under the
rather than careful consideration. In other words, it does   NJLAD.
not appear that Plaintiff meant to assert a § 1981 claim.
                                                             The second wrongful termination claim, asserted in
But, that does not mean Plaintiff may not or cannot          Count VII, appears to also be based upon
assert one. "When used as parallel bases for relief or       discrimination. [*23] There, Plaintiff claims his
companion remedies, Title VII and 42 U.S.C. §§ 1981
and 1983 require the same elements for their causes of
                                                             7 Defendants    also allege that the negligent investigation claim
action and courts incorporate the same standards when
                                                             is "an artificial cause of action." Under New Jersey law, the
assessing the employment discrimination claims."
                                                             basis for dismissal is not that it is not a recognized cause of
Behrens v. Rutgers Univ., No. 94-cv-358 (JBS), 1996
                                                             action, but that it is statutorily preempted. Thus, the Court will
U.S. Dist. LEXIS 22311, at *13 (D.N.J. Mar. 29, 1996)
                                                             only address this particular argument to the extent it applies in
(citing Whiting v. Jackson State Univ., 616 F.2d 116,        Pennsylvania.

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termination was "based upon a 'false allegation.'" (Pl.'s        Pennsylvania law does not recognize the wrongful
SAC ¶ 72.) Although the allegations are not a model of           discharge claims asserted by Plaintiff. Pennsylvania
clarity, Plaintiff is more detailed in briefing. There,          only permits wrongful discharge claims under the
Plaintiff states that his "wrongful termination in               following circumstances:
conjunction with the ongoing differential treatment are               "An employer (1) cannot require an employee to
sufficient to meet the standard for a Hostile Workplace               commit a crime [and fire the employee for refusing
claim" when discussing whether he has "allege[d]                      to do so], (2) cannot prevent an employee from
sufficient facts to support a claim of negligent                      complying with a statutorily imposed duty, and (3)
investigation and hence a claim of hostile workplace."                cannot discharge an employee when specifically
(Pl.'s Opp'n Br. 24, 26.) Based on those statements, the              prohibited from doing so by statute."
Court finds Count VII is based upon a hostile workplace
claim.                                                           Fraser v Nationwide Mut. Ins. Co., 352 F.3d 107, 111
                                                                 (3d Cir. 2003) (quoting Hennessy v. Santiago, 708 A.2d
First, Defendants argue that both the wrongful                   1269, 1273 (Pa. Super. Ct. 1998)) (alterations in
termination claims must be dismissed because they are            original). Plaintiff's wrongful termination claims do not
statutorily preempted by New Jersey law. The law in this         fall within any of these three categories.
District holds that no "supplementary common law
cause[s] of action" is allowed "where the NJLAD                   [*25] Accordingly, for the reasons stated supra, the
provides a remedy for the wrong." Butler v. Sherman,             Court will dismiss the New Jersey common law claims
755 F. Supp. 1259, 1265 (D.N.J. 1990). On that basis,            and the Pennsylvania common law claims, with
the court in Butler dismissed a "common law claim of             prejudice. Based on the Court's ruling supra concerning
wrongful discharge on racial discrimination grounds." Id.        the NJLAD claims, it is improper at this time to allow
at 1263-65.8                                                     those common law claims to proceed. If the Court later
                                                                 determines NJLAD is inapplicable to this case, Plaintiff's
Second, Defendants argue that both the wrongful                  common law claims would fall on the same basis in that
termination claims must be dismissed because they are            Plaintiff's claims arise from alleged discrimination in
statutorily preempted by Pennsylvania law. Because               Pennsylvania, presumably beyond the reach of New
the [*24] PHRA provides a statutory remedy for the               Jersey common law.
wrongful termination claims brought by Plaintiff, the
                                                                 Alternatively, if the Court allows the NJLAD claims to
"common law action designed to redress the same
                                                                 proceed, any common law claims based on New Jersey
injury is rendered superfluous." Vega Pacheco v. Kazi
                                                                 law are pre-empted. The Pennsylvania common law
Foods of N.J., Inc., No. 03-cv-2186, 2004 U.S. Dist.
                                                                 claims, on the other hand, are clearly not recognized
LEXIS 11280, at *18 (D.N.J. Apr. 7, 2004) (quoting
                                                                 and thus do not state a cause of action no matter
McGovern v. Jack D'S, Inc., NO. 03-cv-5547, 2004 U.S.
                                                                 whether the claims in this case arise under
Dist. LEXIS 1985, at *22 (E.D. Pa. Feb. 3, 2004)). See
                                                                 Pennsylvania or New Jersey law. In other words,
also Clay v. Advanced Comput. Applications, 522 Pa.
                                                                 regardless of whether the PHRA is applicable, these
86, 559 A.2d 917, 918 (Pa. 1989) ("[T]he PHRA
                                                                 claims are not cognizable.
provides a statutory remedy that precludes assertion of
a common law tort action for wrongful discharge based            g. Whether Plaintiff Has Adequately Pled a New Jersey
upon discrimination."). In that case, the Court dismissed        Breach of Contract Claim
a negligence claim on preemption grounds. Id. at *16-
18.                                                              Defendants argue Plaintiff has failed to adequately
                                                                 allege a breach of contract claim under New Jersey
Moreover, it appears Defendants are also correct that —          common law. Defendants argue that the combination of
even if these claims were not preempted —                        the facts that (1) Plaintiff was an at-will employee, (2)
                                                                 Plaintiff has failed to point to a contract, and (3) that
                                                                 unfair discipline [*26] is legally insufficient to state a
                                                                 breach of contract claim requires this Court to dismiss it.
8 Additionally,
             under New Jersey law, an "action in negligence      Plaintiff argues because he was a part of a union, he
against an employer is barred by New Jersey Workers              had an express contract and that the employee manual
Compensation Act." Silvestre v. Bell Atl. Corp., 973 F. Supp.
                                                                 in concert with the implied covenant of good faith and
475, 486 (D.N.J. 1997). This presents an alternate basis under
                                                                 fair dealing are enough to constitute a breach of
New Jersey law under which Plaintiff's common law claims
                                                                 contract claim here.
here may be preempted.

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Before addressing Defendants' argument, it is important      Individual Defendants. First, Defendants argue that to
to describe what Plaintiff's SAC actually alleges.           the extent this Court dismisses claims against
Plaintiff's SAC bases the breach of contract claim on        Defendant Schindler, the Court should also dismiss
Defendant Schindler's "policies and/or its practices         claims against Individual Defendants. Second,
regarding the terms of his employment and the                Defendants argue that Plaintiff has not alleged NJLAD
implementation of those policies with respect to him and     claims against Individual Defendants because Plaintiff
his co-workers." (Pl.'s SAC ¶ 62.) Nowhere in Plaintiff's    has not alleged a claim of aiding and abetting. Plaintiff
SAC — at least nowhere this Court can find — does            does not offer any argument in opposition.
Plaintiff allege that he was a union employee with an
express contract. Reading Plaintiff's SAC in a light most    Because the grounds for dismissal of the claims against
favorable to Plaintiff only allows this Court to find        Defendant Schindler are neither based on its legal
Plaintiff is basing his breach of contract claim upon the    status (a corporation) nor on its actions, this Court will
employee manual. Moreover, the only "contract" Plaintiff     dismiss all claims dismissed against Defendant
attaches to his brief are Defendant Schindler's              Schindler on the same grounds and with the same affect
employment policies. (Pl.'s Opp'n Br., Ex. E.) Thus, this    against Individual Defendants.
Court will not consider whether there was an express
                                                             The Court also finds that Plaintiff has not alleged an
union contract [*27] that was breached.
                                                             aiding and abetting claim against any of the Individual
                                                             Defendants. The only mechanism available to a plaintiff
Plaintiff's breach of contract claim, as pled, fails. It
                                                             to assert individual [*29] liability for a supervisor "for
appears Plaintiff's claim is that Defendant Schindler's
                                                             acts of discrimination or for creating or maintaining a
policy created an implied contract which Defendant
                                                             hostile environment" is aiding and abetting. Cicchetti v.
Schindler thereafter breached. This type of claim, an
                                                             Morris Cty. Sheriff's Office, 194 N.J. 563, 947 A.2d 626,
exception to the general presumption of at-will
                                                             645 (N.J. 2008) (citing N.J. STAT. ANN. 10:5-12(e)).
employment in New Jersey, was first recognized in
                                                             But, not once in Plaintiff's SAC does he mention "aiding
Woolley v. Hoffmann-La Roche, 99 N.J. 284, 491 A.2d
                                                             and abetting" nor does he mention Individual
1257 (N.J. 1985). But, the right is narrowly
                                                             Defendants besides naming them as parties and stating
circumscribed. New Jersey's Supreme Court held that,
                                                             they terminated him, falsely, for theft. (Pl.'s SAC ¶¶ 4-6,
only when there is no "clear and prominent disclaimer"
                                                             17.) These allegations do not suffice to meet the three
that "an implied promise contained in an employment
                                                             elements required of an aiding and abetting claim. See
manual that an employee will be fired only for cause" is
                                                             Cicchetti, 947 A. 2d at 645 (requiring (1) a wrongful act
enforceable in a breach of contract action. Id. at 1258.
                                                             which causes injury, (2) general awareness of role in
A necessary pre-requisite for a so-called Woolley claim      illegal activity at the time of assistance, and (3) knowing
is that a plaintiff has pointed to "'some provision or       and substantial assistance). Accordingly, the Court will
language in the employment manual that guarantees            dismiss this claim, without prejudice. Plaintiff may move
the employee will not be terminated except for good          for leave to amend at any appropriate time to add this
cause.'" Bell v. KA Indus. Servs., LLC, 567 F. Supp. 2d      claim.9
701, 710 (D.N.J. 2008) (quoting Doll v. Port Auth. Trans-
Hudson Corp., 92 F. Supp. 2d 416, 423 (D.N.J. 2000)).
Plaintiff has failed, in both the SAC and his briefing, to   D. Defendants' Motion to Seal
point to any provision which requires good cause for
termination. Moreover, the progressive discipline policy     Defendants request this Court to permanently seal
that is the basis of Plaintiff's claim specifically states   docket item 68-2, the Release. Plaintiff has filed
"[n]o statement in this program is intended as a             opposition, through multiple letters, essentially stating
contractual commitment or obligation of the Company to       he will not consent to the sealing because he disputes
any individual [*28] employee or group of employees."        the authenticity of the document. Plaintiff does not
(Pl.'s Opp'n Br., Ex. E 95.) Accordingly, this Court will    object to the sealing of this document except on those
dismiss Plaintiff's Woolley claim, with prejudice.           limited grounds.

h. Whether Plaintiff Has Adequately Pled Claims
Against Individuals                                          9 The  Court will not address Defendants argument concerning
                                                             Federal Rule of Civil Procedure 15(c) as it appears all claims
Finally, Defendants moves on two separate grounds to         against Individual Defendants have been dismissed. At this
dismiss claims, to the extent asserted, against the          time, this argument will be denied, without prejudice, as moot.

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Defendants have shown how its Motion to [*30] Seal              Court has dismissed most claims challenged with
satisfies Local Rule 5.3(c). First, the document to be          prejudice. Amendment of those claims would be
sealed is purportedly a confidential settlement                 futile. [*32] Some claims were dismissed without
agreement and release. Second, the alleged parties to           prejudice, but are contingent upon a possible future
the release, assuming its authenticity, both agreed to          decision of the Court or Plaintiff's ability to properly
maintain its confidentiality. Thus, each party allegedly        plead them. Thus, at this time, the Court will deny
has a private contractual interest in its continued             Plaintiff's request for leave to amend, without prejudice.
confidentiality. Third, the serious injury that would result    If Plaintiff determines that filing a motion for leave to
would allegedly be breach of the release by the parties.        amend is appropriate under the Local and Federal
Fourth, a less restrictive means — including redaction          Rules, Plaintiff may do so at that time.
— is unavailable because, allegedly, the parties are
contractually obligated to maintain the entire document
in confidence. Thus, Defendants have satisfied Local            CONCLUSION
Rule 5.3(c).
                                                                For the foregoing reasons, the Court will grant, in part,
Even so, Defendants satisfy Local Rule 5.3(c) only if the       and deny, in part, Defendant's Motion to Dismiss; will
document is authentic. Accordingly, while the Court             grant Defendant's Motion to Seal, in part and deny it, in
awaits a possible determination of this document's              part; will deny, without prejudice, Plaintiff's request to
authenticity, it will remain under seal. To permanently         strike and for further leave to amend. Plaintiff may make
seal it would attest to its authenticity just as unsealing it   a separate motion to strike or for leave to amend at any
would attest to its inauthenticity. The Court is not able to    appropriate time and it will be considered in due course.
rule on this issue at this time. Thus, the Court will
maintain the document under temporary seal. If the              An appropriate Order will be entered.
Court later determines the document is not genuine,
                                                                Date: May 2, 2019
Plaintiff may make an appropriate motion to unseal it.
Similarly, Defendant may make [*31] a motion to                 At Camden, New Jersey
permanently seal it if the Court finds it genuine. For
those reasons, this Court will grant Defendant's Motion         /s/ Noel L. Hillman
to Seal, in part, and deny it, in part.
                                                                NOEL L. HILLMAN, U.S.D.J.

E. Plaintiff's Request to Strike
                                                                ORDER
Plaintiff has also requested, in a document entitled
"Letter Memorandum in Opposition to Defendant's                 HILLMAN, District Judge
Introduction of a Purported Waiver as Evidence" that
                                                                For the reasons expressed in the Court's Opinion filed
this Court strike the release from the record. The basis
                                                                today,
for Plaintiff's Motion to Strike is that the release is
fraudulent. Since discovery is not yet complete on this         IT IS on this 2nd day of May, 2019
issue and the parties have wholly divergent views of the
issue, the Court will not grant Plaintiff's request to strike   ORDERED that Defendants' Motion to Dismiss Plaintiff's
the release as Plaintiff's factual basis is deficient. The      Second Amended Complaint [61] is hereby GRANTED,
Court will deny Plaintiff's request, without prejudice. As      IN PART, and DENIED, IN PART; and it is [*33] further
with the Motion to Seal, if Plaintiff hereafter acquires a
sufficient basis it may re-file a Motion to Strike at any       ORDERED that Defendants' Motion to Seal [69] is
appropriate time.                                               hereby GRANTED, IN PART, and DENIED, IN PART;
                                                                and it is further

F. Plaintiff's Request for Leave to Amend                       ORDERED that the Clerk shall temporarily SEAL docket
                                                                entry 68-2; and it is further
Plaintiff has requested leave to amend. While the Court
recognizes that leave to amend shall be freely given and        ORDERED that Plaintiff's request for leave to amend
that it is particularly applicable to civil rights cases, the   the Second Amended Complaint [66] is hereby
                                                                DENIED, WITHOUT PREJUDICE; and it is further

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ORDERED that Plaintiff's request to strike [70] docket
entry 68-2 is hereby DENIED, WITHOUT PREJUDICE.

At Camden, New Jersey

/s/ Noel L. Hillman

NOEL L. HILLMAN, U.S.D.J.


  End of Document




                                                Pooja Bhutani
